Case 2:17-cv-07639-GW-KS Document 611 Filed 12/18/19 Page 1 of 179 Page ID #:26809
                                                                         1318



  1                                UNITED STATES DISTRICT COURT

  2                     CENTRAL DISTRICT OF CALIFORNIA - WESTERN DIVISION

  3                     HONORABLE S. JAMES OTERO, U.S. DISTRICT JUDGE

  4

  5
             JUNO THERAPEUTICS, INC., et al., )
  6                                           )
                      Plaintiffs,             )
  7                                           )
                           vs.                )
  8                                           )        2:17-CV-7639-SJO
             KITE PHARMA, INC.,               )
  9                                           )
                      Defendant.              )
 10          _________________________________)

 11

 12
                            REPORTER'S TRANSCRIPT OF PROCEEDINGS
 13
                                    JURY TRIAL VOLUME VII
 14
                                   Los Angeles, California
 15
                                Wednesday, December 11, 2019
 16

 17

 18
                             ___________________________________
 19

 20

 21

 22                                 AMY DIAZ, RPR, CRR, FCRR
                                   Federal Official Reporter
 23                               350 West 1st Street, #4455
                                     Los Angeles, CA 90012
 24

 25                        Please order court transcripts here:
                                 www.amydiazfedreporter.com



                       AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
Case 2:17-cv-07639-GW-KS Document 611 Filed 12/18/19 Page 2 of 179 Page ID #:26810
                                                                         1319



  1          APPEARANCES OF COUNSEL:

  2
             For the Plaintiffs:
  3

  4                           IRELL & MANELLA LLP
                              By: Morgan Chu, Attorney at Law
  5                                Alan Heinrich, Attorney at Law
                                   Crawford Maclain Wells, Attorney at Law
  6                                Elizabeth Tuan, Attorney at Law
                              1800 Avenue of the Stars, Suite 900
  7                           Los Angeles, California 90067

  8                           JONES DAY
                              By: Andrea Weiss Jeffries, Attorney at Law
  9                           555 South Flower Street, 50th Floor
                              Los Angeles, California 90071
 10
                              JONES DAY
 11                           By: Sarah Geers, Attorney at Law
                              250 Vesey Street
 12                           New York, New York 10281

 13                           JONES DAY
                              By: John Michalik, Attorney at Law
 14                           77 West Wacker
                              Chicago, Illinois 60601
 15

 16
             For Defendant:
 17
                              MUNGER TOLLES & OLSON LLP
 18                           By: Garth Vincent, Attorney at Law
                                   Edward Dane, Attorney at Law
 19                                Jeffrey Weinberger, Attorney at Law
                                   Peter Gratzinger, Attorney at Law
 20                                Blanca Young, Attorney at Law
                              355 South Grand Avenue, 35th Floor
 21                           Los Angeles, California 90071

 22

 23

 24

 25




                       AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
Case 2:17-cv-07639-GW-KS Document 611 Filed 12/18/19 Page 3 of 179 Page ID #:26811
                                                                         1320



  1          Appearances continued:

  2
                              FISH & RICHARDSON
  3                           By: William Shear, Attorney at Law
                              12390 El Camino Real
  4                           San Diego, California 92130

  5                           FISH & RICHARDSON
                              By: John Farrell, Attorney at Law
  6                           500 Arguello Street, Suite 500
                              Redwood City, California 94063
  7

  8

  9

 10

 11

 12

 13

 14

 15

 16

 17

 18

 19

 20

 21

 22

 23

 24

 25




                       AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
Case 2:17-cv-07639-GW-KS Document 611 Filed 12/18/19 Page 4 of 179 Page ID #:26812
                                                                         1321



  1                     THE COURT:    We are back on the record on Juno vs.

  2          Kite.   We have counsel present, party representatives are

  3          here, and the jury is not.       So this is the last hearing and

  4          discussion regarding jury instructions.         So I believe

  5          Mr. Cruz has passed out or provided to each side a copy of

  6          the instructions that will be given to the jury consistent

  7          with the hearing we held yesterday evening regarding the

  8          instructions.

  9                     The instructions that have been given to counsel do

 10          not include the proposed changes requested by the parties in

 11          filings submitted, I believe, last night.         And so we need to

 12          discuss those proposed changes.

 13                     The first is plaintiffs have submitted an updated

 14          jury verdict form.      And plaintiffs propose replacing

 15          references to Juno with Sloan Kettering and Juno to avoid

 16          confusion, and I don't think there is any objection.           Is

 17          there any objection on the part of the defendants?

 18                     MR. DANE:    There is not, Your Honor.      There was one

 19          other change, which I discussed with plaintiffs, which is

 20          acceptable to them.

 21                     THE COURT:    Oh.

 22                     MR. DANE:    That is right now for Roman III, the jury

 23          is being asked to decide willful infringement regardless of

 24          what they've decided on the invalidity defenses and there

 25          can't be infringement of an invalid patent.          So we have




                       AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
Case 2:17-cv-07639-GW-KS Document 611 Filed 12/18/19 Page 5 of 179 Page ID #:26813
                                                                         1322



  1          agreed that the statement that appears below damages heading,

  2          "If you answered no to all of questions 1, 2, and 3, then

  3          answer this question," should be moved up to before Roman

  4          III, and it would read, "If you answered no to all of

  5          questions 1, 2, and 3, then proceed to answer the next two

  6          questions, otherwise stop."

  7                     THE COURT:    And that's agreed?     Ms. Jeffries?

  8                     MS. JEFFRIES:    Yes, Your Honor.

  9                     THE COURT:    Okay.   So the plaintiffs' proposed

 10          modification will be granted to include Sloan Kettering, and

 11          the defendant's proposed modification would be granted.

 12                     So we have certain objections that have been filed

 13          by the defendants.      The -- and the plaintiffs have responded.

 14                     So the defendant has requested the curative

 15          instruction regarding the IPR that the Court read to the jury

 16          yesterday be included in the instructions.          Plaintiffs do not

 17          object.    And so that curative instruction would be included

 18          and it would be added as Instruction 15A.         So we have

 19          Instruction Number 15, which is invalidity, a perspective of

 20          one of ordinary skill in the art, and then after that

 21          instruction, this instruction would be added.

 22                     The second issue is defendants have requested

 23          Instruction Number 20 be modified to expressly include the

 24          numbered elements of the test.        The plaintiffs have objected

 25          on the basis that the request is repetitive or includes




                       AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
Case 2:17-cv-07639-GW-KS Document 611 Filed 12/18/19 Page 6 of 179 Page ID #:26814
                                                                         1323



  1          repetitive language and is unnecessary, and the Court is

  2          going to grant defendant's request regarding Instruction

  3          Number 20.    So Instruction 20 would be modified.

  4                     And then we have defendant's request regarding

  5          Instruction Number 4 be modified to the original, deleting

  6          the language, quote, "Which of the parties' interests would

  7          have been represented at the hypothetical negotiation."

  8          Plaintiffs do not oppose.       Is that -- that's correct?

  9                     MS. JEFFRIES:    That is correct.

 10                     THE COURT:    So the Court would grant defendant's

 11          request regarding Instruction Number 24.

 12                     Then we go To instruction 27B.       Defendants request

 13          Instruction 27B regarding apportionment be added to the

 14          closing instructions, and the plaintiffs have objected.            The

 15          objection is based on the claim that factor -- the Georgia

 16          Pacific Factor 13 accounts for apportionment.

 17                     So apportionment I think is a requirement in terms

 18          of the damages analysis.       It's been emphasized to be an

 19          extremely important factor by the Federal Circuit in a number

 20          of cases.    It doesn't hurt to include it.       So the Court is

 21          going to grant the request and include defendant's 27B.            So

 22          27B would come after 27.

 23                     Let's see.    Well, I guess it has to come at a

 24          different -- be placed in a different order.          Let's see where

 25          it should go.




                       AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
Case 2:17-cv-07639-GW-KS Document 611 Filed 12/18/19 Page 7 of 179 Page ID #:26815
                                                                         1324



  1                     MS. YOUNG:    Your Honor, perhaps after Instruction

  2          Number 23?

  3                     THE COURT:    I'm -- let's see.     Yes.   Perfect.   It

  4          will be placed after Instruction Number 23.

  5                     So I guess it would be now marked 23A, Instruction

  6          23A.

  7                     So the defendants have requested also -- I'm

  8          sorry -- the plaintiff has filed a proposal to modify the

  9          Instruction Number 13.      So the plaintiffs have requested the

 10          instruction for what is a patent, including language

 11          regarding a request for continued examination be added back

 12          in.     So the Court is inclined to grant that request.

 13                     MS. YOUNG:    Your Honor, may we be heard on that?

 14                     THE COURT:    Yes.

 15                     MS. YOUNG:    The -- this is just another way to get

 16          another certificate of correction instruction in front of the

 17          jury.     As the Court is aware, we have submitted a glossary.

 18          We would like to submit the glossary along with juror

 19          notebooks with the patent and the certificate of correction

 20          to the jurors before closing arguments today.

 21                     THE COURT:    Speak into the microphone.

 22                     MS. YOUNG:    Oh, I'm sorry.    We would like to submit

 23          juror notebooks with a glossary that will cover the RCE issue

 24          to the jury along with the patent and certificate of

 25          correction for closing arguments.         And the glossary will have




                        AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
Case 2:17-cv-07639-GW-KS Document 611 Filed 12/18/19 Page 8 of 179 Page ID #:26816
                                                                         1325



  1          the definition in it that the plaintiffs have asked for.            And

  2          there's already a certificate of correction instruction

  3          that's quite lengthy.      The Court adopted the plaintiffs'

  4          proposal, which we objected to, but that will be given to the

  5          jury, and so we don't think that it's appropriate for them to

  6          hear that instruction twice.

  7                     MS. JEFFRIES:    So, Your Honor, it's not correct that

  8          the glossary will be given -- at least the Court hasn't

  9          clarified.    There was a dispute, as you may recall, with

 10          respect to the glossary.

 11                     THE COURT:    First of all, so I'm inclined to give

 12          the jury the defendant's version of the glossary.

 13                     MS. JEFFRIES:    Even with respect to the defendant's

 14          version, Your Honor, given that evidence has been entered,

 15          there are problems with the defendant's version of the

 16          glossary.    In particular, perhaps the most problematic aspect

 17          is under the definition of patent, there is a reference to an

 18          injunction, which we believe needs to be removed.           There's a

 19          few lines there, "To prevent others from making, using,

 20          offering to sell, or selling an invention within the United

 21          States, or from importing it into the United States during

 22          the term of the patent."       That would be highly prejudicial in

 23          a jury trial.     There's also terms, even in the ones

 24          defendants have proposed before trial, that don't match any

 25          evidence.    So, for example, "office action," that's not a




                       AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
Case 2:17-cv-07639-GW-KS Document 611 Filed 12/18/19 Page 9 of 179 Page ID #:26817
                                                                         1326



  1          relevant issue in the case, it just adds to confusion.           The

  2          term "element" is not one that's been discussed.

  3                     THE COURT:    Let's -- well, the Court is going to

  4          provide or give plaintiffs a modified jury instruction.

  5                     We can come back to the glossary issue later on so

  6          that we can move on -- we can move forward with the case.

  7                     MS. JEFFRIES:    Very well, thank you.

  8                     MR. DANE:    Your Honor, just on that, we had hoped

  9          that the jury would have the juror notebooks at the time of

 10          closing.    So is it possible to resolve that issue now so that

 11          would be possible?

 12                     THE COURT:    I don't want to delay the case.       If you

 13          can quickly resolve it, feel free, otherwise we're going to

 14          move on.    So you want to meet and confer with Ms. Jeffries?

 15          Maybe you can reach --

 16                     MR. DANE:    Sure.   And if I could just address one --

 17          there's one inconsistency in the instructions, Your Honor.

 18                     THE COURT:    Yes, please.

 19                     MR. DANE:    So looking at Jury Instruction Number 9,

 20          which is the summary of contentions, the last paragraph

 21          currently, I believe, is incorrect in how it's worded.           It

 22          says, "If you decide that Kite has not proven by clear and

 23          convincing evidence that the certificate of correction is

 24          invalid and that at least one of the asserted claims is

 25          invalid, you will then need to decide any money damages."




                        AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
 Case 2:17-cv-07639-GW-KS Document 611 Filed 12/18/19 Page 10 of 179 Page ID
                                 #:26818                              1327



 1         That is incorrect.     These are alternative defenses.       And if

 2         the certificate of correction is invalid, there is no

 3         infringement.

 4                   So it should be "or" and it should be "or that each

 5         of the asserted claims is invalid," because we would infringe

 6         as long as any of the claims is not proven invalid.          And that

 7         is, in fact, the way that the willful infringement

 8         instruction is currently written, which is "if you find that

 9         neither the certificate of correction, nor Claims 3, 5, 9,

10         and 11 are invalid, Kite has infringed those claims."           That's

11         the correct statement of the situation.

12                   THE COURT:    How about "and/or"?     "If you find that

13         the certificate of correction is invalid and/or that at

14         least"...

15                   MR. DANE:    "Has not proven that the certificate of

16         correction is invalid" -- no, that's still not correct, Your

17         Honor, because we don't have to prove both, we only have to

18         prove in the alternative.       We either have to prove that the

19         certificate of correction is invalid or we have to prove that

20         each of the four claims is invalid.

21                   THE COURT:    Okay.   Ms. Jeffries, do you wish to be

22         heard?   It appears to be a meritorious modification.

23                   MS. JEFFRIES:     Yeah, I just need to take a closer

24         look at it.     There's so many negatives in that sentence.

25         It's hard to follow, frankly.       So if you could just give me a




                     AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
 Case 2:17-cv-07639-GW-KS Document 611 Filed 12/18/19 Page 11 of 179 Page ID
                                 #:26819                              1328



 1         moment to take a look at what counsel has proposed.

 2                   THE COURT:    Okay.    So maybe, Mr. Dane, you can just

 3         cover it again.     So it would read, "If you decided Kite has

 4         not proven by clear and convincing evidence that the" --

 5                   MR. DANE:    "Either," I would add the word "either"

 6         there.

 7                   THE COURT:    -- "is invalid" --

 8                   MR. DANE:    "Or" --

 9                   THE COURT:    -- "or" --

10                   MR. DANE:    -- "that each of the asserted claims is

11         invalid."    And the rest is fine.

12                   MR. HEINRICH:     So we agree with that.     And I think

13         there's another little logical conundrum with "willful

14         infringement," because right now it reads "if you find that

15         neither the certificate of correction" --

16                   THE COURT:    Where are you at?

17                   MR. HEINRICH:     I'm sorry.     I'm at Closing

18         Instruction Number 13, "willful infringement."

19                   THE COURT:    One second.      I have it.

20                   MR. HEINRICH:     So it currently reads "if you find

21         that neither the certificate of correction, nor" --

22                   THE COURT:    Again, direct me to the line.

23                   MR. HEINRICH:     So it's the first line.

24                   THE COURT:    Okay.    I have it.

25                   MR. HEINRICH:     And so the issue here is that the




                     AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
 Case 2:17-cv-07639-GW-KS Document 611 Filed 12/18/19 Page 12 of 179 Page ID
                                 #:26820                              1329



 1         validity of Claims 3, 5, 9, and 11 don't all rise and fall

 2         together.     So that if the certificate of correction is found

 3         to be not invalid, then if any of these claims are found not

 4         to be invalid, then the jury should reach willful

 5         infringement.

 6                   THE COURT:    So you propose modifying Instruction

 7         Number 13?

 8                   MR. HEINRICH:     Yes.

 9                   THE COURT:    Okay.      So do you want to discuss that

10         with Mr. Dane?

11                   MR. HEINRICH:     Sure.

12                   THE COURT:    Yeah, and then come up with a --

13         hopefully an agreed-upon instruction.

14                   MR. DANE:    This may take us a couple of minutes,

15         Your Honor.

16                   THE COURT:    Okay.      So we'll take -- are there any

17         others to discuss?

18                   MS. JEFFRIES:     I think the only issue is with

19         respect to the juror notebooks.         We think it doesn't make

20         sense to give them notebooks at this point, because they're

21         getting notebooks of evidence, and then they'd be getting a

22         separate notebook today that -- we're closing, so it's a bit

23         late in the game.      So we would just request the Court's

24         guidance on that.      There are pages for witnesses that have

25         not appeared at trial for both sides, so that might be a




                     AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
 Case 2:17-cv-07639-GW-KS Document 611 Filed 12/18/19 Page 13 of 179 Page ID
                                 #:26821                              1330



 1         little confusing.

 2                    THE COURT:    Okay.

 3                    MS. YOUNG:    Maybe we can simplify this.

 4                    THE COURT:    Yes.

 5                    MS. YOUNG:    I think the parties, and actually this

 6         was the plaintiffs' proposal at the outset of the case, was

 7         to have the patent and the certificate of correction in a

 8         notebook that the jury would have.        And so that should be

 9         relatively easy and noncontroversial to put together.           We are

10         happy to do that and try to get it to the jury in time for

11         closings.

12                    THE COURT:    Well, we are going to start very soon in

13         terms of argument, so if you can do it quickly, please do.

14         If not, then the notebooks will be provided after argument of

15         counsel.

16                    MS. YOUNG:    Very good.   Thank you.

17                    THE COURT:    Okay.   So we are in recess, we'll take a

18         short recess.    See if you can resolve this.

19                    (Thereupon, there was a brief recess.)

20                    THE COURT:    Back on Juno.    We have counsel present

21         and parties.    So the modifications as requested have been

22         made with the exception to Instruction Number 13.

23                    MR. DANE:    Your Honor, the parties have reached

24         agreement as to how to modify that instruction.

25                    THE COURT:    Okay.   And let's go -- let me just get




                      AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
 Case 2:17-cv-07639-GW-KS Document 611 Filed 12/18/19 Page 14 of 179 Page ID
                                 #:26822                              1331



 1         13.   Okay.    Please.    Go ahead.

 2                    MR. DANE:     Thanks.     So it would now read, "If you

 3         find both," so we added the word "both."

 4                    THE COURT:     "If you find" --

 5                    MR. DANE:     "Both."

 6                    THE COURT:     "Both."

 7                    MR. DANE:     "That," and then paren, small Roman

 8         Numeral i, "the certificate of correction is not invalid," so

 9         we've added those words, "is not invalid," and, parenthesis,

10         small Roman Numeral ii, "that any of Claims 3, 5, 9, and 11

11         of the '190 patent is not invalid, Kite infringes those

12         claims."

13                    THE COURT:     So just to cover it again, "If you find

14         that both," in parens Roman Numeral i, "the certificate of

15         correction is not invalid and," parens, Roman Numeral ii,

16         "that any of Claims 3, 5, 9 and 11 of the '190 patent is not

17         invalid, Kite has infringed those claims."

18                    MR. DANE:     We changed "has infringed" to

19         "infringes."

20                    THE COURT:     I'm sorry, "Kite infringes."

21                    MR. DANE:     Yeah.     And the only very minor

22         syntactical changes, instead of "you find that both," I think

23         "if you find both that" might be --

24                    THE COURT:     "If you find."

25                    MR. DANE:     "Both that."




                      AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
 Case 2:17-cv-07639-GW-KS Document 611 Filed 12/18/19 Page 15 of 179 Page ID
                                 #:26823                              1332



 1                   THE COURT:    "Both that."     Thank you.

 2                   MS. JEFFRIES:     And then, Your Honor --

 3                   THE COURT:    Agreed?

 4                   MS. JEFFRIES:     Oh, agreed, yes.

 5                   And then I believe Your Honor ruled that the

 6         instruction we had proposed in Document 549-1, the revised

 7         closing 13 would be given.        But we do not see it in the set

 8         that was just provided to us by the Court.         Don't know if we

 9         somehow missed it in our copy, but we don't see it there.

10                   THE COURT:    Which instruction are you referring to?

11                   MS. JEFFRIES:     It was the newly proposed one from

12         last night that was reflected in Document 549-1.          It was

13         closing Instruction Number 13, but they've all been

14         renumbered.    What is a patent and how one is obtained.

15                   THE COURT:    You are talking about what we did last

16         night?

17                   MS. JEFFRIES:     What we did last night and that we

18         just discussed this morning, and you said you would be giving

19         plaintiffs' proposed --

20                   THE COURT:    Instruction Number 13.

21                   MS. JEFFRIES:     Correct.

22                   THE COURT:    Okay.     And it was supposed to be

23         included, I think, as 9A.       Okay.   That needs to be --

24                   Any final modifications or agreements as to

25         Instruction Number 13?




                     AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
 Case 2:17-cv-07639-GW-KS Document 611 Filed 12/18/19 Page 16 of 179 Page ID
                                 #:26824                              1333



 1                   MS. JEFFRIES:     Which 13 are we talking about?          I

 2         think not, but I think there is two 13s at issue right now.

 3                   THE COURT:    So the -- in the revised set.

 4                   MS. JEFFRIES:     Got it.

 5                   THE COURT:    The most recent set.

 6                   MS. JEFFRIES:     No, I think we just -- we agreed.

 7                   MR. DANE:    We are fine with that.

 8                   THE COURT:    You are fine with 13 as --

 9                   MS. JEFFRIES:     As Mr. Dane was reading it.

10                   THE COURT:    Okay.   And we are talking about the

11         second revised set that I just -- that we just provided to

12         both sides.    We had a set provided this morning and then a

13         new set based on our discussions this morning regarding

14         revisions.

15                   MR. DANE:    Yeah, Your Honor, it is the same

16         instruction on willful infringement, and so the wording

17         appears to not have changed, other than as I read into the

18         record.

19                   THE COURT:    Do you agree with the instruction?

20                   MR. DANE:    Yes, Your Honor.

21                   THE COURT:    Okay.   So all we need to add is the

22         instruction for what is a patent, agreed?

23                   MS. JEFFRIES:     Correct.

24                   THE COURT:    Okay.   So let's -- I want to stay with

25         the instructions.      We need to finalize the set.




                     AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
 Case 2:17-cv-07639-GW-KS Document 611 Filed 12/18/19 Page 17 of 179 Page ID
                                 #:26825                              1334



 1                    And then so the request for -- plaintiffs' request

 2         for the instruction of what is a patent will be provided, and

 3         we should make that modification.       And then the parties would

 4         be ordered to provide copies for each of the jurors once we

 5         have a final agreed set.

 6                    MR. DANE:    Your Honor, I'm sorry, I just want to

 7         make sure there isn't just any misunderstanding.          We agree to

 8         closing Instruction Number 13 as I just a few moments ago

 9         read the modification.      That modification is not reflected in

10         the second set because the Court had made those changes

11         before I and opposing counsel had agreed to that change.            So

12         that change still does need to be made.        And just --

13                    THE COURT:    Well, one moment, please.

14                    Okay.   Go ahead.

15                    MR. DANE:    And just for clarity, because I realize

16         we have a little bit of overlapping numbers with the

17         different sets, so the closing instruction I'm referring to

18         is the one on willful infringement, and that was the one as

19         to which there was the change that I read into the record

20         just for the first sentence.       And that currently does not yet

21         appear in the most recent set the Court had handed to the

22         parties.

23                    THE COURT:    Okay.   So we are going to provide both

24         parties with a third revised set, and hopefully there is

25         agreement.




                      AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
 Case 2:17-cv-07639-GW-KS Document 611 Filed 12/18/19 Page 18 of 179 Page ID
                                 #:26826                              1335



 1                    MR. DANE:    Thank you, Your Honor.

 2                    THE COURT:    Yes?

 3                    MS. YOUNG:    We've also reached agreement on the

 4         glossary, Your Honor.      I just handed it to counsel to review.

 5         But I think we have reached agreement on that as well, and we

 6         have copies for the jurors.

 7                    THE COURT:    Agreed?

 8                    MS. JEFFRIES:    I'm just proofreading it now, but I

 9         believe it is agreed.

10                    THE COURT:    Okay.     So we can come back to that

11         later, the glossaries.      Is the request to have the glossaries

12         provided to the jury with the notebooks during argument of

13         counsel or after?

14                    MS. YOUNG:    During, Your Honor, or, rather --

15                    THE COURT:    Ms. Jeffries, do you have a preference

16         on that?

17                    MS. JEFFRIES:    Well, we would prefer after just

18         because we are still reading and proof -- not to delay, and

19         also it seems to be a distraction to have a set of terms

20         defined during closing arguments.

21                    MS. YOUNG:    Your Honor, it would be fine to have the

22         glossary go after.      If the patents -- if the patent and

23         certificate of correction could be with the jury during

24         closings, that is what we would request.

25                    MS. JEFFRIES:    That's fine with plaintiffs.




                      AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
 Case 2:17-cv-07639-GW-KS Document 611 Filed 12/18/19 Page 19 of 179 Page ID
                                 #:26827                              1336



 1                   THE COURT:    So we have a new closing 9A.       Let me

 2         just provide them to counsel and make sure everyone is on the

 3         same page.

 4                   MS. JEFFRIES:     So, Your Honor, I think we may have

 5         some confusion, because what we were just handed as 9A is not

 6         the -- what I believe the Court granted to be given this

 7         morning in Document 549-1.

 8                   THE COURT:    The instruction regarding what is a

 9         patent?

10                   MS. JEFFRIES:     Right.   So the -- in the conference

11         yesterday, the Court had said it would not be given what is

12         currently reflected as closing Instruction 9A.         We then

13         submitted this revised version last night in response because

14         certain items we felt needed to be in the instructions, and

15         the Court was not going to give that instruction that is

16         currently reflected as 9A.

17                   And then this morning the Court agreed to grant --

18         ordered or decided to grant the newly-submitted -- what --

19         the numbering is confusing, but it was numbered 13, which is

20         in Document 549-1.

21                   We don't necessarily object to what is given here as

22         9A today to us, but I would just need a moment to review it

23         if the Court is inclined to give that one instead.

24                   THE COURT:    Okay.

25                   MR. DANE:    Defendants have no objection to this




                     AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
 Case 2:17-cv-07639-GW-KS Document 611 Filed 12/18/19 Page 20 of 179 Page ID
                                 #:26828                              1337



 1         version of the instruction, Your Honor.

 2                   THE COURT:    Okay.   Let's -- I think it probably

 3         makes sense to cover each of the instructions one final time

 4         to make sure that everybody is in agreement.

 5                   The following instructions will be given, and maybe

 6         you can follow along:      Instruction Number 1, duty of the

 7         jury; Instruction Number 2, what is evidence; Instruction

 8         Number 3, what is not evidence; Instruction Number 4,

 9         credibility of witnesses; 5, charts and summaries not

10         received in evidence; 6, charts and summaries in evidence.

11                   7, notes taken during trial; 8, burden of proof.

12         And if there is a request for modification, make sure that

13         you alert the Court, please.         9, summary of contentions.     And

14         I just want to make sure that you review 9, 9A, and to make

15         sure everyone is in agreement.

16                   MS. JEFFRIES:     Your Honor, we do have a concern with

17         the new 9A, if I could address that.

18                   THE COURT:    You have a concern, okay.

19                   MS. JEFFRIES:     Right.    So what is now presented as

20         9A was what we had presented before the Court granted the

21         glossary.    So now it's very long and overlaps to a great

22         extent with what has now been agreed to in the glossary.

23                   So for that reason, we would like to go back to what

24         we believe the Court agreed to give this morning, which was

25         the plaintiffs' proposed new instruction reflected in




                     AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
 Case 2:17-cv-07639-GW-KS Document 611 Filed 12/18/19 Page 21 of 179 Page ID
                                 #:26829                              1338



 1         Document 549-1 for what is a patent and how one is obtained.

 2         It's much shorter, and it does -- it does not overlap -- it

 3         doesn't have all that information which is now in the

 4         glossary.

 5                    THE COURT:   Okay.     So your request is to remove 9A?

 6                    MS. JEFFRIES:      Remove 9A and replace it with what is

 7         in Document 549-1, and that could be the 9A.

 8                    THE COURT:   And I assume there is no dispute?           So 9

 9         remains, and then remove 9A, replace it with 541-1?

10                    MS. JEFFRIES:      549-1.

11                    THE COURT:   549-1.

12                    MS. JEFFRIES:      Correct.   Thank you.

13                    THE COURT:   Agreed?

14                    MS. YOUNG:   We still have the same objections that

15         we stated before, Your Honor.

16                    THE COURT:   But no additional objections?

17                    MS. YOUNG:   No.

18                    THE COURT:   Okay.     And I agree, 9A is a little bit

19         lengthy.

20                    Instruction Number 10, interpretation of claims;

21         Instruction Number 11, how a claim -- how a claim defines

22         what it covers; 12, independent and dependent claims; 13,

23         willful infringement.      Any changes to 13?     I want to make

24         sure that the 13 that you have is the one that includes -- so

25         13 needs to be modified.




                      AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
 Case 2:17-cv-07639-GW-KS Document 611 Filed 12/18/19 Page 22 of 179 Page ID
                                 #:26830                              1339



 1                   MR. DANE:    It still needs to be modified, Your

 2         Honor, just the first sentence.

 3                   THE COURT:    Okay.   So the proposed modification.

 4                   MR. DANE:    Again, so it's -- it should read, "If you

 5         find both that," paren, small Roman i, close paren, "the

 6         certificate of correction is not invalid and," paren small

 7         Roman ii, close paren, "that any of Claims 3, 5, 9, and 11 of

 8         the '190 patent is not invalid, Kite infringes those claims."

 9                   THE COURT:    Okay.   Those changes should be made.

10                   14, burden of proof; 15, perspective of one of

11         ordinary skill; 15A, reasonable royalty; 16, certificate of

12         correction; 17, written description; 18, enablement; 19,

13         burden of proof, damages; 20, a reasonable royalty

14         definition; 21, hypothetical negotiation, date of; 22, a

15         reasonable royalty form; 23, factors for reasonable royalty;

16         23A, apportionment; 24, comparability, reasonable royalty;

17         25, timing, royalty; and 26, consideration of the evidence;

18         27, communication with court; 28, return of verdict; and 29,

19         duty to deliberate.

20                   MS. YOUNG:    Your Honor, one correction.       Closing

21         Instruction Number 15A is the curative instruction on the

22         inter partes review, and it's just the title says "reasonable

23         royalty/comparability," which is not what the instruction is

24         addressed to.

25                   THE COURT:    Okay.   I'm sorry.    You are going back to




                     AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
 Case 2:17-cv-07639-GW-KS Document 611 Filed 12/18/19 Page 23 of 179 Page ID
                                 #:26831                              1340



 1         15?

 2                   MS. YOUNG:    15A.

 3                   THE COURT:    So the concern is the title?

 4                   MS. YOUNG:    Yes.

 5                   THE COURT:    So how should it read".

 6                   MS. YOUNG:    "Inter partes review."

 7                   THE COURT:    Just "Inter partes review"?

 8                   MS. YOUNG:    Yes.

 9                   MS. JEFFRIES:     No objection on our part.

10                   THE COURT:    Okay.    Thank you for that correction.

11         That makes sense.

12                   Okay.   We'll do one final revision and see if we

13         have a final agreement.        Okay.   We're back in recess.

14                   (Thereupon, there was a brief recess.)

15                   THE COURT:    We are back on the record on Juno.

16         Hopefully this is the final final set of instructions.              The

17         final final set has been provided to both sides.          I just want

18         to make sure that each side has an opportunity to review each

19         instruction and to make sure that it's consistent with all

20         the modifications, requested revisions that have been placed

21         on the record today and yesterday.

22                   Are they in order?      Ms. Young?

23                   MS. JEFFRIES:     Yes, Your Honor.

24                   THE COURT:    Ms. Young?

25                   MS. YOUNG:    Yes, Your Honor.




                     AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
 Case 2:17-cv-07639-GW-KS Document 611 Filed 12/18/19 Page 24 of 179 Page ID
                                 #:26832                              1341



 1                   THE COURT:     Okay.      Are we ready to bring the jury

 2         out so I can read instructions?          Yes?

 3                   MS. JEFFRIES:      Yes.

 4                   MR. DANE:     Defense is.

 5                   THE COURT:     And then in terms of argument, I

 6         understand each side will have two hours to present argument;

 7         is that correct?      Yes?

 8                   MR. CHU:     Yes, Your Honor.

 9                   MR. DANE:     Yes, Your Honor.

10                   THE COURT:     So, Mr. Chu, you can reserve any portion

11         of the two hours for closing -- or rebuttal.

12                   MR. CHU:     Thank you.

13                   THE COURT:     On another note, I just want to make

14         sure that the demonstratives have been exchanged and everyone

15         is on the same page in terms of demonstratives.

16                   MR. DANE:     We had not -- neither side exchanged

17         demonstratives, Your Honor.

18                   THE COURT:     Okay.      Well --

19                   MR. DANE:     Neither side is objecting.

20                   THE COURT:     Okay.

21                   MR. DANE:     And we understand that Mr. Cruz has the

22         juror notebooks?

23                   THE COURT:     I believe he does.      You would like them

24         passed to the jury during argument; is that correct?

25                   MR. DANE:     Yes, Your Honor.




                     AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
 Case 2:17-cv-07639-GW-KS Document 611 Filed 12/18/19 Page 25 of 179 Page ID
                                 #:26833                              1342



 1                    THE CLERK:     Ready.

 2                    THE COURT:     I just want to make sure that the jury

 3         is not distracted by the notebooks in argument.

 4                    MR. CHU:     We are happy either way, Your Honor.        I

 5         think I agree with the Court that it would be better to give

 6         the jurors the notebooks after argument.

 7                    MR. DANE:     Perhaps they could be given the notebooks

 8         before the instructions?

 9                    THE COURT:     How will -- will it assist the jury if I

10         provide the notebooks early, and, if so --

11                    MR. DANE:     It will for my closing, Your Honor,

12         because I will be referring to the patent, and if they have

13         the patent in front of them, it will make it easier for them

14         to follow along.

15                    THE COURT:     Let's provide the jury with the

16         notebooks.     Let's bring the jury out.

17                    THE CLERK:     Okay.    All rise for the jury, please.

18                    (Thereupon, the jury returned to the courtroom.)

19                    THE COURT:     We have the jury reassembled, and we

20         have counsel present and the parties present.

21                    So please have a seat.       As the jury can imagine,

22         with the number of lawyers on the case and the importance of

23         the legal issues and other issues, there has been a final

24         flurry of legal issues that the Court had to address this

25         morning.     That is why there was a delay.      Everybody has been




                      AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
 Case 2:17-cv-07639-GW-KS Document 611 Filed 12/18/19 Page 26 of 179 Page ID
                                 #:26834                              1343



 1         working diligently to try to bring you here close to the hour

 2         that you were ordered to be here, which was 8:30, and I don't

 3         think we accomplished that today.

 4                   That being said, it's now my opportunity to read the

 5         instructions to you.     You do not have to take notes.       Feel

 6         free -- if you would like to take notes on the instructions,

 7         feel free.    A copy of the instructions will be provided to

 8         you in deliberations to guide you.        And then following the

 9         instructions we'll have argument of counsel.

10                   So members of the jury, now that you have heard all

11         of the evidence, it is my duty to instruct you on the law

12         that applies to the case.      A copy of these instructions will

13         be sent to you -- sent to the jury room for you to consult

14         during your deliberations.

15                   It is your duty to find the facts from all the

16         evidence in the case.      To those facts you will apply the law

17         as I give it to you.     You must follow the law as I give it to

18         you whether you agree with it or not.        And you must not be

19         influenced by any personal likes or dislikes, prejudices, or

20         sympathy.    That means you must decide the case solely on the

21         evidence before you.     You will recall -- you will read that

22         you took an oath to do so.

23                   Please do not read into these instructions or

24         anything that I may say or do or have said or done that I

25         have an opinion regarding the evidence or what your verdict




                     AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
 Case 2:17-cv-07639-GW-KS Document 611 Filed 12/18/19 Page 27 of 179 Page ID
                                 #:26835                              1344



 1         should be.

 2                   The evidence you are to consider in deciding the

 3         facts consists of the sworn testimony of any witness, the

 4         exhibits that are admitted into evidence, any facts which the

 5         lawyers have agreed to, and any facts that I have instructed

 6         you to accept as proved.

 7                   In reaching your verdict, you may consider only the

 8         testimony and exhibits received in evidence.         Certain things

 9         are not evidence, and you may not consider them in deciding

10         what the facts are.     I will list them for you.

11                   Arguments and statements by lawyers are not

12         evidence.    The lawyers are not witnesses.       What they have

13         said in their opening statements, what they will say in

14         closing arguments and other times is intended to help you

15         interpret the evidence, but it is not evidence.          If the facts

16         as you remember them differ from the way the lawyers have

17         stated them, your memory of them controls.

18                   Questions and objections by lawyers are not

19         evidence.    Attorneys have a duty to their clients to object

20         when they believe a question is improper under the Rules of

21         Evidence.    You should not be influenced by the objection or

22         by the Court's ruling on it.       Testimony that is excluded or

23         stricken or that you have been instructed to disregard is not

24         evidence and must not be considered.

25                   In addition, some evidence was received only for a




                     AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
 Case 2:17-cv-07639-GW-KS Document 611 Filed 12/18/19 Page 28 of 179 Page ID
                                 #:26836                              1345



 1         limited purpose.     When I have instructed you to consider

 2         certain evidence only for a limited purpose, you must do so

 3         and you may not consider that evidence for any other purpose.

 4                    Anything that you have seen or heard when the Court

 5         was not in session is not evidence.        You are to decide the

 6         case solely on the evidence received at trial.

 7                    In deciding the facts in this case, you may have to

 8         decide which testimony to believe and which testimony not to

 9         believe.    You may believe everything a witness says or part

10         of it or none of it.

11                    In considering the testimony of any witness, you may

12         take into account the opportunity and the ability of the

13         witness to see or hear or know the things testified to; the

14         witness' memory; the witness' manner while testifying; the

15         witness' interest in the outcome of the case, if any; the

16         witness' bias or prejudice, if any; whether other evidence

17         contradicted the witness' testimony; and the reasonableness

18         of the witness' testimony in light of all of the evidence and

19         any other factors that bear upon believability.

20                    Sometimes a witness may say something that is not

21         consistent with something else he or she said.         Sometimes

22         different witnesses will give different versions of what

23         happened.    People often forget things or make mistakes in

24         what they remember.     Also, two people may see the same event

25         but remember it differently.       You may consider these




                      AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
 Case 2:17-cv-07639-GW-KS Document 611 Filed 12/18/19 Page 29 of 179 Page ID
                                 #:26837                              1346



 1         differences, but do not decide that testimony is untrue just

 2         because it differs from other testimony.

 3                   However, if you decide that a witness has

 4         deliberately testified untruthfully about something

 5         important, you may choose not to believe anything that

 6         witness said.    On the other hand, if you think the witness

 7         testified untruthfully about some things but told the truth

 8         about others, you may accept that -- the part you think is

 9         true and ignore the rest.

10                   The weight of the evidence as to a fact does not

11         necessarily depend on the number of witnesses who testify.

12         What is important is how believable the witnesses were and

13         how much weight you think their testimony deserves.

14                   Certain charts, summaries, and demonstratives not

15         admitted into evidence have been shown to you in order to

16         help explain the contents of books, records, documents, or

17         other evidence in the case.       Charts, summaries and

18         demonstratives are only as good as the underlying evidence

19         that supports them.     You should, therefore, give them only

20         such weight as you think the underlying evidence deserves.

21                   Certain charts and summaries have been admitted into

22         evidence to illustrate information brought out in trial.

23         Charts and summaries that have been admitted into evidence

24         are only as good as the testimony or other admitted evidence

25         that supports them.     You should, therefore, give them only




                     AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
 Case 2:17-cv-07639-GW-KS Document 611 Filed 12/18/19 Page 30 of 179 Page ID
                                 #:26838                              1347



 1         such weight as you think the underlying evidence deserves.

 2                   If you wish, you may review your notes to help you

 3         remember the evidence.      Whether or not you took notes, you

 4         should rely on your own memory of the evidence.          Notes are

 5         only to assist your memory.       You should not be overly

 6         influenced by your notes or those of other jurors.

 7                   In these instructions, I will often refer to a

 8         party's burden of proof.      I will be discussing two different

 9         burdens of proof.

10                   The first is known as the burden of proof by a

11         preponderance of the evidence.       When a party has the burden

12         of proving a claim or defense by a preponderance of the

13         evidence, it means the party must persuade you that it is

14         more likely than not that the claim or defense is

15         established.

16                   The second burden of proof I will discuss is known

17         as the burden of proof by clear and convincing evidence.

18         When a party has the burden of proving something by clear and

19         convincing evidence, it means the party must persuade you

20         that it is highly probable that the claim or defense is

21         established.

22                   I will first give you a summary of each side's

23         contentions in this case.      I will then tell you that each

24         side must prove to win on each of its contentions.

25                   As I previously told you, Juno and Sloan Kettering




                     AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
 Case 2:17-cv-07639-GW-KS Document 611 Filed 12/18/19 Page 31 of 179 Page ID
                                 #:26839                              1348



 1         seek money damages from Kite for infringing Claims 3, 5, 9,

 2         and 11 of the '190 patent by making, importing, using,

 3         selling, and offering for sale Kite's YESCARTA product.             Juno

 4         and Sloan Kettering also argue that Kite's infringement has

 5         been willful.

 6                    Kite contends that the certificate of correction to

 7         the '190 patent is invalid.       The parties have agreed that if

 8         the certificate of correction is not found to be invalid,

 9         then defendant YESCARTA's therapy infringes the asserted

10         claims of the '190 patent.

11                    In addition to Kite contending the certificate of

12         correction is invalid, Kite also argues that the asserted

13         claims are invalid.

14                    Your job is to decide whether Juno and Sloan

15         Kettering have shown that Kite's infringement was willful.

16         Juno and Sloan Kettering must prove willfulness by a

17         preponderance of the evidence.

18                    You will also decide -- you will also need to decide

19         whether Kite has shown that the certificate of correction is

20         invalid and the asserted claims of the '190 patent are

21         invalid.    Kite must prove invalidity of the certificate of

22         correction and invalidity of the asserted claims by clear and

23         convincing evidence.

24                    If you find both that the certificate of correction

25         is invalid and that any of the Claims 3, 5, 9, and 11 of the




                      AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
 Case 2:17-cv-07639-GW-KS Document 611 Filed 12/18/19 Page 32 of 179 Page ID
                                 #:26840                              1349



 1         '190 is not invalid, Kite infringes those claims.          You will

 2         then need to decide any money damages to be awarded to Juno

 3         and Sloan Kettering to compensate them for Kite's

 4         infringement.

 5                   Juno and Sloan Kettering have the burden to persuade

 6         you of the amount of their damages by a preponderance of the

 7         evidence.

 8                   Yes, sir?

 9                   MR. DANE:    Your Honor, in reading the first sentence

10         of the last paragraph, I believe the Court inadvertently did

11         not read the word "not" from small Roman i.

12                   THE COURT:    Are you referring to line 21?

13                   MR. DANE:    Yes, Your Honor.

14                   THE COURT:    Let me start again.     If you find that

15         both -- if you find both that the certificate of correction

16         is not valid and that any of Claims 3, 5, 9, and 11 of the

17         '190 is not valid, Kite infringes those claims.          You will

18         then need to decide -- to decide any money damages to be

19         awarded to Juno and Sloan Kettering to compensate them for

20         Kite's infringement.

21                   MR. DANE:    Apologize, Your Honor.      The phrase is

22         "not invalid."

23                   THE COURT:    I'll start again.

24                   If you find both that the certificate of correction

25         is not invalid and that any claims of 3, 5, 9, and 11 of the




                     AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
 Case 2:17-cv-07639-GW-KS Document 611 Filed 12/18/19 Page 33 of 179 Page ID
                                 #:26841                              1350



 1         '190 patent is not invalid, Kite infringes those claims.            You

 2         will then need to decide any money damages to be awarded to

 3         Juno and Sloan Kettering to compensate them for Kite's

 4         infringement.

 5                   Juno and Sloan Kettering have the burden to persuade

 6         you of the amount of their damages by a preponderance of the

 7         evidence.    If you decide that any infringement was willful,

 8         that decision should not affect any damage award you make.

 9                   I will take willfulness into account later.

10                   This case involves a dispute relating to a United

11         States patent.     Patents are granted by the United States

12         Patent and Trademark Office, sometimes called the PTO.

13                   To obtain a patent, one must file an application

14         with the PTO.    After the applicant files the application, a

15         PTO patent examiner reviews the patent application to

16         determine whether the claims are patentable and whether the

17         specification adequately describes the invention claimed and

18         how to make and use it.

19                   After the examination of the application, the patent

20         examiner informs the applicant in writing whether any claim

21         is patentable and thus will be allowed.

22                   The patent application may file a request for

23         continued examination, sometimes abbreviated as RCE.          An RCE

24         may be filed after the examiner finds that the application

25         and claims meet the requirements for a patent but before the




                     AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
 Case 2:17-cv-07639-GW-KS Document 611 Filed 12/18/19 Page 34 of 179 Page ID
                                 #:26842                              1351



 1         patent is actually issued in order for the applicant to

 2         submit additional information to be considered by the

 3         examiner.

 4                   The documents generated in the communications back

 5         and forth between the patent examiner and the applicant make

 6         up what is called the prosecution history.         The prosecution

 7         history becomes available to the public no later than the

 8         date when the patent issues.

 9                   Occasionally, patents are issued with errors.             The

10         patentee can request a certificate of correction to correct

11         such errors.    The request for a certificate of correction and

12         the PTO's decision on the request also becomes part of the

13         prosecution history of that patent.        If the PTO grants the

14         request for a certificate of correction, the certificate of

15         correction becomes part of the patent.

16                   As I mentioned at the beginning of the case, the

17         patent claims are numbered -- are numbered sentences and at

18         the end of the patent that describes the boundaries of the

19         patent's prosecution.      It is my job as a judge to explain to

20         you the meaning of any language in the claims that needs

21         interpretation.

22                   I have interpreted the following of some of the

23         language in the patent claims involved in this case.          My

24         constructions are as follows:

25                   For the term "the amino acid sequence encoded by SEQ




                     AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
 Case 2:17-cv-07639-GW-KS Document 611 Filed 12/18/19 Page 35 of 179 Page ID
                                 #:26843                              1352



 1         ID NO:6 as follows as originally issued," this term is

 2         construed as amino acids 113 through 220 of CD28 starting

 3         with lysine.     And as corrected by the certificate of

 4         correction, this term is considered as amino acids 114

 5         through 220 of CD28, starting with isoleucine.

 6                   For the terms "nucleotide acid polymer encoding, a

 7         binding element that specifically interacts with a selected

 8         target," you should apply its plain and ordinary meaning.

 9                   For other terms for which I have not provided a

10         definition, you should apply the plain and ordinary meaning.

11                   My interpretation of the language should not be

12         taken as an indication that I have a view regarding whether

13         the certificate of correction or any one of the asserted

14         claims is invalid.     The question involves issues for you, the

15         jury, to decide.     The decisions regarding invalidity of the

16         certificate of correction and the asserted patent claims are

17         yours to make.

18                   I will now explain how a claim defines what it

19         covers.   A claim sets forth in words a set of requirements.

20         Each claim sets forth its requirements in a single sentence.

21         If a device or a method satisfies each of these requirements,

22         then it is covered by the claim.

23                   There can be several claims in a patent.         Each claim

24         may be narrower or broader than another claim by setting

25         forth more or fewer requirements.




                     AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
 Case 2:17-cv-07639-GW-KS Document 611 Filed 12/18/19 Page 36 of 179 Page ID
                                 #:26844                              1353



 1                   The coverage of a patent is assessed claim by claim.

 2         In patent law, the requirements of a claim are often referred

 3         to as claim elements or claim limitations.

 4                   When a thing, such as a product or process, meets

 5         all of the requirements of a claim, the claim is said to

 6         cover that thing, and that thing is said to fall within the

 7         scope of that claim.     In other words, a claim covers a

 8         product or process where each of the claim elements or

 9         limitation is present in that product or process.

10                   The '190 patent has two types of claims:

11         Independent and dependent claims.       An independent claim sets

12         forth all of the requirements that must be met in order to be

13         covered by the claim.      Thus, it is not necessary to look at

14         any other claim to determine what an independent claim

15         covers.   In this case, Claim 1 of the '190 patent is an

16         independent claim.

17                   The remainder of the claims in the '190 are

18         dependent claims.     A dependent claim, a claim does not itself

19         recite all the requirements of the claim but refers to

20         another claim for some of its requirements.

21                   In this way, the claim depends on another claim.          A

22         dependent claim incorporates all of the requirements of the

23         claims to which it refers.      The dependent claim then adds its

24         own additional requirements to determine what a dependent

25         claim covers.    It is necessary to look at both the dependent




                     AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
 Case 2:17-cv-07639-GW-KS Document 611 Filed 12/18/19 Page 37 of 179 Page ID
                                 #:26845                              1354



 1         claim and all other claims to which it refers.         A product

 2         that meets all of the requirements of both the dependent

 3         claim and the claims to which it refers is covered by the

 4         dependent claim.

 5                    If you find both that the certificate of correction

 6         is not invalid and any of Claims 3, 5, 9, and 11 of the '190

 7         patent is not invalid, Kite infringes those claims.          You must

 8         then determine whether or not Kite's infringement was

 9         willful.

10                    To show that Kite's infringement was willful,

11         plaintiffs must prove by preponderance of the evidence that

12         Kite knew of plaintiffs' patent and intentionally infringed

13         at least one asserted claim of the patent.

14                    For example, you may consider whether Kite's

15         behavior was deliberate, malicious, wanton, consciously

16         wrongful, flagrant, or in bad faith.        However, you may not

17         find that Kite's infringement was willful merely because Kite

18         knew about the patent without more.

19                    In determining whether plaintiff has proven that

20         Kite's infringement was willful, you must consider all of the

21         circumstances and assess Kite's knowledge at the time -- at

22         the time the challenged conduct occurred.

23                    If you determine that infringement was willful, you

24         may not allow that decision to affect the amount of any

25         damages award you give for infringement.




                      AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
 Case 2:17-cv-07639-GW-KS Document 611 Filed 12/18/19 Page 38 of 179 Page ID
                                 #:26846                              1355



 1                   I will now instruct you on the rules you must follow

 2         in deciding whether or not Kite has proven that the

 3         certificate of correction in Claims 3, 5, 9, and 11 of the

 4         '190 patent are invalid.      To prove the certificate of

 5         correction and the claims of the '190 are invalid, Kite must

 6         persuade you by clear and convincing evidence the certificate

 7         of correction and the asserted claims are invalid.

 8                   In other words, to prove invalidity of the

 9         certificate of correction or any claim of the '190 patent,

10         Kite must persuade you that it is highly likely that the

11         certificate of correction or the claim is invalid.

12                   The question of invalidity of a certificate of

13         correction or a patent claim is determined from the

14         perspective of a person of ordinary skill in the art in the

15         field of the asserted invention as of May 28th, 2002.

16                   A person of ordinary skill has the level of

17         experience, education, or training generally possessed by

18         those individuals who work in the area of the invention at

19         the time of the invention.

20                   In this case, the person of ordinary skill has a

21         Ph.D., M.D., or a master's in science in immunology,

22         biochemistry, cell biology, molecular biology, or a related

23         discipline, and either, one, at least two years of experience

24         in conducting laboratory research on chimeric TCR therapies,

25         TCR T-cells, or other types of immune cells, chimeric TCRs or




                     AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
 Case 2:17-cv-07639-GW-KS Document 611 Filed 12/18/19 Page 39 of 179 Page ID
                                 #:26847                              1356



 1         related work, or knowledge of the scientific literature

 2         related to T-cell biology, as well as laboratory techniques

 3         and strategies in designing recombinant DNA.

 4                   You have heard evidence that Kite filed a separate

 5         challenge to the '190 patent in the patent and trademark

 6         office called the inter partes review or IPR.         And in an IPR,

 7         a party has the right to provide the Patent and Trademark

 8         Office with certain evidence of technology available before

 9         the patent invention to prove that the invention would have

10         been anticipated or obvious to a person of skill in the art.

11                   A patent can only be challenged during an IPR on

12         grounds of anticipation and obviousness, not for a

13         certificate of correction, inadequate written description, or

14         enablement defenses.

15                   When a patent issues with errors, the patentee may

16         be allowed to have the errors corrected by obtaining a

17         certificate of correction from the patent office.          A

18         certificate of correction is one way to correct certain kinds

19         of errors in issued patents.       The patent office reviews the

20         application for a certificate of correction and may issue the

21         certificate if certain conditions are met.

22                   When the patentee is the one who made the error, the

23         patentee may use a certificate of correction to correct

24         errors of clerical or typographical nature or of minor

25         character.




                     AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
 Case 2:17-cv-07639-GW-KS Document 611 Filed 12/18/19 Page 40 of 179 Page ID
                                 #:26848                              1357



 1                    A certificate of correction may correct a clerical

 2         or typographical error, even if the correction broadens the

 3         scope of the claims as long as both the error and, two, how

 4         to correct the error are clearly evident to a person of

 5         ordinary skill in the art, reviewing the full patent record.

 6                    In other words, if a person of ordinary skill in the

 7         art can clearly identify the error and tell how it should be

 8         corrected from the re -- from the reviewing the full patent

 9         record, including the patent claims, the specification and

10         prosecution history, then the certificate of correction is

11         valid.

12                    Kite argues that the certificate of correction of

13         the '190 patent is invalid, and thus was wrongly issued.

14         Kite must prove by clear and convincing evidence that the

15         certificate of correction should not have been issued.

16                    When the patent office issues a certificate of

17         correction, the patent owner may assert the corrected patent

18         only against acts of infringement thereafter arising, in

19         other words, acts of infringement that occur after the

20         certificate of correction issued.       A patent owner may apply

21         for a certificate of correction at any time before the patent

22         expires.

23                    A patent claim is invalid if the patent does not

24         contain inadequate -- an adequate description -- written

25         description of the claimed invention.        The purpose of this




                      AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
 Case 2:17-cv-07639-GW-KS Document 611 Filed 12/18/19 Page 41 of 179 Page ID
                                 #:26849                              1358



 1         written description requirement is to demonstrate that the

 2         inventor was in possession of the invention at the time the

 3         application for the patent was filed, even though the claims

 4         may have been changed or new claims added since that time.

 5                   The written description requirement is satisfied if

 6         a person of ordinary skill in the field reading the original

 7         patent application at the time it was filed would have

 8         recognized that the patent application described in the

 9         invention as claimed, even though the description may not use

10         the exact words found in the claim.

11                   A requirement in a claim need not be specifically

12         disclosed in the patent application as originally filed if a

13         person of ordinary skill would understand that the missing

14         requirement is necessarily implied in the patent application

15         as originally filed.

16                   Kite must prove by clear and convincing evidence

17         that the asserted claims are invalid because the '190 patent

18         does not have adequate written description of the claimed

19         invention.

20                   A patent is invalid if the -- if the patent at the

21         time it was originally filed did not contain a description of

22         the claimed invention that is sufficiently full and clear to

23         enable a person of ordinary skill in the field at the time to

24         make and use the full scope of the invention without undue

25         experimentation.




                     AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
 Case 2:17-cv-07639-GW-KS Document 611 Filed 12/18/19 Page 42 of 179 Page ID
                                 #:26850                              1359



 1                    This is known as the enablement requirement.        The

 2         patent may be enabling even though it does not expressly

 3         state some information if a person of ordinary skill in the

 4         field could make and use the invention without having to do

 5         excessive experimentation.      In determining whether excessive

 6         experimentation is required, you may consider the following

 7         factors:

 8                    The scope of the claimed invention, the amount of

 9         guidance presented in the patent, the amount of

10         experimentation necessary, the time and cost of any necessary

11         experimentation, how routine any necessary experimentation is

12         in the field of the patent, whether the patent discloses

13         specific working examples of the claimed invention, the

14         nature and predictability of the field, and the level of

15         ordinary skill in the field of the patent.

16                    The question of whether a patent is enabling is

17         judged as of the date of the original application for the

18         patent was -- for the patent was first filed.

19                    Kite must prove by clear and convincing evidence

20         that the asserted claims are invalid because the '190 patent

21         fails to satisfy the enablement requirement.

22                    I will now instruct you on the measure of damages.

23         By instructing you on damages, I am not suggesting which

24         party should win on any issue.       If you find that Kite has not

25         proven by clear and convincing evidence either that the




                      AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
 Case 2:17-cv-07639-GW-KS Document 611 Filed 12/18/19 Page 43 of 179 Page ID
                                 #:26851                              1360



 1         certificate of correction is invalid or that every asserted

 2         claim of the '190 patent is invalid, you must then determine

 3         the amount of money damages to be awarded to Juno and Sloan

 4         Kettering to compensate them for infringement.

 5                   The amount of those damages must be adequate to

 6         compensate Juno and Sloan Kettering for the infringement.           A

 7         damages award should put Juno and Sloan Kettering in

 8         approximately the financial position they would have been in

 9         had the infringement not occurred, but in no event may the

10         damages award be less than a reasonable royalty.

11                   You should keep in mind that damages you award are

12         meant to compensate Juno and Sloan Kettering and not to

13         punish an infringer.

14                   Juno and Sloan Kettering have the burden to persuade

15         you of the amount of their damages.        You should award only

16         those damages that Juno and Sloan Kettering more likely than

17         not suffered.

18                   While Juno and Sloan Kettering are not required to

19         prove their damages with mathematical precision, they must

20         prove them with reasonable certainty.        Juno and Sloan

21         Kettering are not entitled to damages that are remote or

22         speculative.

23                   There are various mechanisms for calculating damages

24         for patent infringement.      But both sides are in agreement

25         that damages here should be in the form of a reasonable




                     AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
 Case 2:17-cv-07639-GW-KS Document 611 Filed 12/18/19 Page 44 of 179 Page ID
                                 #:26852                              1361



 1         royalty.

 2                    A reasonable royalty is a -- is a payment made to

 3         the plaintiffs in exchange for the right to make, use, or

 4         sell the claimed invention.       This right is called a license.

 5         A reasonable royalty is the payment for the license that

 6         would have resulted from a hypothetical negotiation between

 7         the plaintiffs and Kite taking place at the time when the

 8         infringing activity first began.

 9                    In considering the nature of this negotiation, you

10         must assume that both parties would have acted reasonably and

11         would have entered into a license agreement.         You must also

12         assume that both parties believe that patent was valid and

13         infringed.

14                    Your role is to determine what the result of the

15         negotiation would have been.       The test for damages is what

16         royalty would have resulted from the hypothetical negotiation

17         and not something -- what either party would have preferred.

18                    The date of the hypothetical negotiation is the time

19         that the alleged infringement began.        In this case the

20         parties agree that the date of the negotiation is

21         October 18th, 2017, when Kite received approval to begin

22         selling YESCARTA.

23                    A reasonable royalty can be calculated in several

24         different ways.     Here both sides are in agreement that a

25         reasonable royalty in this case includes two components:




                      AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
 Case 2:17-cv-07639-GW-KS Document 611 Filed 12/18/19 Page 45 of 179 Page ID
                                 #:26853                              1362



 1         One, an upfront amount that Kite would have been paid upon

 2         entering into a hypothetical license for the '190 patent; and

 3         two, a running royalty -- running royalty rate applied to

 4         Kite's sale -- sales revenues from YESCARTA.

 5                   In determining both the upfront payment and the

 6         running royalty rate, you should consider all of the facts

 7         known and available to the parties at the time the

 8         infringement began.     Factors that you may consider in making

 9         your determination include:

10                   The royalties received by the plaintiffs for the

11         licensing of the patent-in-suit proving or tending to prove

12         an established royalty.

13                   The rates paid by licensees for the use of other

14         patents comparable to the patent-in-suit.

15                   The nature and scope of the license as exclusive or

16         nonexclusive or as restricted or nonrestricted in terms of

17         territory or with respect to whom the manufactured product

18         may be sold.

19                   The licensor's established policy in marketing a

20         program to maintain his or her patent monopoly by not

21         licensing others to use the invention or by granting licenses

22         under special conditions designed to preserve that monopoly.

23                   The commercial relationship between the licensor and

24         licensee such as whether they are competitors in the same

25         territory, in the same line of business, or whether they are




                     AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
 Case 2:17-cv-07639-GW-KS Document 611 Filed 12/18/19 Page 46 of 179 Page ID
                                 #:26854                              1363



 1         inventor and promoter.

 2                    The effect of selling the patented specialty and

 3         promoting sales of other products of the licensee.

 4                    The existing value of the invention to the licensor

 5         as a generator of sales of his nonpatented items, and the

 6         extent of such derivative can void sales.

 7                    The duration of the patent and the term of the

 8         license.

 9                    The established profitability of the product made

10         under the patents, its commercial success, and its current

11         popularity.

12                    The utility and advantages of the patented property

13         over the old modes or devices, if any, that have -- that had

14         been used for working out similar results.

15                    The nature of a patent invention.

16                    The character of the commercial embodiment of it as

17         owned and produced by the licensor, and the benefits to which

18         those who have used the invention -- to those who have used

19         the invention.

20                    The extent to which the infringer has made use of

21         the invention and any evidence probative of its value and

22         use.

23                    The portion of the profit or of the selling price

24         that may be customary in the particular business or in

25         comparable business to allow for the use of the invention or




                      AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
 Case 2:17-cv-07639-GW-KS Document 611 Filed 12/18/19 Page 47 of 179 Page ID
                                 #:26855                              1364



 1         analogous inventions.

 2                   The portion of the realizable profits that should be

 3         credited to the invention as distinguished from the

 4         nonpatented elements.

 5                   The manufacturing process, business risks, or

 6         significant features or improvements added by the infringer.

 7                   The opinion and testimony of qualified experts.

 8                   The amount that the licensor -- licensor, such as

 9         plaintiffs, and a licensee, such as the infringer, should

10         have agreed upon at the time of the infringement began if

11         both have -- had been reasonably and voluntarily trying to

12         reach an agreement that is the amount which a prudent

13         licensee who desired as a business proposition to obtain a

14         license to manufacture and sell a particular article

15         embodying the patented invention would have been willing to

16         pay as a royalty, yet be able to make a reasonable profit and

17         which amount would have been acceptable by a prudent patentee

18         who was willing to grant the license.

19                   No one factor is dispositive, and you can and should

20         consider the evidence that has been presented to you in this

21         case on each of these factors.

22                   You may also consider any other factors which in

23         your mind would have increased or decreased the royalty that

24         Kite would have been willing to pay and that Juno and Sloan

25         Kettering would have been willing to accept, acting as




                     AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
 Case 2:17-cv-07639-GW-KS Document 611 Filed 12/18/19 Page 48 of 179 Page ID
                                 #:26856                              1365



 1         normally prudent business people.

 2                   The amount you find as damages must be based on the

 3         value attributable to the patented technology as distinct

 4         from other unpatented features of the accused products or

 5         other factors such as marketing or advertising or defendant's

 6         size or market position.

 7                   When determining the upfront amount and the running

 8         royalty rate, you may consider evidence concerning the

 9         amounts that other parties have paid for rights to the '190

10         patent or for rights to similar technologies.

11                   A license agreement need not be perfectly comparable

12         to a hypothetical license that would be negotiated between

13         the plaintiffs and Kite in order for you to consider it.

14                   However, if you choose to rely upon evidence from

15         any other license agreements, you must account for any

16         differences between those licenses and the hypothetically

17         negotiated license between the plaintiffs and Kite in terms

18         of the technologies and economic circumstances of the

19         contracting parties when you make your reasonable royalty

20         determination.

21                   Damages are not based on hindsight evaluation of

22         what happened but on what the parties to a hypothetical

23         license negotiations would have agreed upon.         Nevertheless,

24         evidence relevant to the negotiation is not necessarily

25         limited to facts that occurred on or before the date of the




                     AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
 Case 2:17-cv-07639-GW-KS Document 611 Filed 12/18/19 Page 49 of 179 Page ID
                                 #:26857                              1366



 1         hypothetical negotiation.

 2                   You may also consider information the parties would

 3         have received or estimated during the hypothetical

 4         negotiation, which may under circumstances include evidence

 5         of usage after infringement started, license agreements

 6         entered into by the parties shortly after the date of the

 7         hypothetical negotiation, profits earned by Kite, and

 8         noninfringing alternatives.

 9                   Because you must base your verdict only on the

10         evidence received in the case and on the instructions as I --

11         as given, I remind you that you must not be exposed to any

12         other information about the case or to -- or to the issues it

13         involves, except for discussing the case with your fellow

14         jurors during your deliberations.

15                   Do not communicate with anyone in any way, and do

16         not let anyone else communicate with you in any way about the

17         merits of the case or anything to do with it.         This includes

18         discussing the case in person, in writing, by phone or

19         electronic means, via e-mail, via text messaging, or any

20         Internet chat room, blog, website or application, including

21         but not limited to Facebook, YouTube, Twitter, Instagram,

22         LinkedIn, Snapchat, or any other form -- forms of social

23         media.

24                   This applies to communicating with your family

25         members, your employer, the media or press, and people




                     AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
 Case 2:17-cv-07639-GW-KS Document 611 Filed 12/18/19 Page 50 of 179 Page ID
                                 #:26858                              1367



 1         involved in the trial.      If you are asked or approached in any

 2         way about your jury service or anything about the case, you

 3         must respond that you have been ordered not to discuss it and

 4         to report the matter back to this court immediately.          Do not

 5         read, watch or listen to any news or media accounts or

 6         commentary about the case or anything to do with it.

 7                   Do not do any research, such as consulting

 8         dictionaries, searching the Internet, using other reference

 9         materials, and do not make any investigations or in any other

10         way try to learn about the case on your own.         Do not visit or

11         view any place discussed in the case.        Do not use Internet

12         programs or other devices to search for a view -- or to

13         search for or view any place discussed during the trial.

14                   Also do not do any research about the case, the law

15         or the people involved, including the parties, the witnesses,

16         or the lawyers until you have been excused as jurors.           If you

17         happen to read or hear anything touching on this case in the

18         media, turn away and report it to the Court as soon as

19         possible.

20                   The rules protect each party's right -- rights to

21         have this case decided only on the evidence that has been

22         presented here in court.      Witnesses here in court take an

23         oath to tell the truth, and the accuracy of their testimony

24         is tested through the trial process.        If you do any research

25         or investigation outside the courtroom or gain any




                     AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
 Case 2:17-cv-07639-GW-KS Document 611 Filed 12/18/19 Page 51 of 179 Page ID
                                 #:26859                              1368



 1         information through improper communications, then your

 2         verdict may be influenced by inaccurate, incomplete, or

 3         misleading information that has not been tested by the trial

 4         process.

 5                    Each of the parties is entitled to a fair trial by

 6         an impartial jury, and if you decide the case based on

 7         information not presented in court, you will then -- you will

 8         have denied the parties a fair trial.        Remember you have

 9         taken an oath to follow the rules, and it is very important

10         for you to follow the rules.

11                    A juror who violates these restrictions jeopardizes

12         the fairness of these proceedings, and a mistrial could

13         result that would require the entire trial process to start

14         over.   If any juror's exposed to any outside information,

15         please notify the Court immediately.

16                    If it becomes necessary during your deliberations to

17         communicate with me, you may send a note through the United

18         States marshal or bailiff or clerk signed by any one of you.

19         No member of the jury should communicate -- attempt to

20         communicate with me except by a signed writing.          I will not

21         communicate with any member of the jury on anything

22         concerning the case except in writing or here in open court.

23                    If you send out a question, I will consult with

24         counsel first or all the lawyers first before answering it,

25         which may take some time.      You may continue your




                      AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
 Case 2:17-cv-07639-GW-KS Document 611 Filed 12/18/19 Page 52 of 179 Page ID
                                 #:26860                              1369



 1         deliberations while waiting for the answer to any question.

 2         Remember, you are not to tell anyone, including the Court,

 3         how the jury stands, whether in terms of a vote count or

 4         otherwise until you have reached a unanimous verdict or have

 5         been discharged.

 6                   The verdict form has been prepared.        After argument

 7         of counsel and after deliberation and after you have reached

 8         a unanimous agreement on a verdict, your presiding juror

 9         should complete the verdict form according to deliberations,

10         sign it and date it, and advise the marshal or clerk that you

11         have -- are ready to return to the courtroom.

12                   After argument of counsel, when you start your

13         deliberations, you'll elect one member of the jury as your

14         presiding juror.     That presiding juror will preside over the

15         deliberations and serve as the spokesperson for the jury here

16         in court.

17                   You shall diligently strive to reach agreement with

18         all of the other jurors if you can do so.         Your verdict must

19         be unanimous.

20                   Each of you must decide the case for yourself, but

21         you should do so only after you have considered all the

22         evidence, discussed it fully with other -- your fellow

23         jurors, and listened to their views.        It is important that

24         you attempt to reach a unanimous verdict but, of course, only

25         if each of you can do so after having made your own




                     AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
 Case 2:17-cv-07639-GW-KS Document 611 Filed 12/18/19 Page 53 of 179 Page ID
                                 #:26861                              1370



 1         conscientious decision.

 2                    Do not be unwilling to change your opinion if the

 3         discussion persuades you that you should, but do not come to

 4         a decision simply because other jurors think it is right or

 5         change an honest belief about the weight and effect of the

 6         evidence simply to reach a verdict.

 7                    That concludes the reading of the jury instructions

 8         to the jury.

 9                    Mr. Chu, do you need time to set up?

10                    MR. CHU:     Thank you for the inquiry, but I'm fine,

11         Your Honor.

12                    THE COURT:     Okay.   So we start with arguments of

13         counsel.     The plaintiff will start first, followed by Kite or

14         counsel for Kite.       The plaintiff has another opportunity to

15         address you -- a second opportunity to address you because

16         they have the burden.

17                    Go ahead.

18                    MR. CHU:     May it please the Court and ladies and

19         gentlemen of the jury.

20                    Thank you.     Thank you for your service.     Thank you

21         very much.     At the beginning you heard me say this is an

22         important case about an amazing invention.         And as you have

23         sat here serving as jurors, you know it's an important case.

24         Just look around the courtroom.

25                    You heard testimony about the fact that Gilead




                      AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
 Case 2:17-cv-07639-GW-KS Document 611 Filed 12/18/19 Page 54 of 179 Page ID
                                 #:26862                              1371



 1         bought Kite, and Gilead valued the single product YESCARTA,

 2         not the entire company of Kite, but the single YESCARTA

 3         product at 6.2 billion.

 4                   You heard that this is an important case.         You also

 5         heard that Gilead and Kite paid incredible sums of money to

 6         so-called independent expert witnesses.        And for the folks at

 7         Sloan Kettering and Juno, it is also an important case.

 8                   You heard how much work has been done in cancer

 9         research, many billions, hundreds of billions over the years.

10         And what scientists were able to do was to come up with three

11         lines of therapy, surgery, radiation, chemotherapy, but no

12         one did what Dr. Sadelain and his colleagues did, working

13         hard day and night, and they came up with the first living

14         drug, the first living drug with a single dose had the

15         possibility of not just treating cancer but having some

16         doctors and scientists begin to whisper about a cure for

17         cancer.

18                   And when word got out, a Dr. Steven Rosenberg called

19         up Dr. Sadelain, scientist to scientist, and he asked him

20         questions.    He wanted to know more about the work of

21         Dr. Sadelain and his colleagues at Sloan Kettering.

22                   And Dr. Sadelain did what scientists have done all

23         the time for many years.      He answered their questions.          We

24         are all benefited by the fact that that is how scientists

25         act.   If someone calls them and wants some information, they




                     AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
 Case 2:17-cv-07639-GW-KS Document 611 Filed 12/18/19 Page 55 of 179 Page ID
                                 #:26863                              1372



 1         share it because that other scientist might be able to propel

 2         research even further over the horizon.

 3                    And he told him details.     He pointed him to a

 4         particular paper.     He told him about the primers that gave

 5         the details of the exact sequence of Dr. Sadelain's backbone

 6         of his CAR.     He talked about different scFvs, which were

 7         well-known.     And he pointed, Dr. Sadelain did, to some

 8         alternative scFvs.     And then time went on, and some more time

 9         passed.

10                    And you heard Dr. Sadelain from the stand tell you

11         when he learned something, it was perhaps the greatest shock

12         of my life.     He was shocked to hear that Dr. Rosenberg and

13         NCI had gotten into a deal with Kite Pharma.         And they were

14         going to commercialize it, commercialize the Sloan Kettering

15         invention, not with any permission, not with any license.

16         Perhaps the greatest shock of Dr. Sadelain's life.

17                    This is an important case for many reasons.        For

18         Sloan Kettering and for Juno, it will ultimately be up to you

19         at the end of the day to decide whether you are going to

20         recognize their invention which was granted full patent

21         rights by the United States Patent and Trademark Office.

22                    You heard testimony about the three-part CAR that

23         worked -- that created the amazing invention, the living

24         drug.     You didn't hear any contrary testimony that this was

25         the first living drug.




                      AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
 Case 2:17-cv-07639-GW-KS Document 611 Filed 12/18/19 Page 56 of 179 Page ID
                                 #:26864                              1373



 1                    The backbone is the key and causes T-cells to kill

 2         cancer.    And the amazing part and why it's called the living

 3         drug is that those T-cell soldiers are doing their job, and

 4         eventually they will pass away.       But they have signaled the

 5         patient's own body to make more such soldiers in this

 6         reengineered fashion that don't exist naturally in any of our

 7         bodies.    And not just some more, but millions and millions

 8         and millions of these cells that will continue to attack the

 9         cancers.

10                    Dr. Sadelain's patent was the first demonstration of

11         the living drug.     You heard that from Dr. Thomas Brocker who

12         testified toward the end of trial.        And you heard a lot of

13         evidence about what Kite was doing in its willful

14         infringement.

15                    Here is an example.     Antoni Ribas, after removing

16         Steve Rosenberg from the e-mail string, said, "It is a pity

17         that he," referring to Dr. Rosenberg, "goes on record at the

18         NYT," New York Times, "that the NCI CD19 CAR owes a lot to

19         Dr. Sadelain."

20                    When in life have you ever heard a reasonable person

21         say, it's a pity for someone to tell the truth?          Why is it a

22         pity?

23                    And Dr. Arie Belldegrun, we agree, and we discussed

24         it internally.     And, of course, you did hear Dr. Sadelain say

25         this was perhaps the biggest shock in his life.          And he




                      AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
 Case 2:17-cv-07639-GW-KS Document 611 Filed 12/18/19 Page 57 of 179 Page ID
                                 #:26865                              1374



 1         explained it never occurred to me that in providing

 2         information to a member of the National Cancer Institute, who

 3         works for the United States Government, that information that

 4         I provided to him would be turned into a commercial product

 5         with an entity I had nothing to do with.

 6                   At the time that Dr. Belldegrun on behalf of Kite

 7         entered into an agreement with NCI, Kite had no product, no

 8         CAR, no clinical trial resources whatsoever, only four or

 9         five employees at the time.       And why is he entering into that

10         agreement with NCI?     He said from the stand, the purpose of

11         the deal was to dramatically accelerate Kite's attempt to get

12         into the marketplace as quickly as possible.

13                   You heard testimony that Kite's CAR is the same as

14         the NCI CAR, that Kite made no changes to the CAR, that, in

15         fact, the backbone sequence is exactly the same.

16                   You heard that Dr. Belldegrun had to admit that he

17         had what he called Project Gold.       Now, Gold can mean a lot of

18         things.   It can mean a gold medal to advanced science.             But

19         we do know what Dr. Belldegrun's gold meant.         It meant

20         cashing in, not only for Kite's shareholders but personally.

21         And then when he cashed in on his Project Gold, he personally

22         made $660 million.

23                   Dr. Rosenberg copied Dr. Sadelain's CAR.         You see

24         this e-mail to Michel Sadelain.       And Dr. Rosenberg is saying,

25         "I'm glad to hear of your important work.         Do you have any




                     AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
 Case 2:17-cv-07639-GW-KS Document 611 Filed 12/18/19 Page 58 of 179 Page ID
                                 #:26866                              1375



 1         interest in having us use your chimeric CD19?"         That was

 2         Dr. Sadelain's CAR.     And Dr. Rosenberg is, of course, we know

 3         now -- we know now because we were able to get a lot of

 4         testimony into evidence as a result of the litigation -- that

 5         this looks like a polite little e-mail, but Dr. Rosenberg is

 6         getting his nose under the tent.

 7                   And later in 2009, this is a couple years after the

 8         phone call from Dr. Rosenberg to Dr. Sadelain, Dr. Rosenberg

 9         publishes a paper, and as he's required to do, he cites to

10         Dr. Sadelain's paper.      And this is part of the description of

11         Dr. Sadelain's backbone.

12                   And you heard Dr. Rosenberg -- you heard from

13         Dr. Sadelain that Dr. Rosenberg had copied Dr. Sadelain's

14         CAR.    It confirms that Dr. Rosenberg did what we discussed.

15         He used exactly our primers.

16                   When Dr. Belldegrun was asked:       "And you agree that

17         Dr. Sadelain's work was very valuable for Kite Pharma's

18         plans, correct," he said "Yes," as well as his own plans.

19                   Kite knew of Dr. Rosenberg's copying since at least

20         2012, or they at least had good reason to be concerned about

21         it.    And you see Dr. Ribas is communicating to

22         Drs. Jakabovits, the CEO of Kite, Dr. Bot, and

23         Dr. Belldegrun, saying he, Sadelain, sent his CD19 CAR

24         backbone to Steve Rosenberg.

25                   And you would think if Dr. Belldegrun was a




                     AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
 Case 2:17-cv-07639-GW-KS Document 611 Filed 12/18/19 Page 59 of 179 Page ID
                                 #:26867                              1376



 1         responsible person, he would say, well, wait a minute, if

 2         Dr. Rosenberg took this from someone else, I should ask.            I

 3         don't want to take someone else's patent, intellectual

 4         property rights.

 5                   He was asked:     "Did you ask Dr. Rosenberg if he used

 6         Dr. Sadelain's backbone?      No."

 7                   Did Dr. Jakabovits ask?      No.    And you saw or heard

 8         her yesterday where she couldn't remember a whole lot of

 9         things, but it was very clear from what she did say that

10         there was a question about the origin of the NCI CAR and the

11         documentation said that she is interested in learning about

12         the genesis of the CAR from Dr. Rosenberg.         But she just

13         couldn't recall things, couldn't recall specifics or

14         generalities.

15                   And Dr. Bot who was also close to the situation,

16         also who was at Kite, he didn't bother to ask the question.

17         And Dr. Belldegrun said when asked about the backbone, "Is it

18         Dr. Sadelain's three-part CAR?       He said, "Yes."

19                   "And it's also the backbone of Kite Pharma's

20         three-part CAR, correct?"      And he knows it today, so he had

21         to answer "yes" under oath.

22                   And here is another e-mail.        Let me tell you and

23         share with you something that may be self-evident.          Of

24         course, these e-mails are internal e-mails at Kite, so the

25         people at Sloan Kettering wouldn't know about them, but when




                     AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
 Case 2:17-cv-07639-GW-KS Document 611 Filed 12/18/19 Page 60 of 179 Page ID
                                 #:26868                              1377



 1         a lawsuit is filed, both sides get to make formal requests

 2         for documents and formal requests to take the testimony of

 3         witnesses under oath, which we call a deposition.

 4                    So think of it as being akin to subpoenaing

 5         documents.     We didn't know this when the lawsuit was first

 6         filed, but we found out.      And I'm only going to point to a

 7         sample of what we learned.

 8                    This is from Dr. Belldegrun.      He's asking, "What is

 9         the difference between Rosenberg and the MSK," Memorial Sloan

10         Kettering, "construct?"      "Very similar.    Same signaling

11         domains."    That's the backbone, the signal 1 and signal 2

12         domains.

13                    And Dr. Belldegrun was asked:      "You were plenty

14         unhappy when you heard that Dr. Rosenberg was giving some

15         credit to fellow scientist Dr. Sadelain?"         What planet is he

16         living in?     We -- I think most of us grew up, we would give

17         credit to our friends, we give credit to our brothers and

18         sisters and our parents, we give credit freely, and I think

19         most human beings today as adults do so as well.          But not

20         Dr. Belldegrun.     He was plenty of unhappy that Dr. Rosenberg

21         gave any credit to Dr. Sadelain.

22                    So we said at the outset, there are different

23         choices for a company like Kite Pharma that could be

24         responsible.     One way is to get a license.      And you heard

25         from Dr. Dash, who has been with us throughout trial, sitting




                      AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
 Case 2:17-cv-07639-GW-KS Document 611 Filed 12/18/19 Page 61 of 179 Page ID
                                 #:26869                              1378



 1         in the front row, that she remembers Dr. Belldegrun saying

 2         that Kite, his company, needed a license to the patent.

 3                    But here is what Dr. Belldegrun tried to tell you

 4         from the stand.     "I had no interest to talk with anyone in

 5         technology transfer."      What he's trying to communicate is I

 6         wasn't interested in the patent.       And time and time again he

 7         was saying, "No, I wasn't talking about licensing the '190

 8         patent.    I was just going to talk to people at Sloan

 9         Kettering about our letting them participate in some of our

10         clinical trials."

11                    But if that is true, why is he talking to Dr. Dash

12         who is in the technology transfer office or wanting to talk

13         to Dr. Greg Raskin who was also in the technology transfer

14         office or at an earlier point in time trying to talk to

15         Dr. Sadelain who doesn't treat patients, who doesn't himself

16         participate in clinical trials?       He's a scientist.     That is

17         how he focuses his attention.

18                    And Dr. Dash addressed this very issue when she

19         said, "It was surprising because I had called him to tell him

20         that we wouldn't be able to meet, and actually there wasn't a

21         conference room available at the time, but he just came

22         anyway."    Shows up, pulls up a chair next to Dr. Dash, and

23         then he wants to discuss the Sadelain patent.

24                    Those are direct contradictions between the

25         testimony of these two witnesses.       And it will be up to you




                      AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
 Case 2:17-cv-07639-GW-KS Document 611 Filed 12/18/19 Page 62 of 179 Page ID
                                 #:26870                              1379



 1         to decide who is more believable.

 2                   Dr. Belldegrun tried to license the Sadelain patent.

 3         At the very end of testimony yesterday, I was asking

 4         Dr. Jakabovits some questions.       You may remember she was

 5         looking at a document, seeing if her recollection was

 6         refreshed.    And along the way, she said that at some point in

 7         time she understood that Dr. Belldegrun had contacted

 8         Memorial Sloan Kettering to potentially license their

 9         technology, referring to the patent.

10                   And you've also seen this e-mail from Dr. Jakabovits

11         to a number of people, and she is advising, "Let's not look

12         too eager" -- and this is not look too eager to get a license

13         to the '190 patent -- "because it may send the wrong message

14         about the value of their IP for us."

15                   So, again, Dr. Belldegrun was asked, "Did you talk

16         with Dr. Dash about IP licensing?       Absolutely not."     Pretty

17         strong statement.

18                   Here is what Dr. Jakabovits at the very end of the

19         day yesterday said:     "There was a discussion between Arie

20         Belldegrun and Sloan Kettering office about a potential

21         license agreement."

22                   So this is Dr. Belldegrun's position:        No Sadelain

23         patent licensing discussion.       You heard that -- him say that

24         from the stand.     We know that Dr. Dash has a distinctly

25         different memory, that there were such licensing discussions




                     AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
 Case 2:17-cv-07639-GW-KS Document 611 Filed 12/18/19 Page 63 of 179 Page ID
                                 #:26871                              1380



 1         brought up by Dr. Belldegrun.       We know from the documents

 2         that it's directly contrary to what Dr. Belldegrun tried to

 3         tell you.    And, finally, at the end of the day yesterday, we

 4         know from Dr. Jakabovits that Kite did want to license the

 5         Sloan Kettering patent.

 6                   Dr. Belldegrun was asked, "Did you talk with

 7         Dr. Dash about IP licensing?       Absolutely not."    And then he

 8         went on to say, "I was not a CEO within the company, so why

 9         should I talk?"     And Dr. Dash plainly said, "I remember him

10         saying that Kite, his company, needed a license to the

11         Sadelain patent."

12                   So they didn't get a license.       But there were other

13         alternatives to a responsible company.        They could try to

14         invalidate the patent.      At trial, Dr. Belldegrun said -- was

15         asked, "So at some point in time, you had a concern about the

16         Sloan Kettering '190 patent, correct?"        He said, "No."

17                   But later at trial it came out that Kite filed for

18         what is called an inter partes review, a formal process in

19         the patent office to invalidate the patent because of

20         arguments about prior art and obviousness and anticipation

21         and the like.

22                   And then you saw whether this was or wasn't

23         important to Dr. Belldegrun and Kite.        He is giving a

24         presentation for the year 2016, and he has three highlights

25         of the year.    One of them is the U.S. Patent Office grants




                     AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
 Case 2:17-cv-07639-GW-KS Document 611 Filed 12/18/19 Page 64 of 179 Page ID
                                 #:26872                              1381



 1         the IPR.    Now, that just starts the process.       Someone files a

 2         petition, says to the patent office, will you hear the

 3         petition and hear our arguments?       And that is what is meant

 4         by granting the IPR.

 5                    And Dr. Belldegrun, he wasn't a bystander, because

 6         he reviewed Kite's IPR petition before it was filed.          He's

 7         the CEO.    He's reviewing the detailed legal documents.

 8                    In deposition, he was asked, "Did you review the IPR

 9         petition before it was filed?"       And he had said, "Yes."         At

10         trial he said no.     In deposition earlier he said yes.

11                    And he was asked, "And you understood that Sloan

12         Kettering and Juno took the position and expressed in detail

13         in the proceedings before the patent office through

14         Dr. Thomas Brocker's declaration that Kite infringes?"

15                    You may recall some evidence that Dr. Brocker had

16         submitted a declaration in the IPR proceedings in the patent

17         office, and there was something called a claim chart.           It

18         took each of the limitations of the claims of the '190 patent

19         and matched it against item by item what Kite was doing.              And

20         Dr. Brocker had concluded that Kite was infringing.          And

21         Dr. Belldegrun had to admit that he read this declaration.

22                    So in an unprovoked manner, because there was no

23         letter sent by Juno or Sloan Kettering at the time, Kite

24         files a petition to try and invalidate the '190 patent.              And

25         Dr. Belldegrun, who is closely following everything, reads




                      AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
 Case 2:17-cv-07639-GW-KS Document 611 Filed 12/18/19 Page 65 of 179 Page ID
                                 #:26873                              1382



 1         clearly that Dr. Brocker is saying there is infringement.

 2         That is all part of willful infringement.

 3                   And what happens at the end of the day?         The United

 4         States Patent Office decides all claims of the Sadelain

 5         patent are affirmed; that is, that Kite lost on every

 6         argument that they brought up before the patent office.              And

 7         the Kite challenge was completely rejected.

 8                   So they tried to invalidate.       They failed.    There

 9         are still some roads that they can travel responsibly.              Don't

10         infringe.     Change your product.    Use technology that is

11         different.     If you have stolen some technology, stop using

12         that technology, do something else.

13                   So they tried, and they had a product called

14         internally Kite 585, and they terminated.         They couldn't get

15         it to work.     They were trying to find a way to build a CAR

16         that worked that didn't use the '190 patent, and they failed.

17         And there is another product that NCI had called HU19, and it

18         was dropped.

19                   Kite did not change the construct.        Dr. Belldegrun

20         was asked about this.      "You never asked Dr. Rosenberg or

21         anyone else at NCI to change the construct?"         So this is the

22         time you can't get a license, you filed an official

23         proceeding in the patent office to invalidate the patent.

24         You tried and failed to what is called design-around, change

25         the product, and get it to work.       That's three strikes.         But




                     AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
 Case 2:17-cv-07639-GW-KS Document 611 Filed 12/18/19 Page 66 of 179 Page ID
                                 #:26874                              1383



 1         he still doesn't ask Dr. Rosenberg to change the construct.

 2         And those first three roads are not a possibility.

 3                   Now, that fourth road is infringement, and it's

 4         willful infringement.      Now, why would anyone do that?       Why

 5         would Dr. Belldegrun, who has got this wonderful educational

 6         background, why would he do that?

 7                   We know, we know because he was focused on first

 8         mover advantage.     Because he had in his mind, even if he

 9         hadn't named the project at the time Project Gold, and if you

10         are the first mover, you become entrenched, and KTEC19, which

11         became YESCARTA, was a product where they would have the

12         first mover advantage.

13                   They had witnesses, Kite did, that tried to get up,

14         an expert or two, some other people who have worked at Kite

15         and say, oh, yeah, first-mover advantage, no big thing.

16         There's some disadvantages.       Did they show you a document

17         that said in their internal planning, they said something

18         like safety first?     No, their documents are littered with

19         statements about first-mover advantage, including this e-mail

20         where Dr. Belldegrun says, "So far, so good.         But being the

21         first is the name of the game for us."        And being first was a

22         way to cash in.     So Kite willfully infringes.

23                   And here's a timeline.      Kite tries to license the

24         patent.   They first tried to license the patent before the

25         certificate of correction was issued.        So they tried to




                     AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
 Case 2:17-cv-07639-GW-KS Document 611 Filed 12/18/19 Page 67 of 179 Page ID
                                 #:26875                              1384



 1         suggest maybe to you that the '190 patent, before the

 2         certificate of correction, had a different sequence.          You've

 3         heard a lot of testimony about that.

 4                   But if it was a different sequence, then they didn't

 5         use it, meaning they started at amino acid 113 instead of

 6         114, then why are you trying to license a patent that you

 7         don't use?     Or if you thought the patent was invalid, why are

 8         you trying to license it?      Now there is this certificate of

 9         correction.

10                   So now the patent office has made clear that the

11         first numbered amino acid in sequence is 114.         And they still

12         try to license the patent.      And then Kite begins in April of

13         2015, clinical trials.      They file the attack in the United

14         States Patent Office for the IPR.       There's the final decision

15         in favor of Sloan Kettering in December 2016.         And then they

16         introduce in October of 2017 the YESCARTA product.          And that

17         same month, that same month is the month that Project Gold

18         came to fruition.

19                   And look at that.     This wasn't a company that just

20         said, oh, we kind of made a mistake, and now we've thought

21         about it.     These dates go 2013, '14, '15, '16, '17.       They

22         could have taken another responsible path.         And throughout,

23         Kite doesn't change its CAR.

24                   So you heard testimony from experts hired for this

25         case by Kite.     And one of their attacks is to invalidate --




                     AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
 Case 2:17-cv-07639-GW-KS Document 611 Filed 12/18/19 Page 68 of 179 Page ID
                                 #:26876                              1385



 1         to try and get you, convince you to invalidate the patent

 2         because of the enablement requirement.        But here's what's

 3         interesting.     When you're thinking about willful

 4         infringement, ask yourself the question:         Did I hear any

 5         witnesses say that in 2013 or '14, '15, or all those earlier

 6         years, that they thought the patent was invalid because the

 7         enablement requirement was not met?        And remember the

 8         enablement requirement is to make and use the invention

 9         without undue experimentation.

10                    And remember also that Dr. Rosenberg had no problem

11         after Dr. Sadelain said, hey, go look at this paper, I'll

12         talk to you about primers, they had no problem, no evidence

13         whatsoever that they had any problem making and using the

14         invention.     Did you hear a single Kite witness say that in

15         those earlier years, we believed this was a good defense, so

16         we could go ahead and infringe?       You didn't.    We saw a lot of

17         e-mails.     Did you see a single e-mail or study or anything

18         else?   The only analysis you heard from were so-called expert

19         witnesses that were hired for this case just to testify

20         before you.

21                    So there were no witnesses and no documents

22         supporting the enablement defense before this case.

23                    What about written description of invalidity?            You

24         heard some testimony about that same thing.         No witnesses.

25         No documents.




                      AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
 Case 2:17-cv-07639-GW-KS Document 611 Filed 12/18/19 Page 69 of 179 Page ID
                                 #:26877                              1386



 1                    What about the certificate of correction?        You did

 2         hear some testimony that went to the question of, well,

 3         looking at the '190 for the certificate of correction, where

 4         does the amino acids begin?       But did anyone say, any fact

 5         witness say, we think that patent is invalid, or particularly

 6         after the certificate of correction was granted by the patent

 7         office, did you hear from any Kite witness that they believed

 8         the certificate of correction was invalid?         Because by the

 9         time the certificate of correction issued, there's no

10         question what the sequence is.       You didn't hear a single such

11         witness say that.

12                    The only thing you heard was from Kite experts paid

13         to testify before you.      So no witnesses.

14                    Did you see any documents?      At Kite, they use

15         e-mails, we have seen a lot of their e-mails.         You would

16         think that someone with all the Ph.D.s running around Kite

17         would say, well, I think the certificate of correction is

18         invalid.    There were no such documents.

19                    So here's more information about Kite's willful

20         infringement.    You can see 2013, the certificate of

21         correction is granted.      Kite's still trying to license the

22         patent.    And the dates march on.     And then YESCARTA is

23         introduced.

24                    And during this period of time, there is no

25         evidence, fact witnesses at Kite, fact witnesses outside of




                      AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
 Case 2:17-cv-07639-GW-KS Document 611 Filed 12/18/19 Page 70 of 179 Page ID
                                 #:26878                              1387



 1         Kite, that the '190 patent is invalid for those three

 2         defenses that they want you to believe in today.

 3                   You are, as His Honor said, you're the judges of

 4         credibility.    And I've got to tell you something, I guess, we

 5         all learn, we learn it as kids, we learn it as teenagers, and

 6         we certainly learn it as adults talking to our own kids,

 7         someone else's kids, whatever it is, talking to other adults,

 8         it doesn't matter what your background is, the level of

 9         education, walk of life, human beings have innate common

10         sense.   We have the ability to judge the credibility of

11         people we meet, we interact with.       And everyone's on equal

12         footing on that.

13                   If you decide that a witness has deliberately

14         testified untruthfully about something important, you may

15         choose not to believe anything that the witness said.           That's

16         what His Honor said.

17                   And on the other hand, if you think the witness

18         testified untruthfully about some things, but told the truth

19         about others, you may accept the part you think is true and

20         ignore the rest.

21                   So let's address some points of credibility.

22         Dr. Belldegrun was asked at trial, "And you would say you

23         kept in close touch," this is with Dr. Rosenberg, "and it

24         involved everything academically, socially, business,

25         everything under the sun?      And that he was a mentor to you?"




                     AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
 Case 2:17-cv-07639-GW-KS Document 611 Filed 12/18/19 Page 71 of 179 Page ID
                                 #:26879                              1388



 1         Now at trial, he's got an incentive to say no.         Because he

 2         hasn't asked Dr. Rosenberg where he got the construct from,

 3         its genesis, how it originated, so he testifies under oath

 4         "no."

 5                   Here's what he testified earlier in deposition:

 6                   "QUESTION:     In what ways did you keep in touch with

 7         Dr. Rosenberg?"

 8                   This is going back to 1985.

 9                   "ANSWER:     Academically, socially, business,

10         everything, mentor."

11                   He's directly contradicting himself.

12                   Dr. Belldegrun at another point in the trial:

13                   "Did you talk with Dr. Dash about IP licensing?

14                   "Absolutely not."

15                   Here's Dr. Dash's testimony, to the contrary.

16                   Here is a statement by Kite's lawyer in opening

17         statement of this trial.      Quote, "YESCARTA doesn't owe

18         anything to the '190 patent."       But Dr. Arie Belldegrun at

19         trial had to say in responding to a question about the New

20         York Times article, and he was asked:        "Do you see that?"     He

21         says, "Yes," he was aware of that article.         Well, that is

22         pretty interesting.

23                   Dr. Garcia, he's a paid expert for Kite on the scFv,

24         that's the green part of the construct.        And he wanted to say

25         the patent was very, very broad, because that would support




                     AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
 Case 2:17-cv-07639-GW-KS Document 611 Filed 12/18/19 Page 72 of 179 Page ID
                                 #:26880                              1389



 1         his opinion that the patent might be invalid.         "So you said

 2         maybe half an hour ago the claims of the '190 patent are very

 3         broad?"     "Yes."

 4                   But here's a Kite document.       This was in connection

 5         with the IPR proceeding where Kite is saying to the world at

 6         large in a press release that the '190 patent was narrow in

 7         scope, directly contradicting their paid expert.

 8                   At trial, Dr. Garcia was asked, "You personally have

 9         never even attempted to make an scFv-based CAR; is that

10         correct?"     "No, it's not."

11                   But at deposition, he was asked, "You personally

12         have never even attempted to make an scFv-based CAR,

13         correct?"

14                   "ANSWER:    Not specifically a CAR."

15                   More with Dr. Garcia:      "Prior to 2018, you had never

16         constructed any kind of CAR at all, correct?"         "That's not

17         correct."

18                   At deposition:     "And prior to 2018, you had never

19         constructed any CAR construct, right?"        "That's correct."

20                   It's interesting what happens when someone who might

21         otherwise be a nice guy, but when they're paid well enough by

22         a defendant corporation how they can shift their views

23         180 degrees.

24                   You heard from Kite's counsel in opening, Kite

25         doesn't infringe a patent.      There absolutely is a question




                     AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
 Case 2:17-cv-07639-GW-KS Document 611 Filed 12/18/19 Page 73 of 179 Page ID
                                 #:26881                              1390



 1         about infringement in the case.       And it was said multiple,

 2         additional times.     They were saying no infringement, but then

 3         midway through the trial, you saw this:        A stipulation, an

 4         agreement of infringement in an official court filing that

 5         said "YESCARTA therapy meets each limitation of the asserted

 6         claims," which for people who are patent lawyers means

 7         infringement.

 8                    This is Andy Dickinson, the Kite chief financial

 9         officer.     He was asked, "So where does this 6.2 billion

10         valuation come from?"      Remember that is -- Gilead is doing a

11         valuation.     And he says in effect, "So there's a technical

12         accounting treatment where accountants come up with an

13         accounting value that's totally different from than an

14         intrinsic valuation model," and he went on.         I couldn't

15         understand anything he was saying.

16                    But on cross-examination, when asked about a 10K

17         filing with the Securities and Exchange Commission of the

18         United States, it came out that it's required for

19         publically-traded companies like Gilead, and they must

20         contain truthful and accurate statements.         So maybe you can

21         believe the gobbledygook at trial or you can believe what

22         they had to file with the United States Securities and

23         Exchange Commission.

24                    Dr. Richard Junghans was held out by Kite as an

25         independent expert.     Let's see if he was an independent




                      AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
 Case 2:17-cv-07639-GW-KS Document 611 Filed 12/18/19 Page 74 of 179 Page ID
                                 #:26882                              1391



 1         expert.     Kite or Gilead are paying for services, $1,900 an

 2         hour.     You can make a pretty good living at $1,900 an hour

 3         without any overtime.

 4                    At a 40-hour week, that works out to $76,000 a week.

 5         If you work 50 weeks in a year, 40 hours a week no overtime,

 6         that's 3.8 million a year.      And what else came out in the

 7         testimony, he's been working on this case for about a year

 8         and a half.     He's given a couple depositions, submitted

 9         different declarations, submitted different expert reports.

10         I'm not saying he was working full-time for a year and a

11         half, but he's been working on the case for a year and a half

12         at this rate.     And there's no evidence about this being

13         reasonable.     If it was reasonable, if it was his customary

14         rate, you would have heard him say that, because the lawyers

15         for Kite would have said, and do you go to others and do they

16         pay you $1,900 an hour?      Is this your usual and customary

17         rate?     You heard none of that.

18                    Dr. Rao, seventh case testified for Gilead.        By

19         itself, that's not a big deal.       But for this case alone going

20         back several months ago, he had already been paid or invoiced

21         over a million dollars for this one case, much less the other

22         six cases.

23                    It's up to you to judge whether you think these

24         so-called experts are really independent and believable.

25                    Oh, and Dr. Schuetz, he tried to hold himself out as




                      AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
 Case 2:17-cv-07639-GW-KS Document 611 Filed 12/18/19 Page 75 of 179 Page ID
                                 #:26883                              1392



 1         an independent third party, just had no dog in this hunt.

 2         Well, he was represented by Kite's law firm.         In fact, more

 3         than one law firm had meetings with him.         And there were

 4         meetings with several lawyers at several of those meetings.

 5         And he was paid $500 per hour by Kite.        And he also admitted

 6         that over the years, he wanted to do a deal with Gilead to

 7         get a source of funding.

 8                    Now, what does Kite say to all this?       Well, they

 9         have their excuses for the purposes of this trial.          They say

10         that the patent is invalid because their certificate of

11         correction is invalid.      Kite argues there was a clerical

12         error, and that the jury should kill a valuable patent.

13                    Now, let's think about that from a common sense

14         point of view.     This incredibly valuable patent for the first

15         living drug in cancer treatment ever.        It is not just

16         Dr. Sadelain and the named coinventors, but it's a lot of

17         other folks at Sloan Kettering who were working on this

18         project.    And they achieved something that we hope, and I

19         think everyone in this courtroom hopes, will be of benefit to

20         all of person kind.

21                    And it seems that the main defense they're putting

22         forward is, well, some human being made a clerical mistake,

23         and sorry, we're going to exploit that.        And it's on that

24         basis that Defendant Kite wants you to take away the valuable

25         intellectual property rights of the folks at Sloan Kettering.




                      AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
 Case 2:17-cv-07639-GW-KS Document 611 Filed 12/18/19 Page 76 of 179 Page ID
                                 #:26884                              1393



 1         They're asking you to kill that valuable patent and

 2         Dr. Sadelain didn't do anything wrong.        He didn't make a

 3         clerical mistake.     No one else did.     But the law, the law

 4         doesn't recognize what they're trying to argue to it.           Yes,

 5         the law recognizes that if the certificate of correction is

 6         invalid, the patent can be invalidated.        But you've heard the

 7         jury instructions and you've heard evidence about it.           And,

 8         in fact, as soon as it was discovered, it was discovered some

 9         years later, the people for Sloan Kettering went back to the

10         patent office and said -- I think you heard testimony, they

11         heard about it one day and they went to the patent office the

12         next day and applied for the certificate of correction.

13                   Keep in mind with this defense, first, that a patent

14         is presumed valid, a patent challenger can only invalidate

15         the claims of a patent by clear and convincing evidence.            In

16         most civil cases, to prove something, the plaintiff or

17         someone with the burden of proof on defense has to prove it

18         by a much lower standard.      It's called a preponderance of the

19         evidence.    So an example would be there's an automobile

20         accident, the plaintiff says the defendant bumped my car.

21         The plaintiff has to prove it by a preponderance of the

22         evidence.

23                   And the way most people think about that is you have

24         a blindfolded lady justice, she's got the scales of justice

25         to put evidence on one side, evidence on the other.          If the




                     AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
 Case 2:17-cv-07639-GW-KS Document 611 Filed 12/18/19 Page 77 of 179 Page ID
                                 #:26885                              1394



 1         scale tips slightly in favor of the plaintiff, then the

 2         plaintiff will win in that case.

 3                    But patent law in this area recognizes there's a

 4         much heavier burden of proof, and it's called clear and

 5         convincing.     And their certificate of correction is presumed

 6         valid.     And to invalidate it, it must be by that clear and

 7         convincing standard.

 8                    And here's what's part of the Court's instruction:

 9         "A certificate of correction may correct a clerical or

10         typographical error, even if the correction broadens the

11         scope of the claims, as long as the error is clearly evident

12         to a person of ordinary skill in the art reviewing the full

13         record."

14                    Here's another instruction that you've heard from

15         the Court:     "A patent owner may apply for a certificate of

16         correction at any time the patent expires."         So even though

17         there was a passage of some years, there's no disadvantage.

18         There shouldn't be any disadvantage to Sloan Kettering.

19                    And as we've seen, Kite admits that there's an

20         infringement since YESCARTA's launch.        And the patent office

21         procedure is a formal established process for requests for

22         certificate of correction, because guess what?         In very

23         technical subject matters like this, human beings will make

24         clerical errors or typographical errors.         And then if it

25         meets the standards within the patent office, applied to the




                      AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
 Case 2:17-cv-07639-GW-KS Document 611 Filed 12/18/19 Page 78 of 179 Page ID
                                 #:26886                              1395



 1         petition for the certificate, the director will issue the

 2         certificate of correction.

 3                    And here, there is evidence about the amino acids

 4         114 through 220 that was intended to be the claimed

 5         invention.     Notice it doesn't mention 113.      And you heard a

 6         lot of evidence that while the patent was still in the patent

 7         office originally, Sloan Kettering said, oh, we saw a

 8         mistake, there was a mistake, and you saw this chart

 9         referring to whether it should have started at amino acid 113

10         or 114.    And they officially tried to correct the mistake at

11         the time when it was first caught in 2007, I believe.

12                    And after the United States Patent Office considered

13         all the evidence and whether the standard was met, the

14         certificate of correction was issued.         And it was signed by

15         Ms. Teresa Stanek Rea, who was the acting director of the

16         United States Patent and Trademark Office.

17                    Now, what is the evidence that Defendant Kite

18         pointed to?     They referred to Dr. Bot.      But he didn't read or

19         understand the Sadelain patent.         Here is the testimony by

20         him:   "All you did is look at that SEQ ID NO:6 in the

21         sequence listing?"        "Correct."   "And no other parts of the

22         patent?"     "Correct."     So he didn't even read the entire

23         patent, the text of the patent.         Well, the rule is you've got

24         to do that.     And then you have to read the entire official

25         history, we call it the prosecution history or the file




                      AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
 Case 2:17-cv-07639-GW-KS Document 611 Filed 12/18/19 Page 79 of 179 Page ID
                                 #:26887                              1396



 1         history, before the patent office.         He just went to a little

 2         listing that had a long series of letters and said, a-ha, I

 3         think that's what it is.      Didn't look at anything else.

 4         Funny coincidence.      Didn't want to look at other evidence

 5         that might differ from an opinion he wants to tell you about.

 6                   "QUESTION:     Now, the Sadelain patent is a patent

 7         that covers an actual CAR construct, right?" he was asked.

 8                   "ANSWER:     I don't think so.    I think it covers a

 9         specific sequence that is part of the CAR construct, but not

10         a CAR construct."

11                   Now, Dr. Schuetz.     He came here, tried to be an

12         independent witness.      Well, if he was really independent, why

13         is he being paid $500 an hour by Kite?         Why is he flying here

14         from Boston if he's really independent?         Why did he have so

15         many meetings with two Kite law firms with multiple lawyers

16         at many of those meetings?      He testified here 15 minutes.

17         You have to have all those meetings with all those lawyers?

18         And think about this, he said not only did I meet with all

19         the Kite lawyers and Gilead lawyers, I hired a lawyer or law

20         firm for me, Dr. Schuetz.      It wasn't a mere coincidence that

21         the lawyers he hired are the exact same lawyers, the exact

22         same law firm that's representing Kite in this courtroom.

23         He's far from being an independent witness.

24                   And as you know, he spent several years pursuing a

25         potential strategic partnership and no doubt has hopes.




                     AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
 Case 2:17-cv-07639-GW-KS Document 611 Filed 12/18/19 Page 80 of 179 Page ID
                                 #:26888                              1397



 1         Strategic partnership here means provide me with some money,

 2         some financing for a project that I want.

 3                   Dr. Schuetz said, oh, I couldn't figure out the

 4         sequence.    I couldn't figure out it was 114 to 220.        It was

 5         just so confusing.      But here it is, the sequence, 114 to 220.

 6         He didn't point to that.      And before the COC, he said, well,

 7         we were going to pay an enormous amount of money, potentially

 8         get the rights to the patent.       You might remember, he wanted

 9         to form a company, get a license to the '190 patent, and

10         exploit it to be a Kite-like company.        So that's why he's

11         interested in reading about the patent.        That tells you

12         something about the value of it.       He's reading this patent

13         and says this is valuable.      And now he's reading it in

14         detail.

15                   So both before the COC was actually issued and

16         after, he still wanted to pursue that license.         So if he

17         thought the patent was invalid before the COC, he still

18         wanted a license.      And after the COC, if he thought the COC

19         was invalid, he still wanted a license.        That doesn't make

20         sense in the real world.

21                   THE COURT:     Mr. Chu, I remind you that we have a

22         program at 11:30.

23                   MR. CHU:     My apologies to the ladies and gentlemen

24         of the jury, and to Your Honor.       And I'm happy to stop right

25         here.




                     AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
 Case 2:17-cv-07639-GW-KS Document 611 Filed 12/18/19 Page 81 of 179 Page ID
                                 #:26889                              1398



 1                    THE COURT:    Thank you.   And with that, please return

 2         back to the courtroom.      We'll make it at 1:15 -- 1:20, make

 3         it 1:20.    During your absence, do not discuss the case

 4         amongst yourselves or with any other person, please.

 5                    THE CLERK:    All rise for the jury, please.

 6                    (Thereupon, the jury retired from the courtroom.)

 7                    (Thereupon, there was a brief recess.)

 8                    THE COURT:    We are back on Juno versus Kite.      We

 9         have all counsel present.      We are ready for -- to bring the

10         jury back in.    And I just want to alert counsel that I have

11         to leave at 3:30, so at 3:30 I have to make literally a

12         beeline out of here.

13                    MR. DANE:    Your Honor, there are a couple of issues

14         that came up regarding the first half of Mr. Chu's closing.

15         Could we approach?

16                    THE COURT:    The request at this time would be

17         denied.    If you have an objection to the -- I would encourage

18         both sides not to object, but you have to make a

19         determination as to whether you need to.         And then if you

20         need to object, just the Court will rule at the time.

21                    MR. DANE:    I very much do not want to interrupt

22         Mr. Chu's closing.      He made a misrepresentation of fact.

23                    THE COURT:    Again, you are going to have to make a

24         determination as to whether an objection should be entered

25         during the course of counsel's argument to the jury.




                      AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
 Case 2:17-cv-07639-GW-KS Document 611 Filed 12/18/19 Page 82 of 179 Page ID
                                 #:26890                              1399



 1                    (Pause in proceedings.)

 2                    THE COURT:     I'm informed it will be about two

 3         minutes.

 4                    And, Mr. Chu, I think we have the -- you used

 5         49 minutes of your two hours.

 6                    MR. CHU:     Thank you, Your Honor.

 7                    THE COURT:     Thank you.

 8                    MR. CHU:     Could I ask for 40 minutes more?     I'm

 9         kidding.

10                    THE CLERK:     All rise for the jury, please.

11                    (Thereupon, the jury returned to the courtroom.)

12                    THE COURT:     We have our jury reassembled with

13         counsel present and the parties are present.         We continue

14         with the -- please have a seat -- argument of counsel by

15         Mr. Chu.

16                    MR. CHU:     Thank you very much, Your Honor.

17                    Good afternoon, ladies and gentlemen.

18                    Before we broke for lunch, we were talking about the

19         certificate of correction evidence.        And sometimes I have

20         been referring to it as COC.       And we were just about to

21         discuss the expert for Kite, Dr. Junghans.

22                    He testified that he assumed a mistake was

23         intentional.    And here is his testimony.       You can see it in

24         quote marks.    And you may have noticed in the lower left-hand

25         corner, we actually put a specific citation to the trial




                      AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
 Case 2:17-cv-07639-GW-KS Document 611 Filed 12/18/19 Page 83 of 179 Page ID
                                 #:26891                              1400



 1         transcript, because we want to check the facts very

 2         carefully.

 3                   If you think about that testimony on certificate of

 4         correction, he assumed the conclusion because the certificate

 5         of correction is for a clerical mistake, but he was assuming

 6         there was no mistake, that they intentionally submitted the

 7         incorrect sequence.     So he says that was intentional.        You

 8         didn't hear that from Dr. Sadelain.        You heard the opposite.

 9                   Dr. Rosenberg didn't think it was intentional,

10         because he's always used 114 to 220 after his call with

11         Dr. Sadelain.    And Kite has always used 114 to 220.

12                   The certificate of correction is valid.         You heard

13         from Dr. Quackenbush there was a clearly evident error, and

14         the amino acids 114 through 220 are clear from the patent

15         text and the entire prosecution history.

16                   Now, let's go to the next defense.        It is the

17         contention of Kite that the patent is invalid because of

18         enablement and written description defenses.         Here is a way

19         to think about it in the real world:        Enablement is being

20         able to make and use the invention by a person of skill in

21         the art after she or he reads the patent.

22                   And think about that.      Dr. Sadelain pointed to a

23         paper, told Dr. Rosenberg some information.         And then the

24         question is, did NCI and Dr. Rosenberg have any problem in

25         making and using Sadelain's '190 patent?         And did the patent




                     AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
 Case 2:17-cv-07639-GW-KS Document 611 Filed 12/18/19 Page 84 of 179 Page ID
                                 #:26892                              1401



 1         have a written description that informed one about the full

 2         scope of the claims?

 3                    So here is Dr. Garcia's testimony:       "You would agree

 4         that by 2002, a skilled person would have had a reasonable

 5         expectation of success in using an scFv as a component of a

 6         CAR, correct?     Answer:   I disagree."

 7                    That's interesting.     He is actually the second

 8         expert that Kite hired for this.       Because you heard evidence

 9         about a Dr. Abken.     He was an expert for Kite in connection

10         with that patent office proceeding.        And what he said is in

11         those quote marks at that particular exhibit number.

12                    He said:   "A skilled person also would have had a

13         reasonable expectation of success in using a single-chain

14         antibody as a component in a chimeric TCR."         Ask yourself,

15         why do they have one expert, very well-qualified Dr. Abken,

16         rendering an opinion in writing in trying to be an expert for

17         Kite, and then they discard Dr. Abken, get someone else who

18         is going to come up with a completely different opinion?

19                    Are scFvs old and routine technology?       Dr. Garcia

20         said no.

21                    Dr. Sadelain said yes in testimony in this

22         courtroom.

23                    Dr. Brocker you heard from yesterday, he said yes.

24                    Now, Dr. Belldegrun also said yes.       He, in fact, was

25         asked:     "Look at the green part, which is the scFv.       Was that




                      AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
 Case 2:17-cv-07639-GW-KS Document 611 Filed 12/18/19 Page 85 of 179 Page ID
                                 #:26893                              1402



 1         old going back to the 1980s?"       And he said "yes" without

 2         qualification.

 3                   And Dr. Abken, you've already seen his signed

 4         declaration in connection with the IPR.

 5                   Now, who is telling the truth on this important

 6         question?

 7                   Dr. Rosenberg used Dr. Sadelain's backbone, and it

 8         worked well with different scFvs.

 9                   Dr. Garcia is saying that the information in the

10         Sadelain patent is not enabling.       Well, the patent examiner

11         during the original patent proceedings has to make a decision

12         for every patent application, is the disclosure enabling?

13         Does it teach a person of skill in the art how to use the

14         invention?

15                   And remember that the patent examiner is someone who

16         is trained in that particular area of technology and trained

17         in the law.    So she has to make a decision about whether the

18         patent is enabling and has to make a decision about whether

19         the patent meets the written description requirement.           And

20         the examiner here did that in the normal course of

21         examination.

22                   Dr. Sadelain is consistent with that from his

23         testimony here at trial, Dr. Brocker as well, and

24         Dr. Rosenberg is consistent in the sense that there is no

25         evidence from anyone that he had any problem or anyone had




                     AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
 Case 2:17-cv-07639-GW-KS Document 611 Filed 12/18/19 Page 86 of 179 Page ID
                                 #:26894                              1403



 1         any problem whether at NCI or Kite in understanding how to

 2         make and use Dr. Sadelain's invention.

 3                    Dr. Brocker testified that the scFvs share common

 4         structural features, that making them was routine, testing

 5         them was routine, and it was easy for a lab technician to

 6         make.    And you might recall he told a story about a fellow

 7         who was a high school dropout, who was a dishwasher

 8         initially, got a job in his lab, and just went ahead and

 9         started making these scFvs on his own.

10                    Dr. Brocker said that the scFvs share common

11         structural features.

12                    And here is also testimony from Dr. Sadelain where

13         he was asked about using different scFvs for the anti-CD19.

14         And he said, "Probably up to 30 of them, and they all

15         worked."

16                    So let's go to the next excuse or defense.        Kite

17         points its finger at Juno, basically saying Juno is a

18         failure.     But here is the basic evidence:      Kite got to market

19         first.     Juno with JCAR15 had problems.

20                    And you heard testimony that we brought forward

21         about deaths, in one study 38 patients, five people passed

22         away.    And you heard, first of all, that unlike others who

23         came here to testify, the folks at Juno reported it

24         immediately to the National Institutes of Health.

25                    That wasn't true with Dr. Junghans when he had three




                      AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
 Case 2:17-cv-07639-GW-KS Document 611 Filed 12/18/19 Page 87 of 179 Page ID
                                 #:26895                              1404



 1         deaths out of six patients.       And he tried to say, well, I

 2         thought I just had to report the deaths once a year, make an

 3         annual report.

 4                   So here is JCAR17.     And you see the overall response

 5         rate is slightly better for the JCAR17 than YESCARTA and

 6         equivalent for the complete response rate.         Now, you look at

 7         the number of patients, 274 for JCAR17.        What Kite wants to

 8         say is they are just great at manufacturing.

 9                   Well, for every one of those 274 patients, Juno has

10         to make the product.     Whether it takes the same amount of

11         time or a little bit more time in days, the end result is

12         that either Juno's overall response rate is a little bit

13         better or the same for the complete response rate.

14                   But here is what is really telling:        This is the

15         comparison of safety.      Both of the items, cytokine release

16         syndrome and neurotoxicity events, are bad things.          You want

17         to have a much lower percentage.       And you heard testimony

18         about the folks at Juno that they are really focused on

19         safety, safety, safety, not in getting to market first to get

20         the first mover advantage.

21                   And you could decide for yourself what is better for

22         a company to do, get to market first, have the first mover

23         advantage, and have your senior executives cash out, or to

24         have a group of people, hard-working, who say, okay, we may

25         give up something in terms of sales, but it's safety first.




                     AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
 Case 2:17-cv-07639-GW-KS Document 611 Filed 12/18/19 Page 88 of 179 Page ID
                                 #:26896                              1405



 1                    And again, 291 patients, every one of those patients

 2         has to have making Juno the product for them.         How does that

 3         compare with the Kite number of the patients?         You heard

 4         roughly over two years they had I think it was 1,700,

 5         1,700-plus.    So they have more patients.

 6                    But it's a question of you saw the first number in

 7         the 200s, this number 291.      Whether one way of manufacturing

 8         is slightly faster, slightly slower, the proof is in the

 9         pudding.    JCAR17 is significantly safer.

10                    And YESCARTA wants to say, well, Juno had some

11         serious cases or fatal cases of cerebral edema, and we said

12         that right up front to you.       But the users of YESCARTA also

13         have that exact same problem.

14                    This is the official label for YESCARTA.        And here,

15         from the internal Kite documentation:        "Safety and efficacy.

16         Safety and efficacy is voted as the highest competitive

17         threat."

18                    And here is additional testimony about YESCARTA's

19         safety issues that come from Michael Amoroso who testified at

20         this trial.    He said, "Key disadvantages of YESCARTA include

21         the CRS and neurotoxicity problems."        And the concerns are so

22         great that they cannot use YESCARTA in an outpatient setting.

23         Physicians, of course, are concerned with safety.

24                    Now I'm going to go on to damages.       You've heard

25         that there is a hypothetical negotiation between the parties.




                      AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
 Case 2:17-cv-07639-GW-KS Document 611 Filed 12/18/19 Page 89 of 179 Page ID
                                 #:26897                              1406



 1         And for purposes of the law and this case, they can't take

 2         those other roads so now all we can do is ask you for a

 3         reasonable royalty.

 4                   In summary, the upfront payment should be

 5         $585 million.    You heard that from Dr. Ryan Sullivan.         And

 6         the running royalty rate should be 27.6 percent.

 7                   So first major point:      These two witnesses for Kite,

 8         both said without a CAR construct, there isn't anything.              The

 9         other side is likely to say, well, there has got to be

10         apportionment.     And there can be apportionment, nothing wrong

11         with that.    But if you are looking at the value of the

12         product and the entire product that is really administered or

13         the key element of it is the CAR construct, without that

14         construct, in this case Dr. Sadelain's construct, Kite would

15         have no product.

16                   You heard testimony earlier, ZUMA-1, 2 through 12,

17         they are all different projects at Kite.         Every single one of

18         them uses Dr. Sadelain's CAR construct.        You didn't hear any

19         evidence to the contrary.      It's only ZUMA-1 that is YESCARTA.

20         Everything else they have in the pipeline is using the same

21         construct.    And you would think because of the litigation, if

22         they had a reasonable alternative, they would pursue that.

23                   So here is YESCARTA.      And Kite points to things like

24         preclinical work, clinical trials, manufacturing, and other

25         types of things.     But did you hear any evidence that any of




                     AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
 Case 2:17-cv-07639-GW-KS Document 611 Filed 12/18/19 Page 90 of 179 Page ID
                                 #:26898                              1407



 1         those other items were special enough to be patented by Kite

 2         or Gilead?     You heard no such evidence.     But with respect to

 3         the CAR-T, you certainly heard a lot of evidence about the

 4         '190 patent.

 5                    You have heard, of course, that Gilead valued

 6         YESCARTA according to accounting principles at $6.2 billion.

 7                    Now, here are Kite's 2017 Project Gold estimates.

 8         So these were internal documents from Kite.         Kite estimated

 9         8.6 billion in gross profits and 7.1 billion in operating

10         profits through patent expiration.

11                    So the first years which have taken place are a

12         sales ramp-up so the total revenues are lower.         But they were

13         confident in estimating that the revenues go higher and

14         higher and higher, and these are the totals that they

15         estimated through the patent expiration.         And these are to be

16         compared against the number that is higher than 500 million

17         that is the request by Juno and Sloan Kettering for the

18         upfront payment.

19                    Dr. Ryan Sullivan also looked at what the harm would

20         be from Kite for Juno.      Again, he provided you with evidence

21         that in 2017 alone, Kite was projected to have an annual

22         revenue impact of a negative 1.3 billion on Juno.          So for

23         that one year there is this huge $1.3 billion negative impact

24         on Juno.

25                    You heard Ed Dulac take the stand.       He works with




                      AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
 Case 2:17-cv-07639-GW-KS Document 611 Filed 12/18/19 Page 91 of 179 Page ID
                                 #:26899                              1408



 1         Celgene.    And he's got a lot of experience in negotiating

 2         patent licenses.     Now, Celgene today owns Juno.       But when

 3         that wasn't the case, they had not a hypothetical

 4         negotiation, a real negotiation.       And it was a real

 5         negotiation about CAR-T technology, exactly what we are

 6         talking about here.

 7                    So, of course, Celgene wants to pay as little as

 8         possible in the upfront payment and Juno would like to get

 9         the biggest possible payment.       When all was said and done,

10         you heard Mr. Dulac say that Celgene had a $1 billion upfront

11         payment for Juno, plus a 14 percent running royalty, and

12         this, including the upfront payment, was for sales only

13         outside the United States.      And you also heard evidence that

14         the most important market in the world is the United States.

15         So it's just the part of the world that's not the United

16         States, Celgene wanting to pay less in the real world agreed

17         to a $1 billion upfront payment.

18                    So here are key data points.      6.2 billion, that's

19         how Gilead valued the single product YESCARTA.         7.1 billion,

20         I showed you just a few minutes ago, the net profits through

21         2024, which is the date of patent expiration from Kite.

22         1.3 billion annually, the projected negative impact to Juno.

23         And the 1 billion upfront payment Celgene to Juno only for

24         rights on CAR-T therapies outside the United States.          These

25         are real anchors in the real world with respect to what the




                      AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
 Case 2:17-cv-07639-GW-KS Document 611 Filed 12/18/19 Page 92 of 179 Page ID
                                 #:26900                              1409



 1         hypothetical negotiation outcome would have been.

 2                   So there is actually agreement between both experts

 3         on damages.     They agree on the structure.      There should be an

 4         upfront payment and a running royalty.        And they both had the

 5         same starting point.     Look at the Sloan Kettering/Juno

 6         agreement.     It's the only license to the '190 patent from

 7         Sloan Kettering, and it's between collaborators, not

 8         competitors, and it's at a very early stage.

 9                   So Dr. Sullivan commented on both the upfront

10         payment and the running royalty in this case requires

11         adjustments.     And indeed, Dr. Rao on the other side agreed

12         with the fact that there can and should be under certain

13         circumstances adjustments.

14                   And that the differences between the agreement on

15         the one hand and the hypothetical negotiation on the other

16         should be reflected in making those adjustments.

17                   You heard from Hans Bishop, who was the head of

18         Juno, he testified that he's now working, it's a company

19         called Grail that's trying to look at the early detection of

20         cancer.     And he mentioned a number of ways in which the two

21         companies are head-to-head competitors.        They compete for

22         investment dollars, they compete for the best people, the

23         best scientists, and they compete in terms of intellectual

24         property.

25                   So I want to spend a moment to explain the




                     AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
 Case 2:17-cv-07639-GW-KS Document 611 Filed 12/18/19 Page 93 of 179 Page ID
                                 #:26901                              1410



 1         difference between early stage and late stage.         In 2013, when

 2         Sloan Kettering or MSK and Juno entered into an agreement, I

 3         think everyone would agree that is early stage.          Everyone

 4         would say it's quite unclear whether they or anyone else will

 5         be able to bring a product to market.        Why is that?    Maybe

 6         the clinical trials don't work out, maybe there are

 7         roadblocks of various kinds.       They are looking ahead at the

 8         earliest possible date to four years down the line and an

 9         uncertain amount of years.      So how much is someone going to

10         be willing to pay when the future is really quite uncertain

11         and might go awry for any reasons?        That's why there's

12         agreement that if the license is very early stage, the cost

13         of the license will be dramatically lower than when it's late

14         stage.

15                   Here, the hypothetical negotiation is not just late

16         stage, it's right on the date when YESCARTA is being

17         introduced as a product in 2017, when all of the

18         uncertainties have been removed, when the FDA has approved

19         it, when all of the preclinical trials have been completed.

20         Phase I, phase II, phase III, whatever the regulations are,

21         all they have to do is go to physicians, tell them about the

22         product, encourage them to prescribe it for their patients.

23                   So early stage, you never know that it's going to

24         work out four or five years down the line.         Late stage in

25         this case at the date of the hypothetical negotiation, both




                     AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
 Case 2:17-cv-07639-GW-KS Document 611 Filed 12/18/19 Page 94 of 179 Page ID
                                 #:26902                              1411



 1         sides know everything has worked out and Kite's ready to go.

 2         And of course at the late stage, the cost of the license is

 3         going to be much greater for the party in Kite's position.

 4                   So there were adjustments made to licenses.

 5         Adjustment 1 had to do with the fact that there was a license

 6         from Juno to Novartis in connection with litigation.          And

 7         that Novartis was a company in the business.         So it's not

 8         between two companies or two entities that are collaborators.

 9         So there's -- that was the first adjustment.

10                   And then there was Adjustment Number 2 for the stage

11         between the early years and the late years.

12                   It ended up with that 27 percent royalty rate.            And

13         you might think, wow, that sounds high, 27 percent.          But

14         let's look at the profit margin for Kite.         It ranged -- and

15         this is a Kite internal document -- from 66 to an expected

16         83 percent.    So that is if the 27 percent was paid to Juno,

17         the rest, the 73 percent would stay in Kite's pocket.

18                   So Kite wouldn't make a profit on the remaining

19         73 percent because they have expenses.        After all those

20         expenses are paid, if you take the projection of 83 percent,

21         they would be doing really well by having that gross profit

22         margin.

23                   You might say you would expect a reasonable royalty

24         to come out 50/50.     That is, 50 percent of the 83 percent

25         profit margin perhaps should go to Juno, and the other half




                     AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
 Case 2:17-cv-07639-GW-KS Document 611 Filed 12/18/19 Page 95 of 179 Page ID
                                 #:26903                              1412



 1         should go to Kite.     It's not 50/50, because it would be more

 2         than 40 percent, the request is about 27 percent.

 3                   Here is the way to think about it.        On the left in

 4         the red bar, this is a profit margin -- by the way, that is

 5         not intentionally blacked out.       So in any event, there's an

 6         up to 83 percent profit margin and it's compared with the

 7         running royalty rate that is requested by Sloan Kettering and

 8         Juno.

 9                   So again, looking at the 27 percent royalty rate,

10         you heard from Ed Dulac, so he's not testifying as an expert.

11         He's negotiated over 100 licenses, over 70 for cancer

12         therapies.    And he testified that 20 to 30 percent royalty

13         rates are quite common for these late-stage therapies.              So

14         it's not just an expert witness taking the stand, it's a

15         gentleman who has been in this business a lot and has done a

16         lot of negotiations in the real world.        They're not just

17         hypothetical.

18                   Here is another real world fact:        Juno has already

19         paid to Sloan Kettering $150 million.        It effectively is an

20         upfront payment and it's not tied to sales.         And that's early

21         stage with a collaborator, not a competitor.

22                   So a summary would be the upfront payment we think

23         should be 585 million, the running royalty about 27 percent.

24         If you apply the 27 percent royalty rate to the sales to

25         date, and add it to the 585, it would come to 752 million.




                     AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
 Case 2:17-cv-07639-GW-KS Document 611 Filed 12/18/19 Page 96 of 179 Page ID
                                 #:26904                              1413



 1         Notice it's less than the key facts I pointed to earlier, the

 2         6.2 billion, the 7.1 operating income that Kite and Gilead

 3         expect to earn, and the billion dollars that Celgene agreed

 4         to.

 5                   Here's another way to look at it:        That $752 million

 6         request, which includes the running royalty and the upfront

 7         is on the left in green.      The upfront payment Celgene to Juno

 8         was over a billion, that's just the upfront payment, because

 9         there was also a running royalty.       The harm to Juno was

10         1.3 billion a year, and the value of YESCARTA was

11         6.2 billion, and Project Gold from the internal documentation

12         of Kite was 7.1 billion.      If you compare those numbers to the

13         752 million, you would see that they're reasonable in terms

14         of proportionality, but I would agree that a number that's --

15         100 million may sound high, 150 million may sound high, to a

16         lot of us, a million or 5 million or 10 million may sound

17         high, but this is an area where companies like Celgene are

18         willing to pay a billion dollars upfront to get valuable

19         technology in an upfront payment, and that's the real world.

20                   So now I'm going to go to the verdict form.         You're

21         going to be asked a small number of questions.         And I want to

22         show you the form and a way to fill it out if, on your review

23         of all the evidence, you agree with Juno.         But I don't mean

24         to suggest for a moment that somehow you should just fill it

25         out in favor of Sloan Kettering and Juno.         It will be up to




                     AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
 Case 2:17-cv-07639-GW-KS Document 611 Filed 12/18/19 Page 97 of 179 Page ID
                                 #:26905                              1414



 1         you.   But because of the way the form is worded and because

 2         lawyers design the law with negatives and double negatives, I

 3         want to make sure that you understand if you check a box a

 4         certain way, what does it mean.

 5                   So one of the questions, it won't be the first

 6         question, you can see it's Question 4, "Have plaintiffs

 7         proven by a preponderance of the evidence that Kite's

 8         infringement of the corrected claims of the '190 patent was

 9         willful?"    Focus first on the preponderance of the evidence.

10         That's the evidence standard where you have the two sides of

11         lady justice balancing, and if they're just slightly in favor

12         of the plaintiffs after your evaluation of the evidence, we

13         hope that you will conclude to check that box "yes," and it

14         would be in favor of Sloan Kettering and Juno.

15                   The actual first question on the form has to do with

16         the certificate of correction.       "Has Kite proven by clear and

17         convincing evidence that the certificate of correction is

18         invalid?"    We think the evidence supports writing an X in the

19         "no" box, but that will be up to you.        That's their first

20         argument about invalidity.

21                   Their next argument is Question 2 about enablement.

22         Again, has Kite proven by that higher burden of proof, clear

23         and convincing evidence, that the following claims of the

24         '190 patent are invalid?      And again, we hope the form, if you

25         look at it carefully, will make it clear that if you think




                     AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
 Case 2:17-cv-07639-GW-KS Document 611 Filed 12/18/19 Page 98 of 179 Page ID
                                 #:26906                              1415



 1         the evidence is in favor of Sloan Kettering and Juno, then

 2         writing Xs in the "no" box would make sense, but the

 3         decision, of course, is yours.

 4                    And the third argument by the other side, another

 5         ground of invalidity with that higher burden of proof by

 6         clear and convincing evidence is the written description

 7         defense.    And again, if you agreed that the evidence favored

 8         Sloan Kettering and Juno, we hope that you will mark it "X."

 9         If you find the evidence equal, if you find two experts

10         equal, then the burden of proof by a preponderance or clear

11         and convincing has not been met by Kite.         It has to be clear

12         and convincing.     So the scales are tipped in a way that to

13         you is clear and convincing, not just by a peppercorn or a

14         little bit, it must be clear and convincing.

15                    We hope that when you have been evaluating the

16         competing experts and the fact witnesses that came to trial,

17         that you didn't find them to be equal at all, that the

18         witnesses, witness after witnesses from Sloan Kettering and

19         Juno were telling you the truth no matter what the subject

20         was, and that the expert opinions were giving you their best

21         expert view on the evidence.       And if you compare it against

22         the Kite witnesses, we believe that the burden of proof by

23         clear and convincing should not be met, cannot be met, has

24         not been met by the Defendant Kite.

25                    Then there will be this item on the verdict form.




                      AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
 Case 2:17-cv-07639-GW-KS Document 611 Filed 12/18/19 Page 99 of 179 Page ID
                                 #:26907                              1416



 1         Again, it will be up to you to decide the amount.          I put the

 2         numbers here, the 585 million, just as a reminder if you want

 3         to make a note about it, as to what Sloan Kettering and Juno

 4         are requesting.     And for the running royalty percentage, we

 5         are requesting 27.6 percent.

 6                   Now, I want to mention a few other things.         This

 7         case is in part, and in large part, a battle of credibility.

 8         Who did you believe?      Did you believe Dr. Belldegrun or did

 9         you believe Dr. Sadelain and Dr. Dash?        When Dr. Belldegrun

10         testified in a way that's directly contrary to what

11         Dr. Sadelain said and what Dr. Dash told you.

12                   So, too, as an example when you are comparing

13         experts, Dr. Junghans testified on behalf of Kite.          You may

14         remember he said early on he had run that trial with a CAR

15         that had the three deaths.      I'm sure you recall what his

16         level of compensation was.      Was he equally credible?      Was he

17         more credible by clear and convincing evidence as opposed to,

18         and I'll mention their names, Dr. Quackenbush and Dr. Brocker

19         who are the experts on behalf of Sloan Kettering and Juno?

20                   Ladies and gentlemen, this morning I started out by

21         saying thank you.      And I can tell you've been very attentive

22         throughout the trial and during this period of closing

23         argument.

24                   So I thank you again.

25                   THE COURT:    Thank you, Mr. Chu.     And we turn now to




                     AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
 Case 2:17-cv-07639-GW-KS Document 611 Filed 12/18/19 Page 100 of 179 Page ID
                                  #:26908                             1417



 1          Mr. Dane.

 2                    MR. DANE:     Thank you, Your Honor.    Do the jurors

 3          have the notebooks?

 4                    THE COURT:     Do you have notebooks?

 5                    A JUROR:     No.

 6                    THE COURT:     Mr. Cruz is not here.

 7                    MR. DANE:     Is it possible to -- for them to get the

 8          notebooks, Your Honor?

 9                    THE COURT:     I'm not sure where they're at.

10          Mr. Cruz?

11                    THE CLERK:     Yes.

12                    THE COURT:     We need the notebooks.    Thank you.

13                    MR. DANE:     I can go ahead and start, Your Honor.

14                    THE COURT:     Please.

15                    MR. DANE:     Good afternoon, ladies and gentlemen.

16                    I guess that's about as high as it goes.        First of

17          all, I want to thank you very much for your patience and your

18          attention throughout this trial.       I have been sitting over

19          there, so I have a good look at all of you and I've seen that

20          you have paid very, very close attention, and that's

21          extremely valuable because this whole system depends upon

22          your doing that.

23                    This is a very strange process, as I'm sure you

24          appreciate for those of you who have not been on a jury

25          before.     It's not a normal conversation.      People who try to




                      AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
 Case 2:17-cv-07639-GW-KS Document 611 Filed 12/18/19 Page 101 of 179 Page ID
                                  #:26909                             1418



 1          explain things get interrupted quite a bit.        They have words

 2          put in their mouth and it may seem a little bit unfair.             And

 3          I agree with Mr. Chu about a lot of the issues in this case

 4          depending on credibility.      By my count, it seems like almost

 5          every single one of Kite's witnesses is supposed to have been

 6          bought and paid for or is a liar or is incompetent.

 7                    You saw Dr. Bot, who was one of those witnesses who

 8          was impugned by Mr. Chu.      You saw Dr. Schuetz, who is

 9          somebody who has no stake in this game.        He's a third party

10          who came out here because he thought he had valuable

11          information.     You saw how he was treated on

12          cross-examination.     And he's now been attacked as though he's

13          in our pocket.

14                    This is a witness who, as you heard, they asked to

15          sign a declaration that had false statements of fact.          So you

16          can make the determination about Mr. Schuetz, Dr. Schuetz

17          about whether you really think that he's somebody who was

18          paid off to come here to lie, or whether he was bullied by

19          attorneys.     That's a style of examination.     That's a style of

20          lawyering that some lawyers believe in.

21                    And you might have at certain occasions in the case

22          when you looked at the witnesses on the stand probably

23          thought, wow, I wish I weren't up there.        Um, because in this

24          situation, the lawyer has an inordinate amount of control.

25          I'm the person standing up here, Mr. Chu is the person




                     AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
 Case 2:17-cv-07639-GW-KS Document 611 Filed 12/18/19 Page 102 of 179 Page ID
                                  #:26910                             1419



 1          standing up here.    We have control of the questioning.        You

 2          can interrupt a witness.      You can get away with a lot of

 3          stuff that you couldn't get away with in real life.          So when

 4          you hear certain witnesses being accused of coming here and

 5          saying things that aren't true, when you hear them being

 6          asked exact questions from some deposition that they might

 7          have given eight months ago, and then having someone jump

 8          down their throat if they get one word wrong, think about

 9          whether that's the credibility of the witness and whether you

10          think the witness is really not being honest or whether maybe

11          there's something else going on.

12                    I'm going to try to spend most of my time talking

13          about the evidence and the facts because that's what really

14          matters in this case.     And I want to step back for a second

15          because there has been a lot of technical stuff in this case,

16          a lot of financial information.       And I want to make sure we

17          don't lose sight of one of the important things about this

18          case.   The case is about YESCARTA.

19                    YESCARTA came on the market in October 2017 and it

20          has been saving people's lives who would be dead.         These are

21          terminal cancer patients who had no other option.         And if

22          there were no YESCARTA, there would be hundreds, thousands of

23          people who would no longer be alive because Juno wouldn't be

24          treating them.    Juno does not have a product.       And YESCARTA

25          is a fabulous therapy.




                     AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
 Case 2:17-cv-07639-GW-KS Document 611 Filed 12/18/19 Page 103 of 179 Page ID
                                  #:26911                             1420



 1                     And I said at the beginning of the trial that when

 2          you get behind all the dramatics, and charades, this is a

 3          case about a greedy and disgruntled competitor that has not

 4          been able to succeed in putting out a CAR-T therapy and wants

 5          to take its pound of flesh out of Kite because Kite succeeded

 6          where it failed.    And the evidence has shown that that's

 7          true.

 8                     Now, we heard at the beginning of the case that it's

 9          Dr. Sadelain's construct that is sort of the magic bullet,

10          the secret sauce that makes these CAR-T therapies work.             But

11          we know that that is not true after hearing all the evidence

12          come in.

13                     We heard a lot about these three-part CARs.        You've

14          seen these types of images several times in the case.          In the

15          claims of the patent, there are three parts of the CAR:             The

16          primary signaling domain, the costimulatory domain, and the

17          scFv or the binding element.      And we know that Dr. Sadelain

18          did not invent that structure of a CAR.        He admitted that

19          himself.

20                     I asked him, do you understand that there was

21          someone else who had come up with this sort of three-part

22          CAR, Finney, another scientist?       And he said yes, he knew

23          that.

24                     And there is a patent -- there is an article that

25          Finney published which contains this three-part CAR.          And a




                       AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
 Case 2:17-cv-07639-GW-KS Document 611 Filed 12/18/19 Page 104 of 179 Page ID
                                  #:26912                             1421



 1          little bit of the terminology is a little bit different, but

 2          you will see this in your admitted exhibits.         This is DX20.

 3          And we see over on the right-hand side that zeta region, that

 4          is the primary signaling region that we see in the '190

 5          patent.   CD28, we see that that is the CD28 that is used as

 6          part of the costim region in the '190 patent.         And then there

 7          is an scFv.

 8                    So the three basic components.       It's not the exact

 9          same CD28 sequence, and I'll come back to that, but the rest

10          of it is there.

11                    And another of the pieces of evidence in the case is

12          Margo Roberts.    This is DX2061, and I'll be giving you these

13          exhibits so you can write them down if you want to go look at

14          these when you're back deliberating.       And Margo Roberts,

15          who -- and I apologize, because I mentioned her in my

16          opening, but because of time constraints she wasn't able to

17          come out and testify in the case.

18                    Margo Roberts worked for Kite.       She was the chief

19          scientific officer.     She had a patent that predated Dr.

20          Sadelain's patents, and it also contained this structure of a

21          zeta -- you can see the zeta on the right, that is that

22          primary signaling region, CD28 as the costim region, and then

23          also an scFv.

24                    So the thing that Dr. Sadelain did, the thing he did

25          that was different, because other people had put together




                      AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
 Case 2:17-cv-07639-GW-KS Document 611 Filed 12/18/19 Page 105 of 179 Page ID
                                  #:26913                             1422



 1          these three-part CARs, was that he came up with a new CAR-T

 2          that used a very specific region of the CD28 molecule that he

 3          used for his second part, for the costim element of his

 4          claims.     And you see that this is the -- you've heard about

 5          it many times already -- Sequence ID NO:6.

 6                    And this is the original Sequence ID NO:6, which

 7          begins with nucleotide 336.      And if you -- if you want to for

 8          purposes of following along, you can look in your notebook

 9          where you have the patents, and that C there is a nucleotide

10          336, and the A that goes right after the CAAA is nucleotide

11          340.   And we've heard those numbers a lot, 336 and 340.            The

12          336 through 339 is what got deleted in the certificate of

13          correction.

14                    But we know that this particular sequence is not the

15          secret sauce for a CAR-T therapy because there are CAR-T

16          therapies that don't use it.      JCAR17, which is Juno's current

17          therapy for which they are trying to get FDA approval, uses a

18          different costim region called 4-1BB.        KYMRIAH, which is

19          Novartis' therapy that is out on the market, uses 4-1BB.

20                    And not only do we know that, but we know from

21          Juno's internal documents, a document dated June of 2017,

22          that Juno planned, in fact, to use the differences in its

23          costimulatory domain as a differentiator between other

24          products.     So the fact that they had 4-1BB was something that

25          differentiated them from YESCARTA, which is this KTEC19, and




                      AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
 Case 2:17-cv-07639-GW-KS Document 611 Filed 12/18/19 Page 106 of 179 Page ID
                                  #:26914                             1423



 1          they planned to use that as something in their favor.

 2                    We also know it because Dr. Gilbert, who has been

 3          here throughout the trial, who is the chief medical officer

 4          of Juno, he, quite frankly, said that the costim region,

 5          whether it's CD28 or 4-1BB, whatever it is, that is not

 6          something that he or many others at Kite consider to be a

 7          major property that is responsible for the clinical outcomes

 8          for these CAR-T therapies.

 9                    So here we have the one thing that Dr. Sadelain did

10          that was different than what other people had done was

11          specifically the costimulatory region, that middle part, and

12          you have Juno itself not developing its current blood cancer

13          therapy using that costim region, using another one, and

14          their chief medical officer saying, I don't think that really

15          makes much of a difference in terms of the medical outcomes.

16                    Now, you've heard Juno say, well, if this is so

17          important, why is -- if this isn't so important, this CD28

18          region, why is Kite still using it?       Why is Kite using it in

19          all these different trials?

20                    And Mr. Chu said well, the only one that involves

21          YESCARTA is the first one.      Well, that is technically

22          correct, because YESCARTA is the name of the branded product

23          that is being sold, that is approved.        But these are all what

24          are first generation therapies that have been developed by

25          Kite.




                     AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
 Case 2:17-cv-07639-GW-KS Document 611 Filed 12/18/19 Page 107 of 179 Page ID
                                  #:26915                             1424



 1                    And this is a highly regulated industry.        And when

 2          you make changes, you have to go to the FDA, you have to get

 3          them approved, and so everybody knows the expression "if it

 4          ain't broke, don't fix it."

 5                    Well, the reason for these therapies that Kite is

 6          still using the original construct it used is because Kite

 7          believes that it is entirely legal and appropriate for it to

 8          use that construct rather than throw it out and go back and

 9          bring in a new one.

10                    But you, in fact, heard from Dr. Bot that Dr. Bot is

11          about to commence clinical trials with regard to a second

12          generation CAR.    And Mr. Chu alluded to this when he put up a

13          slide that referred to HU19, described it as a project that

14          Kite had abandoned.     The HU stands for human.      So this is

15          human scFv.    The 19 is the CD19 target.

16                    And that was when Dr. Bot testified about the second

17          generation CAR-T, he was talking about a dual targeting CAR-T

18          that targets both CD19 and CD20.       And the reason it's second

19          generation is because rather than only attacking one antigen

20          on the cancer cell, as he explained, it targets two.

21                    And the reason for that is that cancer is a very

22          tricky disease, and sometimes the cancer cells can suppress

23          one antigen such as CD19.      And if that happens, as he

24          explained, the patient might relapse.        So if you are

25          targeting two of them instead of just one, it gives you a




                     AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
 Case 2:17-cv-07639-GW-KS Document 611 Filed 12/18/19 Page 108 of 179 Page ID
                                  #:26916                             1425



 1          better chance that when you give the therapy to a patient,

 2          they won't suffer a relapse.

 3                     And as Dr. Bot testified, this -- the idea for this

 4          type of a CAR is the same idea other than the second target.

 5          It's the same idea as this HU19.       And Kite considered whether

 6          it should switch over to HU19 but decided not to because

 7          YESCARTA was so far in development that it didn't think it

 8          needed to and it decided instead to develop this for its

 9          second generation therapies.      So Kite has been developing

10          this.

11                     And just so there is no confusion about this, this

12          is not a therapy, the second generation dual targeting

13          therapy, that uses the CD28 region, the amino acids, either

14          before the certificate of correction in the '190 patent or

15          after the certificate of correction in the '190 patent.             As

16          Dr. Bot testified, it neither uses amino acids 113 to 220 of

17          CD28 nor amino acids 114 to 220 of CD28.        So it's not

18          something that under any interpretation is covered by the

19          patent.

20                     Now, we do know while the costim molecule is not a

21          particular differentiator among these therapies, we know what

22          is.     And that is manufacturing.    You've heard every witness

23          in this case talk about manufacturing of CAR-T therapies tell

24          you that this is not a simple pill.       Simple pills you can

25          manufacture them in bulk.      They are easy -- relatively easy




                       AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
 Case 2:17-cv-07639-GW-KS Document 611 Filed 12/18/19 Page 109 of 179 Page ID
                                  #:26917                             1426



 1          to manufacture for the most part.       This is a living therapy.

 2          It's taking someone's T-cells, taking them out of their

 3          blood, reengineering them, and then you have to grow them and

 4          then reinfuse them, reinject them into the patient's body.

 5                     So that requires a lot of different procedures.          You

 6          have to grow the cells.     You have to insert a virus into the

 7          T-cells so that it can express the T-cell receptor.          You have

 8          to have this lymphodepletion procedure, which is something

 9          that you do to prepare the patient so that when the T-cells

10          are reinfused into their body, they will grow sufficiently

11          and so they won't compete with the patient's natural T-cells.

12          There is all this stuff going on.

13                     Getting -- and Kite has figured out how to do all of

14          this at an extremely high rate of success and very, very

15          quickly.     Novartis figured out how to do it well enough to

16          get approval from the FDA.      But as you also heard in this

17          case, Novartis has had manufacturing problems.         Juno has not

18          figured out how to do this.      And that is why they don't yet

19          have any FDA approval for any CAR-T therapy.

20                     And this just goes to show that the idea that

21          Dr. Sadelain's construct is the secret sauce, it's what makes

22          these CAR-T therapies work, just is not borne out by the

23          facts.     The manufacturing is hugely important for each of

24          these CAR-T therapies.

25                     Now, we also know that this has to be the case




                       AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
 Case 2:17-cv-07639-GW-KS Document 611 Filed 12/18/19 Page 110 of 179 Page ID
                                  #:26918                             1427



 1          because of what happened when Juno tried to make a CAR-T

 2          therapy using Dr. Sadelain's construct.        And that was the

 3          ROCKET study where they had five deaths out of 38 patients.

 4                    And in Mr. Chu talking about how responsible Juno is

 5          and suggesting that they are motivated by safety concerns,

 6          that is really why they are so late coming to market and

 7          coming to patients, I think it's important to think about

 8          what Dr. Gilbert testified to when I asked him about this

 9          study.

10                    And there were two initial -- three initial deaths

11          in that study.    And the study was suspended, and it was put

12          on clinical hold by the FDA.      And Dr. Gilbert testified that

13          we determined there are likely a lot of factors that could be

14          contributing to this, we didn't have enough information to

15          conclusively figure out what it was, but we went ahead and we

16          resumed the studies.

17                    He said there was one thing that we thought might

18          have something to do with it.      Could have had something to do

19          with the chemotherapy, and that was one of the easier changes

20          that we could make.     They made the easier change when they

21          didn't have enough information to conclusively figure out

22          what was causing these patients to suffer fatalities.          And

23          they resumed the study, and two more patients died.          And then

24          they got shut down for good.      So when they tell you that

25          their main focus is safety, think about that.




                     AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
 Case 2:17-cv-07639-GW-KS Document 611 Filed 12/18/19 Page 111 of 179 Page ID
                                  #:26919                             1428



 1                    And look at this chronology where they had these

 2          three deaths, the third was on June 30th, 2016.         They were

 3          put on hold right after the third death.        They got the

 4          clinical hold lifted just a couple of weeks later, July 12th.

 5          And then a few months later they had more deaths.         And they

 6          were then told their study was put on hold, and they were

 7          told by this review board that is a review board to protect

 8          patient safety that they would not be permitted to resume

 9          clinical studies unless they changed what they were doing.

10                    Now, despite all this, have these deaths, have a

11          clinical hold, say, hey, we don't really know what is going

12          on, but we think this change might work and then there were

13          more deaths, they get shut down again, well, Juno -- a lot of

14          people at Juno still wanted to keep going with this ROCKET

15          trial.

16                    Juno remains today -- you saw some data about side

17          effects comparing JCAR17 to YESCARTA.        Well, you've heard

18          testimony about these side effects, cytokine release syndrome

19          and neurotoxicity.     They are not anything to sneeze about.

20          They are not anything anybody would want to have.

21                    But you also heard, including by Dr. Sadelain, that

22          they are readily treatable.      The patients are given steroids

23          or antibodies, and in a few days these flu-like symptoms or

24          the confusion in the vast majority of cases resolve.

25                    So absolutely Kite and everyone would like to try to




                     AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
 Case 2:17-cv-07639-GW-KS Document 611 Filed 12/18/19 Page 112 of 179 Page ID
                                  #:26920                             1429



 1          get the side effects down.      Kite is working on that as Dr.

 2          Bot testified.    But these are terminal patients who only have

 3          a few months to live, and having that side effect profile is

 4          tolerable.   Kite has never had a study put on hold.         KYMRIAH

 5          has not been put on hold.      The only company that has had its

 6          clinical studies put on hold for CAR-T therapy is Juno.

 7                    So Juno realizes there is a major disconnect between

 8          their real world experience with JCAR15 and the narrative

 9          that they want to spin about how essential and critical

10          Dr. Sadelain's construct, which is the one they used in their

11          failed study, is to a successful CAR-T therapy.

12                    So what they have argued here is that, well, we

13          treated patients in leukemia, and that is a tougher disease

14          to treat than lymphoma, which is what our YESCARTA is

15          approved for.    And if you remember what they said about that

16          in their testimony, they said, well, the -- there is no

17          approved CAR-T therapy for adult leukemia.

18                    And I asked Dr. Sadelain, I said, well, isn't

19          KYMRIAH approved for adult leukemia?       And he said no, no,

20          it's only approved for pediatric.       And then Dr. Gilbert got

21          on the stand, and Dr. Gilbert said, yeah, yeah, it's

22          pediatric, there is this broad definition of pediatric.

23                    But what Dr. Gilbert had said to explain the deaths

24          in the ROCKET trial was he said that the patients that were

25          particularly at risk of this cerebral edema, having the brain




                     AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
 Case 2:17-cv-07639-GW-KS Document 611 Filed 12/18/19 Page 113 of 179 Page ID
                                  #:26921                             1430



 1          swelling that causes fatalities, was patients in their early

 2          20s.    That is what his testimony was.

 3                    And I showed him the KYMRIAH label, and it's not

 4          approval just for pediatric patients.        Pediatric patients,

 5          there is no different word for it in the FDA.         It's what you

 6          would think it is.     Once you are over 18, you are not

 7          pediatric.

 8                    And here it indicates in the label, it is approved

 9          for pediatric.    But what neither Dr. Sadelain nor Dr. Gilbert

10          told you is that it's also approved for young adult.          It's

11          approved for patients who are in exactly the age range that

12          Dr. Gilbert said was the one that was susceptible to this

13          cerebral edema.

14                    So they were trying to use that as the reason why

15          they had these deaths and why they failed when Novartis

16          didn't, and Novartis has been approved for that exact

17          population.

18                    And you heard Dr. Bot testify that Kite itself has

19          been conducting clinical studies on leukemia and has

20          experienced very, very low incidences of fatalities.          There

21          has -- unfortunately in those tests, there has been one death

22          of cerebral edema in 50 patients, not five out of 38.          And

23          those studies are ongoing, and none of them have been put on

24          hold.

25                    So we know it's not the type of the blood cancer or




                      AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
 Case 2:17-cv-07639-GW-KS Document 611 Filed 12/18/19 Page 114 of 179 Page ID
                                  #:26922                             1431



 1          the type of the patient.      It's Juno.   And we know that one of

 2          the reasons that it's Juno is that Juno is having problems

 3          with its manufacturing process.       And that is what they

 4          concluded when they had to provide a report to the FDA.

 5          After they suffered the deaths in the ROCKET trial, they

 6          reported to the FDA that manufacturing was associated with

 7          the increased risk of cerebral edema.

 8                    And you heard the videotape deposition testimony of

 9          Dr. Brentjens who is a colleague of Dr. Sadelain and one of

10          the inventors of the '190 patent.       And he talked about the

11          disappointment and what he described as a by no means

12          pleasant discussion that the Sloan Kettering people had with

13          Juno when these fatalities happened in the ROCKET trial and

14          when the ROCKET trial was shut down.       And as he said, "We

15          felt" -- and he's talking here about Sloan Kettering -- "We

16          felt that there were differences in production that led to

17          differences in outcomes and differences in toxicities that

18          were observed."

19                    Just because I do want to give you -- as I said, I

20          think this case is about the evidence, and it should be

21          decided on the evidence.      And so let me give you a couple of

22          exhibit numbers.    The label for the KYMRIAH product is PX274,

23          if you wanted to look at that.      The root cause investigation

24          report is PX1059 if you want to take a look at that.          And

25          page 102 is the one that I referred to as well as page 64.




                     AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
 Case 2:17-cv-07639-GW-KS Document 611 Filed 12/18/19 Page 115 of 179 Page ID
                                  #:26923                             1432



 1          64 has the chronology.

 2                    And you also heard that, well, it is true that

 3          Dr. Sadelain and his lab is still working on clinical studies

 4          for his construct in various areas.       That work is being led

 5          by Sloan Kettering.     Juno is not the lead sponsor of any

 6          clinical studies currently that involve Dr. Sadelain's

 7          construct in the way that they were with the ROCKET trial.

 8          And Juno has no current plans to file any applications with

 9          the FDA for any constructs or CAR-T therapies that are based

10          on Dr. Sadelain's patent.

11                    And this was something that Dr. Gilbert testified

12          about.    He said that the trials that are still involving

13          Dr. Sadelain's construct are very early, they're phase I,

14          phase II trials and there has been no determination because

15          it's a long way to go to determine whether or not there might

16          be an actual application for approval for a therapy for any

17          of those trials.

18                    So let me turn now to Juno's current therapy that

19          it's seeking approval for.      This is the one that does not use

20          Dr. Sadelain's patents or Dr. Sadelain's construct.          This is

21          JCAR17.    And Juno has been having difficulties with getting

22          that through the regulatory process as well.

23                    Back in May of 2017, Juno was planning on filing

24          this application by the third or fourth quarter of last year.

25          So over a year ago.     And this is only a year and a half ago




                      AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
 Case 2:17-cv-07639-GW-KS Document 611 Filed 12/18/19 Page 116 of 179 Page ID
                                  #:26924                             1433



 1          that they were planning on filing it within the next -- I'm

 2          sorry, this is two and a half years ago -- they were thinking

 3          of getting it filed in approximately somewhere between 14 to

 4          18 months, something like that.

 5                    But that hasn't happened.      And we see that -- that

 6          at the time they were planning on filing it in the third or

 7          fourth quarter of 2018, because of the time it takes for the

 8          FDA to review BLAs, Juno was anticipating that they might get

 9          approval of that application sometime in mid-2019, sometime

10          mid this year in that previous document that I referred to,

11          that was DX573, at page 19.

12                    But we know this didn't happen.       JCAR17 was not

13          approved in mid-2019.     Juno has not completed submitting its

14          application for JCAR17.     And I asked Dr. Gilbert about that,

15          too.   The reason -- Dr. Gilbert testified that Juno had begun

16          making what is called a rolling submission of its

17          application, where you submit certain parts of the

18          application at different times.

19                    And he testified that they had started doing that at

20          the end of September of this year, and at the end of October

21          of this year, but one -- one module that they had not

22          submitted was, guess what?      The one on manufacturing.      The

23          one that they have problems with.

24                    And I asked him about Lonza.      Lonza is a supplier

25          that makes this viral vector that is used for the CAR-T




                     AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
 Case 2:17-cv-07639-GW-KS Document 611 Filed 12/18/19 Page 117 of 179 Page ID
                                  #:26925                             1434



 1          therapies.     And he acknowledged that that facility, it needs

 2          to be inspected by the FDA.      The FDA has to make sure that

 3          all the procedures are okay, and that it's a safe facility,

 4          and all of that.

 5                     And that that won't happen until at earliest

 6          February of 2020.     And who knows when that inspection will

 7          actually take place or when or if Juno will actually get

 8          approval for JCAR17.

 9                     So we're now more than two years after YESCARTA came

10          out.     Two years after there has been a breakthrough therapy.

11          Again, remember you hear so much in this case about technical

12          issues and money, and people being yelled at.         It's been two

13          years now that these patients who had no hope, they had gone

14          through chemo, radiation, stem cell transplants, high-grade

15          chemo.     Patients who had a prognosis of four months or so to

16          live.     YESCARTA has been available to them.     And we saw the

17          statistics of 50 percent, over 50 percent complete remission,

18          all cancer gone.     That's incredible.

19                     Juno doesn't have a product, and Juno doesn't like

20          the fact that YESCARTA is out there saving lives.         Somewhere

21          along the way, Juno lost their way by going after Kite and

22          YESCARTA for over $700 million for saving thousands of lives

23          of patients.     So think about that when you hear them talk

24          about this case and what this case is really about.

25                     And even with the YESCARTA therapy that has been out




                       AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
 Case 2:17-cv-07639-GW-KS Document 611 Filed 12/18/19 Page 118 of 179 Page ID
                                  #:26926                             1435



 1          on the market, there isn't the capacity to treat all these

 2          patients.   The patients who are relapsed and refractory, who

 3          have no other options, unfortunately because of the

 4          manufacturing capacities that exist in the CAR-T therapy

 5          market right now, they can't all receive the therapy.          So

 6          it's great that YESCARTA is out there, but even YESCARTA

 7          can't treat all these patients.       And the available CAR-T

 8          therapies can't treat all these patients.

 9                    And Dr. Komanduri, you heard him testify about this,

10          that there were 8,000 patients who would be eligible for this

11          type of a therapy, but Kite currently can only treat about

12          1800 or so over two years.

13                    And remember that the -- this hypothetical

14          negotiation that you've heard so much about, this is supposed

15          to represent what the licensee would be willing to pay and

16          what the licensor would expect and demand for a license.            So

17          Juno is taking the position here in this case that unless

18          they got from Kite over $700 million, too bad for these

19          patients, they wouldn't be here.       Because Juno had no

20          therapy, we are not taking patients away from a JCAR17

21          therapy that's on the market.      They are not on the market.

22                    As I said, I think that's a pretty callous position

23          for a healthcare company to take.       The reality of this is

24          that Juno is a disgruntled competitor that is using this '190

25          patent that they could not make work for their own therapy as




                     AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
 Case 2:17-cv-07639-GW-KS Document 611 Filed 12/18/19 Page 119 of 179 Page ID
                                  #:26927                             1436



 1          a weapon against a competitor.      To punish Kite for succeeding

 2          where Juno failed.     And it's an attack under the guise of

 3          patent rights.     So let me turn now to that issue.

 4                     Now, as I mentioned in the opening, patent rights

 5          are important rights.     The patent system is a very important

 6          system.     But there are rules.   If you want exclusivity for

 7          what you're doing for a period of time, you have to obey the

 8          rules.

 9                     And one of the rules is that you have to clearly

10          define the meets and the bounds of what you are claiming as

11          your intellectual property, so that the public knows if I'm

12          over here to the right side of the fence, that's yours, but

13          if I'm over here on the left side, outside the fence, I'm

14          okay.     That's what the system is based on.

15                     So at the beginning of the case, I mentioned that in

16          some ways the parts of this patent reminded me of the story

17          of Goldilocks and the Three Bears, because there were three

18          parts.     There's a primary signaling region, the costimulatory

19          signaling region, and the binding element or the scFv.          And

20          the boring one, the primary signaling region, that fits just

21          right, because they give you the amino acid sequence and

22          that's fine.     And it was nothing new about that.

23                     Costimulatory region, though, that's the one that

24          was too narrow to cover YESCARTA.       And the binding element,

25          the scFv, that's too broad to be a valid patent.         So I want




                       AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
 Case 2:17-cv-07639-GW-KS Document 611 Filed 12/18/19 Page 120 of 179 Page ID
                                  #:26928                             1437



 1          to go back to talking about those defenses again.

 2                    Starting again with the certificate of correction

 3          issue.    And, first of all, I want to correct something that

 4          Mr. Chu said.    He said that if you agree with us that the

 5          certificate of correction is invalid, that the patent is

 6          invalid, that's not correct.      If the certificate of

 7          correction is invalid, what that means is that Sloan

 8          Kettering then is held to what the patent said when it

 9          issued.    And it's held to the scope of the patent that

10          existed in November 2008 and through all of 2009 and 2010 and

11          2011 and 2012, up through 2013 when they filed this

12          certificate of correction.

13                    So they still have a patent.      It's just they can't

14          broaden the patent the way that they did four and a half

15          years after it issued.

16                    Now, when the patent issued, this was how this

17          Sequence ID NO:6 read.     And again, highlighted these first

18          four nucleotides.    And I both sympathize with you and

19          apologize because you hear these numbers all the time and it

20          can get very confusing because we've got the nucleotide

21          numbers, and then we've got the amino acid numbers, and

22          they're different.     But that's I guess what happens when you

23          have to deal with nucleotide sequences.

24                    So the first four here -- and just to remind

25          everybody, these are the four that in the certificate of




                      AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
 Case 2:17-cv-07639-GW-KS Document 611 Filed 12/18/19 Page 121 of 179 Page ID
                                  #:26929                             1438



 1          correction were deleted.      So these are nucleotides 336 to

 2          339.     And those second, third, and fourth nucleotides, the

 3          three As, those are the ones that encode the amino acid

 4          lysine.     You've heard a lot about that.     And lysine in the

 5          CD28 molecule is amino acid 113.       The next three nucleotides

 6          there, ATT, those encode isoleucine, and that's amino acid

 7          114.

 8                     And Mr. Chu said something that also wasn't correct.

 9          He said something about how we were trying to suggest that

10          Kite's product used a different sequence in the original

11          patent.     We did use a different sequence than was in the

12          original patent.     There is absolutely no question about that.

13                     This is the Court's claim construction.       And you

14          have this in your jury instructions.       The Court looked at

15          this sequence, and I won't put up the language of the claim,

16          but if you look at Claim 1 of the patent, the phrase at the

17          end of it is, "The amino acid sequence encoded by Sequence ID

18          NO:6."     So this is Sequence ID NO:6, and you heard this

19          testimony that these nucleotides, they encode for amino

20          acids.     So you're looking at this and trying to figure out,

21          okay, what's the amino acid sequence this encodes for.          And

22          the Court has told us that in the original patent with this

23          Sequence ID NO:6, it encoded for amino acids 113 to 220,

24          starting with lysine.     So those three As in positions 337

25          through 339, those encode for lysine.        YESCARTA does not have




                       AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
 Case 2:17-cv-07639-GW-KS Document 611 Filed 12/18/19 Page 122 of 179 Page ID
                                  #:26930                             1439



 1          that lysine.    No question about that.      I want it to be very

 2          clear, because they have tried to make that very confusing.

 3          I want to make it absolutely clear, we do not have the

 4          lysine, which means we did not infringe the original patent.

 5                    And if the certificate of correction is invalid, we

 6          do not infringe the patent today.       That's why this issue is

 7          so important, because they specified, they specified what the

 8          sequence is.    And it's got to begin with something.        And they

 9          specified that the amino acid it began with was lysine.             We

10          don't use the lysine.     So if it has to begin with lysine, we

11          don't infringe.

12                    And I want to put up a slide that Mr. Chu also

13          showed you, but he very selectively highlighted this slide to

14          suggest that we have agreed that we infringe, and that's just

15          absolutely not true.     So I want to show you what this

16          stipulation actually says.      It says, "If the certificate of

17          correction is not found to be invalid, then YESCARTA meets

18          each limitation of the asserted claims."        That is true.       But

19          conversely, if the certificate of correction is found to be

20          invalid, we do not infringe, because that's the difference

21          between what's the first amino acid.       If it's lysine, we

22          don't have that, we don't infringe.       If the certificate of

23          correction is valid, then the first amino acid is this ATT,

24          that's the isoleucine, we have that.       So just want you to be

25          clear, because I know it can be confusing.        Critical issue is




                     AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
 Case 2:17-cv-07639-GW-KS Document 611 Filed 12/18/19 Page 123 of 179 Page ID
                                  #:26931                             1440



 1          what's the first amino acid?

 2                    And it's also important to keep in mind that when

 3          Dr. Rosenberg was first testing his construct in patients in

 4          his first publications about the work that he was doing, the

 5          construct he was using did not infringe the '190 patent,

 6          because he did that testing before 2013.        He was doing

 7          testing in patients at the time when the original patent

 8          claimed amino acids 114 to 220 -- excuse me -- claimed amino

 9          acids 113 to 220, and required each of those amino acids.

10          And he was not using that full range.        So he was not doing

11          anything that fell within the patent.

12                    The construct that he provided to Kite when Kite and

13          Dr. Rosenberg entered into their collaboration in 2012 did

14          not fall within the scope of the '190 patent at that time

15          because again Sloan Kettering didn't say there was any

16          problem with the original scope of the claims, and the

17          original scope of the claims, as the Court has told us, was

18          that the amino acid sequence encoded by Sequence ID NO:6

19          started with lysine.     And that construct did not have lysine.

20                    And we heard Dr. Bot, and I'll come back to that in

21          a minute, but we heard that Dr. Bot testified that he

22          examined the sequence listing in the '190 patent back around

23          that time in 2012 shortly before Kite entered into the

24          collaboration.    And he determined that it started with

25          lysine.   He understood that as well.




                      AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
 Case 2:17-cv-07639-GW-KS Document 611 Filed 12/18/19 Page 124 of 179 Page ID
                                  #:26932                             1441



 1                    So at that time, 2009, 2010, 2011, 2012, axi-cel,

 2          the construct that was being developed by NCI and by Kite,

 3          fell outside the fence.     It was not covered by the '190

 4          patent.

 5                    But then in the summer of 2013, they moved the

 6          fence.    And now all of a sudden because they now said you

 7          don't really need that lysine, now axi-cel fell within the

 8          scope of the patent.     That is why this issue of should they

 9          have been permitted to change the patent in that way is so

10          critical, because by changing the patent, they changed

11          axi-cel from being something that was outside of their

12          intellectual property, after it was already in the process of

13          being developed, into something that fell within the scope of

14          their patent.

15                    And they did this through this procedure called a

16          certificate of correction.      And as you are instructed for a

17          certificate of correction to be permitted that broadens the

18          scope of patent claims, it has to contain an error that is of

19          minor character or clerical or typographical error that would

20          be clearly evident to somebody skilled in the art.          And not

21          just that, that is the first part.

22                    The second part is not only does it have to have a

23          clearly evident error, but the fix for the error also has to

24          be clearly evident.     That is the requirement.

25                    Now, the thing that makes this certificate of




                      AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
 Case 2:17-cv-07639-GW-KS Document 611 Filed 12/18/19 Page 125 of 179 Page ID
                                  #:26933                             1442



 1          correction so problematic, and they try to say it's no big

 2          deal, it's just, you know, a file got sent in incorrectly, is

 3          that it's an error to the very thing that the patent is all

 4          about.

 5                     The CD3 zeta region, okay, that's -- that's old.

 6          Nobody -- nobody needs to know about that.        It had been done

 7          before.     It was in other constructs.    The binding element,

 8          the scFv, that wasn't new.      It had been -- they didn't really

 9          limit it very much.     They just said it could be almost any

10          scFv you want.

11                     But Dr. Sadelain, he repeatedly emphasized what

12          makes all of the difference is this portion of the

13          costimulatory receptor, that's a costimulatory region, which

14          we decided to incorporate into our CARs.        And he said a

15          portion of this CD28 molecule, the very exact portion that we

16          decided to incorporate into our CARs is referred to as SEQ ID

17          NO:6.     And he said that cutting it precisely at this amino

18          acid 114, that was the special thing about the patent.

19                     So you would sort of think if that is the thing that

20          is the most important thing about your patent, you might

21          notice if you file a patent that cuts it at 113, you might

22          notice that you don't have the beginning amino acid correct.

23                     Again here, this is the Sequence ID NO:6, and we see

24          that where Dr. Sadelain said he intended his costimulatory

25          region to be cut was at that 114 amino acid, the ATT, which




                       AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
 Case 2:17-cv-07639-GW-KS Document 611 Filed 12/18/19 Page 126 of 179 Page ID
                                  #:26934                             1443



 1          is nucleotides 340 to 342.      And so I asked him, "The specific

 2          amino acid sequence was very important, wasn't it?          Yes."

 3                    Now, I have a different view than Mr. Chu about the

 4          witnesses in this case.     I don't think everybody that comes

 5          in and testifies to something that is contrary to the other

 6          side is a liar or paid off or a rascal or anything like that.

 7          But -- and I would also say we are hearing from a lot of

 8          witnesses in this case that have done a hell of a lot of good

 9          in the world.    These are people that are trying to treat

10          cancer.   It's more important than anything I have ever done.

11                    So I have respect for Dr. Sadelain, I have respect

12          for Dr. Belldegrun, I have respect for Dr. Brentjens, I have

13          respect for Dr. Bot, and I have respect for a lot of the

14          witnesses that testified in this case.

15                    But with all respect to Dr. Sadelain, there was a

16          moment in the trial that I think is telling.         When I was

17          asking him about how this error could have gotten into his

18          nucleotide sequence when the exact nucleotide sequence was so

19          critical, it was the most important thing of his invention

20          and it got botched in the original filing?        And if you

21          remember what he said, he said, "I tried hard to figure out

22          how this could have happened, and I still have no clue to

23          this date."

24                    Really?   No clue?    Well, I thought that was a very

25          odd answer, because the reason the nucleotide sequence begins




                      AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
 Case 2:17-cv-07639-GW-KS Document 611 Filed 12/18/19 Page 127 of 179 Page ID
                                  #:26935                             1444



 1          with 336 seems from the information we have to be pretty

 2          obvious.    That is the same place where the nucleotide

 3          sequence begins in the publication that the patent is based

 4          on, that publication that you heard that Dr. Sadelain

 5          referred Dr. Rosenberg to, the one that in 2007 when

 6          Dr. Sadelain didn't even have a patent, didn't tell

 7          Dr. Rosenberg that he had a patent or that he was applying

 8          for a patent, and he just told Dr. Rosenberg you want to make

 9          a CAR, go look at this thing that I wrote in 2002, well, that

10          publication was then used as the basis for something they

11          call a provisional patent application.        It's kind of a

12          placeholder.     You file it and put your stake in the ground,

13          and then you file this other thing called a utility

14          application, which is the one that then gets examined by the

15          patent office.

16                     So this is -- this is the article that that

17          provisional application was based on.        It's PDX40.5.     And

18          it's an article by Dr. Sadelain and others.        The first

19          author's name is Marr.     And we see there that it gives this

20          beginning nucleotide of 336.

21                     And I showed that to Dr. Sadelain.      And I said,

22          well, this is -- you know, this is the publication that your

23          patent is based on.     You see those numbers?     And so I asked

24          him -- and here what I'm showing you is -- so this is the

25          patent that was filed.     And the original patent that was




                       AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
 Case 2:17-cv-07639-GW-KS Document 611 Filed 12/18/19 Page 128 of 179 Page ID
                                  #:26936                             1445



 1          filed, and this is at PX2.10, and you can look this up in the

 2          prosecution history, you will see that when it's describing

 3          the portion of the CD28 region, that first nucleotide is 336.

 4          And then we see that the article that was the basis for the

 5          original filing also starts with 336.        So it seems pretty

 6          obvious that is where the 336 came from.

 7                    And -- but I asked Dr. Sadelain, I said, well, you

 8          know, if the evidence reflected those first four nucleotides,

 9          CAAA, are, in fact, nucleotides 336 through 339, which we saw

10          they are, isn't it reasonable to conclude that they appear in

11          the originally-filed patent because that is what was in your

12          publication?    And he said I don't think so.

13                    But the fact is Dr. Sadelain had been describing his

14          costim region as starting with nucleotide 336 for years by

15          the time he filed the patent application.

16                    Now, he testified here in court that no, no, I

17          never -- I never meant to have a costim sequence that began

18          with amino acid 113.     In every case, he said we use the

19          segment from amino acid 114 to 220.       We used it originally.

20          We used it in subsequent CARs.      We have even used it in

21          multiple clinical trials.      That's what he said.

22                    But here we have a timeline that we put together,

23          and you heard -- you heard Mr. Farrell go through this in

24          Dr. Quackenbush's cross-examination.       Whenever Dr. Sadelain

25          described his work prior to 2007, he described the nucleotide




                     AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
 Case 2:17-cv-07639-GW-KS Document 611 Filed 12/18/19 Page 129 of 179 Page ID
                                  #:26937                             1446



 1          sequence for his costim sequence as beginning with 336, which

 2          is a sequence that will get you lysine as your first amino

 3          acid.   So I want just to read these into the record so you

 4          can go back in your deliberations if you want and can verify

 5          this.

 6                    But he had a patent application from 1997, which is

 7          DX2004, where he describes transmembrane and signaling domain

 8          of CD28 that uses CD28 nucleotides 336 to 663.         Similarly, he

 9          describes the nucleotide sequence in DX1054, which is a

10          peer-review article published in August 1998.

11                    PX40, that is the -- that is the article that formed

12          the basis for the patent, has the same disclosure as we saw.

13          The provisional patent application, PX41, also includes 336

14          as the first nucleotide.

15                    And then throughout the patent prosecution, 336, a

16          sequence that will encode for a first amino acid that is

17          lysine appears repeatedly, 2.14, 2.41, 2.56, 2.667, 2.679,

18          and then, of course, it's in the patent when it issued, 1.14.

19          336 is all over the place in Dr. Sadelain's work.

20                    And yet he testified he had no idea how it got in

21          the patent when he had published this sequence as beginning

22          with 336 over and over and over again over a period of many,

23          many years.

24                    Now, think to yourself, if there was something

25          obviously wrong with a sequence that begins with nucleotide




                     AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
 Case 2:17-cv-07639-GW-KS Document 611 Filed 12/18/19 Page 130 of 179 Page ID
                                  #:26938                             1447



 1          336 and starts out encoding lysine, why would he have

 2          repeated that same mistake over and over and over again?            You

 3          wouldn't keep putting that sequence in if it was obviously

 4          wrong, somebody looked at it and thought that can't be right.

 5          You wouldn't carry it over from publication to publication

 6          and patent application to patent application.

 7                    And someone -- oh, and the other thing I should

 8          mention is that every single one of these instances of this

 9          336 is either part of the prosecution history or is an

10          article that is referenced or incorporated by reference in

11          the patent itself.     So these would all be available to

12          someone of skill in the art when we ultimately get to the

13          point of trying to figure out about what happened with the

14          issued patent, why does it still say 336, they could go back

15          and look and see, oh, Dr. Sadelain liked 336.         He said it a

16          lot.

17                    But he still said he had no idea, no idea how that

18          got in the patent.

19                    Now, that is not -- that is not the only significant

20          evidence that the supposed error in the patent having a

21          sequence that began with 336 and encoded an amino acid

22          sequence that started with lysine would not have been obvious

23          or clearly apparent to somebody of skill in the art.          There

24          is a lot more.

25                    Now, in most cases, when you are trying to figure




                     AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
 Case 2:17-cv-07639-GW-KS Document 611 Filed 12/18/19 Page 131 of 179 Page ID
                                  #:26939                             1448



 1          out issues in patent cases, you typically have experts on

 2          each side.   And the expert for one side gives an opinion that

 3          is favorable to them, and the expert on the other side gives

 4          an opinion that is favorable to them, and it can be very,

 5          very challenging to try to figure out who is right.          They are

 6          usually both very highly credentialed, and it's difficult to

 7          make that determination.

 8                    And we've had two experts give their opinions on

 9          whether this certificate of correction is valid and whether

10          this error, how that was claimed by Sloan Kettering, would

11          have been clearly apparent to somebody of skill in the art:

12          Dr. Quackenbush who says absolutely it would be clearly

13          evident, and Dr. Junghans says it would not be.

14                    But this is one of those rare cases where that is

15          not all you have.    We have real world evidence of what people

16          thought before the certificate of correction was filed.             And

17          that's an important point.      I want to pause on that for a

18          second, because it's a little bit subtle, and it's kind of

19          hard sometimes for me to keep in my head.

20                    When you determine whether this error was clearly

21          apparent to somebody of skill in the art, what you don't do,

22          you don't read the certificate of correction and say, okay,

23          the patentee is telling the patent office, I made a mistake.

24          Because the person of skill in the art doesn't have the

25          certificate of correction.      The threshold to get the




                     AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
 Case 2:17-cv-07639-GW-KS Document 611 Filed 12/18/19 Page 132 of 179 Page ID
                                  #:26940                             1449



 1          certificate of correction is the error must be obvious and

 2          apparent.

 3                    So you can't sort of bootstrap getting the

 4          certificate of correction by saying, okay, now I've explained

 5          the error, so in hindsight the error is obvious.         That is

 6          really important.    It's what would somebody who just picks up

 7          the patent, what would they think?       Would they see the patent

 8          and say, oh, there is this obvious error, and I know how to

 9          fix it?

10                    Because in that -- if you think about it, it makes

11          sense.    The patent is supposed to stand on its own and

12          provide to the public notice of the metes and bounds of the

13          invention.    And members of the public rely on what an issued

14          patent says and what it means and what it defines as being on

15          one side of the fence and what it defines as being on the

16          other side of the fence.

17                    And just as an example, if you had an invention for

18          a chemical formulation, drug formulation, and it said that

19          you -- the formulation had to contain 5 to 10 percent alcohol

20          and there was nothing in the patent or the prosecution of the

21          patent that would make you think that the 5 to 10 percent

22          were wrong, you couldn't go in and file a certificate of

23          correction and say, you know what, we just kind of screwed

24          that up and it should be -- it should be 5 to 50 percent.            We

25          want to broaden off our claims.       Why should you do that?       You




                      AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
 Case 2:17-cv-07639-GW-KS Document 611 Filed 12/18/19 Page 133 of 179 Page ID
                                  #:26941                             1450



 1          can't do that.    You are broadening claims, and unless there

 2          was some error that somebody would have understood you made,

 3          you won't be allowed to do that.

 4                    As I said, here we have three examples, three

 5          different examples of real world evidence that actual persons

 6          of skill in the art, not retained experts like

 7          Dr. Quackenbush, or Dr. Junghans, although I'm going to come

 8          back to that because one of my examples is actually

 9          Dr. Junghans, but not in his capacity as an expert in this

10          case.   Where they looked at the patent, and they understood

11          that it referred to a nucleotide sequence that began with

12          336, and then encoded for lysine, or in the case of

13          Dr. Junghans, as I'll explain, they didn't look at the

14          patent, but they looked at that publication that was the

15          basis for the patent.     So the first example is Dr. Junghans.

16                    And I just want to touch on what -- something

17          Mr. Chu said.    He -- um, he disparaged Dr. Junghans as

18          suggesting that he had been dishonest or for not meeting a

19          reporting requirement to the NIH.       As you may have seen, if

20          you saw Dr. Junghans on the stand, he was not really

21          permitted to even explain that situation, but he did get to

22          testify that he reported the deaths, the unfortunate deaths

23          in the trial that he did immediately to the FDA.         So the

24          issue here was there were dual reporting requirements.            But

25          he -- as he testified, he immediately reported it to the FDA,




                     AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
 Case 2:17-cv-07639-GW-KS Document 611 Filed 12/18/19 Page 134 of 179 Page ID
                                  #:26942                             1451



 1          reported it to the government.

 2                    And Dr. Junghans has -- he has been one of our

 3          retained experts in this case.        But the evidence that I'm

 4          about to speak about has nothing to do with his being -- that

 5          the work that he's done in this litigation, it's from way

 6          back in 2010, 2011.        And you heard him talk about this.       He

 7          said that he was interested in making a CAR, and so he looked

 8          at that article, the 2002 article that became the basis for

 9          the '190 patent.     And when he looked at the article, he took

10          from that these primary signaling region and the costim

11          region, which the plaintiffs talk about as the backbone, he

12          looked at that and then he made his own CAR using that.

13                    And when he did that, guess what nucleotide he

14          started with?     336.     Because the article said 336.    He didn't

15          look at the primers that you've heard plaintiffs talk about.

16          He took the exact nucleotide sequence and he used it to make

17          his costim region.       And this is his patent, which is -- which

18          is in evidence as DX2149, and this is at pages --

19          page-0023-24.     So in this patent, he provided the amino acid

20          sequence of the CAR that he made.        And I'm going to come back

21          and talk about these sequence listings for amino acids in a

22          little bit.     But if you look there, using the nucleotides

23          from the article that began with 336, what's the first amino

24          acid he got?     Lysine.     And this is long before this case,

25          long before there was this dispute.        And this whole region




                     AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
 Case 2:17-cv-07639-GW-KS Document 611 Filed 12/18/19 Page 135 of 179 Page ID
                                  #:26943                             1452



 1          that is shaded here beginning with the lysine is the same

 2          amino acid sequence that you get when you use the sequence

 3          ID -- the nucleotides that are in the Sequence Identification

 4          NO:6 in the original '190 patent.

 5                     So he didn't look at it and think, oh, there's

 6          obviously an error here, I should ignore the lysine, it's got

 7          to start with isoleucine, I should use the primers because

 8          the primers are going to tell me what to do.         He just took

 9          the sequence that was provided in the publication and he got

10          lysine as the first amino acid.

11                     Now, one interesting thing, I'll pause on this for a

12          moment.     So you heard that Dr. Sadelain talked to

13          Dr. Rosenberg about Dr. Sadelain's article, the one from

14          2002.     That's the same article that Dr. Junghans looked at to

15          make his CAR.     So we know Dr. Junghans, when he made the CAR,

16          it began with lysine.     We know that Dr. Rosenberg, the CAR

17          that he made, which plaintiffs have said is based on the

18          article by Dr. Sadelain and he gives -- he cites to

19          Dr. Sadelain's work in his article, he starts with

20          isoleucine, not with lysine.      Two people looking at the same

21          publication, they make this costim region, and it starts with

22          different amino acids.

23                     And you might quite fairly wonder, why?       Why don't

24          they get the same thing?      Well, we got the answer to that

25          from Dr. Sadelain here in trial.       We know now why that is.




                       AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
 Case 2:17-cv-07639-GW-KS Document 611 Filed 12/18/19 Page 136 of 179 Page ID
                                  #:26944                             1453



 1          Because Dr. Sadelain told us when he talked to Dr. Rosenberg,

 2          he said, I pointed him to the primers that we were using to

 3          assemble that molecule.     And they are disclosed in full in

 4          the paper that we already discussed.

 5                    So he said, I could not give him a molecule, you

 6          know, he couldn't actually give him the actual molecule that

 7          had the DNA in it because there were restrictions on it.

 8          We'll come back to that later when we talk about the other

 9          defenses.   But I told him about the paper and I said -- I

10          said, look at the primers.

11                    And I also want to touch on this for a second.            You

12          heard Mr. Chu when he was impugning Kite and Kite's

13          management and their employees, showed an e-mail that we've

14          seen several times from a Toni Ribas about a conversation he

15          had with Dr. Sadelain.     If you recall, the e-mail said, oh, I

16          talked to Dr. Sadelain, and he said that he -- he gave his

17          construct to Dr. Rosenberg.      Well, we know that's not true.

18          Dr. Sadelain in trial today, and he's testified to this

19          before, he couldn't have given his construct to Dr. Rosenberg

20          because he had obtained it from another institution, so he

21          had certain restrictions on, you know, who he could give it

22          to.

23                    So that statement that a lot of witnesses have been

24          shown, Dr. Ribas just had that wrong.        And Dr. Sadelain's

25          testimony makes that very clear.




                     AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
 Case 2:17-cv-07639-GW-KS Document 611 Filed 12/18/19 Page 137 of 179 Page ID
                                  #:26945                             1454



 1                    And what we heard from Dr. Quackenbush is that the

 2          primers that are in that article, they amplify -- primers

 3          amplify nucleotide sequences.      And those primers amplify a

 4          different set of amino acids than the ones that are amplified

 5          by nucleotide sequence 336 to 660.

 6                    So there's an inconsistency in the article, which is

 7          why two different people could read the article, come up with

 8          different amino acid sequences.

 9                    And here's the critical point.       You look at the

10          article, the article gives you the range of nucleotides, it

11          gives you primers, and we have examples, different scientists

12          using one or the other to come up with their amino acids.            We

13          don't have that ambiguity with the patent.        There are claims

14          in the '190 patent that do define an amino acid sequence by

15          what you get when you use primers.       This is the primary

16          signaling region, this human zeta chain DNA, it is not the

17          CD28 costimulatory region.      The costimulatory region,

18          Dr. Sadelain decided not to define that by what you get when

19          you amplify primers.     He decided to define that by what you

20          get when you use the nucleotides of Sequence ID NO:6.

21                    So all this discussion you've heard them make about

22          primers is completely irrelevant because that is not how the

23          patent defines the amino acid sequence.        Doesn't say this is

24          the amino acid sequence you get when you use primers 4 and 5,

25          which are the ones that Dr. Quackenbush testified about.            It




                     AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
 Case 2:17-cv-07639-GW-KS Document 611 Filed 12/18/19 Page 138 of 179 Page ID
                                  #:26946                             1455



 1          says this is the amino acid sequence you get from nucleotide

 2          sequence number -- Number 6.

 3                    Okay.   So that's the first example.       Second example

 4          is Adrian Bot.    And he's someone else that has been attacked

 5          by plaintiffs.    You saw Dr. Bot.     I trust you to make your

 6          own determination about how credible he is and what you think

 7          of his integrity.     He was chief medical officer for the

 8          beginning of Kite.     There was some suggestion that he might

 9          have colluded with Dr. Schuetz.       I trust you to make your own

10          determination about how likely you think that is, having seen

11          Dr. Schuetz and having seen Dr. Bot.

12                    Now, Dr. Bot testified that he learned about

13          Dr. Sadelain's '190 patent around the time Kite was thinking

14          of entering into its collaboration with NCI in 2012.          So this

15          is now three and a half years after the patent has been out

16          in the public record.

17                    And he testified that he reviewed the claim of the

18          patent to understand what the amino acid sequence was that

19          was claimed for CD28.     So in other words, to understand what

20          that amino acid sequence encoded by Sequence ID NO:6 was.

21                    And he looked at Sequence ID NO:6 and he saw that it

22          encodes a range that begins with lysine, because it does.

23          And the Court has also told us that it does.

24                    The third piece of real world evidence that we have

25          is Dr. Schuetz.     Again, Mr. Chu suggested that he got paid




                     AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
 Case 2:17-cv-07639-GW-KS Document 611 Filed 12/18/19 Page 139 of 179 Page ID
                                  #:26947                             1456



 1          off, and that he's not a -- he's not a reliable witness, and

 2          also criticized him for retaining counsel.        Well, if you had

 3          lawyers who asked you to sign a false declaration, wouldn't

 4          you think you would want some protection from them doing that

 5          again or harassing you?     You can think to yourself about

 6          whether you would want some protection, also seeing some of

 7          the behavior of some of the attorneys who have examined

 8          witnesses in this case.     And if you were on that witness

 9          stand, if you would want somebody to at least be able to

10          protect you a little bit from that type of behavior.

11                    And Dr. Schuetz, he mainly testified about things

12          that are in e-mails.     We didn't write the e-mails.       He's the

13          guy who told Sloan Kettering, you know what?         Your patent

14          doesn't cover what Dr. Sadelain is telling me is what he

15          worked on in the lab.     He asked Dr. Sadelain for the full

16          sequence.   Now, this is -- and this is also important.

17          Members of the public obviously would not have that.          It's

18          proprietary information from Dr. Sadelain.        He got that

19          information and he compared it to the patent and he said, you

20          know what, you don't -- you don't cover this.         Your patent

21          requires this lysine.     I don't see a lysine here.

22                    Dr. Sadelain didn't notice that, nobody at Sloan

23          Kettering noticed that for four and a half years, the most

24          important part of his invention, as he testified to, and he

25          didn't notice that?     Nobody at Sloan Kettering checked the




                     AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
 Case 2:17-cv-07639-GW-KS Document 611 Filed 12/18/19 Page 140 of 179 Page ID
                                  #:26948                             1457



 1          patent after it issued to see if it was right?         They had to

 2          get told this by a potential investor?

 3                    And you heard Dr. Schuetz testify.       And again, I

 4          very much trust your ability to gauge the credibility of

 5          Dr. Schuetz, whether he seemed like someone who was in the

 6          bag for Kite or was testifying dishonestly, or whether he

 7          seemed like someone who has felt -- seemed a little

 8          uncomfortable at being attacked as a witness in a trial.

 9                    Now, Dr. Schuetz realized that the nucleotide

10          sequence that was claimed in the patent began with lysine.

11          And he's not an employee of Kite, he's not a former employee

12          of Kite, he's not a retained expert.       He's a third party.       He

13          didn't need to come out here.      He lives in Boston.      So I

14          think Dr. Schuetz is probably, out of all of the witnesses I

15          submit to you, is the one with the most credibility.          He has

16          no dog in this fight.     But he came out to testify to what he

17          did, not in the last six months, not in the last year, what

18          he did back in 2013, way before this case ever began.

19                    So you have three people, three people skilled in

20          the art, under the Court's definition of skill in the art,

21          they all read the sequence, the beginning of the sequence in

22          the issued patent, nucleotide 336, as encoding an amino acid

23          sequence that begins with lysine.

24                    And none of them thought, oh, this is obviously

25          wrong.   The claim must instead cover amino acids 114 to 220




                     AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
 Case 2:17-cv-07639-GW-KS Document 611 Filed 12/18/19 Page 141 of 179 Page ID
                                  #:26949                             1458



 1          instead of 113 to 220.      It must start with isoleucine, which

 2          is amino acid 114, instead of starting with lysine, amino

 3          acid 113.

 4                    And I want to point out another thing Mr. Chu said.

 5          He said something interesting.      He said that no one testified

 6          that the certificate of correction is invalid except experts.

 7                    Um, well, okay.    The question of whether something

 8          is valid or invalid, that's something that experts testify

 9          about.   Experts express an opinion.      The question in this

10          case that determines whether or not the certificate of

11          correction is invalid is a factual question.         It's whether

12          the error or supposed error in the patent that when corrected

13          broadened the claims, so that they used to not -- not require

14          lysine -- I'm sorry, they used to require lysine, now they

15          don't require lysine.     It's whether that error would have

16          been readily apparent to someone skilled in the art.

17                    And Dr. Schuetz testified, as someone skilled in the

18          art, that error was not apparent to him, and the correction

19          of any supposed error was not apparent to him.         You can't get

20          more direct evidence than that on the issue that determines

21          whether or not the certificate of correction is invalid.

22                    So we have these three instances of real world

23          evidence of what different witnesses thought when they looked

24          at the sequence that begins with 336 in the case of

25          Dr. Junghans, in the publication that was the basis for the




                     AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
 Case 2:17-cv-07639-GW-KS Document 611 Filed 12/18/19 Page 142 of 179 Page ID
                                  #:26950                             1459



 1          patent, or in the case of Dr. Schuetz and Dr. Bot in the

 2          issued patent itself.     And they all looked at this before

 3          there was any certificate of correction, which is the time

 4          that you have to make the assessment of whether or not it

 5          would be proper to correct the patent, whether just looking

 6          at the patent on its face, patent, prosecution history of the

 7          patent record, whether it would be apparent that there is any

 8          error, and none of the three of them thought there to be an

 9          error.

10                     Oh, and I apologize, there is a -- there is an error

11          on the slide.    Dr. Schuetz was, of course, not a Juno

12          witness, so I apologize for that.       He was one of our

13          witnesses, and that should not indicate that he was a Juno

14          witness.

15                     So we've seen that Dr. Sadelain himself, years

16          before he filed the '190 patent, kept referring to this super

17          important nucleotide sequence for his CD28 region, as

18          beginning with nucleotide 336, which was the beginning of the

19          sequence in the original patent, and which results in an

20          amino acid region that starts with lysine.

21                     And there is no particular reason that anybody would

22          doubt that that would be where he wanted to make his cut.           He

23          said, you know, we were focused on where you make the cut.

24          It's 220 amino acids in the molecule.        We started -- he

25          testified we started at 114, but start at 114, 115, 116, 113,




                       AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
 Case 2:17-cv-07639-GW-KS Document 611 Filed 12/18/19 Page 143 of 179 Page ID
                                  #:26951                             1460



 1          112.    Somebody of skill in the art, there is nothing magical

 2          about the number that he picked to somebody else looking at

 3          it.    And if he says we are using a sequence that cuts at 113,

 4          there is no reason for them to doubt that.         Because this is

 5          all within the actual amino acid range of the molecule.

 6                    And it would be one thing if those previous

 7          nucleotides, if they didn't exist in the molecule, well, then

 8          you would say, oh, obviously this is wrong, because they are

 9          not there.    They are there.    They are there.     It's just where

10          do you make the cut among the nucleotides that are there.

11                    So what do the plaintiffs say?       They say that the

12          inclusion of this range was an error, and they tried to

13          correct the error, and through a clerical error of the patent

14          attorney, the error just didn't get corrected.

15                    Now, if you accept their view of things, that means

16          there were actually a lot of errors that happened over time

17          by interesting coincidence.      You accept Dr. Sadelain saying I

18          never did anything other than use amino acid 114 to 220, all

19          my work, that is what I did, well, okay, then his

20          September 1997 patent application is wrong.         His August 1998

21          article is wrong, which is a peer-reviewed publication as you

22          heard when Dr. Quackenbush was examined.        His January 2002

23          peer-reviewed article was wrong.       No one caught that error

24          either.

25                    And just to be clear, none of these would be




                      AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
 Case 2:17-cv-07639-GW-KS Document 611 Filed 12/18/19 Page 144 of 179 Page ID
                                  #:26952                             1461



 1          clerical errors.     This is something somebody wrote in a

 2          manuscript or a patent application.       So they chose to write

 3          that number.     The clerical error they claim is totally

 4          different.     That's their reason why they say they didn't

 5          submit the corrected sequence at the very end before the

 6          patent issued when they claim there was a mix-up in the

 7          files.

 8                    So they haven't really articulated what these errors

 9          are, but they are not clerical errors.        They are -- if you

10          believe Dr. Sadelain, they are misidentification of the

11          sequence that is repeated over and over again in multiple

12          applications and publications.

13                    And they repeat the supposed error when they filed

14          the '190 provisional patent application in May of 2002.             They

15          repeat it again in May 2003 when they file their utility

16          application.     And, of course, the reason that Sequence ID

17          NO:6 in the issued patent begins with 336 is because they put

18          it in again right before the patent gets published.          And so

19          the issued patent contains 336, too.       That is an awful lot of

20          supposed errors where you keep saying the same beginning

21          nucleotide over and over again.

22                    Now, they say, well, the error was clearly evident

23          because Sloan Kettering identified it in this request for

24          continued examination.     They say we pulled the patent back

25          after it had been allowed and they said, oh, we caught the




                     AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
 Case 2:17-cv-07639-GW-KS Document 611 Filed 12/18/19 Page 145 of 179 Page ID
                                  #:26953                             1462



 1          error and we want to change the sequence listing.         And we

 2          told the patent office we made a mistake.

 3                    And in that document, they talk about the sequence

 4          not being divisible by three.      But Dr. Junghans has testified

 5          about that, and he said it doesn't need to be divisible by

 6          three.   It's part of a fusion protein so there were other

 7          things that are attached to it.       So the whole thing needs to

 8          be divisible by three, but any one part of it doesn't need to

 9          be.

10                    And they talk -- they talked about, well, at the end

11          it has this thing called a stop codon and the stop codon

12          doesn't encode for amino acid.      Who cares?    We are talking

13          about the beginning.     We are talking about what is the amino

14          acid at the beginning.     The one at the end doesn't have any

15          effect on what is the one at the beginning.        The one at the

16          beginning is lysine.

17                    And the only thing that they said in this -- in

18          this, um, RCE to suggest that the first amino acid shouldn't

19          be lysine was a statement which I seem not to have here,

20          but -- so I will read it to you, but this is in PX002.          This

21          is the very end of the RCE.

22                    So they go through and they talk about, well, look

23          at the primers, which, as I said, the claim is not defined by

24          the primers.    They talk about the stop codon.       Again, that is

25          the last -- that is the end of the sequence, that is not the




                     AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
 Case 2:17-cv-07639-GW-KS Document 611 Filed 12/18/19 Page 146 of 179 Page ID
                                  #:26954                             1463



 1          beginning.     They talk about the not divisible by three.          That

 2          doesn't matter.

 3                    The only thing where they stay anything about why

 4          the first amino acid might not be lysine is the very -- I

 5          think it's the last sentence.      They say, "In the sequence

 6          listing, Sequence ID NO:6 has been amended as follows to

 7          correctly reflect the bases corresponding to the amino acid

 8          used in the construct of the examples."

 9                    Okay.    So what that means, what they are saying is

10          the examples that we actually did, we started with 114, we

11          didn't start with 113, and so we are amending the patent to

12          reflect that in what we actually did, we started with a

13          different sequence.      That is what they are saying.

14                    And let me pause on that for a second, because one

15          thing that Dr. Junghans was cross-examined about, this is a

16          subtle little point, but he was asked, "Do you understand

17          that Dr. Sadelain used the sequence 114 to 220 in every

18          example in the patent?"      And he said, "Yes."

19                    The reason he said yes is not because of what the

20          patent says.      It's because Dr. Junghans has had access to

21          Dr. Sadelain's testimony where Dr. Sadelain has said that is

22          what I used for all those examples.       So just so you know,

23          it's not something that the public would have notice of.             It

24          is something Dr. Junghans knows because of this case where

25          Dr. Sadelain has said not withstanding what the patent says,




                     AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
 Case 2:17-cv-07639-GW-KS Document 611 Filed 12/18/19 Page 147 of 179 Page ID
                                  #:26955                             1464



 1          I always use the same amino acid sequence.

 2                    Because if we look at the patent right here on the

 3          right, look at what we see again:       "To construct P28z,

 4          nucleotides 336 to 660 of CD28 were amplified."         336 rears

 5          its head again.

 6                    And this is describing how they made an example in

 7          the patent.     And they didn't ask to change this in the RCE.

 8          And they didn't ask to change this in the certificate of

 9          correction.     This is still in the patent.     They are

10          representing to the patent office we want to change this

11          sequence to be consistent with what we used in all of our

12          examples.     And in another place in the patent, they do change

13          that 336 to 340 so that would begin with isoleucine, but then

14          they leave it at 336 in another place.

15                    So a person looking at this, seeing they left the

16          336 in there, and also seeing that they never in the end

17          changed the sequence listing, how would they conclude that

18          the 336 was obviously wrong?      336 is all over the place, and

19          they eventually went back to it.

20                    Now, they might see, as in the publication, they

21          might see, okay, I see inconsistencies here, but they are not

22          going to clearly assume, okay, even though the patent now

23          reads what the patent defines is an amino acid sequence that

24          begins with lysine -- and the Court has told us that is what

25          the patent defines -- a person of skill in the art is not




                     AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
 Case 2:17-cv-07639-GW-KS Document 611 Filed 12/18/19 Page 148 of 179 Page ID
                                  #:26956                             1465



 1          going to look at that patent and second guess it and say, oh,

 2          you know what?    It defines lysine, lysine is all over

 3          Dr. Sadelain's work all over the place, but I'm just going to

 4          clearly understand that it's supposed to be isoleucine.             That

 5          is not what a person of skill in the art would have

 6          concluded, and it's not what the three real world scientists

 7          who looked at this concluded.

 8                    THE COURT:    Mr. Dane, with that, we are going to

 9          have to stop as discussed.

10                    And the jury will be ordered back tomorrow at 8:30.

11          Again, during your absence, do not discuss the case amongst

12          yourself or with any other person.       And closing arguments or

13          the rest of arguments will be provided tomorrow.         Thank you.

14                    THE CLERK:    All rise for the jury, please.

15                    (Thereupon, the jury retired from the courtroom.)

16                    (Thereupon, the Court was in recess.)

17                               *****      *****       *****

18

19

20

21

22

23

24

25




                     AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
 Case 2:17-cv-07639-GW-KS Document 611 Filed 12/18/19 Page 149 of 179 Page ID
                                  #:26957                             1466



 1

 2          I certify that the foregoing is a correct transcript from the

 3          record of proceedings in the above-titled matter.

 4

 5

 6

 7          ---------------------------

 8

 9          Amy C. Diaz, RPR, CRR                  December 11, 2019

10          S/   Amy Diaz

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25




                     AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
Case 2:17-cv-07639-GW-KS Document 611 Filed 12/18/19 Page 150 of 179 Page ID
                                 #:26958                             1


            #                1337:6, 1353:15,      1332:25, 1333:1,         200s [1] - 1405:7     27B [4] - 1323:12,
                             1377:11, 1408:10,     1333:8, 1334:8,          2010 [3] - 1437:10,    1323:13, 1323:21,
 #4455 [1] - 1318:23         1408:17, 1408:23,     1336:19, 1338:22,         1441:1, 1451:6        1323:22
                             1411:5, 1438:16       1338:23, 1338:24,        2011 [3] - 1437:11,   28 [1] - 1339:18
            $               1,700 [1] - 1405:4     1338:25                   1441:1, 1451:6       28th [1] - 1355:15
                            1,700-plus [1] -      13s [1] - 1333:2          2012 [6] - 1375:20,   29 [1] - 1339:18
 $1,900 [3] - 1391:1,        1405:5               14 [3] - 1339:10,          1437:11, 1440:13,    291 [2] - 1405:1,
  1391:2, 1391:16           1.14 [1] - 1446:18     1408:11, 1433:3           1440:23, 1441:1,      1405:7
 $150 [1] - 1412:19         1.3 [4] - 1407:22,    15 [4] - 1322:19,          1455:14              2:17-CV-7639-SJO [1]
 $500 [2] - 1392:5,          1407:23, 1408:22,     1339:10, 1340:1,         2013 [8] - 1384:21,    - 1318:8
  1396:13                    1413:10               1396:16                   1385:5, 1386:20,
 $585 [1] - 1406:5          10 [4] - 1338:20,     150 [1] - 1413:15          1410:1, 1437:11,                3
 $660 [1] - 1374:22          1413:16, 1449:19,    15A [4] - 1322:18,         1440:6, 1441:5,
 $700 [2] - 1434:22,         1449:21               1339:11, 1339:21,         1457:18              3 [14] - 1322:2, 1322:5,
  1435:18                   100 [2] - 1412:11,     1340:2                   2015 [1] - 1384:13     1327:9, 1329:1,
 $752 [1] - 1413:5           1413:15              16 [1] - 1339:11          2016 [3] - 1380:24,    1331:10, 1331:16,
 $76,000 [1] - 1391:4       102 [1] - 1431:25     17 [1] - 1339:12           1384:15, 1428:2       1337:8, 1339:7,
                            10281 [1] - 1319:12   18 [3] - 1339:12,         2017 [8] - 1361:21,    1348:1, 1348:25,
             '              10K [1] - 1390:16      1430:6, 1433:4            1384:16, 1407:7,      1349:16, 1349:25,
                            11 [14] - 1318:15,    180 [1] - 1389:23          1407:21, 1410:17,     1354:6, 1355:3
 '14 [2] - 1384:21,          1327:10, 1329:1,     1800 [2] - 1319:6,         1419:19, 1422:21,    3.8 [1] - 1391:6
   1385:5                    1331:10, 1331:16,     1435:12                   1432:23              30 [2] - 1403:14,
 '15 [2] - 1384:21,          1338:21, 1339:7,     18th [1] - 1361:21        2018 [3] - 1389:15,    1412:12
   1385:5                    1348:2, 1348:25,     19 [3] - 1339:12,          1389:18, 1433:7      30th [1] - 1428:2
 '16 [1] - 1384:21           1349:16, 1349:25,     1424:15, 1433:11         2019 [2] - 1318:15,   336 [40] - 1422:7,
 '17 [1] - 1384:21           1354:6, 1355:3,      1980s [1] - 1402:1         1466:9                1422:10, 1422:11,
 '190 [58] - 1331:11,        1466:9               1985 [1] - 1388:8         2020 [1] - 1434:6      1422:12, 1438:1,
   1331:16, 1339:8,         112 [1] - 1460:1      1997 [2] - 1446:6,        2024 [1] - 1408:21     1444:1, 1444:20,
   1348:2, 1348:7,          113 [15] - 1352:2,     1460:20                  20s [1] - 1430:2       1445:3, 1445:5,
   1348:10, 1348:20,         1384:5, 1395:5,      1998 [2] - 1446:10,       21 [2] - 1339:14,      1445:6, 1445:9,
   1349:1, 1349:17,          1395:9, 1425:16,      1460:20                   1349:12               1445:14, 1446:1,
   1350:1, 1353:10,          1438:5, 1438:23,     1:15 [1] - 1398:2         22 [1] - 1339:14       1446:8, 1446:13,
   1353:15, 1353:17,         1440:9, 1442:21,     1:20 [2] - 1398:2,        220 [19] - 1352:2,     1446:15, 1446:19,
   1354:6, 1355:4,           1445:18, 1458:1,      1398:3                    1352:5, 1395:4,       1446:22, 1447:1,
   1355:5, 1355:9,           1458:3, 1459:25,     1st [1] - 1318:23          1397:4, 1397:5,       1447:9, 1447:14,
   1356:5, 1357:13,          1460:3, 1463:11                                 1400:10, 1400:11,     1447:15, 1447:21,
   1358:17, 1359:20,        114 [23] - 1352:4,                               1400:14, 1425:16,     1450:12, 1451:14,
   1360:2, 1362:2,
                                                             2                                     1451:23, 1454:5,
                             1384:6, 1384:11,                                1425:17, 1438:23,
   1365:9, 1378:7,           1395:4, 1395:10,     2 [7] - 1322:2, 1322:5,    1440:8, 1440:9,       1457:22, 1458:24,
   1379:13, 1380:16,         1397:4, 1397:5,       1337:7, 1377:11,          1445:19, 1457:25,     1459:18, 1461:17,
   1381:18, 1381:24,         1400:10, 1400:11,     1406:16, 1411:10,         1458:1, 1459:24,      1461:19, 1464:4,
   1382:16, 1384:1,          1400:14, 1425:17,     1414:21                   1460:18, 1463:17      1464:13, 1464:14,
   1386:3, 1387:1,           1438:7, 1440:8,      2.14 [1] - 1446:17        23 [3] - 1324:2,       1464:16, 1464:18
   1388:18, 1389:2,          1442:18, 1442:25,    2.41 [1] - 1446:17         1324:4, 1339:15      337 [1] - 1438:24
   1389:6, 1397:9,           1445:19, 1457:25,    2.56 [1] - 1446:17        23A [3] - 1324:5,     339 [4] - 1422:12,
   1400:25, 1407:4,          1458:2, 1459:25,     2.667 [1] - 1446:17        1324:6, 1339:16       1438:2, 1438:25,
   1409:6, 1414:8,           1460:18, 1463:10,    2.679 [1] - 1446:17       24 [2] - 1323:11,      1445:9
   1414:24, 1421:4,          1463:17              20 [5] - 1322:23,          1339:16              340 [4] - 1422:11,
   1421:6, 1425:14,         115 [1] - 1459:25      1323:3, 1339:13,         25 [1] - 1339:17       1443:1, 1464:13
   1425:15, 1431:10,        116 [1] - 1459:25      1412:12                  250 [1] - 1319:11     342 [1] - 1443:1
   1435:24, 1440:5,         11:30 [1] - 1397:22                             26 [1] - 1339:17      350 [1] - 1318:23
                                                  2002 [7] - 1355:15,
   1440:14, 1440:22,        12 [2] - 1338:22,                               27 [9] - 1323:22,     355 [1] - 1319:20
                                                   1401:4, 1444:9,
   1441:3, 1451:9,           1406:16                                                              35th [1] - 1319:20
                                                   1451:8, 1452:14,          1339:18, 1411:12,
   1452:4, 1454:14,         12390 [1] - 1320:3                                                    38 [3] - 1403:21,
                                                   1460:22, 1461:14          1411:13, 1411:16,
   1455:13, 1459:16,        12th [1] - 1428:4                                                      1427:3, 1430:22
                                                  2003 [1] - 1461:15         1412:2, 1412:9,
   1461:14                  13 [18] - 1323:16,                                                    3:30 [2] - 1398:11
                                                  2007 [3] - 1395:11,        1412:23, 1412:24
                             1324:9, 1328:18,      1444:5, 1445:25          27.6 [2] - 1406:6,
            1                1329:7, 1330:22,     2008 [1] - 1437:10         1416:5                          4
                             1331:1, 1332:7,      2009 [3] - 1375:7,        274 [2] - 1404:7,
 1 [10] - 1322:2, 1322:5,    1332:13, 1332:20,                                                    4 [4] - 1323:5, 1337:8,
                                                   1437:10, 1441:1           1404:9




                     AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
Case 2:17-cv-07639-GW-KS Document 611 Filed 12/18/19 Page 151 of 179 Page ID
                                 #:26959                             2


  1414:6, 1454:24           70 [1] - 1412:11          1420:4, 1421:16,         1455:18, 1455:20,        adjustments [4] -
 4-1BB [4] - 1422:18,       73 [2] - 1411:17,         1456:9                   1457:22, 1458:2,          1409:11, 1409:13,
  1422:19, 1422:24,          1411:19                 above-titled [1] -        1458:3, 1459:20,          1409:16, 1411:4
  1423:5                    752 [2] - 1412:25,        1466:3                   1460:5, 1460:18,         administered [1] -
 40 [3] - 1391:5,            1413:13                 absence [2] - 1398:3,     1462:12, 1462:14,         1406:12
  1399:8, 1412:2            77 [1] - 1319:14          1465:11                  1462:18, 1463:4,         admit [2] - 1374:16,
 40-hour [1] - 1391:4                                absolutely [9] -          1463:7, 1464:1,           1381:21
 49 [1] - 1399:5                        8             1379:16, 1380:7,         1464:23                  admits [1] - 1394:19
                                                      1388:14, 1389:25,       acids [19] - 1352:2,      admitted [8] - 1344:4,
            5               8 [1] - 1337:11           1428:25, 1438:12,        1352:4, 1386:4,           1346:15, 1346:21,
                            8,000 [1] - 1435:10       1439:3, 1439:15,         1395:3, 1400:14,          1346:23, 1346:24,
 5 [17] - 1327:9, 1329:1,   8.6 [1] - 1407:9          1448:12                  1425:13, 1425:16,         1392:5, 1420:18,
  1331:10, 1331:16,         83 [4] - 1411:16,        academically [2] -        1425:17, 1438:20,         1421:2
  1337:9, 1339:7,            1411:20, 1411:24,        1387:24, 1388:9          1438:23, 1440:8,         adopted [1] - 1325:3
  1348:1, 1348:25,           1412:6                  accelerate [1] -          1440:9, 1451:21,         Adrian [1] - 1455:4
  1349:16, 1349:25,         8:30 [2] - 1343:2,        1374:11                  1452:22, 1454:4,         adult [3] - 1429:17,
  1354:6, 1355:3,            1465:10                 accept [6] - 1344:6,      1454:12, 1457:25,         1429:19, 1430:10
  1413:16, 1449:19,                                   1346:8, 1364:25,         1459:24                  adults [3] - 1377:19,
  1449:21, 1449:24,                     9             1387:19, 1460:15,       acknowledged [1] -         1387:6, 1387:7
  1454:24                                             1460:17                  1434:1                   advanced [1] -
 50 [6] - 1391:5,           9 [15] - 1326:19,        acceptable [2] -         act [1] - 1371:25          1374:18
  1411:24, 1430:22,          1327:9, 1329:1,          1321:20, 1364:17        acted [1] - 1361:10       advantage [6] -
  1434:17, 1449:24           1331:10, 1331:16,       access [1] - 1463:20     acting [2] - 1364:25,      1383:8, 1383:12,
 50/50 [2] - 1411:24,        1337:13, 1337:14,       accident [1] - 1393:20    1395:15                   1383:15, 1383:19,
  1412:1                     1338:8, 1339:7,         accomplished [1] -       action [1] - 1325:25       1404:20, 1404:23
 500 [3] - 1320:6,           1348:1, 1348:25,         1343:3                  activity [1] - 1361:8     advantages [1] -
  1407:16                    1349:16, 1349:25,       according [2] -          acts [2] - 1357:18,        1363:12
 50th [1] - 1319:9           1354:6, 1355:3           1369:9, 1407:6           1357:19                  advertising [1] -
 541-1 [1] - 1338:9         900 [1] - 1319:6         account [3] - 1345:12,   actual [6] - 1396:7,       1365:5
 549-1 [8] - 1332:6,        90012 [1] - 1318:23       1350:9, 1365:15          1414:15, 1432:16,        advise [1] - 1369:10
  1332:12, 1336:7,          90067 [1] - 1319:7       accountants [1] -         1450:5, 1453:6,          advising [1] - 1379:11
  1336:20, 1338:1,          90071 [2] - 1319:9,       1390:12                  1460:5                   affect [2] - 1350:8,
  1338:7, 1338:10,           1319:21                 accounting [3] -         add [3] - 1328:5,          1354:24
  1338:11                   92130 [1] - 1320:4        1390:12, 1390:13,        1333:21, 1412:25         affirmed [1] - 1382:5
 555 [1] - 1319:9           94063 [1] - 1320:6        1407:6                  added [8] - 1322:18,      afternoon [2] -
 585 [4] - 1382:14,         9A [14] - 1332:23,       accounts [2] -            1322:21, 1323:13,         1399:17, 1417:15
  1412:23, 1412:25,          1336:1, 1336:5,          1323:16, 1367:5          1324:11, 1331:3,         age [1] - 1430:11
  1416:2                     1336:12, 1336:16,       accuracy [1] - 1367:23    1331:9, 1358:4,          ago [8] - 1334:8,
                             1336:22, 1337:14,       accurate [1] - 1390:20    1364:6                    1389:2, 1391:20,
            6                1337:17, 1337:20,       accused [2] - 1365:4,    addition [2] - 1344:25,    1408:20, 1419:7,
                             1338:5, 1338:6,          1419:4                   1348:11                   1432:25, 1433:2
 6 [2] - 1337:10, 1455:2     1338:7, 1338:9,         achieved [1] - 1392:18   additional [5] -          agree [16] - 1328:12,
 6.2 [6] - 1371:3,           1338:18                 acid [50] - 1351:25,      1338:16, 1351:2,          1333:19, 1334:7,
  1390:9, 1407:6,                                     1352:6, 1384:5,          1353:24, 1390:2,          1338:18, 1342:5,
  1408:18, 1413:2,                     A              1384:11, 1395:9,         1405:18                   1343:18, 1361:20,
  1413:11                                             1436:21, 1437:21,       address [6] - 1326:16,     1373:23, 1375:16,
 60601 [1] - 1319:14        a-ha [1] - 1396:2         1438:3, 1438:5,          1337:17, 1342:24,         1401:3, 1409:3,
 64 [2] - 1431:25,          abandoned [1] -           1438:6, 1438:17,         1370:15, 1387:21          1410:3, 1413:14,
  1432:1                     1424:14                  1438:21, 1439:9,        addressed [2] -            1413:23, 1418:3,
 66 [1] - 1411:15           abbreviated [1] -         1439:21, 1439:23,        1339:24, 1378:18          1437:4
 660 [2] - 1454:5,           1350:23                  1440:1, 1440:18,        adds [2] - 1326:1,        agreed [24] - 1322:1,
  1464:4                    ability [3] - 1345:12,    1442:18, 1442:22,        1353:23                   1322:7, 1329:13,
 663 [1] - 1446:8            1387:10, 1457:4          1442:25, 1443:2,        adequate [3] -             1332:3, 1332:4,
                            Abken [4] - 1401:9,       1445:18, 1445:19,        1357:24, 1358:18,         1333:6, 1333:22,
            7                1401:15, 1401:17,        1446:3, 1446:16,         1360:5                    1334:5, 1334:11,
                             1402:3                   1447:21, 1451:19,       adequately [1] -           1335:7, 1335:9,
 7 [1] - 1337:11            able [10] - 1364:16,      1451:24, 1452:2,         1350:17                   1336:17, 1337:22,
 7.1 [4] - 1407:9,           1371:10, 1372:1,         1452:10, 1454:8,        adjustment [3] -           1337:24, 1338:13,
  1408:19, 1413:2,           1375:3, 1378:20,         1454:14, 1454:23,        1411:5, 1411:9,           1344:5, 1348:7,
  1413:12                    1400:20, 1410:5,         1454:24, 1455:1,         1411:10                   1364:10, 1365:23,




                     AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
Case 2:17-cv-07639-GW-KS Document 611 Filed 12/18/19 Page 152 of 179 Page ID
                                 #:26960                             3


  1408:16, 1409:11,        1386:4, 1395:3,           1319:9, 1319:21          1359:17, 1366:20,        1341:6, 1341:24,
  1413:3, 1415:7,          1395:9, 1400:14,         annual [2] - 1404:3,      1402:12, 1432:16,        1342:3, 1342:6,
  1439:14                  1425:13, 1425:16,         1407:21                  1432:24, 1433:9,         1343:9, 1369:6,
 agreed-upon [1] -         1425:17, 1436:21,        annually [1] - 1408:22    1433:14, 1433:17,        1369:12, 1382:6,
  1329:13                  1437:21, 1438:3,         ANSWER [3] - 1388:9,      1433:18, 1444:11,        1398:25, 1399:14,
 agreement [23] -          1438:5, 1438:6,           1389:14, 1396:8          1444:14, 1444:17,        1414:20, 1414:21,
  1330:24, 1334:25,        1438:17, 1438:19,        answer [7] - 1322:3,      1445:15, 1446:6,         1415:4, 1416:23
  1335:3, 1335:5,          1438:21, 1438:23,         1322:5, 1369:1,          1446:13, 1447:6,        arguments [10] -
  1337:4, 1337:15,         1439:9, 1439:21,          1376:21, 1401:6,         1460:20, 1461:2,         1324:20, 1324:25,
  1340:13, 1360:24,        1439:23, 1440:1,          1443:25, 1452:24         1461:14, 1461:16         1335:20, 1344:11,
  1361:11, 1361:24,        1440:8, 1440:9,          answered [3] -           applications [2] -        1344:14, 1370:12,
  1364:12, 1365:11,        1440:18, 1442:17,         1322:2, 1322:4,          1432:8, 1461:12          1380:20, 1381:3,
  1369:8, 1369:17,         1442:22, 1442:25,         1371:23                 applied [3] - 1362:3,     1465:12, 1465:13
  1374:7, 1374:10,         1443:2, 1445:18,         answering [1] -           1393:12, 1394:25        Arie [3] - 1373:23,
  1379:21, 1390:4,         1445:19, 1446:2,          1368:24                 applies [2] - 1343:12,    1379:19, 1388:18
  1409:2, 1409:6,          1446:16, 1447:21,        anti [1] - 1403:13        1366:24                 arising [1] - 1357:18
  1409:14, 1410:2,         1451:19, 1451:21,        anti-CD19 [1] -          apply [6] - 1343:16,     art [23] - 1322:20,
  1410:12                  1451:23, 1452:2,          1403:13                  1352:8, 1352:10,         1355:14, 1356:10,
 agreements [3] -          1452:10, 1452:22,        antibodies [1] -          1357:20, 1394:15,        1357:5, 1357:7,
  1332:24, 1365:15,        1454:4, 1454:8,           1428:23                  1412:24                  1380:20, 1394:12,
  1366:5                   1454:12, 1454:14,        antibody [1] - 1401:14   applying [1] - 1444:7     1400:21, 1402:13,
 ahead [8] - 1331:1,       1454:23, 1454:24,        anticipated [1] -        apportionment [6] -       1441:20, 1447:12,
  1334:14, 1370:17,        1455:1, 1455:18,          1356:10                  1323:13, 1323:16,        1447:23, 1448:11,
  1385:16, 1403:8,         1455:20, 1457:22,        anticipating [1] -        1323:17, 1339:16,        1448:21, 1448:24,
  1410:7, 1417:13,         1457:25, 1458:2,          1433:8                   1406:10                  1450:6, 1457:20,
  1427:15                  1459:20, 1459:24,        anticipation [2] -       appreciate [1] -          1458:16, 1458:18,
 ain't [1] - 1424:4        1460:5, 1460:18,          1356:12, 1380:20         1417:24                  1460:1, 1464:25,
 akin [1] - 1377:4         1462:12, 1462:13,                                 approach [1] -            1465:5
                                                    antigen [2] - 1424:19,
 al [1] - 1318:5           1462:18, 1463:4,                                   1398:15                 article [26] - 1364:14,
                                                     1424:23
 Alan [1] - 1319:5         1463:7, 1464:1,                                   approached [1] -          1388:20, 1388:21,
                                                    Antoni [1] - 1373:15
 alcohol [1] - 1449:19     1464:23                                            1367:1                   1420:24, 1444:16,
                                                    anyway [1] - 1378:22
 alert [2] - 1337:13,     Amoroso [1] -                                      appropriate [2] -         1444:18, 1445:4,
                                                    apologies [1] -
  1398:10                  1405:19                                            1325:5, 1424:7           1446:10, 1446:11,
                                                     1397:23
 alive [1] - 1419:23      amount [19] - 1349:6,                              approval [9] -            1447:10, 1451:8,
                                                    apologize [5] -
 alleged [1] - 1361:19     1350:6, 1354:24,                                   1361:21, 1422:17,        1451:9, 1451:14,
                                                     1349:21, 1421:15,
 allow [2] - 1354:24,      1359:8, 1359:9,                                    1426:16, 1426:19,        1451:23, 1452:13,
                                                     1437:19, 1459:10,
  1363:25                  1360:3, 1360:5,                                    1430:4, 1432:16,         1452:14, 1452:18,
                                                     1459:12
 allowed [4] - 1350:21,    1360:15, 1362:1,                                   1432:19, 1433:9,         1452:19, 1454:2,
                                                    apparent [8] -
  1356:16, 1450:3,         1364:8, 1364:12,                                   1434:8                   1454:6, 1454:7,
                                                     1447:23, 1448:11,
  1461:25                  1364:17, 1365:2,                                  approved [12] -           1454:10, 1460:21,
                                                     1448:21, 1449:2,
 alluded [1] - 1424:12     1365:7, 1397:7,                                    1410:18, 1423:23,        1460:23
                                                     1458:16, 1458:18,
                           1404:10, 1410:9,                                   1424:3, 1429:15,        articulated [1] -
 almost [2] - 1418:4,                                1458:19, 1459:7
                           1416:1, 1418:24                                    1429:17, 1429:19,        1461:8
  1442:9                                            appear [2] - 1334:21,
                          amounts [1] - 1365:9                                1429:20, 1430:8,        aspect [1] - 1325:16
 alone [2] - 1391:19,                                1445:10
                          amplified [2] - 1454:4,                             1430:10, 1430:11,       assemble [1] - 1453:3
  1407:21                                           APPEARANCES [1] -
                           1464:4                                             1430:16, 1433:13        assert [1] - 1357:17
 alternative [4] -                                   1319:1
                          amplify [4] - 1454:2,                              April [1] - 1384:12      asserted [17] -
  1327:1, 1327:18,                                  Appearances [1] -
  1372:8, 1406:22          1454:3, 1454:19                                   area [4] - 1355:18,       1326:24, 1327:5,
                                                     1320:1
 alternatives [2] -       AMY [1] - 1318:22                                   1394:3, 1402:16,         1328:10, 1348:9,
                                                    appeared [1] -
  1366:8, 1380:13         Amy [2] - 1466:9,                                   1413:17                  1348:12, 1348:20,
                                                     1329:25
 amazing [3] - 1370:22,    1466:10                                           areas [1] - 1432:4        1348:22, 1352:13,
                                                    applicant [4] -
  1372:23, 1373:2         analogous [1] -                                    argue [2] - 1348:4,       1352:16, 1354:13,
                                                     1350:14, 1350:20,
 ambiguity [1] -           1364:1                                             1393:4                   1355:7, 1355:15,
                                                     1351:1, 1351:5
  1454:13                 analysis [2] - 1323:18,                            argued [1] - 1429:12      1358:17, 1359:20,
                                                    application [33] -
 amended [1] - 1463:6      1385:18                                           Arguello [1] - 1320:6     1360:1, 1390:5,
                                                     1350:13, 1350:14,
 amending [1] -           anchors [1] - 1408:25                              argues [3] - 1348:12,     1439:18
                                                     1350:15, 1350:19,
  1463:11                 Andrea [1] - 1319:8                                 1357:12, 1392:11        assess [1] - 1354:21
                                                     1350:22, 1350:24,
 amino [68] - 1351:25,    Andy [1] - 1390:8                                  argument [18] -          assessed [1] - 1353:1
                                                     1356:20, 1358:3,
  1352:2, 1352:4,         Angeles [5] - 1318:14,     1358:7, 1358:8,          1330:13, 1330:14,       assessment [1] -
  1384:5, 1384:11,         1318:23, 1319:7,          1358:12, 1358:14,        1335:12, 1341:5,         1459:4




                   AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
Case 2:17-cv-07639-GW-KS Document 611 Filed 12/18/19 Page 153 of 179 Page ID
                                 #:26961                             4


 assist [2] - 1342:9,       1360:3                  1457:18                 benefited [1] -          body [3] - 1373:5,
  1347:5                   aware [2] - 1324:17,    begin [6] - 1361:21,      1371:24                  1426:4, 1426:10
 associated [1] -           1388:21                 1371:16, 1386:4,        benefits [1] - 1363:17   books [1] - 1346:16
  1431:6                   awful [1] - 1461:19      1439:8, 1439:10,        best [3] - 1409:22,      bootstrap [1] - 1449:3
 assume [4] - 1338:8,      awry [1] - 1410:11       1464:13                  1409:23, 1415:20        boring [1] - 1436:20
  1361:10, 1361:12,        axi [3] - 1441:1,       beginning [20] -         better [5] - 1342:5,     borne [1] - 1426:22
  1464:22                   1441:7, 1441:11         1351:16, 1370:21,        1404:5, 1404:13,        Boston [2] - 1396:14,
 assumed [2] -             axi-cel [3] - 1441:1,    1420:1, 1420:8,          1404:21, 1425:1          1457:13
  1399:22, 1400:4           1441:7, 1441:11         1436:15, 1442:22,       between [20] - 1351:5,   Bot [19] - 1375:22,
 assuming [1] - 1400:5                              1444:20, 1446:1,         1361:6, 1362:23,         1376:15, 1395:18,
 ATT [3] - 1438:6,                    B             1446:21, 1452:1,         1365:12, 1365:16,        1418:7, 1424:10,
  1439:23, 1442:25                                  1455:8, 1457:21,         1365:17, 1377:9,         1424:16, 1425:3,
 attached [1] - 1462:7     backbone [11] -          1459:18, 1461:20,        1378:24, 1379:19,        1425:16, 1429:2,
 attack [3] - 1373:8,       1372:5, 1373:1,         1462:13, 1462:14,        1405:25, 1409:2,         1430:18, 1440:20,
  1384:13, 1436:2           1374:15, 1375:11,       1462:15, 1462:16,        1409:7, 1409:14,         1440:21, 1443:13,
 attacked [3] - 1418:12,    1375:24, 1376:6,        1463:1                   1410:1, 1411:8,          1455:4, 1455:5,
  1455:4, 1457:8            1376:17, 1376:19,      begins [10] - 1384:12,    1411:11, 1422:23,        1455:11, 1455:12,
 attacking [1] -            1377:11, 1402:7,        1422:7, 1443:25,         1429:7, 1433:3,          1459:1
  1424:19                   1451:11                 1444:3, 1446:25,         1439:21                 botched [1] - 1443:20
 attacks [1] - 1384:25     background [2] -         1455:22, 1457:23,       bias [1] - 1345:16       bother [1] - 1376:16
 attempt [3] - 1368:19,     1383:6, 1387:8          1458:24, 1461:17,       big [3] - 1383:15,       bought [2] - 1371:1,
  1369:24, 1374:11         bad [3] - 1354:16,       1464:24                  1391:19, 1442:1          1418:6
 attempted [2] -            1404:16, 1435:18       begun [1] - 1433:15      biggest [2] - 1373:25,   boundaries [1] -
  1389:9, 1389:12          bag [1] - 1457:6        behalf [3] - 1374:6,      1408:9                   1351:18
 attention [3] -           bailiff [1] - 1368:18    1416:13, 1416:19        billion [20] - 1371:3,   bounds [2] - 1436:10,
  1378:17, 1417:18,        balancing [1] -         behavior [3] -            1390:9, 1407:6,          1449:12
  1417:20                   1414:11                 1354:15, 1456:7,         1407:9, 1407:22,        box [4] - 1414:3,
 attentive [1] - 1416:21   bar [1] - 1412:4         1456:10                  1407:23, 1408:10,        1414:13, 1414:19,
 attorney [1] - 1460:14    base [1] - 1366:9       behind [1] - 1420:2       1408:17, 1408:18,        1415:2
 Attorney [14] - 1319:4,   based [13] - 1323:15,   beings [3] - 1377:19,     1408:19, 1408:22,       brain [1] - 1429:25
  1319:5, 1319:5,           1333:13, 1365:2,        1387:9, 1394:23          1408:23, 1413:2,        branded [1] - 1423:22
  1319:6, 1319:8,           1365:21, 1368:6,       belief [1] - 1370:5       1413:3, 1413:8,         breakthrough [1] -
  1319:11, 1319:13,         1389:9, 1389:12,       believability [1] -       1413:10, 1413:11,        1434:10
  1319:18, 1319:18,         1432:9, 1436:14,        1345:19                  1413:12, 1413:18        Brentjens [2] - 1431:9,
  1319:19, 1319:19,         1444:3, 1444:17,       believable [3] -         billions [2] - 1371:9     1443:12
  1319:20, 1320:3,          1444:23, 1452:17        1346:12, 1379:1,        binding [5] - 1352:7,    brief [3] - 1330:19,
  1320:5                   bases [1] - 1463:7       1391:24                  1420:17, 1436:19,        1340:14, 1398:7
 attorneys [3] -           basic [2] - 1403:18,    believes [1] - 1424:7     1436:24, 1442:7         bring [6] - 1341:1,
  1344:19, 1418:19,         1421:8                 Belldegrun [34] -        biochemistry [1] -        1342:16, 1343:1,
  1456:7                   basis [8] - 1322:25,     1373:23, 1374:6,         1355:22                  1398:9, 1410:5,
 attributable [1] -         1392:24, 1444:10,       1374:16, 1375:16,       biology [3] - 1355:22,    1424:9
  1365:3                    1445:4, 1446:12,        1375:23, 1375:25,        1356:2                  broad [4] - 1388:25,
 August [2] - 1446:10,      1450:15, 1451:8,        1376:17, 1377:8,        Bishop [1] - 1409:17      1389:3, 1429:22,
  1460:20                   1458:25                 1377:13, 1377:20,       bit [13] - 1329:22,       1436:25
 author's [1] - 1444:19    battle [1] - 1416:7      1378:1, 1378:3,          1334:16, 1338:18,       broaden [2] - 1437:14,
 automobile [1] -          bear [1] - 1345:19       1379:2, 1379:7,          1404:11, 1404:12,        1449:25
  1393:19                  bears [1] - 1436:17      1379:15, 1379:20,        1415:14, 1418:1,        broadened [1] -
 available [7] - 1351:7,   became [2] - 1383:11,    1380:1, 1380:2,          1418:2, 1421:1,          1458:13
  1356:8, 1362:7,           1451:8                  1380:6, 1380:14,         1448:18, 1451:22,       broadening [1] -
  1378:21, 1434:16,        become [1] - 1383:10     1380:23, 1381:5,         1456:10                  1450:1
  1435:7, 1447:11          becomes [4] - 1351:7,    1381:21, 1381:25,       blacked [1] - 1412:5     broadens [3] - 1357:2,
 Avenue [2] - 1319:6,       1351:12, 1351:15,       1382:19, 1383:5,        Blanca [1] - 1319:20      1394:10, 1441:17
  1319:20                   1368:16                 1383:20, 1387:22,       BLAs [1] - 1433:8        broader [1] - 1352:24
 avoid [1] - 1321:15       beeline [1] - 1398:12    1388:12, 1388:18,       blindfolded [1] -        Brocker [9] - 1373:11,
 award [6] - 1350:8,       began [12] - 1361:8,     1401:24, 1416:8,         1393:24                  1381:15, 1381:20,
  1354:25, 1360:7,          1361:19, 1362:8,        1416:9, 1443:12         blog [1] - 1366:20        1382:1, 1401:23,
  1360:10, 1360:11,         1364:10, 1439:9,       Belldegrun's [2] -       blood [3] - 1423:12,      1402:23, 1403:3,
  1360:15                   1445:17, 1447:21,       1374:19, 1379:22         1426:3, 1430:25          1403:10, 1416:18
 awarded [4] - 1349:2,      1450:11, 1451:23,      below [1] - 1322:1       board [2] - 1428:7       Brocker's [1] -
  1349:19, 1350:2,          1452:16, 1457:10,      benefit [1] - 1392:19    bodies [1] - 1373:7       1381:14




                    AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
Case 2:17-cv-07639-GW-KS Document 611 Filed 12/18/19 Page 154 of 179 Page ID
                                 #:26962                             5


 broke [2] - 1399:18,      capacity [2] - 1435:1,     1350:10, 1351:16,       1421:9, 1421:22,          1355:3, 1355:4,
  1424:4                    1450:9                    1351:23, 1353:15,       1422:2, 1423:5,           1355:6, 1355:9,
 brothers [1] - 1377:17    car [1] - 1393:20          1355:20, 1361:19,       1423:17, 1425:13,         1355:11, 1355:12,
 brought [4] - 1346:22,    CAR [66] - 1372:6,         1361:25, 1364:21,       1425:17, 1438:5,          1356:13, 1356:17,
  1380:1, 1382:6,           1372:22, 1373:18,         1366:10, 1366:12,       1442:15, 1445:3,          1356:18, 1356:20,
  1403:20                   1374:8, 1374:13,          1366:13, 1366:17,       1446:8, 1454:17,          1356:21, 1356:23,
 build [1] - 1382:15        1374:14, 1374:23,         1366:18, 1367:2,        1455:19, 1459:17,         1357:1, 1357:10,
 bulk [1] - 1425:25         1375:2, 1375:14,          1367:6, 1367:10,        1464:4                    1357:12, 1357:15,
 bullet [1] - 1420:9        1375:23, 1376:10,         1367:11, 1367:14,      CD3 [1] - 1442:5           1357:16, 1357:20,
 bullied [1] - 1418:18      1376:12, 1376:18,         1367:17, 1367:21,      cel [3] - 1441:1,          1357:21, 1360:1,
 bumped [1] - 1393:20       1376:20, 1382:15,         1368:6, 1368:22,        1441:7, 1441:11           1383:25, 1384:2,
 burden [19] - 1337:11,     1384:23, 1389:9,          1369:20, 1370:22,      Celgene [9] - 1408:1,      1384:8, 1386:1,
  1339:10, 1339:13,         1389:12, 1389:14,         1370:23, 1371:4,        1408:2, 1408:7,           1386:3, 1386:6,
  1347:8, 1347:10,          1389:16, 1389:19,         1371:7, 1372:17,        1408:10, 1408:16,         1386:8, 1386:9,
  1347:11, 1347:16,         1396:7, 1396:9,           1384:25, 1385:19,       1408:23, 1413:3,          1386:17, 1386:20,
  1347:17, 1347:18,         1396:10, 1401:6,          1385:22, 1390:1,        1413:7, 1413:17           1392:10, 1393:5,
  1349:5, 1350:5,           1406:8, 1406:13,          1391:7, 1391:11,       cell [6] - 1355:22,        1393:12, 1394:5,
  1360:14, 1370:16,         1406:18, 1407:3,          1391:18, 1391:19,       1356:2, 1373:3,           1394:9, 1394:15,
  1393:17, 1394:4,          1408:5, 1408:24,          1391:21, 1394:2,        1424:20, 1426:7,          1394:22, 1395:1,
  1414:22, 1415:5,          1416:14, 1420:4,          1398:3, 1406:1,         1434:14                   1395:2, 1395:14,
  1415:10, 1415:22          1420:10, 1420:15,         1406:14, 1408:3,       cells [10] - 1355:25,      1399:19, 1400:3,
 burdens [1] - 1347:9       1420:18, 1420:22,         1409:10, 1410:25,       1373:1, 1373:8,           1400:4, 1400:12,
 business [10] -            1420:25, 1422:1,          1416:7, 1418:3,         1424:22, 1426:2,          1414:16, 1414:17,
  1362:25, 1363:24,         1422:15, 1423:8,          1418:21, 1419:14,       1426:6, 1426:7,           1422:12, 1425:14,
  1363:25, 1364:5,          1424:12, 1424:17,         1419:15, 1419:18,       1426:9, 1426:11           1425:15, 1437:2,
  1364:13, 1365:1,          1425:4, 1425:23,          1420:3, 1420:8,        CENTRAL [1] - 1318:2       1437:5, 1437:6,
  1387:24, 1388:9,          1426:19, 1426:22,         1420:14, 1421:11,      CEO [3] - 1375:22,         1437:12, 1437:25,
  1411:7, 1412:15           1426:24, 1427:1,          1421:17, 1425:23,       1380:8, 1381:7            1439:5, 1439:16,
 bystander [1] - 1381:5     1429:6, 1429:11,          1426:17, 1426:25,      cerebral [5] - 1405:11,    1439:19, 1439:22,
                            1429:17, 1432:9,          1431:20, 1434:11,       1429:25, 1430:13,         1441:16, 1441:17,
                            1433:25, 1435:4,          1434:24, 1435:17,       1430:22, 1431:7           1441:25, 1448:9,
            C               1435:7, 1444:9,           1436:15, 1443:4,                                  1448:16, 1448:22,
                                                                             certain [15] - 1322:12,
 CA [1] - 1318:23           1451:7, 1451:12,          1443:8, 1443:14,        1336:14, 1344:8,          1448:25, 1449:1,
 CAAA [2] - 1422:10,        1451:20, 1452:15,         1445:18, 1450:10,       1345:2, 1346:14,          1449:4, 1449:22,
  1445:9                    1452:16                   1450:12, 1451:3,        1346:21, 1356:8,          1458:6, 1458:10,
 calculated [1] -          CAR-T [23] - 1407:3,       1451:24, 1456:8,        1356:18, 1356:21,         1458:21, 1459:3,
  1361:23                   1408:5, 1408:24,          1457:18, 1458:10,       1409:12, 1414:4,          1464:8
 calculating [1] -          1420:4, 1420:10,          1458:24, 1459:1,        1418:21, 1419:4,         certify [1] - 1466:2
  1360:23                   1422:1, 1422:15,          1463:24, 1465:11        1433:17, 1453:21         chain [2] - 1401:13,
 CALIFORNIA [1] -           1423:8, 1424:17,         cases [9] - 1323:20,    certainly [2] - 1387:6,    1454:16
  1318:2                    1425:23, 1426:19,         1391:22, 1393:16,       1407:3                   chair [1] - 1378:22
                            1426:22, 1426:24,         1405:11, 1428:24,      certainty [1] - 1360:20   challenge [2] -
 California [6] -
                            1427:1, 1429:6,           1447:25, 1448:1,       certificate [108] -        1356:5, 1382:7
  1318:14, 1319:7,
                            1429:11, 1429:17,         1448:14                 1324:16, 1324:19,        challenged [2] -
  1319:9, 1319:21,
  1320:4, 1320:6            1432:9, 1433:25,         cash [2] - 1383:22,      1324:24, 1325:2,          1354:22, 1356:11
                            1435:4, 1435:7            1404:23                 1326:23, 1327:2,         challenger [1] -
 callous [1] - 1435:22
                           carefully [2] - 1400:2,   cashed [1] - 1374:21     1327:9, 1327:13,          1393:14
 Camino [1] - 1320:3
                            1414:25                  cashing [1] - 1374:20    1327:15, 1327:19,        challenging [1] -
 cancer [15] - 1371:8,
  1371:15, 1371:17,        cares [1] - 1462:12       caught [3] - 1395:11,    1328:15, 1328:21,         1448:5
  1373:2, 1392:15,         carry [1] - 1447:5         1460:23, 1461:25        1329:2, 1330:7,          chance [1] - 1425:1
  1409:20, 1412:11,        CARs [5] - 1420:13,       causes [2] - 1373:1,     1331:8, 1331:14,         change [20] - 1321:19,
  1419:21, 1423:12,         1422:1, 1442:14,          1430:1                  1335:23, 1339:6,          1334:11, 1334:12,
  1424:20, 1424:21,         1442:16, 1445:20         causing [1] - 1427:22    1339:11, 1348:6,          1334:19, 1370:2,
  1424:22, 1430:25,        case [93] - 1326:1,       CD19 [7] - 1373:18,      1348:8, 1348:11,          1370:5, 1382:10,
  1434:18, 1443:10          1326:6, 1326:12,          1375:1, 1375:23,        1348:19, 1348:21,         1382:19, 1382:21,
 Cancer [1] - 1374:2        1330:6, 1342:22,          1403:13, 1424:15,       1348:24, 1349:15,         1382:24, 1383:1,
 cancers [1] - 1373:9       1343:12, 1343:16,         1424:18, 1424:23        1349:24, 1351:10,         1384:23, 1427:20,
 cannot [2] - 1405:22,      1343:20, 1345:6,         CD20 [1] - 1424:18       1351:11, 1351:14,         1428:12, 1441:9,
  1415:23                   1345:7, 1345:15,         CD28 [21] - 1352:2,      1352:3, 1352:13,          1462:1, 1464:7,
 capacities [1] - 1435:4    1346:17, 1347:23,         1352:5, 1421:5,         1352:16, 1354:5,          1464:8, 1464:10,




                    AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
Case 2:17-cv-07639-GW-KS Document 611 Filed 12/18/19 Page 155 of 179 Page ID
                                 #:26963                             6


  1464:12                  1455:25, 1458:4          1349:17, 1349:25,          1369:10                   1424:11
 changed [6] -            Chu's [2] - 1398:14,      1350:1, 1350:16,          CLERK [6] - 1342:1,       commentary [1] -
  1331:18, 1333:17,        1398:22                  1350:25, 1351:17,          1342:17, 1398:5,          1367:6
  1358:4, 1428:9,         circuit [1] - 1323:19     1351:20, 1351:23,          1399:10, 1417:11,        commented [1] -
  1441:10, 1464:17        circumstances [4] -       1352:14, 1352:16,          1465:14                   1409:9
 changes [9] -             1354:21, 1365:18,        1352:23, 1353:10,         clients [1] - 1344:19     commercial [4] -
  1321:10, 1321:12,        1366:4, 1409:13          1353:11, 1353:17,         clinical [17] - 1374:8,    1362:23, 1363:10,
  1331:22, 1334:10,       citation [1] - 1399:25    1353:18, 1353:23,          1378:10, 1378:16,         1363:16, 1374:4
  1338:23, 1339:9,        cites [2] - 1375:9,       1354:1, 1354:3,            1384:13, 1406:24,        commercialize [2] -
  1374:14, 1424:2,         1452:18                  1354:6, 1354:7,            1410:6, 1423:7,           1372:14
  1427:19                 City [1] - 1320:6         1355:3, 1355:5,            1424:11, 1427:12,        Commission [2] -
 changing [1] -           civil [1] - 1393:16       1355:7, 1357:3,            1428:4, 1428:9,           1390:17, 1390:23
  1441:10                 claim [58] - 1323:15,     1357:9, 1358:3,            1428:11, 1429:6,         common [5] - 1387:9,
 character [3] -           1338:21, 1347:12,        1358:4, 1358:17,           1430:19, 1432:3,          1392:13, 1403:3,
  1356:25, 1363:16,        1347:14, 1347:20,        1359:20, 1381:18,          1432:6, 1445:21           1403:10, 1412:13
  1441:19                  1350:20, 1352:18,        1382:4, 1389:2,           close [6] - 1339:5,       communicate [7] -
 charades [1] - 1420:2     1352:19, 1352:20,        1390:6, 1393:15,           1339:7, 1343:1,           1366:15, 1366:16,
 chart [2] - 1381:17,      1352:22, 1352:23,        1394:11, 1401:2,           1376:15, 1387:23,         1368:17, 1368:19,
  1395:8                   1352:24, 1353:1,         1414:8, 1414:23,           1417:20                   1368:20, 1368:21,
 charts [6] - 1337:9,      1353:2, 1353:3,          1420:15, 1422:4,          closely [1] - 1381:25      1378:5
  1337:10, 1346:14,        1353:5, 1353:7,          1439:18, 1440:16,         closer [1] - 1327:23      communicating [2] -
  1346:17, 1346:21,        1353:8, 1353:11,         1440:17, 1441:18,         closing [21] - 1323:14,    1366:24, 1375:21
  1346:23                  1353:13, 1353:14,        1449:25, 1450:1,           1324:20, 1324:25,        communication [1] -
 chat [1] - 1366:20        1353:15, 1353:16,        1454:13, 1458:13           1326:10, 1328:17,         1339:18
 check [3] - 1400:1,       1353:18, 1353:19,       clarified [1] - 1325:9      1329:22, 1332:7,         communications [2] -
  1414:3, 1414:13          1353:20, 1353:21,       clarity [1] - 1334:15       1332:13, 1334:8,          1351:4, 1368:1
 checked [1] - 1456:25     1353:22, 1353:23,       clear [32] - 1326:22,       1334:17, 1335:20,        companies [4] -
 chemical [1] - 1449:18    1353:25, 1354:1,         1328:4, 1347:17,           1336:1, 1336:12,          1390:19, 1409:21,
 chemo [2] - 1434:14,      1354:3, 1354:4,          1347:18, 1348:22,          1339:20, 1341:11,         1411:8, 1413:17
  1434:15                  1354:13, 1355:9,         1355:6, 1357:14,           1342:11, 1344:14,        company [14] -
 chemotherapy [2] -        1355:11, 1355:13,        1358:16, 1358:22,          1398:14, 1398:22,         1371:2, 1377:23,
  1371:11, 1427:19         1357:23, 1358:10,        1359:19, 1359:25,          1416:22, 1465:12          1378:2, 1380:8,
 Chicago [1] - 1319:14     1358:11, 1360:2,         1376:9, 1384:10,          closings [2] -             1380:10, 1380:13,
 chief [5] - 1390:8,       1381:17, 1438:13,        1393:15, 1394:4,           1330:11, 1335:24          1384:19, 1397:9,
  1421:18, 1423:3,         1438:15, 1438:16,        1394:6, 1400:14,          clue [2] - 1443:22,        1397:10, 1404:22,
  1423:14, 1455:7          1455:17, 1457:25,        1414:16, 1414:22,          1443:24                   1409:18, 1411:7,
 chimeric [4] -            1461:3, 1461:6,          1414:25, 1415:6,          COC [6] - 1397:6,          1429:5, 1435:23
  1355:24, 1355:25,        1462:23                  1415:10, 1415:11,          1397:15, 1397:17,        comparability [1] -
  1375:1, 1401:14         claimed [14] -            1415:13, 1415:14,          1397:18, 1399:20          1339:16
                           1350:17, 1357:25,        1415:23, 1416:17,         codon [3] - 1462:11,      comparable [3] -
 choices [1] - 1377:23
                           1358:9, 1358:18,         1439:2, 1439:3,            1462:24                   1362:14, 1363:25,
 choose [3] - 1346:5,
                           1358:22, 1359:8,         1439:25, 1453:25,         coincidence [3] -          1365:11
  1365:14, 1387:15
                           1359:13, 1361:4,         1460:25                    1396:4, 1396:20,         compare [3] - 1405:3,
 chose [1] - 1461:2
                           1395:4, 1440:8,         clearly [16] - 1357:4,      1460:17                   1413:12, 1415:21
 chronology [2] -
                           1448:10, 1455:19,        1357:7, 1382:1,           coinventors [1] -         compared [3] -
  1428:1, 1432:1
                           1457:10                  1394:11, 1400:13,          1392:16                   1407:16, 1412:6,
 CHU [9] - 1341:8,
                          claiming [1] - 1436:10    1436:9, 1441:20,          collaboration [3] -        1456:19
  1341:12, 1342:4,
                          claims [73] - 1326:24,    1441:23, 1441:24,          1440:13, 1440:24,        comparing [2] -
  1370:10, 1370:18,
                           1327:5, 1327:6,          1447:23, 1448:11,          1455:14                   1416:12, 1428:17
  1397:23, 1399:6,
                           1327:9, 1327:10,         1448:12, 1448:20,         collaborator [1] -
  1399:8, 1399:16                                                                                       comparison [1] -
                           1327:20, 1328:10,        1461:22, 1464:22,          1412:21
 Chu [21] - 1319:4,                                                                                      1404:15
                           1329:1, 1329:3,          1465:4                    collaborators [2] -
  1341:10, 1370:9,                                                                                      compensate [6] -
                           1331:10, 1331:12,       clerical [13] - 1356:24,    1409:7, 1411:8
  1397:21, 1399:4,                                                                                       1349:3, 1349:19,
                           1331:16, 1331:17,        1357:1, 1392:11,          colleague [1] - 1431:9
  1399:15, 1416:25,                                                                                      1350:3, 1360:4,
                           1338:20, 1338:22,        1392:22, 1393:3,          colleagues [2] -
  1418:3, 1418:8,                                                                                        1360:6, 1360:12
                           1339:7, 1339:8,          1394:9, 1394:24,           1371:12, 1371:21
  1418:25, 1423:20,                                                                                     compensation [1] -
                           1348:1, 1348:10,         1400:5, 1441:19,
  1424:12, 1427:4,                                                            colluded [1] - 1455:9      1416:16
                           1348:13, 1348:20,        1460:13, 1461:1,
  1437:4, 1438:8,                                                             coming [3] - 1419:4,      compete [4] -
                           1348:22, 1348:25,        1461:3, 1461:9
  1439:12, 1443:3,                                                             1427:6, 1427:7            1409:21, 1409:22,
                           1349:1, 1349:16,        clerk [2] - 1368:18,
  1450:17, 1453:12,                                                           commence [1] -             1409:23, 1426:11




                   AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
Case 2:17-cv-07639-GW-KS Document 611 Filed 12/18/19 Page 156 of 179 Page ID
                                 #:26964                             7


 competing [1] -           1336:5, 1425:11,         consult [2] - 1343:13,     1415:11, 1415:12,         1355:13, 1356:13,
  1415:16                  1428:24                   1368:23                   1415:13, 1415:14,         1356:17, 1356:18,
 competitive [1] -        connection [4] -          consulting [1] -           1415:23, 1416:17          1356:20, 1356:23,
  1405:16                  1389:4, 1401:9,           1367:7                   copied [2] - 1374:23,      1357:1, 1357:2,
 competitor [4] -          1402:4, 1411:6           contacted [1] - 1379:7     1375:13                   1357:10, 1357:12,
  1412:21, 1420:3,        conscientious [1] -       contain [5] - 1357:24,    copies [2] - 1334:4,       1357:15, 1357:17,
  1435:24, 1436:1          1370:1                    1358:21, 1390:20,         1335:6                    1357:20, 1357:21,
 competitors [3] -        consciously [1] -          1441:18, 1449:19         copy [4] - 1321:5,         1360:1, 1383:25,
  1362:24, 1409:8,         1354:15                  contained [1] -            1332:9, 1343:7,           1384:2, 1384:9,
  1409:21                 consider [17] - 1344:2,    1421:20                   1343:12                   1386:1, 1386:3,
 complete [4] - 1369:9,    1344:7, 1344:9,          contains [2] -            copying [1] - 1375:19      1386:6, 1386:8,
  1404:6, 1404:13,         1345:1, 1345:3,           1420:25, 1461:19         corner [1] - 1399:25       1386:9, 1386:17,
  1434:17                  1345:25, 1354:14,        contending [1] -          corporation [1] -          1386:21, 1392:11,
 completed [2] -           1354:20, 1359:6,          1348:11                   1389:22                   1393:5, 1393:12,
  1410:19, 1433:13         1362:6, 1362:8,          contends [1] - 1348:6     correct [36] - 1323:8,     1394:5, 1394:9,
 completely [3] -          1364:20, 1364:22,        contention [1] -           1323:9, 1325:7,           1394:10, 1394:16,
  1382:7, 1401:18,         1365:8, 1365:13,          1400:17                   1327:11, 1327:16,         1394:22, 1395:2,
  1454:22                  1366:2, 1423:6           contentions [4] -          1332:21, 1333:23,         1395:14, 1399:19,
 component [2] -          consideration [1] -        1326:20, 1337:13,         1338:12, 1341:7,          1400:4, 1400:5,
  1401:5, 1401:14          1339:17                   1347:23, 1347:24          1341:24, 1351:10,         1400:12, 1414:16,
 components [2] -         considered [6] -          contents [1] - 1346:16     1356:18, 1356:23,         1414:17, 1422:13,
  1361:25, 1421:8          1344:24, 1351:2,         continue [3] -             1357:1, 1357:4,           1425:14, 1425:15,
 concern [4] - 1337:16,    1352:4, 1369:21,          1368:25, 1373:8,          1375:18, 1376:20,         1437:2, 1437:5,
  1337:18, 1340:3,         1395:12, 1425:5           1399:13                   1380:16, 1389:10,         1437:7, 1437:12,
  1380:15                 considering [2] -         continued [4] -            1389:13, 1389:16,         1438:1, 1439:5,
 concerned [2] -           1345:11, 1361:9           1320:1, 1324:11,          1389:17, 1389:19,         1439:17, 1439:19,
  1375:20, 1405:23        consistent [6] -           1350:23, 1461:24          1394:9, 1395:10,          1439:23, 1441:16,
 concerning [2] -          1321:6, 1340:19,                                    1395:21, 1395:22,         1441:17, 1442:1,
                                                    contracting [1] -
  1365:8, 1368:22          1345:21, 1402:22,                                   1401:6, 1423:22,          1448:9, 1448:16,
                                                     1365:19
 concerns [2] -            1402:24, 1464:11                                    1437:3, 1437:6,           1448:22, 1448:25,
                                                    contradicted [1] -
  1405:21, 1427:5         consists [1] - 1344:3                                1438:8, 1442:22,          1449:1, 1449:4,
                                                     1345:17
                          constraints [1] -                                    1459:5, 1460:13,          1449:23, 1458:6,
 conclude [3] -                                     contradicting [2] -
                           1421:16                                             1466:2                    1458:11, 1458:18,
  1414:13, 1445:10,                                  1388:11, 1389:7
                          construct [35] -                                    corrected [8] - 1352:3,    1458:21, 1459:3,
  1464:17                                           contradictions [1] -
                           1377:10, 1382:19,                                   1356:16, 1357:8,          1464:9
 concluded [4] -                                     1378:24
                           1382:21, 1383:1,                                    1357:17, 1414:8,         correctly [1] - 1463:7
  1381:20, 1431:4,                                  contrary [6] - 1372:24,
                           1388:2, 1388:24,                                    1458:12, 1460:14,        corresponding [1] -
  1465:6, 1465:7                                     1380:2, 1388:15,
                           1389:19, 1396:7,                                    1461:5                    1463:7
 concludes [1] -                                     1406:19, 1416:10,
                           1396:9, 1396:10,                                   correction [111] -        cost [3] - 1359:10,
  1370:7                                             1443:5
                           1406:8, 1406:13,                                    1324:16, 1324:19,         1410:12, 1411:2
 conclusion [1] -                                   contributing [1] -
                           1406:14, 1406:18,                                   1324:25, 1325:2,         costim [13] - 1421:6,
  1400:4                                             1427:14
                           1406:21, 1420:9,                                    1326:23, 1327:2,          1421:22, 1422:3,
 conclusively [2] -                                 control [2] - 1418:24,
                           1424:6, 1424:8,                                     1327:9, 1327:13,          1422:18, 1423:4,
  1427:15, 1427:21                                   1419:1
                           1426:21, 1427:2,                                    1327:16, 1327:19,         1423:13, 1425:20,
 conditions [2] -                                   controls [1] - 1344:17
                           1429:10, 1432:4,                                    1328:15, 1328:21,         1445:14, 1445:17,
  1356:21, 1362:22                                  conundrum [1] -
                           1432:7, 1432:13,                                    1329:2, 1330:7,           1446:1, 1451:10,
 conduct [1] - 1354:22                               1328:13
                           1432:20, 1440:3,                                    1331:8, 1331:15,          1451:17, 1452:21
 conducting [2] -                                   conversation [2] -
                           1440:5, 1440:12,                                    1335:23, 1339:6,         costimulatory [10] -
  1355:24, 1430:19                                   1417:25, 1453:14
                           1440:19, 1441:2,                                    1339:12, 1339:20,         1420:16, 1422:23,
 confer [1] - 1326:14                               conversely [1] -
                           1453:17, 1453:19,                                   1340:10, 1348:6,          1423:11, 1436:18,
 conference [2] -                                    1439:19
                           1463:8, 1464:3                                      1348:8, 1348:12,          1436:23, 1442:13,
  1336:10, 1378:21                                  convince [1] - 1385:1
                          constructed [2] -                                    1348:19, 1348:22,         1442:24, 1454:17
 confident [1] -                                    convincing [22] -
                           1389:16, 1389:19                                    1348:24, 1349:15,        counsel [22] - 1321:2,
  1407:13                                            1326:23, 1328:4,
                          construction [1] -                                   1349:24, 1351:10,         1321:9, 1328:1,
 confirms [1] - 1375:14                              1347:17, 1347:19,
                           1438:13                                             1351:11, 1351:14,         1330:15, 1330:20,
 confusing [6] -                                     1348:23, 1355:6,
                          constructions [1] -                                  1351:15, 1352:4,          1334:11, 1335:4,
  1330:1, 1336:19,                                   1357:14, 1358:16,
                           1351:24                                             1352:13, 1352:16,         1335:13, 1336:2,
  1397:5, 1437:20,                                   1359:19, 1359:25,
                          constructs [2] -                                     1354:5, 1355:3,           1342:20, 1343:9,
  1439:2, 1439:25                                    1393:15, 1394:5,
                           1432:9, 1442:7                                      1355:5, 1355:7,           1368:24, 1369:7,
 confusion [5] -                                     1394:7, 1414:17,
                          construed [1] - 1352:2                               1355:9, 1355:11,          1369:12, 1370:13,
  1321:16, 1326:1,                                   1414:23, 1415:6,




                   AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
Case 2:17-cv-07639-GW-KS Document 611 Filed 12/18/19 Page 157 of 179 Page ID
                                 #:26965                             8


  1370:14, 1389:24,        1340:24, 1341:1,         1352:19, 1353:7,          1326:25, 1339:13,     DAY [3] - 1319:8,
  1398:9, 1398:10,         1341:5, 1341:10,         1353:15, 1353:25,         1348:1, 1349:2,        1319:10, 1319:13
  1399:13, 1399:14,        1341:13, 1341:18,        1396:7, 1396:8            1349:6, 1349:18,      days [2] - 1404:11,
  1456:2                   1341:20, 1341:23,       Crawford [1] - 1319:5      1350:2, 1350:6,        1428:23
 COUNSEL [1] -             1342:2, 1342:9,         created [1] - 1372:23      1354:25, 1359:22,     dead [1] - 1419:20
  1319:1                   1342:15, 1342:19,       credentialed [1] -         1359:23, 1360:3,      deal [6] - 1372:13,
 counsel's [1] -           1349:12, 1349:14,        1448:6                    1360:5, 1360:7,        1374:11, 1391:19,
  1398:25                  1349:23, 1370:12,       credibility [9] -          1360:10, 1360:11,      1392:6, 1437:23,
 count [2] - 1369:3,       1397:21, 1398:1,         1337:9, 1387:4,           1360:15, 1360:16,      1442:2
  1418:4                   1398:8, 1398:16,         1387:10, 1387:21,         1360:19, 1360:21,     death [2] - 1428:3,
 couple [6] - 1329:14,     1398:23, 1399:2,         1416:7, 1418:4,           1360:23, 1360:25,      1430:21
  1375:7, 1391:8,          1399:7, 1399:12,         1419:9, 1457:4,           1361:15, 1365:2,      deaths [15] - 1403:21,
  1398:13, 1428:4,         1416:25, 1417:4,         1457:15                   1365:21, 1405:24,      1404:1, 1404:2,
  1431:21                  1417:6, 1417:9,         credible [3] - 1416:16,    1409:3                 1416:15, 1427:3,
 course [14] - 1369:24,    1417:12, 1417:14,        1416:17, 1455:6          Dane [6] - 1319:18,     1427:10, 1428:2,
  1373:24, 1375:2,         1465:8                  credit [5] - 1377:15,      1328:2, 1329:10,       1428:5, 1428:10,
  1376:24, 1398:25,       Court [36] - 1322:15,     1377:17, 1377:18,         1333:9, 1417:1,        1428:13, 1429:23,
  1402:20, 1405:23,        1323:1, 1323:10,         1377:21                   1465:8                 1430:15, 1431:5,
  1407:5, 1408:7,          1323:20, 1324:12,       credited [1] - 1364:3     DANE [43] - 1321:18,    1450:22
  1411:2, 1415:3,          1324:17, 1325:3,        critical [5] - 1429:9,     1321:22, 1326:8,      December [3] -
  1446:18, 1459:11,        1325:8, 1326:3,          1439:25, 1441:10,         1326:16, 1326:19,      1318:15, 1384:15,
  1461:16                  1332:8, 1334:10,         1443:19, 1454:9           1327:15, 1328:5,       1466:9
 COURT [106] - 1318:1,     1334:21, 1336:6,        criticized [1] - 1456:2    1328:8, 1328:10,      decide [24] - 1321:23,
  1321:1, 1321:21,         1336:11, 1336:15,       cross [4] - 1390:16,       1329:14, 1330:23,      1326:22, 1326:25,
  1322:7, 1322:9,          1336:17, 1336:23,        1418:12, 1445:24,         1331:2, 1331:5,        1343:20, 1345:5,
  1323:10, 1324:3,         1337:13, 1337:20,        1463:15                   1331:7, 1331:18,       1345:8, 1346:1,
  1324:14, 1324:21,        1337:24, 1342:5,        cross-examination [3]      1331:21, 1331:25,      1346:3, 1348:14,
  1325:11, 1326:3,         1342:24, 1345:4,         - 1390:16, 1418:12,       1333:7, 1333:15,       1348:18, 1349:2,
  1326:12, 1326:18,        1349:10, 1367:18,        1445:24                   1333:20, 1334:6,       1349:18, 1350:2,
  1327:12, 1327:21,        1368:15, 1369:2,        cross-examined [1] -       1334:15, 1335:1,       1350:7, 1352:15,
  1328:2, 1328:7,          1370:18, 1394:15,        1463:15                   1336:25, 1339:1,       1368:6, 1369:20,
  1328:9, 1328:16,         1398:20, 1438:14,       CRR [2] - 1318:22,         1339:4, 1341:4,        1372:19, 1379:1,
  1328:19, 1328:22,        1438:22, 1440:17,        1466:9                    1341:9, 1341:16,       1387:13, 1404:21,
  1328:24, 1329:6,         1455:23, 1464:24,       CRS [1] - 1405:21          1341:19, 1341:21,      1416:1
  1329:9, 1329:12,         1465:16                                            1341:25, 1342:7,      decided [11] -
                                                   Cruz [4] - 1321:5,
  1329:16, 1330:2,        court [10] - 1318:25,                               1342:11, 1349:9,       1321:24, 1328:3,
                                                    1341:21, 1417:6,
  1330:4, 1330:12,         1339:18, 1367:4,         1417:10                   1349:13, 1349:21,      1336:18, 1367:21,
  1330:17, 1330:20,        1367:22, 1368:7,                                   1398:13, 1398:21,      1425:6, 1425:8,
                                                   curative [3] - 1322:14,
  1330:25, 1331:4,         1368:22, 1369:16,                                  1417:2, 1417:7,        1431:21, 1442:14,
                                                    1322:17, 1339:21
  1331:6, 1331:13,         1390:4, 1445:16                                    1417:13, 1417:15       1442:16, 1454:18,
                                                   cure [1] - 1371:16
  1331:20, 1331:24,       Court's [5] - 1329:23,                             Dash [11] - 1377:25,    1454:19
                                                   current [5] - 1363:10,
  1332:1, 1332:3,          1344:22, 1394:8,                                   1378:11, 1378:18,     decides [1] - 1382:4
                                                    1422:16, 1423:12,
  1332:10, 1332:15,        1438:13, 1457:20                                   1378:22, 1379:16,     deciding [4] - 1344:2,
                                                    1432:8, 1432:18
  1332:20, 1332:22,       courtroom [11] -                                    1379:24, 1380:7,       1344:9, 1345:7,
                                                   customary [3] -
  1333:3, 1333:5,          1342:18, 1367:25,                                  1380:9, 1388:13,       1355:2
                                                    1363:24, 1391:13,
  1333:8, 1333:10,         1369:11, 1370:24,                                  1416:9, 1416:11       decision [10] - 1350:8,
                                                    1391:16
  1333:19, 1333:21,        1392:19, 1396:22,                                 Dash's [1] - 1388:15    1351:12, 1354:24,
                                                   cut [4] - 1442:25,
  1333:24, 1334:13,        1398:2, 1398:6,                                   data [2] - 1408:18,     1370:1, 1370:4,
                                                    1459:22, 1459:23,
  1334:23, 1335:2,         1399:11, 1401:22,                                  1428:16                1384:14, 1402:11,
                                                    1460:10
  1335:7, 1335:10,         1465:15                                           date [14] - 1339:14,    1402:17, 1402:18,
                                                   cuts [2] - 1442:21,
  1335:15, 1336:1,        cover [9] - 1324:23,                                1351:8, 1359:17,       1415:3
                                                    1460:3
  1336:8, 1336:24,         1328:3, 1331:13,                                   1361:18, 1361:20,     decisions [1] -
                                                   cutting [1] - 1442:17
  1337:2, 1337:18,         1337:3, 1353:6,                                    1365:25, 1366:6,       1352:15
                                                   cytokine [2] - 1404:15,
  1338:5, 1338:8,          1436:24, 1456:14,                                  1369:10, 1408:21,     declaration [6] -
                                                    1428:18
  1338:11, 1338:13,        1456:20, 1457:25                                   1410:8, 1410:16,       1381:14, 1381:16,
  1338:16, 1338:18,       coverage [1] - 1353:1                               1410:25, 1412:25,      1381:21, 1402:4,
  1339:3, 1339:9,         covered [5] - 1352:22,             D                1443:23                1418:15, 1456:3
  1339:25, 1340:3,         1353:13, 1354:3,                                  dated [1] - 1422:21    declarations [1] -
                                                   damage [1] - 1350:8
  1340:5, 1340:7,          1425:18, 1441:3                                   dates [2] - 1384:21,    1391:9
                                                   damages [29] -
  1340:10, 1340:15,       covers [7] - 1338:22,                               1386:22               decreased [1] -
                                                    1322:1, 1323:18,




                   AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
Case 2:17-cv-07639-GW-KS Document 611 Filed 12/18/19 Page 158 of 179 Page ID
                                 #:26966                             9


  1364:23                    1343:8, 1343:14,         detail [2] - 1381:12,     1377:22, 1379:25,          1378:23, 1398:3,
 Defendant [2] -             1366:14, 1368:16,         1397:14                  1382:11, 1384:2,           1399:21, 1465:11
  1318:9, 1319:16            1369:1, 1369:9,          detailed [1] - 1381:7     1384:4, 1390:13,          discussed [10] -
 defendant [7] -             1369:13, 1369:15,        details [2] - 1372:3,     1391:9, 1401:18,           1321:19, 1326:2,
  1322:14, 1348:9,           1446:4                    1372:5                   1402:8, 1403:13,           1332:18, 1367:11,
  1389:22, 1392:24,         demand [1] - 1435:16      detection [1] -           1406:17, 1421:1,           1367:13, 1369:22,
  1393:20, 1395:17,         demonstrate [1] -          1409:19                  1421:25, 1422:18,          1373:23, 1375:14,
  1415:24                    1358:1                   determination [9] -       1423:10, 1423:19,          1453:4, 1465:9
 defendant's [9] -          demonstration [1] -        1362:9, 1365:20,         1426:5, 1430:5,           discussing [3] -
  1322:11, 1323:2,           1373:10                   1398:19, 1398:24,        1433:18, 1437:22,          1347:8, 1366:13,
  1323:4, 1323:10,          demonstratives [5] -       1418:16, 1432:14,        1438:10, 1438:11,          1366:18
  1323:21, 1325:12,          1341:14, 1341:15,         1448:7, 1455:6,          1443:3, 1450:5,           discussion [6] -
  1325:13, 1325:15,          1341:17, 1346:14,         1455:10                  1452:22, 1454:4,           1321:4, 1370:3,
  1365:5                     1346:18                  determine [9] -           1454:7, 1454:8,            1379:19, 1379:23,
 defendants [7] -           denied [2] - 1368:8,       1350:16, 1353:14,        1454:11, 1458:23,          1431:12, 1454:21
  1321:17, 1322:13,          1398:17                   1353:24, 1354:8,         1461:4, 1463:13           discussions [2] -
  1322:22, 1323:12,         dependent [10] -           1354:23, 1360:2,        differentiated [1] -        1333:13, 1379:25
  1324:7, 1325:24,           1338:22, 1353:11,         1361:14, 1432:15,        1422:25                   disease [2] - 1424:22,
  1336:25                    1353:18, 1353:22,         1448:20                 differentiator [2] -        1429:13
 defense [12] - 1341:4,      1353:23, 1353:24,        determined [3] -          1422:23, 1425:21          disgruntled [2] -
  1347:12, 1347:14,          1353:25, 1354:2,          1355:13, 1427:13,       differently [1] -           1420:3, 1435:24
  1347:20, 1385:15,          1354:4                    1440:24                  1345:25                   dishonest [1] -
  1385:22, 1392:21,         deposition [8] -          determines [2] -         differs [1] - 1346:2        1450:18
  1393:13, 1393:17,          1377:3, 1381:8,           1458:10, 1458:20        difficult [1] - 1448:6     dishonestly [1] -
  1400:16, 1403:16,          1381:10, 1388:5,         determining [4] -        difficulties [1] -          1457:6
  1415:7                     1389:11, 1389:18,         1354:19, 1359:5,         1432:21                   dishwasher [1] -
 defenses [7] -              1419:6, 1431:8            1362:5, 1365:7          diligently [2] - 1343:1,    1403:7
  1321:24, 1327:1,          depositions [1] -         develop [1] - 1425:8      1369:17                   dislikes [1] - 1343:19
  1356:14, 1387:2,           1391:8                   developed [3] -          direct [3] - 1328:22,      disparaged [1] -
  1400:18, 1437:1,          derivative [1] - 1363:6    1423:24, 1441:2,         1378:24, 1458:20           1450:17
  1453:9                    described [5] -            1441:13                 directly [4] - 1380:2,     dispositive [1] -
 define [4] - 1436:10,       1358:8, 1424:13,         developing [2] -          1388:11, 1389:7,           1364:19
  1454:14, 1454:18,          1431:11, 1445:25          1423:12, 1425:9          1416:10                   dispute [4] - 1325:9,
  1454:19                   describes [4] -           development [1] -        director [2] - 1395:1,      1338:8, 1350:10,
 defined [2] - 1335:20,      1350:17, 1351:18,         1425:7                   1395:15                    1451:25
  1462:23                    1446:7, 1446:9           device [1] - 1352:21     disadvantage [2] -         disregard [1] -
 defines [8] - 1338:21,     describing [3] -          devices [2] - 1363:13,    1394:17, 1394:18           1344:23
  1352:18, 1449:14,          1445:2, 1445:13,          1367:12                 disadvantages [2] -        distinct [1] - 1365:3
  1449:15, 1454:23,          1464:6                   Diaz [2] - 1466:9,        1383:16, 1405:20          distinctly [1] -
  1464:23, 1464:25,         description [15] -         1466:10                 disagree [1] - 1401:6       1379:24
  1465:2                     1339:12, 1356:13,        DIAZ [1] - 1318:22       disappointment [1] -       distinguished [1] -
 definition [6] - 1325:1,    1357:24, 1357:25,        Dickinson [1] - 1390:8    1431:11                    1364:3
  1325:17, 1339:14,          1358:1, 1358:5,          dictionaries [1] -       discard [1] - 1401:17      distracted [1] - 1342:3
  1352:10, 1429:22,          1358:9, 1358:18,          1367:8                  discharged [1] -           distraction [1] -
  1457:20                    1358:21, 1375:10,        died [1] - 1427:23        1369:5                     1335:19
 degrees [1] - 1389:23       1385:23, 1400:18,        Diego [1] - 1320:4       discipline [1] -           DISTRICT [3] - 1318:1,
 delay [3] - 1326:12,        1401:1, 1402:19,         differ [2] - 1344:16,     1355:23                    1318:2, 1318:3
  1335:18, 1342:25           1415:6                    1396:5                  disclosed [2] -            divisible [4] - 1462:4,
 deleted [2] - 1422:12,     deserves [3] -            difference [5] -          1358:12, 1453:3            1462:5, 1462:8,
  1438:1                     1346:13, 1346:20,         1377:9, 1410:1,         discloses [1] -             1463:1
 deleting [1] - 1323:5       1347:1                    1423:15, 1439:20,        1359:12                   DIVISION [1] - 1318:2
 deliberate [2] -           design [2] - 1382:24,      1442:12                 disclosure [2] -           DNA [3] - 1356:3,
  1339:19, 1354:15           1414:2                   differences [7] -         1402:12, 1446:12           1453:7, 1454:16
 deliberately [2] -         design-around [1] -        1346:1, 1365:16,        disconnect [1] -           doctors [1] - 1371:16
  1346:4, 1387:13            1382:24                   1409:14, 1422:22,        1429:7                    document [7] -
 deliberating [1] -         designed [1] -             1431:16, 1431:17        discovered [2] -            1379:5, 1383:16,
  1421:14                    1362:22                  different [41] -          1393:8                     1389:4, 1411:15,
 deliberation [1] -         designing [1] - 1356:3     1323:24, 1334:17,       discuss [9] - 1321:12,      1422:21, 1433:10,
  1369:7                    desired [1] - 1364:13      1345:22, 1347:8,         1329:9, 1329:17,           1462:3
 deliberations [9] -        despite [1] - 1428:10      1361:24, 1372:6,         1347:16, 1367:3,          Document [6] -




                     AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
Case 2:17-cv-07639-GW-KS Document 611 Filed 12/18/19 Page 159 of 179 Page ID
                                 #:26967                             10


  1332:6, 1332:12,        1376:15, 1376:17,    1428:21, 1429:1,        dual [3] - 1424:17,       1355:17, 1387:9
  1336:7, 1336:20,        1376:18, 1377:8,     1429:10, 1429:18,        1425:12, 1450:24        educational [1] -
  1338:1, 1338:7          1377:13, 1377:14,    1429:20, 1429:21,       Dulac [3] - 1407:25,      1383:5
 documentation [3] -      1377:15, 1377:20,    1429:23, 1430:9,         1408:10, 1412:10        Edward [1] - 1319:18
  1376:11, 1405:15,       1377:21, 1377:25,    1430:12, 1430:18,       duration [1] - 1363:7    effect [5] - 1363:2,
  1413:11                 1378:1, 1378:3,      1431:9, 1432:3,         during [19] - 1325:21,    1370:5, 1390:11,
 documents [13] -         1378:11, 1378:13,    1432:6, 1432:10,         1335:12, 1335:14,        1429:3, 1462:15
  1346:16, 1351:4,        1378:15, 1378:18,    1432:11, 1432:13,        1335:20, 1335:23,       effectively [1] -
  1377:2, 1377:5,         1378:22, 1379:2,     1432:20, 1433:14,        1337:11, 1341:24,        1412:19
  1380:1, 1381:7,         1379:4, 1379:7,      1433:15, 1435:9,         1343:14, 1356:11,       effects [3] - 1428:17,
  1383:18, 1385:21,       1379:10, 1379:15,    1440:3, 1440:13,         1366:3, 1366:14,         1428:18, 1429:1
  1385:25, 1386:14,       1379:16, 1379:18,    1440:20, 1440:21,        1367:13, 1368:16,       efficacy [2] - 1405:15,
  1386:18, 1407:8,        1379:22, 1379:24,    1442:11, 1442:24,        1386:24, 1398:3,         1405:16
  1422:21                 1380:1, 1380:2,      1443:11, 1443:12,        1398:25, 1402:11,       eight [1] - 1419:7
 dog [2] - 1392:1,        1380:4, 1380:6,      1443:13, 1443:15,        1416:22, 1465:11        either [11] - 1327:18,
  1457:16                 1380:7, 1380:9,      1444:4, 1444:5,         duty [5] - 1337:6,        1328:5, 1342:4,
 dollars [4] - 1391:21,   1380:14, 1380:23,    1444:6, 1444:7,          1339:19, 1343:11,        1355:23, 1359:25,
  1409:22, 1413:3,        1381:5, 1381:14,     1444:8, 1444:18,         1343:15, 1344:19         1361:17, 1404:12,
  1413:18                 1381:15, 1381:20,    1444:21, 1445:7,        DX1054 [1] - 1446:9       1425:13, 1447:9,
 domain [4] - 1420:16,    1381:21, 1381:25,    1445:13, 1445:24,       DX20 [1] - 1421:2         1460:24
  1422:23, 1446:7         1382:1, 1382:19,     1446:19, 1447:15,       DX2004 [1] - 1446:7      El [1] - 1320:3
 domains [2] -            1382:20, 1383:1,     1448:12, 1448:13,       DX2061 [1] - 1421:12     elect [1] - 1369:13
  1377:11, 1377:12        1383:5, 1383:20,     1450:7, 1450:9,         DX2149 [1] - 1451:18     electronic [1] -
 done [10] - 1343:24,     1385:10, 1385:11,    1450:13, 1450:15,       DX573 [1] - 1433:11       1366:19
  1371:8, 1371:22,        1387:22, 1387:23,    1450:17, 1450:20,                                element [8] - 1326:2,
  1408:9, 1412:15,        1388:2, 1388:7,      1451:2, 1452:12,
                          1388:12, 1388:13,    1452:13, 1452:14,
                                                                                  E              1352:7, 1406:13,
  1423:10, 1442:6,                                                                               1420:17, 1422:3,
  1443:8, 1443:10,        1388:15, 1388:18,    1452:15, 1452:16,       e-mail [10] - 1366:19,    1436:19, 1436:24,
  1451:5                  1389:8, 1389:15,     1452:18, 1452:19,        1373:16, 1374:24,        1442:7
 dose [1] - 1371:14       1390:24, 1391:18,    1452:25, 1453:1,         1375:5, 1376:22,        elements [4] -
 double [1] - 1414:2      1391:25, 1392:16,    1453:15, 1453:16,        1379:10, 1383:19,        1322:24, 1353:3,
 doubt [3] - 1396:25,     1393:2, 1395:18,     1453:17, 1453:18,        1385:17, 1453:13,        1353:8, 1364:4
  1459:22, 1460:4         1396:11, 1396:20,    1453:19, 1453:24,        1453:15                 eligible [1] - 1435:10
 down [8] - 1410:8,       1397:3, 1399:21,     1454:1, 1454:18,        e-mails [7] - 1376:24,   Elizabeth [1] - 1319:6
  1410:24, 1419:8,        1400:8, 1400:9,      1454:25, 1455:5,         1385:17, 1386:15,       embodiment [1] -
  1421:13, 1427:24,       1400:11, 1400:13,    1455:9, 1455:11,         1456:12                  1363:16
  1428:13, 1429:1,        1400:22, 1400:23,    1455:12, 1455:13,       eager [2] - 1379:12      embodying [1] -
  1431:14                 1400:24, 1401:3,     1455:25, 1456:11,       earliest [2] - 1410:8,    1364:15
 dr [1] - 1388:23         1401:9, 1401:15,     1456:14, 1456:15,        1434:5                  emphasized [2] -
 Dr [288] - 1371:12,      1401:17, 1401:19,    1456:18, 1456:22,       early [12] - 1342:10,     1323:18, 1442:11
  1371:18, 1371:19,       1401:21, 1401:23,    1457:3, 1457:5,          1409:8, 1409:19,        employee [2] -
  1371:21, 1371:22,       1401:24, 1402:3,     1457:9, 1457:14,         1410:1, 1410:3,          1457:11
  1372:5, 1372:7,         1402:7, 1402:9,      1458:17, 1458:25,        1410:12, 1410:23,       employees [2] -
  1372:10, 1372:12,       1402:22, 1402:23,    1459:1, 1459:11,         1411:11, 1412:20,        1374:9, 1453:13
  1372:16, 1373:10,       1402:24, 1403:2,     1459:15, 1460:17,        1416:14, 1430:1,        employer [1] -
  1373:11, 1373:17,       1403:3, 1403:10,     1460:22, 1461:10,        1432:13                  1366:25
  1373:19, 1373:23,       1403:12, 1403:25,    1462:4, 1463:15,        earn [1] - 1413:3        enable [1] - 1358:23
  1373:24, 1374:6,        1406:5, 1406:14,     1463:17, 1463:20,
                                                                       earned [1] - 1366:7      enablement [11] -
  1374:16, 1374:19,       1406:18, 1407:19,    1463:21, 1463:24,
                                                                       easier [3] - 1342:13,     1339:12, 1356:14,
  1374:23, 1374:24,       1409:9, 1409:11,     1463:25, 1465:3
                                                                        1427:19, 1427:20         1359:1, 1359:21,
  1375:2, 1375:5,         1416:8, 1416:9,     dramatically [2] -
                                                                       easy [4] - 1330:9,        1385:2, 1385:7,
  1375:8, 1375:10,        1416:11, 1416:13,    1374:11, 1410:13
                                                                        1403:5, 1425:25          1385:8, 1385:22,
  1375:11, 1375:12,       1416:18, 1418:7,    dramatics [1] - 1420:2
                                                                       economic [1] -            1400:18, 1400:19,
  1375:13, 1375:14,       1418:8, 1418:16,    dropout [1] - 1403:7
                                                                        1365:18                  1414:21
  1375:16, 1375:17,       1420:9, 1420:17,    dropped [1] - 1382:18
                                                                       Ed [2] - 1407:25,        enabling [5] - 1359:2,
  1375:19, 1375:21,       1421:19, 1421:24,   Drs [1] - 1375:22
                                                                        1412:10                  1359:16, 1402:10,
  1375:22, 1375:23,       1423:2, 1423:9,     drug [8] - 1371:14,
                                                                       edema [5] - 1405:11,      1402:12, 1402:18
  1375:25, 1376:2,        1424:10, 1424:16,    1372:24, 1372:25,
                                                                        1429:25, 1430:13,       encode [6] - 1438:3,
  1376:5, 1376:6,         1425:3, 1425:16,     1373:3, 1373:11,
                                                                        1430:22, 1431:7          1438:6, 1438:19,
  1376:7, 1376:12,        1426:21, 1427:2,     1392:15, 1449:18
                                                                       education [2] -           1438:25, 1446:16,
                          1427:8, 1427:12,




                    AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
Case 2:17-cv-07639-GW-KS Document 611 Filed 12/18/19 Page 160 of 179 Page ID
                                 #:26968                             11


  1462:12                   1458:19, 1459:8,         1355:6, 1356:4,          1456:7, 1460:22,         1408:1, 1429:8
 encoded [7] -              1459:9, 1459:10,         1356:8, 1357:14,         1463:15                 experienced [1] -
  1351:25, 1438:17,         1460:12, 1460:13,        1358:16, 1359:19,       examiner [8] -            1430:20
  1438:23, 1440:18,         1460:14, 1460:23,        1359:25, 1363:21,        1350:15, 1350:20,       experimentation [7] -
  1447:21, 1450:12,         1461:3, 1461:13,         1364:20, 1365:8,         1350:24, 1351:3,         1358:25, 1359:5,
  1455:20                   1461:22, 1462:1          1365:14, 1365:24,        1351:5, 1402:10,         1359:6, 1359:10,
 encodes [2] -             errors [13] - 1351:9,     1366:4, 1366:10,         1402:15, 1402:20         1359:11, 1385:9
  1438:21, 1455:22          1351:11, 1356:15,        1367:21, 1369:22,       example [11] -           expert [21] - 1371:6,
 encoding [3] - 1352:6,     1356:16, 1356:19,        1370:6, 1373:13,         1325:25, 1354:14,        1383:14, 1385:18,
  1447:1, 1457:22           1356:24, 1394:24,        1375:4, 1381:15,         1373:15, 1393:19,        1388:23, 1389:7,
 encourage [2] -            1460:16, 1461:1,         1385:12, 1386:25,        1416:12, 1449:17,        1390:25, 1391:1,
  1398:17, 1410:22          1461:8, 1461:9,          1391:12, 1393:7,         1450:15, 1455:3,         1391:9, 1399:21,
 end [17] - 1351:18,        1461:20                  1393:15, 1393:19,        1463:18, 1464:6          1401:8, 1401:9,
  1372:19, 1373:12,        essential [1] - 1429:9    1393:22, 1393:25,       examples [9] -            1401:15, 1401:16,
  1379:3, 1379:18,         established [6] -         1395:3, 1395:6,          1359:13, 1450:4,         1412:10, 1412:14,
  1380:3, 1382:3,           1347:15, 1347:21,        1395:13, 1395:17,        1450:5, 1450:8,          1415:20, 1415:21,
  1404:11, 1433:20,         1362:12, 1362:19,        1396:4, 1399:19,         1454:11, 1463:8,         1448:2, 1448:3,
  1438:17, 1461:5,          1363:9, 1394:21          1401:8, 1402:25,         1463:10, 1463:22,        1450:9, 1457:12
  1462:10, 1462:14,        estimated [3] -           1403:18, 1406:19,        1464:12                 experts [16] - 1364:7,
  1462:21, 1462:25,         1366:3, 1407:8,          1406:25, 1407:2,        except [4] - 1366:13,     1384:24, 1386:12,
  1464:16                   1407:15                  1407:3, 1407:20,         1368:20, 1368:22,        1391:24, 1409:2,
 ended [1] - 1411:12       estimates [1] - 1407:7    1408:13, 1413:23,        1458:6                   1415:9, 1415:16,
 enormous [1] - 1397:7     estimating [1] -          1414:7, 1414:9,         exception [1] -           1416:13, 1416:19,
 entered [8] - 1325:14,     1407:13                  1414:10, 1414:12,        1330:22                  1448:1, 1448:8,
  1361:11, 1366:6,         et [1] - 1318:5           1414:17, 1414:18,       excessive [2] - 1359:5    1450:6, 1451:3,
  1374:7, 1398:24,         evaluating [1] -          1414:23, 1415:1,        Exchange [2] -            1458:6, 1458:8,
  1410:2, 1440:13,          1415:15                  1415:6, 1415:7,          1390:17, 1390:23         1458:9
  1440:23                  evaluation [2] -          1415:9, 1415:21,        exchange [1] - 1361:3    expiration [3] -
 entering [3] - 1362:2,     1365:21, 1414:12         1416:17, 1419:13,       exchanged [2] -           1407:10, 1407:15,
  1374:9, 1455:14          evening [1] - 1321:7      1420:6, 1420:11,         1341:14, 1341:16         1408:21
 entire [6] - 1368:13,     event [3] - 1345:24,      1421:11, 1431:20,       excluded [1] -           expires [2] - 1357:22,
  1371:2, 1395:22,          1360:9, 1412:5           1431:21, 1445:8,         1344:22                  1394:16
  1395:24, 1400:15,        events [1] - 1404:16      1447:20, 1448:15,       exclusive [1] -          explain [8] - 1346:16,
  1406:12                  eventually [2] -          1450:5, 1451:3,          1362:15                  1351:19, 1352:18,
 entirely [1] - 1424:7      1373:4, 1464:19          1451:18, 1455:24,       exclusivity [1] -         1409:25, 1418:1,
 entities [1] - 1411:8                               1458:20, 1458:23         1436:6                   1429:23, 1450:13,
                           evidence [123] -
 entitled [2] - 1360:21,                            Evidence [1] -           excuse [2] - 1403:16,     1450:21
                            1325:14, 1325:25,
  1368:5                    1326:23, 1328:4,         1344:21                  1440:8                  explained [4] -
 entity [1] - 1374:5        1329:21, 1337:7,        evident [9] - 1357:4,    excused [1] - 1367:16     1374:1, 1424:20,
 entrenched [1] -           1337:8, 1337:10,         1376:23, 1394:11,       excuses [1] - 1392:9      1424:24, 1449:4
  1383:10                   1339:17, 1343:11,        1400:13, 1441:20,                                exploit [2] - 1392:23,
                                                                             executives [1] -
                            1343:16, 1343:21,        1441:23, 1441:24,                                 1397:10
 equal [4] - 1387:11,                                                         1404:23
                            1343:25, 1344:2,         1448:13, 1461:22                                 exposed [2] -
  1415:9, 1415:10,                                                           exhibit [2] - 1401:11,
                            1344:4, 1344:8,         exact [11] - 1358:10,                              1366:11, 1368:14
  1415:17                                                                     1431:22
                            1344:9, 1344:12,         1372:5, 1396:21,                                 express [2] - 1426:7,
 equally [1] - 1416:16                                                       exhibits [4] - 1344:4,
                            1344:15, 1344:19,        1405:13, 1419:6,                                  1458:9
 equivalent [1] -                                                             1344:8, 1421:2,
                            1344:24, 1344:25,        1421:8, 1430:16,                                 expressed [1] -
  1404:6                                                                      1421:13
                            1345:2, 1345:3,          1442:15, 1443:18,                                 1381:12
 error [41] - 1356:22,                                                       exist [3] - 1373:6,
                            1345:5, 1345:6,          1451:16                                          expression [1] -
  1357:2, 1357:3,                                                             1435:4, 1460:7
                            1345:16, 1345:18,       exactly [4] - 1374:15,                             1424:3
  1357:4, 1357:7,                                                            existed [1] - 1437:10
                            1346:10, 1346:15,        1375:15, 1408:5,                                 expressly [2] -
  1392:12, 1394:10,                                                          existing [1] - 1363:4
                            1346:17, 1346:18,        1430:11                                           1322:23, 1359:2
  1394:11, 1400:13,                                                          expect [3] - 1411:23,
                            1346:20, 1346:22,       examination [9] -                                 extent [3] - 1337:22,
  1441:18, 1441:19,                                                           1413:3, 1435:16
                            1346:23, 1346:24,        1324:11, 1350:19,                                 1363:6, 1363:20
  1441:23, 1442:3,                                                           expectation [2] -
                            1347:1, 1347:3,          1350:23, 1390:16,                                extremely [3] -
  1443:17, 1447:20,                                                           1401:5, 1401:13
                            1347:4, 1347:11,         1402:21, 1418:12,                                 1323:19, 1417:21,
  1448:10, 1448:20,                                                          expected [1] - 1411:15
                            1347:13, 1347:17,        1418:19, 1445:24,                                 1426:14
  1449:1, 1449:5,                                                            expenses [2] -
                            1347:19, 1348:17,        1461:24
  1449:8, 1450:2,                                                             1411:19, 1411:20
                            1348:23, 1349:7,        examined [5] -
  1452:6, 1458:12,                                                           experience [4] -
  1458:15, 1458:18,         1350:7, 1354:11,         1440:22, 1444:14,
                                                                              1355:17, 1355:23,




                    AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
Case 2:17-cv-07639-GW-KS Document 611 Filed 12/18/19 Page 161 of 179 Page ID
                                 #:26969                             12


                          fatalities [4] -            1444:13, 1449:22,         1392:14, 1393:13,       foregoing [1] - 1466:2
           F
                            1427:22, 1430:1,          1461:15                   1395:11, 1398:14,       forget [1] - 1345:23
 fabulous [1] - 1419:25     1430:20, 1431:13        filed [25] - 1322:12,       1403:19, 1403:22,       form [13] - 1321:14,
 face [1] - 1459:6        favor [7] - 1384:15,        1324:8, 1350:24,          1404:19, 1404:20,         1339:15, 1360:25,
 Facebook [1] -             1394:1, 1413:25,          1356:4, 1358:3,           1404:22, 1404:25,         1366:22, 1369:6,
   1366:21                  1414:11, 1414:14,         1358:7, 1358:12,          1405:6, 1406:7,           1369:9, 1397:9,
 facility [2] - 1434:1,     1415:1, 1423:1            1358:15, 1358:21,         1407:11, 1411:9,          1413:20, 1413:22,
   1434:3                 favorable [2] - 1448:3,     1359:18, 1377:1,          1414:5, 1414:9,           1414:1, 1414:15,
 fact [23] - 1327:7,        1448:4                    1377:6, 1380:17,          1414:15, 1414:19,         1414:24, 1415:25
   1346:10, 1370:25,      favored [1] - 1415:7        1381:6, 1381:9,           1417:16, 1423:21,       formal [4] - 1377:1,
   1371:24, 1374:15,      FCRR [1] - 1318:22          1382:22, 1433:3,          1423:24, 1437:3,          1377:2, 1380:18,
   1386:4, 1386:25,       FDA [15] - 1410:18,         1437:11, 1444:25,         1437:17, 1437:24,         1394:21
   1392:2, 1393:8,          1422:17, 1424:2,          1445:1, 1445:11,          1439:21, 1439:23,       formed [1] - 1446:11
   1398:22, 1401:24,        1426:16, 1426:19,         1445:15, 1448:16,         1440:1, 1440:3,         former [1] - 1457:11
   1409:12, 1411:5,         1427:12, 1430:5,          1459:16, 1461:13          1440:4, 1441:21,        forms [1] - 1366:22
   1412:18, 1415:16,        1431:4, 1431:6,         files [4] - 1350:14,        1444:18, 1445:3,        formulation [3] -
   1418:15, 1422:22,        1432:9, 1433:8,           1381:1, 1381:24,          1445:8, 1446:2,           1449:18, 1449:19
   1422:24, 1424:10,        1434:2, 1450:23,          1461:7                    1446:14, 1446:16,       forth [5] - 1351:5,
   1434:20, 1445:9,         1450:25                 filing [7] - 1390:4,        1450:15, 1451:23,         1352:19, 1352:20,
   1445:13                features [4] - 1364:6,      1390:17, 1432:23,         1452:10, 1455:3,          1352:25, 1353:12
 factor [4] - 1323:15,      1365:4, 1403:4,           1433:1, 1433:6,           1462:18, 1463:4         forward [3] - 1326:6,
   1323:16, 1323:19,        1403:11                   1443:20, 1445:5         first-mover [2] -           1392:22, 1403:20
   1364:19                February [1] - 1434:6     filings [1] - 1321:11       1383:15, 1383:19        four [11] - 1327:20,
 factors [8] - 1339:15,   federal [1] - 1323:19     fill [2] - 1413:22,       FISH [2] - 1320:2,          1374:8, 1410:8,
   1345:19, 1359:7,       Federal [1] - 1318:22       1413:24                   1320:5                    1410:24, 1434:15,
   1362:8, 1364:21,       fell [4] - 1440:11,       final [11] - 1332:24,     fits [1] - 1436:20          1437:14, 1437:18,
   1364:22, 1365:5,         1441:3, 1441:7,           1334:5, 1337:3,         five [5] - 1374:9,          1437:24, 1437:25,
   1427:13                  1441:13                   1340:12, 1340:13,         1403:21, 1410:24,         1445:8, 1456:23
 facts [14] - 1343:15,    fellow [4] - 1366:13,       1340:16, 1340:17,         1427:3, 1430:22         fourth [4] - 1383:3,
   1343:16, 1344:3,         1369:22, 1377:15,         1342:23, 1384:14        fix [3] - 1424:4,           1432:24, 1433:7,
   1344:4, 1344:5,          1403:6                  finalize [1] - 1333:25      1441:23, 1449:9           1438:2
   1344:10, 1344:15,      felt [4] - 1336:14,       finally [1] - 1380:3      flagrant [1] - 1354:16    frankly [2] - 1327:25,
   1345:7, 1362:6,          1431:15, 1431:16,       financial [3] - 1360:8,   flesh [1] - 1420:5          1423:4
   1365:25, 1400:1,         1457:7                    1390:8, 1419:16         Floor [2] - 1319:9,       free [3] - 1326:13,
   1413:1, 1419:13,       fence [6] - 1436:12,      financing [1] - 1397:2      1319:20                   1343:6, 1343:7
   1426:23                  1436:13, 1441:3,        fine [7] - 1328:11,       Flower [1] - 1319:9       freely [1] - 1377:18
 factual [1] - 1458:11      1441:6, 1449:15,          1333:7, 1333:8,         flu [1] - 1428:23         friends [1] - 1377:17
 failed [7] - 1382:8,       1449:16                   1335:21, 1335:25,       flu-like [1] - 1428:23    front [4] - 1324:16,
   1382:16, 1382:24,      few [7] - 1325:19,          1370:10, 1436:22        flurry [1] - 1342:24        1342:13, 1378:1,
   1420:6, 1429:11,         1334:8, 1408:20,        finger [1] - 1403:17      flying [1] - 1396:13        1405:12
   1430:15, 1436:2          1416:6, 1428:5,         Finney [2] - 1420:22,     focus [2] - 1414:9,       fruition [1] - 1384:18
 fails [1] - 1359:21        1428:23, 1429:3           1420:25                   1427:25                 full [11] - 1357:5,
 failure [1] - 1403:18    fewer [1] - 1352:25       firm [4] - 1392:2,        focused [3] - 1383:7,       1357:8, 1358:22,
 fair [2] - 1368:5,       field [7] - 1355:15,        1392:3, 1396:20,          1404:18, 1459:23          1358:24, 1372:20,
   1368:8                   1358:6, 1358:23,          1396:22                 focuses [1] - 1378:17       1391:10, 1394:12,
 fairly [1] - 1452:23       1359:4, 1359:12,        firms [1] - 1396:15       folks [5] - 1371:6,         1401:1, 1440:10,
 fairness [1] - 1368:12     1359:14, 1359:15        first [72] - 1321:13,       1392:17, 1392:25,         1453:3, 1456:15
 faith [1] - 1354:16      fight [1] - 1457:16         1325:11, 1328:23,         1403:23, 1404:18        full-time [1] - 1391:10
 fall [3] - 1329:1,       figure [9] - 1397:3,        1334:20, 1339:2,        follow [7] - 1327:25,     fully [1] - 1369:22
   1353:6, 1440:14          1397:4, 1427:15,          1347:10, 1347:22,         1337:6, 1342:14,        funding [1] - 1392:7
 false [2] - 1418:15,       1427:21, 1438:20,         1349:9, 1359:18,          1343:17, 1355:1,        funny [1] - 1396:4
   1456:3                   1443:21, 1447:13,         1361:8, 1368:24,          1368:9, 1368:10         fusion [1] - 1462:6
 family [1] - 1366:24       1447:25, 1448:5           1370:13, 1371:13,       followed [1] - 1370:13    future [1] - 1410:10
 far [3] - 1383:20,       figured [3] - 1426:13,      1371:14, 1372:25,       following [7] - 1337:5,
   1396:23, 1425:7          1426:15, 1426:18          1373:10, 1377:5,          1343:8, 1351:22,
                                                      1383:2, 1383:7,
                                                                                                                   G
 Farrell [2] - 1320:5,    file [12] - 1350:13,                                  1359:6, 1381:25,
   1445:23                  1350:22, 1384:13,         1383:10, 1383:12,         1414:23, 1422:8         gain [1] - 1367:25
 fashion [1] - 1373:6       1390:22, 1395:25,         1383:15, 1383:18,       follows [3] - 1351:24,    game [3] - 1329:23,
 faster [1] - 1405:8        1432:8, 1442:2,           1383:19, 1383:21,         1352:1, 1463:6           1383:21, 1418:9
 fatal [1] - 1405:11        1442:21, 1444:12,         1383:24, 1384:11,       footing [1] - 1387:12     Garcia [5] - 1388:23,




                   AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
Case 2:17-cv-07639-GW-KS Document 611 Filed 12/18/19 Page 162 of 179 Page ID
                                 #:26970                             13


  1389:8, 1389:15,        Gold [6] - 1374:17,                                 1391:17, 1393:6,        1424:1, 1448:6
                                                              H
  1401:19, 1402:9          1374:21, 1383:9,                                   1393:7, 1393:10,       himself [5] - 1378:15,
 Garcia's [1] - 1401:3     1384:17, 1407:7,         half [11] - 1389:2,       1393:11, 1394:14,       1388:11, 1391:25,
 Garth [1] - 1319:18       1413:11                   1391:8, 1391:11,         1395:5, 1400:8,         1420:19, 1459:15
 gauge [1] - 1457:4       gold [3] - 1374:17,        1398:14, 1411:25,        1400:12, 1401:8,       hindsight [2] -
 Geers [1] - 1319:11       1374:18, 1374:19          1432:25, 1433:2,         1401:23, 1403:20,       1365:21, 1449:5
 generalities [1] -       Goldilocks [1] -           1437:14, 1455:15,        1403:22, 1404:17,      hired [5] - 1384:24,
  1376:14                  1436:17                   1456:23                  1405:3, 1405:24,        1385:19, 1396:19,
 generally [1] -          government [1] -          hand [5] - 1346:6,        1406:5, 1406:16,        1396:21, 1401:8
  1355:17                  1451:1                    1387:17, 1399:24,        1407:2, 1407:3,        history [11] - 1351:6,
 generated [1] - 1351:4   Government [1] -           1409:15, 1421:3          1407:5, 1407:25,        1351:7, 1351:13,
 generation [6] -          1374:3                   handed [3] - 1334:21,     1408:10, 1408:13,       1357:10, 1395:25,
  1423:24, 1424:12,       grade [1] - 1434:14        1335:4, 1336:5           1409:17, 1412:10,       1396:1, 1400:15,
  1424:17, 1424:19,       Grail [1] - 1409:19       Hans [1] - 1409:17        1418:14, 1420:8,        1445:2, 1447:9,
  1425:9, 1425:12         Grand [1] - 1319:20       happy [3] - 1330:10,      1420:13, 1422:4,        1459:6
 generator [1] - 1363:5   grant [7] - 1323:2,        1342:4, 1397:24          1422:11, 1423:16,      hold [10] - 1391:25,
 genesis [2] - 1376:12,    1323:10, 1323:21,        harassing [1] - 1456:5    1424:10, 1425:22,       1427:12, 1428:3,
  1388:3                   1324:12, 1336:17,        hard [5] - 1327:25,       1426:16, 1428:17,       1428:4, 1428:6,
 gentleman [1] -           1336:18, 1364:18          1371:13, 1404:24,        1428:21, 1430:18,       1428:11, 1429:4,
  1412:15                 granted [8] - 1322:10,     1443:21, 1448:19         1431:8, 1432:2,         1429:5, 1429:6,
 gentlemen [5] -           1322:11, 1336:6,         hard-working [1] -        1435:9, 1435:14,        1430:24
  1370:19, 1397:23,        1337:20, 1350:11,         1404:24                  1438:4, 1438:18,       honest [2] - 1370:5,
  1399:17, 1416:20,        1372:20, 1386:6,         harm [2] - 1407:19,       1440:20, 1440:21,       1419:10
  1417:15                  1386:21                   1413:9                   1444:4, 1445:23,       Honor [45] - 1321:18,
 Georgia [1] - 1323:15    granting [2] - 1362:21,   head [5] - 1409:17,       1451:6, 1451:15,        1322:8, 1324:1,
                           1381:4                    1409:21, 1448:19,        1452:12, 1453:12,       1324:13, 1325:7,
 Gilbert [11] - 1423:2,
                          grants [2] - 1351:13,      1464:5                   1454:1, 1454:21,        1325:14, 1326:8,
  1427:8, 1427:12,
                           1380:25                                            1457:3, 1460:22         1326:17, 1327:17,
  1429:20, 1429:21,                                 head-to-head [1] -
                          Gratzinger [1] -           1409:21                 hearing [4] - 1321:3,    1329:15, 1330:23,
  1429:23, 1430:9,
  1430:12, 1432:11,        1319:19                                            1321:7, 1420:11,        1332:2, 1332:5,
                                                    heading [1] - 1322:1
  1433:14, 1433:15        great [4] - 1337:21,                                1443:7                  1333:15, 1333:20,
                                                    health [1] - 1403:24
 Gilead [13] - 1370:25,    1404:8, 1405:22,                                  heavier [1] - 1394:4     1334:6, 1335:1,
                                                    healthcare [1] -
  1371:1, 1371:5,          1435:6                                            Heinrich [1] - 1319:5    1335:4, 1335:14,
                                                     1435:23
  1390:10, 1390:19,       greater [1] - 1411:3                               HEINRICH [7] -           1335:21, 1336:4,
                                                    hear [22] - 1325:6,
  1391:1, 1391:18,        greatest [2] - 1372:11,                             1328:12, 1328:17,       1337:1, 1337:16,
                                                     1345:13, 1367:17,
  1392:6, 1396:19,         1372:16                                            1328:20, 1328:23,       1338:15, 1339:2,
                                                     1372:12, 1372:24,
  1407:2, 1407:5,         greedy [1] - 1420:3                                 1328:25, 1329:8,        1339:20, 1340:23,
                                                     1373:24, 1374:25,
  1408:19, 1413:2                                                             1329:11                 1340:25, 1341:8,
                          green [3] - 1388:24,       1381:2, 1381:3,
 given [16] - 1321:6,                                1385:4, 1385:14,        held [4] - 1321:7,       1341:9, 1341:17,
                           1401:25, 1413:7
  1321:9, 1325:4,                                    1386:2, 1386:7,          1390:24, 1437:8,        1341:25, 1342:4,
                          Greg [1] - 1378:13
  1325:8, 1325:14,                                   1386:10, 1400:8,         1437:9                  1342:11, 1349:9,
                          grew [1] - 1377:16
  1332:7, 1336:6,                                    1406:18, 1406:25,       hell [1] - 1443:8        1349:13, 1349:21,
                          gross [2] - 1407:9,
  1336:11, 1336:21,                                  1419:4, 1419:5,         help [3] - 1344:14,      1370:11, 1397:24,
                           1411:21
  1337:5, 1342:7,                                    1434:11, 1434:23,        1346:16, 1347:2         1398:13, 1399:6,
                          ground [2] - 1415:5,
  1366:11, 1391:8,                                   1437:19                 high [8] - 1403:7,       1399:16, 1417:2,
                           1444:12
  1419:7, 1428:22,                                  heard [87] - 1324:13,     1411:13, 1413:15,       1417:8, 1417:13
                          grounds [1] - 1356:12
  1453:19                                            1327:22, 1343:10,        1413:17, 1417:16,      honor [2] - 1387:3,
                          group [1] - 1404:24
 glad [1] - 1374:25                                  1345:4, 1356:4,          1426:14, 1434:14        1387:16
                          grow [3] - 1426:3,
 glossaries [2] -                                    1370:21, 1370:25,       high-grade [1] -        HONORABLE [1] -
                           1426:6, 1426:10
  1335:11                                            1371:4, 1371:5,          1434:14                 1318:3
                          guess [9] - 1323:23,
 glossary [14] -                                     1371:8, 1372:10,        higher [6] - 1407:13,   hope [6] - 1392:18,
                           1324:5, 1387:4,
  1324:17, 1324:18,                                  1372:22, 1373:11,        1407:14, 1407:16,       1414:13, 1414:24,
                           1394:22, 1417:16,
  1324:23, 1324:25,                                  1373:12, 1373:20,        1414:22, 1415:5         1415:8, 1415:15,
                           1433:22, 1437:22,
  1325:8, 1325:10,                                   1374:13, 1374:16,       highest [1] - 1405:16    1434:13
                           1451:13, 1465:1
  1325:12, 1325:16,                                  1375:12, 1376:7,        highlighted [2] -       hoped [1] - 1326:8
                          guidance [2] -
  1326:5, 1335:4,                                    1377:14, 1377:24,        1437:17, 1439:13       hopefully [3] -
                           1329:24, 1359:9
  1335:22, 1337:21,                                  1379:23, 1384:3,        highlights [1] -         1329:13, 1334:24,
                          guide [1] - 1343:8
  1337:22, 1338:4                                    1384:24, 1385:18,        1380:24                 1340:16
                          guise [1] - 1436:2
 gobbledygook [1] -                                  1385:24, 1386:12,       highly [5] - 1325:22,   hopes [2] - 1392:19,
                          guy [2] - 1389:21,
  1390:21                                            1389:24, 1391:14,        1347:20, 1355:10,       1396:25
                           1456:13




                   AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
Case 2:17-cv-07639-GW-KS Document 611 Filed 12/18/19 Page 163 of 179 Page ID
                                 #:26971                             14


 horizon [1] - 1372:2     II [2] - 1410:20,          include [8] - 1321:10,   influenced [4] -            1349:17, 1350:1,
 hour [7] - 1343:1,         1432:14                    1322:10, 1322:23,        1343:19, 1344:21,         1354:7, 1381:14,
  1389:2, 1391:2,         III [3] - 1321:22,           1323:20, 1323:21,        1347:6, 1368:2            1383:22
  1391:16, 1392:5,          1322:4, 1410:20            1362:9, 1366:4,        information [23] -        infringing [3] -
  1396:13                 Illinois [1] - 1319:14       1405:20                  1338:3, 1346:22,          1348:1, 1361:8,
 hours [4] - 1341:6,      illustrate [1] - 1346:22   included [3] -             1351:2, 1359:3,           1381:20
  1341:11, 1391:5,        images [1] - 1420:14         1322:16, 1322:17,        1366:2, 1366:12,        initial [2] - 1427:10
  1399:5                  imagine [1] - 1342:21        1332:23                  1368:1, 1368:3,         injunction [1] -
 HU [1] - 1424:14         immediately [5] -          includes [6] -             1368:7, 1368:14,          1325:18
 HU19 [4] - 1382:17,        1367:4, 1368:15,           1322:25, 1338:24,        1371:25, 1374:2,        innate [1] - 1387:9
  1424:13, 1425:5,          1403:24, 1450:23,          1361:25, 1366:17,        1374:3, 1386:19,        inordinate [1] -
  1425:6                    1450:25                    1413:6, 1446:13          1400:23, 1402:9,          1418:24
 huge [1] - 1407:23       immune [1] - 1355:25       including [8] -            1418:11, 1419:16,       inquiry [1] - 1370:10
 hugely [1] - 1426:23     immunology [1] -             1324:10, 1357:9,         1427:14, 1427:21,       insert [1] - 1426:6
 human [7] - 1377:19,       1355:21                    1366:20, 1367:15,        1444:1, 1456:18,        inspected [1] - 1434:2
  1387:9, 1392:22,        impact [3] - 1407:22,        1369:2, 1383:19,         1456:19                 inspection [1] -
  1394:23, 1424:14,         1407:23, 1408:22           1408:12, 1428:21       informed [2] - 1399:2,      1434:6
  1424:15, 1454:16        impartial [1] - 1368:6     inclusion [1] -            1401:1                  Instagram [1] -
 hundreds [2] - 1371:9,   implied [1] - 1358:14        1460:12                informs [1] - 1350:20       1366:21
  1419:22                 importance [1] -           income [1] - 1413:2      infringe [11] - 1327:5,   instances [2] -
 hunt [1] - 1392:1          1342:22                  incompetent [1] -          1382:10, 1385:16,         1447:8, 1458:22
 hurt [1] - 1323:20       important [33] -             1418:6                   1389:25, 1439:4,        instead [8] - 1331:22,
 hypothetical [19] -        1323:19, 1346:5,         incomplete [1] -           1439:6, 1439:11,          1336:23, 1384:5,
  1323:7, 1339:14,          1346:12, 1368:9,           1368:2                   1439:14, 1439:20,         1424:25, 1425:8,
  1361:6, 1361:16,          1369:23, 1370:22,        inconsistencies [1] -      1439:22, 1440:5           1457:25, 1458:1,
  1361:18, 1362:2,          1370:23, 1371:4,           1464:21                infringed [5] -             1458:2
  1365:12, 1365:22,         1371:7, 1372:17,         inconsistency [2] -        1327:10, 1331:17,       Institute [1] - 1374:2
  1366:1, 1366:3,           1374:25, 1380:23,          1326:17, 1454:6          1331:18, 1354:12,       institutes [1] -
  1366:7, 1405:25,          1387:14, 1402:5,         incorporate [2] -          1361:13                   1403:24
  1408:3, 1409:1,           1408:14, 1419:17,          1442:14, 1442:16       infringement [45] -       institution [1] -
  1409:15, 1410:15,         1423:17, 1426:23,        incorporated [1] -         1321:23, 1321:25,         1453:20
  1410:25, 1412:17,         1427:7, 1436:5,            1447:10                  1327:3, 1327:7,         instruct [3] - 1343:11,
  1435:13                   1439:7, 1440:2,          incorporates [1] -         1328:14, 1328:18,         1355:1, 1359:22
 hypothetically [1] -       1442:20, 1443:2,           1353:22                  1329:5, 1333:16,        instructed [4] -
  1365:16                   1443:10, 1443:19,        incorrect [3] -            1334:18, 1338:23,         1344:5, 1344:23,
                            1448:17, 1449:6,           1326:21, 1327:1,         1348:4, 1348:15,          1345:1, 1441:16
                                                                                1349:4, 1349:20,
             I              1456:16, 1456:24,          1400:7                                           instructing [1] -
                            1459:17                  incorrectly [1] -          1350:4, 1350:7,           1359:23
 ID [17] - 1352:1,        importing [2] -              1442:2                   1354:8, 1354:10,        instruction [57] -
   1395:20, 1422:5,         1325:21, 1348:2          increased [2] -            1354:17, 1354:20,         1322:15, 1322:17,
   1422:6, 1437:17,       improper [2] -               1364:23, 1431:7          1354:23, 1354:25,         1322:18, 1322:19,
   1438:17, 1438:18,        1344:20, 1368:1          incredible [2] -           1357:18, 1357:19,         1322:21, 1322:23,
   1438:23, 1440:18,      improvements [1] -           1371:5, 1434:18          1360:4, 1360:6,           1323:2, 1323:3,
   1442:16, 1442:23,        1364:6                   incredibly [1] -           1360:9, 1360:24,          1323:5, 1323:11,
   1452:3, 1454:20,       impugned [1] - 1418:8        1392:14                  1361:19, 1362:8,          1323:12, 1323:13,
   1455:20, 1455:21,      impugning [1] -            indeed [1] - 1409:11       1364:10, 1366:5,          1324:1, 1324:4,
   1461:16, 1463:6          1453:12                  independent [14] -         1373:14, 1382:1,          1324:5, 1324:9,
 idea [7] - 1425:3,       inaccurate [1] -             1338:22, 1353:11,        1382:2, 1383:3,           1324:10, 1324:16,
   1425:4, 1425:5,          1368:2                     1353:14, 1353:16,        1383:4, 1385:4,           1325:2, 1325:6,
   1426:20, 1446:20,                                   1371:6, 1390:25,         1386:20, 1390:1,          1326:4, 1326:19,
                          inadequate [2] -
   1447:17                                             1391:24, 1392:1,         1390:2, 1390:4,           1327:8, 1328:18,
                            1356:13, 1357:24
 identification [1] -                                  1396:12, 1396:14,        1390:7, 1394:20,          1329:6, 1329:13,
                          inadvertently [1] -
   1452:3                                              1396:23                  1414:8                    1330:22, 1330:24,
                            1349:10
 identified [1] -                                    indicate [1] - 1459:13   infringer [4] -             1332:6, 1332:10,
                          INC [2] - 1318:5,
   1461:23                                                                      1360:13, 1363:20,         1332:13, 1332:20,
                            1318:8                   indicates [1] - 1430:8
 identify [1] - 1357:7                                                          1364:6, 1364:9            1332:25, 1333:16,
                          incentive [1] - 1388:1     indication [1] -
 ignore [3] - 1346:9,                                                         infringes [11] -            1333:19, 1333:22,
                          incidences [1] -             1352:12
   1387:20, 1452:6                                                              1331:11, 1331:19,         1334:2, 1334:8,
                            1430:20                  individuals [1] -
 ii [3] - 1331:10,                                                              1331:20, 1339:8,          1334:17, 1336:8,
                          inclined [3] - 1324:12,      1355:18
   1331:15, 1339:7                                                              1348:9, 1349:1,           1336:12, 1336:15,
                            1325:11, 1336:23         industry [1] - 1424:1




                     AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
Case 2:17-cv-07639-GW-KS Document 611 Filed 12/18/19 Page 164 of 179 Page ID
                                 #:26972                             15


   1337:1, 1337:6,         interpretation [4] -        1321:24, 1322:19,       irrelevant [1] -           1433:12, 1433:14,
   1337:7, 1337:8,           1338:20, 1351:21,         1348:21, 1348:22,         1454:22                  1434:8, 1435:20
   1337:25, 1338:20,         1352:11, 1425:18          1352:15, 1355:8,        isoleucine [8] -         Jeffrey [1] - 1319:19
   1338:21, 1339:21,       interpreted [1] -           1355:12, 1385:23,         1352:5, 1438:6,        JEFFRIES [30] -
   1339:23, 1340:19,         1351:22                   1414:20, 1415:5           1439:24, 1452:7,         1322:8, 1323:9,
   1394:8, 1394:14         interrupt [2] -           invent [1] - 1420:18        1452:20, 1458:1,         1325:7, 1325:13,
 instructions [25] -         1398:21, 1419:2         invention [40] -            1464:13, 1465:4          1326:7, 1327:23,
   1321:4, 1321:6,         interrupted [1] -           1325:20, 1350:17,       issue [19] - 1322:22,      1329:18, 1332:2,
   1321:8, 1321:9,           1418:1                    1355:15, 1355:18,         1324:23, 1326:1,         1332:4, 1332:11,
   1322:16, 1323:14,       intrinsic [1] - 1390:14     1355:19, 1356:9,          1326:5, 1326:10,         1332:17, 1332:21,
   1326:17, 1333:25,       introduce [1] -             1357:25, 1358:2,          1328:25, 1329:18,        1333:1, 1333:4,
   1336:14, 1337:3,          1384:16                   1358:9, 1358:19,          1333:2, 1356:20,         1333:6, 1333:9,
   1337:5, 1340:16,        introduced [2] -            1358:22, 1358:24,         1359:24, 1378:18,        1333:23, 1335:8,
   1341:2, 1342:8,           1386:23, 1410:17          1359:4, 1359:8,           1395:1, 1436:3,          1335:17, 1335:25,
   1343:5, 1343:6,         invalid [72] - 1321:25,     1359:13, 1361:4,          1437:3, 1439:6,          1336:4, 1336:10,
   1343:7, 1343:9,           1326:24, 1326:25,         1362:21, 1363:4,          1439:25, 1441:8,         1337:16, 1337:19,
   1343:12, 1343:23,         1327:2, 1327:5,           1363:15, 1363:18,         1450:24, 1458:20         1338:6, 1338:10,
   1347:7, 1366:10,          1327:6, 1327:10,          1363:19, 1363:21,       issued [23] - 1351:1,      1338:12, 1340:9,
   1370:7, 1393:7,           1327:13, 1327:16,         1363:25, 1364:3,          1351:9, 1352:1,          1340:23, 1341:3
   1438:14                   1327:19, 1327:20,         1364:15, 1370:22,         1356:19, 1357:13,      Jeffries [5] - 1319:8,
 integrity [1] - 1455:7      1328:7, 1328:11,          1372:15, 1372:20,         1357:15, 1357:20,        1322:7, 1326:14,
 intellectual [5] -          1329:3, 1329:4,           1372:23, 1385:8,          1383:25, 1386:9,         1327:21, 1335:15
   1376:3, 1392:25,          1331:8, 1331:9,           1385:14, 1395:5,          1395:14, 1397:15,      jeopardizes [1] -
   1409:23, 1436:11,         1331:11, 1331:15,         1400:20, 1402:14,         1437:9, 1437:15,         1368:11
   1441:12                   1331:17, 1339:6,          1403:2, 1443:19,          1437:16, 1446:18,      job [4] - 1348:14,
 intended [3] -              1339:8, 1348:7,           1449:13, 1449:17,         1447:14, 1449:13,        1351:19, 1373:3,
   1344:14, 1395:4,          1348:8, 1348:12,          1456:24                   1457:1, 1457:22,         1403:8
   1442:24                   1348:13, 1348:20,       inventions [1] -            1459:2, 1461:6,        John [2] - 1319:13,
 intentional [3] -           1348:21, 1348:25,         1364:1                    1461:17, 1461:19         1320:5
   1399:23, 1400:7,          1349:1, 1349:22,        inventor [2] - 1358:2,    issues [13] - 1342:23,   JONES [3] - 1319:8,
   1400:9                    1349:25, 1350:1,          1363:1                    1342:24, 1351:8,         1319:10, 1319:13
 intentionally [3] -         1352:14, 1354:6,        inventors [1] -             1352:14, 1356:15,      judge [3] - 1351:19,
   1354:12, 1400:6,          1354:7, 1355:4,           1431:10                   1357:16, 1366:12,        1387:10, 1391:23
   1412:5                    1355:5, 1355:7,         investigation [2] -         1398:13, 1405:19,      JUDGE [1] - 1318:3
 inter [4] - 1339:22,        1355:11, 1357:13,         1367:25, 1431:23          1418:3, 1434:12,       judged [1] - 1359:17
   1340:6, 1356:6,           1357:23, 1358:17,       investigations [1] -        1448:1                 judges [1] - 1387:3
   1380:18                   1358:20, 1359:20,         1367:9                  item [3] - 1381:19,      July [1] - 1428:4
 Inter [1] - 1340:7          1360:1, 1360:2,         investment [1] -            1415:25                jump [1] - 1419:7
 interact [1] - 1387:11      1384:7, 1385:6,           1409:22                 items [4] - 1336:14,     June [2] - 1422:21,
 interacts [1] - 1352:7      1386:5, 1386:8,         investor [1] - 1457:2       1363:5, 1404:15,         1428:2
 interest [3] - 1345:15,     1386:18, 1387:1,        invoiced [1] - 1391:20      1407:1                 Junghans [19] -
   1375:1, 1378:4            1389:1, 1392:10,        involve [1] - 1432:6      itself [6] - 1353:18,      1390:24, 1399:21,
 interested [4] -            1392:11, 1393:6,        involved [4] - 1351:23,     1391:19, 1423:12,        1403:25, 1416:13,
   1376:11, 1378:6,          1397:17, 1397:19,         1367:1, 1367:15,          1430:18, 1447:11,        1448:13, 1450:7,
   1397:11, 1451:7           1400:17, 1414:18,         1387:24                   1459:2                   1450:9, 1450:13,
 interesting [7] -           1414:24, 1437:5,        involves [4] - 1350:10,                              1450:15, 1450:17,
   1385:3, 1388:22,          1437:6, 1437:7,           1352:14, 1366:13,                  J               1450:20, 1451:2,
   1389:20, 1401:7,          1439:5, 1439:17,          1423:20                                            1452:14, 1452:15,
   1452:11, 1458:5,          1439:20, 1458:6,        involving [1] -           Jakabovits [6] -           1458:25, 1462:4,
   1460:17                   1458:8, 1458:11,          1432:12                  1375:22, 1376:7,          1463:15, 1463:20,
 interests [1] - 1323:6      1458:21                 IP [4] - 1379:14,          1379:4, 1379:10,          1463:24
 internal [7] - 1376:24,   invalidate [9] -            1379:16, 1380:7,         1379:18, 1380:4         Juno [97] - 1321:1,
   1383:17, 1405:15,         1380:14, 1380:19,         1388:13                 JAMES [1] - 1318:3         1321:15, 1330:20,
   1407:8, 1411:15,          1381:24, 1382:8,        IPR [12] - 1322:15,       January [1] - 1460:22      1340:15, 1347:25,
   1413:11, 1422:21          1382:23, 1384:25,         1356:6, 1356:11,        JCAR15 [2] - 1403:19,      1348:3, 1348:14,
 internally [2] -            1385:1, 1393:14,          1381:1, 1381:4,          1429:8                    1348:16, 1349:2,
   1373:24, 1382:14          1394:6                    1381:6, 1381:8,         JCAR17 [11] - 1404:4,      1349:5, 1349:19,
 Internet [3] - 1366:20,   invalidated [1] -           1381:16, 1384:14,        1404:5, 1404:7,           1350:3, 1350:5,
   1367:8, 1367:11           1393:6                    1389:5, 1402:4           1405:9, 1422:16,          1360:3, 1360:6,
 interpret [1] - 1344:15   invalidity [10] -         IRELL [1] - 1319:4         1428:17, 1432:21,         1360:7, 1360:12,




                    AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
Case 2:17-cv-07639-GW-KS Document 611 Filed 12/18/19 Page 165 of 179 Page ID
                                 #:26973                             16


   1360:14, 1360:16,        1322:15, 1324:17,       1412:7, 1412:19,       1382:19, 1383:13,       1411:17, 1414:7,
   1360:18, 1360:20,        1324:24, 1325:5,        1413:25, 1414:14,      1383:14, 1383:22,       1418:5, 1438:10,
   1364:24, 1371:7,         1325:12, 1325:23,       1415:1, 1415:8,        1383:23, 1384:12,       1453:12
   1372:18, 1381:12,        1326:4, 1326:9,         1415:18, 1416:3,       1384:23, 1384:25,      Kite-like [1] - 1397:10
   1381:23, 1398:8,         1326:19, 1329:4,        1416:19, 1431:12,      1385:14, 1386:7,       knowledge [2] -
   1403:17, 1403:19,        1330:8, 1330:10,        1431:15, 1432:5,       1386:12, 1386:14,       1354:21, 1356:1
   1403:23, 1404:9,         1335:12, 1335:23,       1437:8, 1440:15,       1386:16, 1386:25,      known [5] - 1347:10,
   1404:18, 1405:2,         1337:7, 1341:1,         1448:10, 1456:13,      1387:1, 1388:23,        1347:16, 1359:1,
   1405:10, 1407:17,        1341:24, 1342:2,        1456:23, 1456:25,      1389:4, 1389:5,         1362:7, 1372:7
   1407:20, 1407:22,        1342:9, 1342:15,        1461:23                1389:24, 1390:8,       knows [5] - 1376:20,
   1407:24, 1408:2,         1342:16, 1342:17,      Kettering/Juno [1] -    1390:24, 1391:1,        1424:3, 1434:6,
   1408:8, 1408:11,         1342:18, 1342:19,       1409:5                 1391:15, 1392:5,        1436:11, 1463:24
   1408:22, 1408:23,        1342:21, 1343:10,      key [5] - 1373:1,       1392:8, 1392:11,       Komanduri [1] -
   1409:18, 1410:2,         1343:13, 1352:15,       1405:20, 1406:13,      1392:24, 1394:19,       1435:9
   1411:6, 1411:16,         1367:2, 1368:6,         1408:18, 1413:1        1395:17, 1396:13,      KTEC19 [2] - 1383:10,
   1411:25, 1412:8,         1368:19, 1368:21,      kidding [1] - 1399:9    1396:15, 1396:19,       1422:25
   1412:18, 1413:7,         1369:3, 1369:13,       kids [3] - 1387:5,      1396:22, 1397:10,      KYMRIAH [5] -
   1413:9, 1413:23,         1369:15, 1370:7,        1387:6, 1387:7         1398:8, 1399:21,        1422:18, 1429:4,
   1413:25, 1414:14,        1370:8, 1370:19,       kill [3] - 1373:1,      1400:11, 1400:17,       1429:19, 1430:3,
   1415:1, 1415:8,          1392:12, 1393:7,        1392:12, 1393:1        1401:8, 1401:9,         1431:22
   1415:19, 1416:3,         1397:24, 1398:5,       kind [6] - 1384:20,     1401:17, 1403:1,
   1416:19, 1419:23,        1398:6, 1398:10,                               1403:16, 1403:18,
                                                    1389:16, 1392:20,                                        L
   1419:24, 1422:22,        1398:25, 1399:10,       1444:11, 1448:18,      1404:7, 1405:3,
   1423:4, 1423:12,         1399:11, 1399:12,       1449:23                1405:15, 1406:7,       lab [4] - 1403:5,
   1423:16, 1426:17,        1417:24, 1438:14,      kinds [2] - 1356:18,    1406:14, 1406:17,        1403:8, 1432:3,
   1427:1, 1427:4,          1465:10, 1465:14,       1410:7                 1406:23, 1407:1,         1456:15
   1428:13, 1428:14,        1465:15                KITE [1] - 1318:8       1407:8, 1407:20,       label [4] - 1405:14,
   1428:16, 1429:6,       justice [3] - 1393:24,   Kite [165] - 1321:2,    1407:21, 1408:21,        1430:3, 1430:8,
   1429:7, 1431:1,          1414:11                 1326:22, 1327:10,      1411:14, 1411:15,        1431:22
   1431:2, 1431:13,                                 1328:3, 1331:11,       1411:18, 1412:1,       laboratory [2] -
   1432:5, 1432:8,                   K              1331:17, 1331:20,      1413:2, 1413:12,         1355:24, 1356:2
   1432:21, 1432:23,                                1339:8, 1348:1,        1414:16, 1414:22,      ladies [5] - 1370:18,
   1433:8, 1433:13,       keep [8] - 1360:11,       1348:6, 1348:11,       1415:11, 1415:22,        1397:23, 1399:17,
   1433:15, 1434:7,        1388:6, 1393:13,         1348:12, 1348:19,      1415:24, 1416:13,        1416:20, 1417:15
   1434:19, 1434:21,       1428:14, 1440:2,         1348:21, 1349:1,       1420:5, 1421:18,       lady [2] - 1393:24,
   1435:17, 1435:19,       1447:3, 1448:19,         1349:17, 1350:1,       1423:6, 1423:18,         1414:11
   1435:24, 1436:2,        1461:20                  1354:7, 1354:12,       1423:25, 1424:5,       language [7] - 1323:1,
   1459:11, 1459:13       kept [2] - 1387:23,       1354:17, 1355:2,       1424:6, 1424:14,         1323:6, 1324:10,
 JUNO [1] - 1318:5         1459:16                  1355:5, 1355:10,       1425:5, 1425:9,          1351:20, 1351:23,
 Juno's [4] - 1404:12,    Kettering [61] -          1356:4, 1357:12,       1426:13, 1428:25,        1352:11, 1438:15
   1422:16, 1422:21,       1321:15, 1322:10,        1357:14, 1358:16,      1429:1, 1429:4,        large [2] - 1389:6,
   1432:18                 1347:25, 1348:4,         1359:19, 1359:24,      1430:18, 1434:21,        1416:7
 juror [9] - 1324:18,      1348:15, 1348:16,        1361:7, 1361:21,       1435:11, 1435:18,      last [13] - 1321:3,
   1324:23, 1326:9,        1349:3, 1349:5,          1362:1, 1364:24,       1436:1, 1440:12,         1321:11, 1326:20,
   1329:19, 1341:22,       1349:19, 1350:3,         1365:13, 1365:17,      1440:23, 1441:2,         1332:12, 1332:15,
   1368:11, 1369:8,        1350:5, 1360:4,          1366:7, 1370:13,       1453:12, 1455:8,         1332:17, 1336:13,
   1369:14                 1360:6, 1360:7,          1370:14, 1371:1,       1455:13, 1457:6,         1349:10, 1432:24,
 JUROR [1] - 1417:5        1360:12, 1360:14,        1371:2, 1371:5,        1457:11, 1457:12         1457:17, 1462:25,
 juror's [1] - 1368:14     1360:16, 1360:18,        1372:13, 1373:13,     Kite's [30] - 1348:3,     1463:5
 jurors [12] - 1324:20,    1360:21, 1364:25,        1374:6, 1374:7,        1348:4, 1348:15,       late [9] - 1329:23,
   1334:4, 1335:6,         1371:7, 1371:21,         1374:14, 1375:17,      1349:3, 1349:20,         1410:1, 1410:13,
   1342:6, 1347:6,         1372:14, 1372:18,        1375:19, 1375:22,      1350:3, 1354:8,          1410:15, 1410:24,
   1366:14, 1367:16,       1376:25, 1377:10,        1376:16, 1376:19,      1354:10, 1354:14,        1411:2, 1411:11,
   1369:18, 1369:23,       1378:9, 1379:8,          1376:24, 1377:23,      1354:17, 1354:20,        1412:13, 1427:6
   1370:4, 1370:23,        1379:20, 1380:5,         1378:2, 1380:4,        1354:21, 1362:4,       late-stage [1] -
   1417:2                  1380:16, 1381:12,        1380:10, 1380:17,      1374:11, 1374:13,        1412:13
 JURY [1] - 1318:13        1381:23, 1384:15,        1380:23, 1381:14,      1374:20, 1381:6,       launch [1] - 1394:20
 jury [58] - 1321:3,       1392:17, 1392:25,        1381:19, 1381:20,      1386:19, 1386:21,
                                                                                                  law [17] - 1343:11,
   1321:4, 1321:6,         1393:9, 1394:18,         1381:23, 1382:5,       1388:16, 1389:24,
                                                                                                    1343:16, 1343:17,
   1321:14, 1321:22,       1395:7, 1407:17,         1382:7, 1382:14,       1392:2, 1407:7,
                                                                                                    1353:2, 1367:14,
                           1409:7, 1410:2,                                 1411:1, 1411:3,




                     AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
Case 2:17-cv-07639-GW-KS Document 611 Filed 12/18/19 Page 166 of 179 Page ID
                                 #:26974                             17


   1392:2, 1392:3,         leukemia [4] -               1390:5, 1439:18            1462:22, 1464:2,         1375:5, 1376:22,
   1393:3, 1393:5,           1429:13, 1429:17,        limitations [2] -            1464:3, 1465:1           1379:10, 1383:19,
   1394:3, 1396:15,          1429:19, 1430:19           1353:3, 1381:18          looked [14] - 1407:19,     1385:17, 1453:13,
   1396:19, 1396:22,       level [4] - 1355:16,       limited [4] - 1345:1,        1418:22, 1438:14,        1453:15
   1402:17, 1406:1,          1359:14, 1387:8,           1345:2, 1365:25,           1447:4, 1450:10,        mails [7] - 1376:24,
   1414:2                    1416:16                    1366:21                    1450:14, 1451:7,         1385:17, 1386:15,
 Law [14] - 1319:4,        liar [2] - 1418:6,         line [6] - 1328:22,          1451:9, 1451:12,         1456:12
   1319:5, 1319:5,           1443:6                     1328:23, 1349:12,          1452:14, 1455:21,       main [2] - 1392:21,
   1319:6, 1319:8,         license [41] - 1361:4,       1362:25, 1410:8,           1458:23, 1459:2,         1427:25
   1319:11, 1319:13,         1361:5, 1361:11,           1410:24                    1465:7                  maintain [1] - 1362:20
   1319:18, 1319:18,         1362:2, 1362:15,         lines [2] - 1325:19,       looking [11] - 1326:19,   major [3] - 1406:7,
   1319:19, 1319:19,         1363:8, 1364:14,           1371:11                    1379:5, 1386:3,          1423:7, 1429:7
   1319:20, 1320:3,          1364:18, 1365:11,        linkedin [1] - 1366:22       1406:11, 1410:7,        majority [1] - 1428:24
   1320:5                    1365:12, 1365:15,        list [1] - 1344:10           1412:9, 1438:20,        malicious [1] -
 lawsuit [2] - 1377:1,       1365:17, 1365:23,        listen [1] - 1367:5          1452:20, 1459:5,         1354:15
   1377:5                    1366:5, 1372:15,         listened [1] - 1369:23       1460:2, 1464:15         management [1] -
 lawyer [3] - 1388:16,       1377:24, 1378:2,         listing [6] - 1395:21,     looks [1] - 1375:5         1453:13
   1396:19, 1418:24          1379:2, 1379:8,            1396:2, 1440:22,         Los [5] - 1318:14,        MANELLA [1] - 1319:4
 lawyering [1] -             1379:12, 1379:21,          1462:1, 1463:6,            1318:23, 1319:7,        manner [2] - 1345:14,
   1418:20                   1380:4, 1380:10,           1464:17                    1319:9, 1319:21          1381:22
 lawyers [20] -              1380:12, 1382:22,        listings [1] - 1451:21     lose [1] - 1419:17        manufacture [3] -
   1342:22, 1344:5,          1383:23, 1383:24,        literally [1] - 1398:11    lost [2] - 1382:5,         1364:14, 1425:25,
   1344:11, 1344:12,         1384:6, 1384:8,          literature [1] - 1356:1      1434:21                  1426:1
   1344:16, 1344:18,         1384:12, 1386:21,        litigation [4] - 1375:4,   low [1] - 1430:20         manufactured [1] -
   1367:16, 1368:24,         1397:9, 1397:16,           1406:21, 1411:6,         lower [5] - 1393:18,       1362:17
   1390:6, 1391:14,          1397:18, 1397:19,          1451:5                     1399:24, 1404:17,       manufacturing [12] -
   1392:4, 1396:15,          1409:6, 1410:12,         littered [1] - 1383:18       1407:12, 1410:13         1364:5, 1404:8,
   1396:17, 1396:19,         1410:13, 1411:2,         live [2] - 1429:3,         lunch [1] - 1399:18        1405:7, 1406:24,
   1396:21, 1414:2,          1411:5, 1435:16            1434:16                  lymphodepletion [1] -      1425:22, 1425:23,
   1418:20, 1456:3         licensee [5] - 1362:24,    lives [4] - 1419:20,         1426:8                   1426:17, 1426:23,
 lead [1] - 1432:5           1363:3, 1364:9,            1434:20, 1434:22,        lymphoma [1] -             1431:3, 1431:6,
 learn [5] - 1367:10,        1364:13, 1435:15           1457:13                    1429:14                  1433:22, 1435:4
   1387:5, 1387:6          licensees [1] -            living [10] - 1371:13,     lysine [42] - 1352:3,     manuscript [1] -
 learned [3] - 1372:11,      1362:13                    1371:14, 1372:23,          1438:4, 1438:24,         1461:2
   1377:7, 1455:12         licenses [5] - 1362:21,      1372:25, 1373:2,           1438:25, 1439:1,        march [1] - 1386:22
 learning [1] - 1376:11      1365:16, 1408:2,           1373:11, 1377:16,          1439:4, 1439:9,         margin [5] - 1411:14,
 least [7] - 1325:8,         1411:4, 1412:11            1391:2, 1392:15,           1439:10, 1439:21,        1411:22, 1411:25,
   1326:24, 1354:13,       licensing [8] -              1426:1                     1440:19, 1440:25,        1412:4, 1412:6
   1355:23, 1375:19,         1362:11, 1362:21,        LLP [2] - 1319:4,            1441:7, 1446:2,         Margo [3] - 1421:12,
   1375:20, 1456:9           1378:7, 1379:16,           1319:17                    1446:17, 1447:1,         1421:14, 1421:18
 least".. [1] - 1327:14      1379:23, 1379:25,        logical [1] - 1328:13        1447:22, 1450:12,       mark [1] - 1415:8
 leave [2] - 1398:11,        1380:7, 1388:13          Lonza [2] - 1433:24          1451:24, 1452:1,        marked [1] - 1324:5
   1464:14                 licensor [6] - 1362:23,    look [39] - 1327:24,         1452:6, 1452:10,        market [13] - 1365:6,
 led [2] - 1431:16,          1363:4, 1363:17,           1328:1, 1353:13,           1452:16, 1452:20,        1403:18, 1404:19,
   1432:4                    1364:8, 1435:16            1353:25, 1370:24,          1455:22, 1456:21,        1404:22, 1408:14,
 left [5] - 1399:24,       licensor's [1] -             1379:11, 1379:12,          1457:10, 1457:23,        1410:5, 1419:19,
   1412:3, 1413:7,           1362:19                    1384:19, 1385:11,          1458:2, 1458:14,         1422:19, 1427:6,
   1436:13, 1464:15        lie [1] - 1418:18            1395:20, 1396:3,           1458:15, 1459:20,        1435:1, 1435:5,
 left-hand [1] - 1399:24   life [6] - 1372:12,          1396:4, 1401:25,           1462:16, 1462:19,        1435:21
 legal [4] - 1342:23,        1372:16, 1373:20,          1404:6, 1409:5,            1463:4, 1464:24,        marketing [2] -
   1342:24, 1381:7,          1373:25, 1387:9,           1409:19, 1411:14,          1465:2                   1362:19, 1365:5
   1424:7                    1419:3                     1413:5, 1414:25,                                   marketplace [1] -
 lengthy [2] - 1325:3,     lifted [1] - 1428:4          1417:19, 1421:13,                  M                1374:12
   1338:19                 light [1] - 1345:18          1422:8, 1428:1,                                    marks [2] - 1399:24,
 less [4] - 1360:10,       likely [6] - 1347:14,        1431:23, 1431:24,        M.D [1] - 1355:21          1401:11
   1391:21, 1408:16,         1355:10, 1360:16,          1438:16, 1444:9,         Maclain [1] - 1319:5      Marr [1] - 1444:19
   1413:1                    1406:9, 1427:13,           1445:1, 1447:15,         magic [1] - 1420:9        marshal [2] - 1368:18,
 letter [1] - 1381:23        1455:10                    1450:13, 1451:15,        magical [1] - 1460:1       1369:10
 letters [1] - 1396:2      limit [1] - 1442:9           1451:22, 1452:5,         mail [10] - 1366:19,      master's [1] - 1355:21
 letting [1] - 1378:9      limitation [3] - 1353:9,     1453:10, 1454:9,          1373:16, 1374:24,        match [1] - 1325:24




                    AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
Case 2:17-cv-07639-GW-KS Document 611 Filed 12/18/19 Page 167 of 179 Page ID
                                 #:26975                             18


 matched [1] - 1381:19    mentioned [5] -           minutes [6] - 1329:14,     1397:1, 1397:7,          1399:8, 1399:16,
 materials [1] - 1367:9    1351:16, 1409:20,         1396:16, 1399:3,          1434:12                  1417:2, 1417:7,
 mathematical [1] -        1421:15, 1436:4,          1399:5, 1399:8,          monopoly [2] -            1417:13, 1417:15
  1360:19                  1436:15                   1408:20                   1362:20, 1362:22        MS [48] - 1322:8,
 matter [5] - 1367:4,     mentor [2] - 1387:25,     misidentification [1] -   month [3] - 1384:17       1323:9, 1324:1,
  1387:8, 1415:19,         1388:10                   1461:10                  months [7] - 1391:20,     1324:13, 1324:15,
  1463:2, 1466:3          mere [1] - 1396:20        misleading [1] -           1419:7, 1428:5,          1324:22, 1325:7,
 matters [2] - 1394:23,   merely [1] - 1354:17       1368:3                    1429:3, 1433:4,          1325:13, 1326:7,
  1419:14                 meritorious [1] -         misrepresentation [1]      1434:15, 1457:17         1327:23, 1329:18,
 mean [4] - 1374:17,       1327:22                   - 1398:22                Morgan [1] - 1319:4       1330:3, 1330:5,
  1374:18, 1413:23,       merits [1] - 1366:17      missed [1] - 1332:9       morning [8] - 1332:18,    1330:16, 1332:2,
  1414:4                  message [1] - 1379:13     missing [1] - 1358:13      1333:12, 1333:13,        1332:4, 1332:11,
 meaning [4] -            messaging [1] -           mistake [12] -             1336:7, 1336:17,         1332:17, 1332:21,
  1351:20, 1352:8,         1366:19                   1384:20, 1392:22,         1337:24, 1342:25,        1333:1, 1333:4,
  1352:10, 1384:5         met [8] - 1353:12,         1393:3, 1395:8,           1416:20                  1333:6, 1333:9,
 means [12] - 1343:20,     1356:21, 1385:7,          1395:10, 1399:22,        most [15] - 1325:16,      1333:23, 1335:3,
  1347:13, 1347:19,        1395:13, 1415:11,         1400:5, 1400:6,           1333:5, 1334:21,         1335:8, 1335:14,
  1366:19, 1390:6,         1415:23, 1415:24          1447:2, 1448:23,          1377:16, 1377:19,        1335:17, 1335:21,
  1397:1, 1431:11,        metes [1] - 1449:12        1462:2                    1393:16, 1393:23,        1335:25, 1336:4,
  1437:7, 1439:4,         method [1] - 1352:21      mistakes [1] - 1345:23     1408:14, 1419:12,        1336:10, 1337:16,
  1449:14, 1460:15,       Michael [1] - 1405:19     mistrial [1] - 1368:12     1426:1, 1442:20,         1337:19, 1338:6,
  1463:9                  Michalik [1] - 1319:13    misunderstanding [1]       1443:19, 1447:25,        1338:10, 1338:12,
 meant [5] - 1360:12,     Michel [1] - 1374:24       - 1334:7                  1456:23, 1457:15         1338:14, 1338:17,
  1374:19, 1381:3,                                  mix [1] - 1461:6          motivated [1] - 1427:5    1339:20, 1340:2,
                          microphone [1] -
  1445:17                                           mix-up [1] - 1461:6       mouth [1] - 1418:2        1340:4, 1340:6,
                           1324:21
 measure [1] - 1359:22                              model [1] - 1390:14       move [3] - 1326:6,        1340:8, 1340:9,
                          mid [1] - 1433:10
 mechanisms [1] -                                   modes [1] - 1363:13        1326:14                  1340:23, 1340:25,
                          mid-2019 [2] - 1433:9,
  1360:23                                                                     moved [2] - 1322:3,       1341:3
                           1433:13                  modification [8] -
 medal [1] - 1374:18                                                           1441:5                  MSK [2] - 1377:9,
                          middle [1] - 1423:11       1322:10, 1322:11,
 media [4] - 1366:23,                                1327:22, 1334:3,         mover [7] - 1383:8,       1410:2
                          midway [1] - 1390:3
  1366:25, 1367:5,                                   1334:9, 1337:12,          1383:10, 1383:12,       multiple [4] - 1390:1,
                          might [25] - 1329:25,
  1367:18                                            1339:3                    1383:15, 1383:19,        1396:15, 1445:21,
                           1331:23, 1372:1,
 medical [4] - 1423:3,                              modifications [3] -        1404:20, 1404:22         1461:11
                           1389:1, 1389:20,
  1423:14, 1423:15,                                  1330:21, 1332:24,        MR [59] - 1321:18,       MUNGER [1] -
                           1396:5, 1397:8,
  1455:7                                             1340:20                   1321:22, 1326:8,         1319:17
                           1403:6, 1410:11,
 meet [5] - 1326:14,                                modified [6] -             1326:16, 1326:19,       must [39] - 1343:17,
                           1411:13, 1411:23,
  1350:25, 1378:20,                                  1322:23, 1323:3,          1327:15, 1328:5,         1343:18, 1343:20,
                           1418:21, 1419:6,
  1387:11, 1396:18                                   1323:5, 1326:4,           1328:8, 1328:10,         1344:24, 1345:2,
                           1424:24, 1427:17,
 meeting [1] - 1450:18                               1338:25, 1339:1           1328:12, 1328:17,        1347:13, 1347:19,
                           1428:12, 1432:15,
 meetings [6] - 1392:3,                             modify [2] - 1324:8,       1328:20, 1328:23,        1347:24, 1348:16,
                           1433:8, 1442:20,
  1392:4, 1396:15,                                   1330:24                   1328:25, 1329:8,         1348:21, 1350:13,
                           1442:21, 1452:23,
  1396:16, 1396:17                                                             1329:11, 1329:14,        1353:12, 1354:7,
                           1455:8, 1463:4,          modifying [1] - 1329:6
 meets [7] - 1353:4,                                                           1330:23, 1331:2,         1354:11, 1354:20,
                           1464:20, 1464:21         module [1] - 1433:21
  1354:2, 1390:5,                                                              1331:5, 1331:7,          1355:1, 1355:5,
                          million [18] - 1374:22,   molecular [1] -
  1394:25, 1402:19,                                                            1331:18, 1331:21,        1355:10, 1357:14,
                           1391:6, 1391:21,          1355:22
  1436:10, 1439:17                                                             1331:25, 1333:7,         1358:16, 1359:19,
                           1406:5, 1407:16,         molecule [10] -
                                                                               1333:15, 1333:20,        1360:2, 1360:5,
 member [4] - 1368:19,     1412:19, 1412:23,         1422:2, 1425:20,
                                                                               1334:6, 1334:15,         1360:19, 1361:10,
  1368:21, 1369:13,        1412:25, 1413:5,          1438:5, 1442:15,
                                                                               1335:1, 1336:25,         1361:11, 1365:2,
  1374:2                   1413:13, 1413:15,         1453:3, 1453:5,
                                                                               1339:1, 1339:4,          1365:15, 1366:9,
 members [4] -             1413:16, 1416:2,          1453:6, 1459:24,
                                                                               1341:4, 1341:8,          1366:11, 1367:3,
  1343:10, 1366:25,        1434:22, 1435:18          1460:5, 1460:7
                                                                               1341:9, 1341:12,         1369:18, 1369:20,
  1449:13, 1456:17        millions [3] - 1373:7,    moment [7] - 1328:1,
                                                                               1341:16, 1341:19,        1390:19, 1394:6,
 Memorial [2] - 1377:9,    1373:8                    1334:13, 1336:22,
                                                                               1341:21, 1341:25,        1415:14, 1449:1,
  1379:8                  mind [5] - 1360:11,        1409:25, 1413:24,
                                                                               1342:4, 1342:7,          1457:25, 1458:1
 memory [5] - 1344:17,     1364:23, 1383:8,          1443:16, 1452:12
  1345:14, 1347:4,         1393:13, 1440:2          moments [1] - 1334:8       1342:11, 1349:9,
  1347:5, 1379:25         minor [3] - 1331:21,      money [10] - 1326:25,      1349:13, 1349:21,                  N
 mention [4] - 1395:5,     1356:24, 1441:19          1348:1, 1349:2,           1370:10, 1370:18,
                                                                               1397:23, 1398:13,       name [3] - 1383:21,
  1416:6, 1416:18,        minute [2] - 1376:1,       1349:18, 1350:2,
                                                                               1398:21, 1399:6,         1423:22, 1444:19
  1447:8                   1440:21                   1360:3, 1371:5,
                                                                                                       named [2] - 1383:9,




                   AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
Case 2:17-cv-07639-GW-KS Document 611 Filed 12/18/19 Page 168 of 179 Page ID
                                 #:26976                             19


  1392:16                   1365:24, 1366:1,        nonexclusive [1] -         1451:16, 1454:3,       objected [3] -
 names [1] - 1416:18        1366:4, 1366:7,          1362:16                   1454:5, 1455:1,         1322:24, 1323:14,
 narrative [1] - 1429:8     1405:25, 1408:4,        noninfringing [1] -        1457:9, 1457:22,        1325:4
 narrow [2] - 1389:6,       1408:5, 1409:1,          1366:8                    1459:17, 1459:18,      objecting [1] -
  1436:24                   1409:15, 1410:15,       nonpatented [2] -          1461:21                 1341:19
 narrower [1] - 1352:24     1410:25, 1435:14         1363:5, 1364:4           nucleotides [16] -      objection [8] -
 national [1] - 1403:24    negotiations [2] -       nonrestricted [1] -        1437:18, 1438:1,        1321:16, 1321:17,
 National [1] - 1374:2      1365:23, 1412:16         1362:16                   1438:2, 1438:5,         1323:15, 1336:25,
 natural [1] - 1426:11     net [1] - 1408:20        normal [2] - 1402:20,      1438:19, 1443:1,        1340:9, 1344:21,
 naturally [1] - 1373:6    neurotoxicity [3] -       1417:25                   1445:8, 1445:9,         1398:17, 1398:24
 nature [5] - 1356:24,      1404:16, 1405:21,       normally [1] - 1365:1      1446:8, 1451:22,       objections [4] -
  1359:14, 1361:9,          1428:19                 nose [1] - 1375:6          1452:3, 1454:10,        1322:12, 1338:14,
  1362:15, 1363:15         never [12] - 1374:1,     note [3] - 1341:13,        1454:20, 1460:7,        1338:16, 1344:18
 NCI [12] - 1372:13,        1382:20, 1389:9,         1368:17, 1416:3           1460:10, 1464:4        observed [1] -
  1373:18, 1374:7,          1389:12, 1389:15,       notebook [3] -            number [41] -            1431:18
  1374:10, 1374:14,         1389:18, 1410:23,        1329:22, 1330:8,          1322:19, 1322:23,      obtain [2] - 1350:13,
  1376:10, 1382:17,         1429:4, 1445:17,         1422:8                    1323:3, 1323:5,         1364:13
  1382:21, 1400:24,         1460:18, 1464:16        notebooks [18] -           1323:11, 1323:19,      obtained [3] -
  1403:1, 1441:2,          nevertheless [1] -        1324:19, 1324:23,         1324:2, 1324:4,         1332:14, 1338:1,
  1455:14                   1365:23                  1326:9, 1329:19,          1324:9, 1326:19,        1453:20
 necessarily [4] -         new [9] - 1333:13,        1329:20, 1329:21,         1328:18, 1329:7,       obtaining [1] -
  1336:21, 1346:11,         1336:1, 1337:17,         1330:14, 1335:12,         1330:22, 1332:13,       1356:16
  1358:14, 1365:24          1337:25, 1358:4,         1341:22, 1342:3,          1332:20, 1332:25,      obvious [7] - 1356:10,
 necessary [6] -            1422:1, 1424:9,          1342:6, 1342:7,           1334:8, 1337:6,         1444:2, 1445:6,
  1353:13, 1353:25,         1436:22, 1442:8          1342:10, 1342:16,         1337:7, 1337:8,         1447:22, 1449:1,
  1359:10, 1359:11,        New [4] - 1319:12,        1417:3, 1417:4,           1338:20, 1338:21,       1449:5, 1449:8
  1368:16                   1373:18, 1388:19         1417:8, 1417:12           1339:21, 1342:22,      obviously [7] -
 need [21] - 1321:11,      newly [2] - 1332:11,     notes [7] - 1337:11,       1346:11, 1379:11,       1446:25, 1447:3,
  1326:25, 1327:23,         1336:18                  1343:5, 1343:6,           1401:11, 1404:7,        1452:6, 1456:17,
  1333:21, 1333:25,        newly-submitted [1] -     1347:2, 1347:3,           1405:3, 1405:6,         1457:24, 1460:8,
  1334:12, 1336:22,         1336:18                  1347:4, 1347:6            1405:7, 1407:16,        1464:18
  1348:18, 1349:2,         news [1] - 1367:5        nothing [6] - 1374:5,      1409:20, 1411:10,      obviousness [2] -
  1349:18, 1350:2,         next [8] - 1322:5,        1406:10, 1436:22,         1413:14, 1413:21,       1356:12, 1380:20
  1358:11, 1365:11,         1378:22, 1393:12,        1449:20, 1451:4,          1455:2, 1460:2,        occasionally [1] -
  1370:9, 1398:19,          1400:16, 1403:16,        1460:1                    1461:3                  1351:9
  1398:20, 1417:12,         1414:21, 1433:1,        notice [8] - 1395:5,      numbered [5] -          occasions [1] -
  1441:7, 1457:13,          1438:5                   1413:1, 1442:21,          1322:24, 1336:19,       1418:21
  1462:5, 1462:8           nice [1] - 1389:21        1442:22, 1449:12,         1351:17, 1384:11       occur [1] - 1357:19
 needed [4] - 1336:14,     night [6] - 1321:11,      1456:22, 1456:25,        numbering [1] -         occurred [4] -
  1378:2, 1380:10,          1332:12, 1332:16,        1463:23                   1336:19                 1354:22, 1360:9,
  1425:8                    1332:17, 1336:13,       noticed [2] - 1399:24,    numbers [9] -            1365:25, 1374:1
 needs [8] - 1325:18,       1371:13                  1456:23                   1334:16, 1413:12,      October [4] - 1361:21,
  1332:23, 1338:25,        NIH [1] - 1450:19        notify [1] - 1368:15       1416:2, 1422:11,        1384:16, 1419:19,
  1339:1, 1351:20,         NO:6 [17] - 1352:1,      Novartis [6] - 1411:6,     1431:22, 1437:19,       1433:20
  1434:1, 1442:6,           1395:20, 1422:5,         1411:7, 1426:15,          1437:21, 1444:23       odd [1] - 1443:25
  1462:7                    1422:6, 1437:17,         1426:17, 1430:15,        Numeral [4] - 1331:8,   OF [3] - 1318:2,
 negative [3] - 1407:22,    1438:18, 1438:23,        1430:16                   1331:10, 1331:14,       1318:12, 1319:1
  1407:23, 1408:22          1440:18, 1442:17,       Novartis' [1] - 1422:19    1331:15                offering [2] - 1325:20,
 negatives [3] -            1442:23, 1452:4,        November [1] -            NYT [1] - 1373:18        1348:3
  1327:24, 1414:2           1454:20, 1455:20,        1437:10                                          Office [4] - 1350:12,
 negotiated [3] -           1455:21, 1461:17,       nucleotide [28] -                    O             1356:8, 1372:21,
  1365:12, 1365:17,         1463:6                   1352:6, 1422:7,                                   1395:16
                           nobody [4] - 1442:6,                               oath [6] - 1343:22,
  1412:11                                            1422:9, 1422:10,                                 office [31] - 1325:25,
                            1456:22, 1456:25                                   1367:23, 1368:9,
 negotiating [1] -                                   1437:20, 1437:23,                                 1356:6, 1356:17,
                           noncontroversial [1] -                              1376:21, 1377:3,
  1408:1                                             1443:18, 1443:25,                                 1356:19, 1357:16,
                            1330:9                                             1388:3
 negotiation [21] -                                  1444:2, 1444:20,                                  1378:12, 1378:14,
                           none [6] - 1345:10,                                obey [1] - 1436:7
  1323:7, 1339:14,                                   1445:3, 1445:14,                                  1379:20, 1380:19,
                            1391:17, 1430:23,        1445:25, 1446:9,         object [5] - 1322:17,
  1361:6, 1361:9,                                                                                      1380:25, 1381:2,
                            1457:24, 1459:8,         1446:14, 1446:25,         1336:21, 1344:19,
  1361:15, 1361:16,                                                                                    1381:13, 1381:17,
                            1460:25                  1450:11, 1451:13,         1398:18, 1398:20
  1361:18, 1361:20,                                                                                    1382:4, 1382:6,




                    AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
Case 2:17-cv-07639-GW-KS Document 611 Filed 12/18/19 Page 169 of 179 Page ID
                                 #:26977                             20


  1382:23, 1384:10,          1436:9, 1436:20,          1402:11, 1422:6,          page [5] - 1336:3,       1386:5, 1429:25
  1384:14, 1386:7,           1436:23, 1444:5,          1424:6, 1438:10,           1341:15, 1431:25,      parties [23] - 1321:10,
  1393:10, 1393:11,          1444:14, 1447:8,          1438:12, 1438:22,          1433:11                 1330:5, 1330:21,
  1394:20, 1394:25,          1448:2, 1448:14,          1439:4, 1440:7,           page-0023-24 [1] -       1330:23, 1334:3,
  1395:7, 1395:12,           1449:15, 1450:8,          1440:16, 1440:17,          1451:19                 1334:22, 1334:24,
  1396:1, 1401:10,           1451:2, 1452:11,          1443:20, 1444:25,         pages [2] - 1329:24,     1342:20, 1348:7,
  1444:15, 1448:23,          1452:13, 1454:12,         1445:5, 1452:4,            1451:18                 1361:10, 1361:12,
  1462:2, 1464:10            1457:15, 1458:5,          1459:19                   paid [19] - 1362:1,      1361:20, 1362:7,
 officer [5] - 1390:9,       1459:12, 1460:6,         originally [7] - 1352:1,    1362:13, 1365:9,        1365:9, 1365:19,
  1421:19, 1423:3,           1460:23, 1462:8,          1358:12, 1358:15,          1371:5, 1386:12,        1365:22, 1366:2,
  1423:14, 1455:7            1462:14, 1462:15,         1358:21, 1395:7,           1388:23, 1389:7,        1366:6, 1367:15,
 Official [1] - 1318:22      1463:14                   1445:11, 1445:19           1389:21, 1391:20,       1368:5, 1368:8,
 official [4] - 1382:22,    ones [4] - 1325:23,       originally-filed [1] -      1392:5, 1396:13,        1399:13, 1405:25
  1390:4, 1395:24,           1438:3, 1454:4,           1445:11                    1411:16, 1411:20,      parties' [1] - 1323:6
  1405:14                    1454:25                  originated [1] - 1388:3     1412:19, 1417:20,      partnership [2] -
 officially [1] - 1395:10   ongoing [1] - 1430:23     OTERO [1] - 1318:3          1418:6, 1418:18,        1396:25, 1397:1
 often [3] - 1345:23,       open [1] - 1368:22        otherwise [4] -             1443:6, 1455:25        parts [5] - 1395:21,
  1347:7, 1353:2            opening [5] - 1344:13,     1322:6, 1326:13,          paper [7] - 1372:4,      1420:15, 1433:17,
 old [4] - 1363:13,          1388:16, 1389:24,         1369:4, 1389:21            1375:9, 1375:10,        1436:16, 1436:18
  1401:19, 1402:1,           1421:16, 1436:4          outcome [2] -               1385:11, 1400:23,      party [12] - 1321:2,
  1442:5                    operating [2] - 1407:9,    1345:15, 1409:1            1453:4, 1453:9          1347:11, 1347:13,
 OLSON [1] - 1319:17         1413:2                   outcomes [3] -             paragraph [2] -          1347:18, 1347:19,
 once [3] - 1334:4,         opinion [10] -             1423:7, 1423:15,           1326:20, 1349:10        1356:7, 1359:24,
  1404:2, 1430:6             1343:25, 1364:7,          1431:17                   paren [5] - 1331:7,      1361:17, 1392:1,
 one [97] - 1321:18,         1370:2, 1389:1,          outpatient [1] -            1339:5, 1339:6,         1411:3, 1418:9,
  1322:20, 1326:2,           1396:5, 1401:16,          1405:22                    1339:7                  1457:12
  1326:16, 1326:17,          1401:18, 1448:2,         outset [2] - 1330:6,       parens [2] - 1331:14,   party's [2] - 1347:8,
  1326:24, 1328:19,          1448:4, 1458:9            1377:22                    1331:15                 1367:20
  1332:11, 1332:14,         opinions [2] -            outside [8] - 1367:25,     parenthesis [1] -       pass [1] - 1373:4
  1334:13, 1334:18,          1415:20, 1448:8           1368:14, 1386:25,          1331:9                 passage [1] - 1394:17
  1336:23, 1337:3,          opportunity [5] -          1408:13, 1408:24,         parents [1] - 1377:18   passed [4] - 1321:5,
  1338:1, 1338:24,           1340:18, 1343:4,          1436:13, 1441:3,          part [34] - 1321:17,     1341:24, 1372:9,
  1339:10, 1339:20,          1345:12, 1370:14,         1441:11                    1340:9, 1345:9,         1403:21
  1340:12, 1350:13,          1370:15                  overall [2] - 1404:4,       1346:8, 1351:12,       patent [322] - 1321:25,
  1352:13, 1354:13,         oppose [1] - 1323:8        1404:12                    1351:15, 1372:22,       1324:10, 1324:19,
  1355:23, 1356:18,         opposed [1] - 1416:17     overlap [1] - 1338:2        1373:2, 1375:10,        1324:24, 1325:17,
  1356:22, 1362:1,          opposing [1] -            overlapping [1] -           1376:18, 1376:20,       1325:22, 1330:7,
  1364:19, 1368:18,          1334:11                   1334:16                    1382:2, 1387:19,        1331:11, 1331:16,
  1369:13, 1371:12,         opposite [1] - 1400:8     overlaps [1] - 1337:21      1388:24, 1394:8,        1332:14, 1333:22,
  1377:24, 1380:25,         option [1] - 1419:21      overly [1] - 1347:5         1396:9, 1401:25,        1334:2, 1335:22,
  1384:25, 1391:21,         options [1] - 1435:3      overtime [2] - 1391:3,      1408:15, 1416:7,        1336:9, 1338:1,
  1392:3, 1393:3,           order [7] - 1318:25,       1391:5                     1420:13, 1420:21,       1339:8, 1342:12,
  1393:11, 1393:25,          1323:24, 1340:22,        owe [1] - 1388:17           1420:25, 1421:6,        1342:13, 1348:2,
  1401:1, 1401:15,           1346:15, 1351:1,         owes [1] - 1373:18          1422:1, 1422:3,         1348:7, 1348:10,
  1403:21, 1404:9,           1353:12, 1365:13         own [13] - 1347:4,          1423:11, 1426:1,        1348:20, 1350:1,
  1405:1, 1405:7,           ordered [5] - 1334:4,      1353:24, 1367:10,          1441:21, 1441:22,       1350:11, 1350:13,
  1406:17, 1407:23,          1336:18, 1343:2,          1369:25, 1373:5,           1447:9, 1456:24,        1350:15, 1350:19,
  1409:15, 1414:5,           1367:3, 1465:10           1375:18, 1387:6,           1462:6, 1462:8          1350:22, 1350:25,
  1418:5, 1418:7,           ordinary [15] -            1403:9, 1435:25,          partes [5] - 1339:22,    1351:1, 1351:5,
  1419:8, 1419:17,           1322:20, 1339:11,         1449:11, 1451:12,          1340:6, 1340:7,         1351:8, 1351:13,
  1423:9, 1423:13,           1352:8, 1352:10,          1455:6, 1455:9             1356:6, 1380:18         1351:15, 1351:17,
  1423:20, 1423:21,          1355:14, 1355:16,        owned [1] - 1363:17        participate [2] -        1351:18, 1351:23,
  1424:9, 1424:19,           1355:20, 1357:5,         owner [3] - 1357:17,        1378:9, 1378:16         1352:16, 1352:23,
  1424:23, 1424:25,          1357:6, 1358:6,           1357:20, 1394:15          particular [9] -         1353:1, 1353:2,
  1427:17, 1427:19,          1358:13, 1358:23,        owns [1] - 1408:2           1325:16, 1363:24,       1353:10, 1353:15,
  1429:10, 1430:12,          1359:3, 1359:15,                                     1364:14, 1372:4,        1354:7, 1354:12,
  1430:21, 1431:1,           1394:12                                              1401:11, 1402:16,       1354:13, 1354:18,
  1431:9, 1431:25,
                                                                 P                1422:14, 1425:21,       1355:4, 1355:9,
                            origin [1] - 1376:10
  1432:19, 1433:21,         original [18] - 1323:5,   P28z [1] - 1464:3           1459:21                 1355:13, 1356:5,
  1433:22, 1433:23,          1358:6, 1359:17,         Pacific [1] - 1323:16      particularly [2] -       1356:9, 1356:11,




                     AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
Case 2:17-cv-07639-GW-KS Document 611 Filed 12/18/19 Page 170 of 179 Page ID
                                 #:26978                             21


  1356:15, 1356:17,   1407:10, 1407:15,    1464:10, 1464:12,         1408:8, 1408:9,           1372:15
  1356:19, 1357:5,    1408:2, 1408:21,     1464:22, 1464:23,         1408:11, 1408:12,        permitted [4] - 1428:8,
  1357:8, 1357:9,     1409:6, 1414:8,      1464:25, 1465:1           1408:17, 1408:23,         1441:9, 1441:17,
  1357:13, 1357:16,   1414:24, 1420:15,   Patent [4] - 1350:12,      1409:4, 1409:10,          1450:21
  1357:17, 1357:20,   1420:24, 1421:5,     1356:7, 1372:21,          1412:20, 1412:22,        person [27] - 1355:14,
  1357:21, 1357:23,   1421:6, 1421:19,     1395:16                   1413:7, 1413:8,           1355:16, 1355:20,
  1358:3, 1358:7,     1425:14, 1425:15,   patent's [1] - 1351:19     1413:19                   1356:10, 1357:4,
  1358:8, 1358:12,    1425:19, 1431:10,   patent-in-suit [2] -      PDX40.5 [1] - 1444:17      1357:6, 1358:6,
  1358:14, 1358:17,   1432:10, 1435:25,    1362:11, 1362:14         pediatric [7] -            1358:13, 1358:23,
  1358:20, 1359:2,    1436:3, 1436:4,     patentable [2] -           1429:20, 1429:22,         1359:3, 1366:18,
  1359:9, 1359:12,    1436:5, 1436:16,     1350:16, 1350:21          1430:4, 1430:7,           1373:20, 1376:1,
  1359:15, 1359:16,   1436:25, 1437:5,    patented [5] - 1363:2,     1430:9                    1392:20, 1394:12,
  1359:18, 1359:20,   1437:8, 1437:9,      1363:12, 1364:15,        peer [3] - 1446:10,        1398:4, 1400:20,
  1360:2, 1360:24,    1437:13, 1437:14,    1365:3, 1407:1            1460:21, 1460:23          1401:4, 1401:12,
  1361:12, 1362:2,    1437:16, 1438:11,   patentee [6] -            peer-review [1] -          1402:13, 1418:25,
  1362:11, 1362:14,   1438:12, 1438:16,    1351:10, 1356:15,         1446:10                   1448:24, 1464:15,
  1362:20, 1363:7,    1438:22, 1439:4,     1356:22, 1356:23,        peer-reviewed [2] -        1464:25, 1465:5,
  1363:15, 1365:10,   1439:6, 1440:5,      1364:17, 1448:23          1460:21, 1460:23          1465:12
  1372:20, 1373:10,   1440:7, 1440:11,    patents [9] - 1335:22,    people [29] - 1345:23,    personal [1] - 1343:19
  1376:3, 1378:2,     1440:14, 1440:22,    1350:11, 1351:9,          1345:24, 1365:1,         personally [4] -
  1378:6, 1378:8,     1441:4, 1441:8,      1356:19, 1362:14,         1366:25, 1367:15,         1374:20, 1374:21,
  1378:23, 1379:2,    1441:9, 1441:10,     1363:10, 1421:20,         1376:25, 1378:8,          1389:8, 1389:11
  1379:9, 1379:13,    1441:14, 1441:18,    1422:9, 1432:20           1379:11, 1383:14,        persons [1] - 1450:5
  1379:23, 1380:5,    1442:3, 1442:18,    path [1] - 1384:22         1387:11, 1390:6,         perspective [3] -
  1380:11, 1380:14,   1442:20, 1442:21,   patience [1] - 1417:17     1393:9, 1393:23,          1322:19, 1339:10,
  1380:16, 1380:19,   1444:3, 1444:6,     patient [5] - 1424:24,     1403:21, 1404:24,         1355:14
  1380:25, 1381:2,    1444:7, 1444:8,      1425:1, 1426:9,           1409:22, 1417:25,        persuade [7] -
  1381:13, 1381:16,   1444:11, 1444:15,    1428:8, 1431:1            1419:23, 1421:25,         1347:13, 1347:19,
  1381:18, 1381:24,   1444:23, 1444:25,   patient's [3] - 1373:5,    1423:10, 1428:14,         1349:5, 1350:5,
  1382:4, 1382:5,     1445:11, 1445:15,    1426:4, 1426:11           1431:12, 1434:12,         1355:6, 1355:10,
  1382:6, 1382:16,    1446:6, 1446:12,    patients [36] -            1443:9, 1448:15,          1360:14
  1382:23, 1383:24,   1446:13, 1446:15,    1378:15, 1403:21,         1452:20, 1454:7,         persuades [1] -
  1384:1, 1384:6,     1446:18, 1446:21,    1404:1, 1404:7,           1457:19                   1370:3
  1384:7, 1384:10,    1447:6, 1447:11,     1404:9, 1405:1,          people's [1] - 1419:20    Peter [1] - 1319:19
  1384:12, 1384:14,   1447:14, 1447:18,    1405:3, 1405:5,          peppercorn [1] -          petition [6] - 1381:2,
  1385:1, 1385:6,     1447:20, 1448:1,     1410:22, 1419:21,         1415:13                   1381:3, 1381:6,
  1386:5, 1386:6,     1448:23, 1449:7,     1427:3, 1427:7,          per [1] - 1392:5           1381:9, 1381:24,
  1386:22, 1387:1,    1449:11, 1449:14,    1427:22, 1427:23,        percent [24] - 1406:6,     1395:1
  1388:18, 1388:25,   1449:20, 1449:21,    1428:22, 1429:2,          1408:11, 1411:12,        Ph.D [1] - 1355:21
  1389:1, 1389:2,     1450:10, 1450:14,    1429:13, 1429:24,         1411:13, 1411:16,        Ph.D.s [1] - 1386:16
  1389:6, 1389:25,    1450:15, 1451:9,     1430:1, 1430:4,           1411:17, 1411:19,        PHARMA [1] - 1318:8
  1390:6, 1392:10,    1451:17, 1451:19,    1430:11, 1430:22,         1411:20, 1411:24,        Pharma [2] - 1372:13,
  1392:12, 1392:14,   1452:4, 1454:13,     1434:13, 1434:15,         1412:2, 1412:6,           1377:23
  1393:1, 1393:6,     1454:14, 1454:23,    1434:23, 1435:2,          1412:9, 1412:12,         Pharma's [2] -
  1393:10, 1393:11,   1455:13, 1455:15,    1435:7, 1435:8,           1412:23, 1412:24,         1375:17, 1376:19
  1393:13, 1393:14,   1455:18, 1456:13,    1435:10, 1435:19,         1416:5, 1434:17,         phase [5] - 1410:20,
  1393:15, 1394:3,    1456:19, 1456:20,    1435:20, 1440:3,          1449:19, 1449:21,         1432:13, 1432:14
  1394:15, 1394:16,   1457:1, 1457:10,     1440:7                    1449:24                  phone [2] - 1366:18,
  1394:20, 1394:25,   1457:22, 1458:12,   pause [3] - 1448:17,      percentage [2] -           1375:8
  1395:6, 1395:12,    1459:1, 1459:2,      1452:11, 1463:14          1404:17, 1416:4          phrase [2] - 1349:21,
  1395:19, 1395:22,   1459:5, 1459:6,                               perfect [1] - 1324:3
                                          Pause [1] - 1399:1                                   1438:16
  1395:23, 1396:1,    1459:7, 1459:16,                              perfectly [1] - 1365:11
                                          pay [9] - 1364:16,                                  physicians [2] -
  1396:6, 1397:8,     1459:19, 1460:13,
                                           1364:24, 1391:16,        perhaps [7] - 1324:1,      1405:23, 1410:21
  1397:9, 1397:11,    1460:20, 1461:2,
                                           1397:7, 1408:7,           1325:16, 1342:7,         picked [1] - 1460:2
  1397:12, 1397:17,   1461:6, 1461:14,
                                           1408:16, 1410:10,         1372:11, 1372:16,        picks [1] - 1449:6
  1400:14, 1400:17,   1461:17, 1461:18,
                                           1413:18, 1435:15          1373:25, 1411:25         piece [1] - 1455:24
  1400:21, 1400:25,   1461:19, 1461:24,
                                          paying [1] - 1391:1       period [4] - 1386:24,     pieces [1] - 1421:11
  1401:10, 1402:10,   1462:2, 1463:11,
                                          payment [18] - 1361:2,     1416:22, 1436:7,         pill [1] - 1425:24
  1402:11, 1402:12,   1463:18, 1463:20,
                                           1361:5, 1362:5,           1446:22                  pills [1] - 1425:24
  1402:15, 1402:18,   1463:25, 1464:2,
                                           1406:4, 1407:18,         permission [1] -          pipeline [1] - 1406:20
  1402:19, 1407:4,    1464:7, 1464:9,




                  AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
Case 2:17-cv-07639-GW-KS Document 611 Filed 12/18/19 Page 171 of 179 Page ID
                                 #:26979                             22


 pity [3] - 1373:16,          1448:17, 1454:9,         prejudicial [1] -          1400:24, 1402:25,       profitability [1] -
  1373:21, 1373:22            1458:4, 1463:16           1325:22                   1403:1, 1405:13,         1363:9
 place [11] - 1361:7,        pointed [6] - 1372:3,     prepare [1] - 1426:9       1440:16                 profits [5] - 1364:2,
  1367:11, 1367:13,           1372:7, 1395:18,         prepared [1] - 1369:6     problematic [2] -         1366:7, 1407:9,
  1407:11, 1434:7,            1400:22, 1413:1,         preponderance [11] -       1325:16, 1442:1          1407:10, 1408:20
  1444:2, 1446:19,            1453:2                    1347:11, 1347:12,        problems [6] -           prognosis [1] -
  1464:12, 1464:14,          points [4] - 1387:21,      1348:17, 1349:6,          1325:15, 1403:19,        1434:15
  1464:18, 1465:3             1403:17, 1406:23,         1350:6, 1354:11,          1405:21, 1426:17,       program [2] - 1362:20,
 placed [3] - 1323:24,        1408:18                   1393:18, 1393:21,         1431:2, 1433:23          1397:22
  1324:4, 1340:20            policy [1] - 1362:19       1414:7, 1414:9,          procedure [3] -          programs [1] -
 placeholder [1] -           polite [1] - 1375:5        1415:10                   1394:21, 1426:8,         1367:12
  1444:12                    polymer [1] - 1352:6      prescribe [1] -            1441:15                 project [4] - 1383:9,
 plain [2] - 1352:8,         popularity [1] -           1410:22                  procedures [2] -          1392:18, 1397:2,
  1352:10                     1363:11                  present [9] - 1321:2,      1426:5, 1434:3           1424:13
 plainly [1] - 1380:9        population [1] -           1330:20, 1341:6,         proceed [1] - 1322:5     Project [6] - 1374:17,
 plaintiff [9] - 1324:8,      1430:17                   1342:20, 1353:9,         proceeding [3] -          1374:21, 1383:9,
  1354:19, 1370:13,          portion [7] - 1341:10,     1398:9, 1399:13           1382:23, 1389:5,         1384:17, 1407:7,
  1370:14, 1393:16,           1363:23, 1364:2,         presentation [1] -         1401:10                  1413:11
  1393:20, 1393:21,           1442:12, 1442:15,         1380:24                  PROCEEDINGS [1] -        projected [2] -
  1394:1, 1394:2              1445:3                   presented [6] -            1318:12                  1407:21, 1408:22
 plaintiffs [26] -           position [7] - 1360:8,     1337:19, 1337:20,        proceedings [6] -        projection [1] -
  1321:13, 1321:14,           1365:6, 1379:22,          1359:9, 1364:20,          1368:12, 1381:13,        1411:20
  1321:19, 1322:13,           1381:12, 1411:3,          1367:22, 1368:7           1381:16, 1399:1,        projects [1] - 1406:17
  1322:16, 1322:24,           1435:17, 1435:22         preserve [1] - 1362:22     1402:11, 1466:3         promoter [1] - 1363:1
  1323:8, 1323:14,           positions [1] -           preside [1] - 1369:14     process [14] - 1353:4,   promoting [1] -
  1324:9, 1325:1,             1438:24                  presiding [3] - 1369:8,    1353:8, 1353:9,          1363:3
  1326:4, 1335:25,           possessed [1] -            1369:14                   1364:5, 1367:24,        proof [16] - 1335:18,
  1354:11, 1361:3,            1355:17                  press [2] - 1366:25,       1368:4, 1368:13,         1337:11, 1339:10,
  1361:7, 1362:10,           possession [1] -           1389:6                    1380:18, 1381:1,         1339:13, 1347:8,
  1364:9, 1365:13,            1358:2                   presumed [2] -             1394:21, 1417:23,        1347:9, 1347:10,
  1365:17, 1414:6,           possibility [2] -          1393:14, 1394:5           1431:3, 1432:22,         1347:16, 1347:17,
  1414:12, 1451:11,           1371:15, 1383:2          pretty [6] - 1379:16,      1441:12                  1393:17, 1394:4,
  1451:15, 1452:17,          possible [8] -             1388:22, 1391:2,         produced [1] -            1405:8, 1414:22,
  1455:5, 1460:11             1326:10, 1326:11,         1435:22, 1444:1,          1363:17                  1415:5, 1415:10,
 Plaintiffs [2] - 1318:6,     1367:19, 1374:12,         1445:5                   product [31] - 1348:3,    1415:22
  1319:2                      1408:8, 1408:9,          prevent [1] - 1325:19      1353:4, 1353:8,         proofreading [1] -
 plaintiffs' [7] - 1322:9,    1410:8, 1417:7           previous [2] -             1353:9, 1354:1,          1335:8
  1325:3, 1330:6,            potential [3] -            1433:10, 1460:6           1362:17, 1363:9,        propel [1] - 1372:1
  1332:19, 1334:1,            1379:20, 1396:25,        previously [1] -           1371:1, 1371:3,         proper [1] - 1459:5
  1337:25, 1354:12            1457:2                    1347:25                   1374:4, 1374:7,         property [7] - 1363:12,
 planet [1] - 1377:15        potentially [2] -         price [1] - 1363:23        1382:10, 1382:13,        1376:4, 1392:25,
 planned [2] - 1422:22,       1379:8, 1397:7           primary [7] - 1420:16,     1382:17, 1382:25,        1409:24, 1423:7,
  1423:1                     pound [1] - 1420:5         1421:4, 1421:22,          1383:11, 1384:16,        1436:11, 1441:12
 planning [4] -              precisely [1] - 1442:17    1436:18, 1436:20,         1404:10, 1405:2,        proportionality [1] -
  1383:17, 1432:23,          precision [1] -            1451:10, 1454:15          1406:12, 1406:15,        1413:14
  1433:1, 1433:6              1360:19                  primers [18] - 1372:4,     1408:19, 1410:5,        proposal [3] - 1324:8,
 plans [3] - 1375:18,        preclinical [2] -          1375:15, 1385:12,         1410:17, 1410:22,        1325:4, 1330:6
  1432:8                      1406:24, 1410:19          1451:15, 1452:7,          1419:24, 1423:22,       propose [2] - 1321:14,
 pleasant [1] - 1431:12      predated [1] - 1421:19     1452:8, 1453:2,           1431:22, 1434:19,        1329:6
 plenty [2] - 1377:13,       predictability [1] -       1453:10, 1454:2,          1438:10                 proposed [11] -
  1377:20                     1359:14                   1454:3, 1454:11,         production [1] -          1321:10, 1321:12,
 plus [1] - 1408:11          prefer [1] - 1335:17       1454:15, 1454:19,         1431:16                  1322:9, 1322:11,
 pocket [2] - 1411:17,       preference [1] -           1454:22, 1454:24,        products [3] - 1363:3,    1325:24, 1328:1,
  1418:13                     1335:15                   1462:23, 1462:24          1365:4, 1422:24          1332:6, 1332:11,
 point [15] - 1329:20,       preferred [1] -           principles [1] - 1407:6   profile [1] - 1429:3      1332:19, 1337:25,
  1377:6, 1378:14,            1361:17                  probable [1] - 1347:20    profit [8] - 1363:23,     1339:3
  1379:6, 1380:15,           prejudice [1] -           probative [1] -            1364:16, 1411:14,       proposition [1] -
  1388:12, 1392:14,           1345:16                   1363:21                   1411:18, 1411:21,        1364:13
  1397:6, 1406:7,            prejudices [1] -          problem [8] - 1385:10,     1411:25, 1412:4,        proprietary [1] -
  1409:5, 1447:13,            1343:19                   1385:12, 1385:13,         1412:6                   1456:18




                      AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
Case 2:17-cv-07639-GW-KS Document 611 Filed 12/18/19 Page 172 of 179 Page ID
                                 #:26980                             23


 prosecution [12] -       publically [1] -           1402:2                   reach [6] - 1326:15,      rears [1] - 1464:4
  1351:6, 1351:13,         1390:19                  qualified [2] - 1364:7,    1329:4, 1364:12,         reason [13] - 1337:23,
  1351:19, 1357:10,       publically-traded [1] -    1401:15                   1369:17, 1369:24,         1375:20, 1424:5,
  1395:25, 1400:15,        1390:19                  quarter [2] - 1432:24,     1370:6                    1424:18, 1424:21,
  1445:2, 1446:15,        publication [13] -         1433:7                   reached [5] - 1330:23,     1430:14, 1433:15,
  1447:9, 1449:20,         1444:3, 1444:4,          QUESTION [2] -             1335:3, 1335:5,           1443:25, 1459:21,
  1459:6                   1444:10, 1444:22,         1388:6, 1396:6            1369:4, 1369:7            1460:4, 1461:4,
 protect [3] - 1367:20,    1445:12, 1447:5,         questioning [1] -         reaching [1] - 1344:7      1461:16, 1463:19
  1428:7, 1456:10          1450:14, 1452:9,          1419:1                   read [25] - 1322:4,       reasonable [25] -
 protection [2] -          1452:21, 1458:25,        questions [10] -           1322:15, 1328:3,          1339:11, 1339:13,
  1456:4, 1456:6           1460:21, 1464:20          1322:2, 1322:5,           1331:2, 1333:17,          1339:15, 1339:16,
 protein [1] - 1462:6     publications [2] -         1322:6, 1344:18,          1334:9, 1334:19,          1339:22, 1360:10,
 prove [20] - 1327:17,     1440:4, 1461:12           1371:20, 1371:23,         1339:4, 1341:2,           1360:20, 1360:25,
  1327:18, 1327:19,       published [4] -            1379:4, 1413:21,          1343:4, 1343:21,          1361:2, 1361:5,
  1347:24, 1348:16,        1420:25, 1446:10,         1414:5, 1419:6            1343:23, 1349:11,         1361:23, 1361:25,
  1348:21, 1354:11,        1446:21, 1461:18         quickly [4] - 1326:13,     1367:5, 1367:17,          1364:16, 1365:19,
  1355:4, 1355:8,         publishes [1] - 1375:9     1330:13, 1374:12,         1381:21, 1395:18,         1373:20, 1391:13,
  1356:9, 1357:14,        pudding [1] - 1405:9       1426:15                   1395:22, 1395:24,         1401:4, 1401:13,
  1358:16, 1359:19,       pulled [1] - 1461:24      quite [7] - 1325:3,        1437:17, 1446:3,          1406:3, 1406:22,
  1360:19, 1360:20,       pulls [1] - 1378:22        1410:4, 1410:10,          1448:22, 1454:7,          1411:23, 1413:13,
  1362:11, 1393:16,       punish [2] - 1360:13,      1412:13, 1418:1,          1457:21, 1462:20          1445:10
  1393:17, 1393:21         1436:1                    1423:4, 1452:23          read" [1] - 1340:5        reasonableness [1] -
 proved [1] - 1344:6      purpose [5] - 1345:1,     quote [4] - 1323:6,       readily [2] - 1428:22,     1345:17
 proven [10] - 1326:22,    1345:2, 1345:3,           1388:17, 1399:24,         1458:16                  reasonably [2] -
  1327:6, 1327:15,         1357:25, 1374:10          1401:11                  reading [8] - 1333:9,      1361:10, 1364:11
  1328:4, 1354:19,        purposes [3] - 1392:9,                               1335:18, 1349:9,         reasons [3] - 1372:17,
  1355:2, 1359:25,         1406:1, 1422:8                      R               1358:6, 1370:7,           1410:11, 1431:2
  1414:7, 1414:16,        pursue [2] - 1397:16,                                1397:11, 1397:12,        reassembled [2] -
  1414:22                  1406:22                  radiation [2] -            1397:13                   1342:19, 1399:12
 provide [10] - 1326:4,   pursuing [1] - 1396:24     1371:11, 1434:14         reads [5] - 1328:14,      rebuttal [1] - 1341:11
  1334:4, 1334:23,        put [20] - 1330:9,        ramp [1] - 1407:12         1328:20, 1381:25,        receive [1] - 1435:5
  1336:2, 1342:10,         1360:7, 1393:25,         ramp-up [1] - 1407:12      1400:21, 1464:23         received [8] - 1337:10,
  1342:15, 1356:7,         1399:25, 1416:1,         range [6] - 1430:11,      ready [5] - 1341:1,        1344:8, 1344:25,
  1397:1, 1431:4,          1418:2, 1421:25,          1440:10, 1454:10,         1342:1, 1369:11,          1345:6, 1361:21,
  1449:12                  1424:12, 1427:11,         1455:22, 1460:5,          1398:9, 1411:1            1362:10, 1366:3,
 provided [16] -           1428:3, 1428:6,           1460:12                  Real [1] - 1320:3          1366:10
  1321:5, 1330:14,         1429:4, 1429:5,          ranged [1] - 1411:14      real [17] - 1397:20,      recent [2] - 1333:5,
  1332:8, 1333:11,         1429:6, 1430:23,         Rao [2] - 1391:18,         1400:19, 1408:4,          1334:21
  1333:12, 1334:2,         1438:15, 1439:12,         1409:11                   1408:16, 1408:25,        receptor [2] - 1426:7,
  1335:12, 1340:17,        1444:12, 1445:22,        rare [1] - 1448:14         1412:16, 1412:18,         1442:13
  1343:7, 1352:9,          1461:17                  rascal [1] - 1443:6        1413:19, 1419:3,         recess [7] - 1330:17,
  1374:4, 1407:20,        putting [3] - 1392:21,    Raskin [1] - 1378:13       1429:8, 1448:15,          1330:18, 1330:19,
  1440:12, 1451:19,        1420:4, 1447:3           rate [16] - 1362:3,        1450:5, 1455:24,          1340:13, 1340:14,
  1452:9, 1465:13         PX002 [1] - 1462:20        1362:6, 1365:8,           1458:22, 1465:6           1398:7, 1465:16
 providing [1] - 1374:1   PX1059 [1] - 1431:24       1391:12, 1391:14,        reality [1] - 1435:23     recite [1] - 1353:19
 proving [3] - 1347:12,   PX2.10 [1] - 1445:1        1391:17, 1404:5,         realizable [1] - 1364:2   recognize [2] -
  1347:18, 1362:11        PX274 [1] - 1431:22        1404:6, 1404:12,         realize [1] - 1334:15      1372:20, 1393:4
 provisional [4] -        PX40 [1] - 1446:11         1404:13, 1406:6,         realized [1] - 1457:9     recognized [1] -
  1444:11, 1444:17,       PX41 [1] - 1446:13         1411:12, 1412:7,         realizes [1] - 1429:7      1358:8
  1446:13, 1461:14                                   1412:9, 1412:24,         really [21] - 1391:24,    recognizes [2] -
 prudent [3] - 1364:12,                              1426:14                   1396:12, 1396:14,         1393:5, 1394:3
  1364:17, 1365:1
                                    Q
                                                    rates [2] - 1362:13,       1404:14, 1404:18,        recollection [1] -
 PTO [4] - 1350:12,       Quackenbush [7] -          1412:13                   1406:12, 1410:10,         1379:5
  1350:14, 1350:15,        1400:13, 1416:18,        rather [3] - 1335:14,      1411:21, 1418:17,        recombinant [1] -
  1351:13                  1448:12, 1450:7,          1424:8, 1424:19           1419:10, 1419:13,         1356:3
 PTO's [1] - 1351:12       1454:1, 1454:25,         RCE [6] - 1324:23,         1423:14, 1427:6,         record [13] - 1321:1,
 public [7] - 1351:7,      1460:22                   1350:23, 1462:18,         1428:11, 1434:24,         1333:18, 1334:19,
  1436:11, 1449:12,       Quackenbush's [1] -        1462:21, 1464:7           1441:7, 1442:8,           1340:15, 1340:21,
  1449:13, 1455:16,        1445:24                  re [1] - 1357:8            1443:24, 1449:6,          1357:5, 1357:9,
  1456:17, 1463:23        qualification [1] -       Rea [1] - 1395:15          1450:20, 1461:8           1373:17, 1394:13,




                    AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
Case 2:17-cv-07639-GW-KS Document 611 Filed 12/18/19 Page 173 of 179 Page ID
                                 #:26981                             24


  1446:3, 1455:16,          1442:25, 1445:3,          remove [3] - 1338:5,       1340:20, 1412:7            1346:9, 1387:20,
  1459:7, 1466:3            1445:14, 1451:10,          1338:6, 1338:9           requesting [2] -            1411:17, 1421:9,
 records [1] - 1346:16      1451:11, 1451:17,         removed [2] -              1416:4, 1416:5             1465:13
 red [1] - 1412:4           1451:25, 1452:21,          1325:18, 1410:18         requests [3] - 1377:1,    restricted [1] -
 Redwood [1] - 1320:6       1454:16, 1454:17,         removing [1] -             1377:2, 1394:21            1362:16
 reengineered [1] -         1459:17, 1459:20           1373:15                  require [4] - 1368:13,    restrictions [3] -
  1373:6                   regulated [1] - 1424:1     rendering [1] -            1458:13, 1458:14,          1368:11, 1453:7,
 reengineering [1] -       regulations [1] -           1401:16                   1458:15                    1453:21
  1426:3                    1410:20                   renumbered [1] -          required [5] - 1359:6,    result [4] - 1361:14,
 refer [1] - 1347:7        regulatory [1] -            1332:14                   1360:18, 1375:9,           1368:13, 1375:4,
 reference [3] -            1432:22                   repeat [2] - 1461:13,      1390:18, 1440:9            1404:11
  1325:17, 1367:8,         reinfuse [1] - 1426:4       1461:15                  requirement [13] -        resulted [2] - 1361:6,
  1447:10                  reinfused [1] -            repeated [2] - 1447:2,     1323:17, 1358:1,           1361:16
 referenced [1] -           1426:10                    1461:11                   1358:5, 1358:11,         results [2] - 1363:14,
  1447:10                  reinject [1] - 1426:4      repeatedly [2] -           1358:14, 1359:1,           1459:19
 references [1] -          rejected [1] - 1382:7       1442:11, 1446:17          1359:21, 1385:2,         resume [1] - 1428:8
  1321:15                  relapse [2] - 1424:24,     repetitive [2] -           1385:7, 1385:8,          resumed [2] -
 referred [8] - 1353:2,     1425:2                     1322:25, 1323:1           1402:19, 1441:24,          1427:16, 1427:23
  1395:18, 1424:13,        relapsed [1] - 1435:2      replace [2] - 1338:6,      1450:19                  retained [3] - 1450:6,
  1431:25, 1433:10,        related [3] - 1355:22,      1338:9                   requirements [14] -         1451:3, 1457:12
  1442:16, 1444:5,          1356:1, 1356:2            replacing [1] -            1350:25, 1352:19,        retaining [1] - 1456:2
  1450:11                  relating [1] - 1350:10      1321:14                   1352:20, 1352:21,        retired [2] - 1398:6,
 referring [9] -           relationship [1] -         report [6] - 1367:4,       1352:25, 1353:2,           1465:15
  1332:10, 1334:17,         1362:23                    1367:18, 1404:2,          1353:5, 1353:12,         return [3] - 1339:18,
  1342:12, 1349:12,        relatively [2] - 1330:9,    1404:3, 1431:4,           1353:19, 1353:20,          1369:11, 1398:1
  1373:17, 1379:9,          1425:25                    1431:24                   1353:22, 1353:24,        returned [2] - 1342:18,
  1395:9, 1399:20,         release [3] - 1389:6,      reported [5] - 1403:23,    1354:2, 1450:24            1399:11
  1459:16                   1404:15, 1428:18           1431:6, 1450:22,         requires [3] - 1409:10,   revenue [1] - 1407:22
 refers [4] - 1353:19,     relevant [2] - 1326:1,      1450:25, 1451:1           1426:5, 1456:21          revenues [3] - 1362:4,
  1353:23, 1354:1,          1365:24                   Reporter [1] - 1318:22    research [6] -              1407:12, 1407:13
  1354:3                   reliable [1] - 1456:1      REPORTER'S [1] -           1355:24, 1367:7,         review [16] - 1335:4,
 reflect [2] - 1463:7,     rely [3] - 1347:4,          1318:12                   1367:14, 1367:24,          1336:22, 1337:14,
  1463:12                   1365:14, 1449:13          reporting [2] -            1371:9, 1372:2             1339:22, 1340:6,
 reflected [7] -           remainder [1] -             1450:19, 1450:24         reserve [1] - 1341:10       1340:7, 1340:18,
  1332:12, 1334:9,          1353:17                   reports [1] - 1391:9      resolve [4] - 1326:10,      1347:2, 1356:6,
  1336:12, 1336:16,        remaining [1] -            represent [1] -            1326:13, 1330:18,          1380:18, 1381:8,
  1337:25, 1409:16,         1411:18                    1435:15                   1428:24                    1413:22, 1428:7,
  1445:8                   remains [2] - 1338:9,      representatives [1] -     resources [1] - 1374:8      1433:8, 1446:10
 refractory [1] - 1435:2    1428:16                    1321:2                   respect [12] - 1325:10,   reviewed [4] - 1381:6,
 refreshed [1] - 1379:6    remember [19] -            represented [2] -          1325:13, 1329:19,          1455:17, 1460:21,
 regard [1] - 1424:11       1344:16, 1345:24,          1323:7, 1392:2            1362:17, 1407:2,           1460:23
 regarding [14] -           1345:25, 1347:3,          representing [2] -         1408:25, 1443:11,        reviewing [4] -
  1321:4, 1321:7,           1368:8, 1369:2,            1396:22, 1464:10          1443:12, 1443:13,          1357:5, 1357:8,
  1322:15, 1323:2,          1376:8, 1379:4,           request [25] - 1322:25,    1443:15                    1381:7, 1394:12
  1323:4, 1323:11,          1380:9, 1385:7,            1323:2, 1323:4,          respond [1] - 1367:3      reviews [2] - 1350:15,
  1323:13, 1324:11,         1385:10, 1390:10,          1323:11, 1323:12,        responded [1] -             1356:19
  1333:13, 1336:8,          1397:8, 1402:15,           1323:21, 1324:11,         1322:13                  revised [5] - 1332:6,
  1343:25, 1352:12,         1416:14, 1429:15,          1324:12, 1329:23,        responding [1] -            1333:3, 1333:11,
  1352:15, 1398:14          1434:11, 1435:13,          1334:1, 1335:11,          1388:19                    1334:24, 1336:13
 regardless [1] -           1443:21                    1335:24, 1337:12,        response [5] -            revision [1] - 1340:12
  1321:23                  remembers [1] -             1338:5, 1350:22,          1336:13, 1404:4,         revisions [2] -
 region [31] - 1421:3,      1378:1                     1351:10, 1351:11,         1404:6, 1404:12,           1333:14, 1340:20
  1421:4, 1421:6,          remind [3] - 1366:11,       1351:12, 1351:14,         1404:13                  Ribas [4] - 1373:15,
  1421:22, 1422:2,          1397:21, 1437:24           1398:16, 1407:17,        responsible [6] -           1375:21, 1453:14,
  1422:18, 1423:4,         reminded [1] -              1412:2, 1413:6,           1376:1, 1377:24,           1453:24
  1423:11, 1423:13,         1436:16                    1461:23                   1380:13, 1384:22,        Richard [1] - 1390:24
  1423:18, 1425:13,        reminder [1] - 1416:2      requested [8] -            1423:7, 1427:4           RICHARDSON [2] -
  1436:18, 1436:19,        remission [1] -             1321:10, 1322:14,        responsibly [1] -           1320:2, 1320:5
  1436:20, 1436:23,         1434:17                    1322:22, 1324:7,          1382:9                   right-hand [1] -
  1442:5, 1442:13,         remote [1] - 1360:21        1324:9, 1330:21,         rest [6] - 1328:11,         1421:3




                    AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
Case 2:17-cv-07639-GW-KS Document 611 Filed 12/18/19 Page 174 of 179 Page ID
                                 #:26982                             25


 rights [11] - 1365:9,    row [1] - 1378:1           1396:6, 1400:8,         satisfied [1] - 1358:5      1389:7, 1394:11,
   1365:10, 1367:20,      royalties [1] - 1362:10    1400:11, 1400:22,       satisfies [1] - 1352:21     1401:2, 1437:9,
   1372:21, 1376:4,       royalty [36] - 1339:11,    1401:21, 1402:10,       satisfy [1] - 1359:21       1440:14, 1440:16,
   1392:25, 1397:8,        1339:13, 1339:15,         1402:22, 1403:12,       sauce [3] - 1420:10,        1440:17, 1441:8,
   1408:24, 1436:3,        1339:16, 1339:17,         1416:9, 1416:11,         1422:15, 1426:21           1441:13, 1441:18
   1436:4, 1436:5          1360:10, 1361:1,          1420:17, 1421:24,       saving [3] - 1419:20,      screwed [1] - 1449:23
 rise [5] - 1329:1,        1361:2, 1361:5,           1423:9, 1428:21,         1434:20, 1434:22          search [2] - 1367:12,
   1342:17, 1398:5,        1361:16, 1361:23,         1429:18, 1430:9,        saw [17] - 1376:7,          1367:13
   1399:10, 1465:14        1361:25, 1362:3,          1431:9, 1432:3,          1380:22, 1385:16,         searching [1] - 1367:8
 risk [2] - 1429:25,       1362:6, 1362:12,          1442:11, 1442:24,        1390:3, 1395:7,           seat [2] - 1342:21,
   1431:7                  1364:16, 1364:23,         1443:11, 1443:15,        1395:8, 1405:6,            1399:14
 risks [1] - 1364:5        1365:8, 1365:19,          1444:4, 1444:6,          1418:7, 1418:8,           second [22] - 1322:22,
 road [1] - 1383:3         1406:3, 1406:6,           1444:18, 1444:21,        1418:11, 1428:16,          1328:19, 1333:11,
 roadblocks [1] -          1408:11, 1409:4,          1445:7, 1445:13,         1434:16, 1445:9,           1334:10, 1347:16,
   1410:7                  1409:10, 1411:12,         1445:24, 1447:15,        1446:12, 1450:20,          1370:15, 1401:7,
 roads [3] - 1382:9,       1411:23, 1412:7,          1452:12, 1452:18,        1455:5, 1455:21            1419:14, 1422:3,
   1383:2, 1406:2          1412:9, 1412:12,          1452:25, 1453:1,        scale [1] - 1394:1          1424:11, 1424:16,
 Roberts [3] - 1421:12,    1412:23, 1412:24,         1453:15, 1453:16,       scales [2] - 1393:24,       1424:18, 1425:4,
   1421:14, 1421:18        1413:6, 1413:9,           1453:18, 1454:18,        1415:12                    1425:9, 1425:12,
 ROCKET [7] - 1427:3,      1416:4                    1456:14, 1456:15,       scFv [13] - 1388:23,        1438:2, 1441:22,
   1428:14, 1429:24,      royalty/                   1456:18, 1456:22,        1389:9, 1389:12,           1448:18, 1453:11,
   1431:5, 1431:13,        comparability [1] -       1459:15, 1460:17,        1401:5, 1401:25,           1455:3, 1463:14,
   1431:14, 1432:7         1339:23                   1461:10, 1463:17,        1420:17, 1421:7,           1465:1
 role [1] - 1361:14       RPR [2] - 1318:22,         1463:21, 1463:25         1421:23, 1424:15,         secret [3] - 1420:10,
 rolling [1] - 1433:16     1466:9                   Sadelain's [33] -         1436:19, 1436:25,          1422:15, 1426:21
 Roman [9] - 1321:22,     rule [2] - 1395:23,        1372:5, 1372:16,         1442:8, 1442:10           Securities [2] -
   1322:3, 1331:7,         1398:20                   1373:10, 1374:23,       scFv-based [2] -            1390:17, 1390:22
   1331:10, 1331:14,      ruled [1] - 1332:5         1375:2, 1375:10,         1389:9, 1389:12           see [40] - 1323:23,
   1331:15, 1339:5,       Rules [1] - 1344:20        1375:11, 1375:13,       scFvs [8] - 1372:6,         1323:24, 1324:3,
   1339:7, 1349:11        rules [7] - 1355:1,        1375:17, 1376:6,         1372:8, 1401:19,           1330:18, 1332:7,
 room [3] - 1343:13,       1367:20, 1368:9,          1376:18, 1400:25,        1402:8, 1403:3,            1332:9, 1340:12,
   1366:20, 1378:21        1368:10, 1436:6,          1402:7, 1403:2,          1403:9, 1403:10,           1345:13, 1345:24,
 root [1] - 1431:23        1436:8, 1436:9            1406:14, 1406:18,        1403:13                    1374:23, 1375:21,
                          ruling [1] - 1344:22       1420:9, 1421:20,        school [1] - 1403:7         1385:17, 1386:14,
 Rosenberg [41] -
                          run [1] - 1416:14          1426:21, 1427:2,        Schuetz [18] -              1386:20, 1388:20,
   1371:18, 1372:12,
                          running [14] - 1362:3,     1429:10, 1432:6,         1391:25, 1396:11,          1390:25, 1399:23,
   1373:16, 1373:17,
                           1362:6, 1365:7,           1432:10, 1432:13,        1396:20, 1397:3,           1404:4, 1413:13,
   1374:23, 1374:24,
                           1386:16, 1406:6,          1432:20, 1446:19,        1418:8, 1418:16,           1414:6, 1421:2,
   1375:2, 1375:5,
                           1408:11, 1409:4,          1452:13, 1452:19,        1455:9, 1455:11,           1421:3, 1421:4,
   1375:8, 1375:12,
                           1409:10, 1412:7,          1453:24, 1455:13,        1455:25, 1456:11,          1421:5, 1421:21,
   1375:13, 1375:14,
                           1412:23, 1413:6,          1463:21, 1465:3          1457:3, 1457:5,            1422:4, 1433:5,
   1375:24, 1376:2,
                           1413:9, 1416:4           safe [1] - 1434:3         1457:9, 1457:14,           1442:23, 1444:19,
   1376:5, 1376:12,
   1377:9, 1377:14,       Ryan [2] - 1406:5,        safer [1] - 1405:9        1458:17, 1459:1,           1444:23, 1445:2,
   1377:20, 1382:20,       1407:19                  safety [13] - 1383:18,    1459:11                    1445:4, 1447:15,
   1383:1, 1385:10,                                  1404:15, 1404:19,       science [2] - 1355:21,      1449:7, 1456:21,
                                                     1404:25, 1405:15,                                   1457:1, 1464:3,
   1387:23, 1388:2,                  S               1405:16, 1405:19,
                                                                              1374:18
   1388:7, 1400:9,                                                           scientific [2] - 1356:1,    1464:20, 1464:21
   1400:23, 1400:24,      Sadelain [72] -            1405:23, 1427:5,         1421:19                   seeing [4] - 1379:5,
   1402:7, 1402:24,        1371:12, 1371:19,         1427:25, 1428:8         scientist [6] -             1456:6, 1464:15,
   1440:3, 1440:13,        1371:21, 1371:22,        sale [2] - 1348:3,        1371:19, 1372:1,           1464:16
   1444:5, 1444:7,         1372:7, 1372:10,          1362:4                   1377:15, 1378:16,         seek [1] - 1348:1
   1444:8, 1452:13,        1373:19, 1373:24,        sales [9] - 1362:4,       1420:22                   seeking [1] - 1432:19
   1452:16, 1453:1,        1374:24, 1375:8,          1363:3, 1363:5,         scientists [7] -           seem [2] - 1418:2,
   1453:17, 1453:19        1375:13, 1375:23,         1363:6, 1404:25,         1371:10, 1371:16,          1462:19
 Rosenberg's [1] -         1377:15, 1377:21,         1407:12, 1408:12,        1371:22, 1371:24,         segment [1] - 1445:19
   1375:19                 1378:15, 1378:23,         1412:20, 1412:24         1409:23, 1454:11,         selected [1] - 1352:7
 roughly [1] - 1405:4      1379:2, 1379:22,         sample [1] - 1377:7       1465:6                    selectively [1] -
 routine [4] - 1359:11,    1380:11, 1382:4,         San [1] - 1320:4         scope [15] - 1353:7,        1439:13
   1401:19, 1403:4,        1385:11, 1392:16,        Sarah [1] - 1319:11       1357:3, 1358:24,          self [1] - 1376:23
   1403:5                  1393:2, 1395:19,         sat [1] - 1370:23         1359:8, 1362:15,          self-evident [1] -




                   AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
Case 2:17-cv-07639-GW-KS Document 611 Filed 12/18/19 Page 175 of 179 Page ID
                                 #:26983                             26


  1376:23                  1454:5, 1454:14,        show [5] - 1354:10,       1401:13, 1406:17,        1412:7, 1412:19,
 sell [3] - 1325:20,       1454:23, 1454:24,        1383:16, 1413:22,        1408:19, 1418:5,         1413:25, 1414:14,
  1361:4, 1364:14          1455:1, 1455:2,          1426:20, 1439:15         1447:8                   1415:1, 1415:8,
 selling [5] - 1325:20,    1455:18, 1455:20,       showed [5] - 1408:20,    single-chain [1] -        1415:18, 1416:3,
  1348:3, 1361:22,         1456:16, 1457:10,        1430:3, 1439:13,         1401:13                  1416:19, 1431:12,
  1363:2, 1363:23          1457:21, 1457:23,        1444:21, 1453:13        sisters [1] - 1377:18     1431:15, 1432:5,
 send [3] - 1368:17,       1458:24, 1459:17,       showing [1] - 1444:24    sitting [2] - 1377:25,    1437:7, 1440:15,
  1368:23, 1379:13         1459:19, 1460:3,        shown [5] - 1346:15,      1417:18                  1448:10, 1456:13,
 senior [1] - 1404:23      1461:5, 1461:11,         1348:15, 1348:19,       situation [4] -           1456:22, 1456:25,
 sense [9] - 1329:20,      1462:1, 1462:3,          1420:6, 1453:24          1327:11, 1376:15,        1461:23
  1337:3, 1340:11,         1462:25, 1463:5,        shows [1] - 1378:22       1418:24, 1450:21        slower [1] - 1405:8
  1387:10, 1392:13,        1463:13, 1463:17,       shut [3] - 1427:24,      six [3] - 1391:22,       small [6] - 1331:7,
  1397:20, 1402:24,        1464:1, 1464:11,         1428:13, 1431:14         1404:1, 1457:17          1331:10, 1339:5,
  1415:2, 1449:11          1464:17, 1464:23        side [23] - 1321:5,      size [1] - 1365:6         1339:6, 1349:11,
 sent [5] - 1343:13,      sequences [3] -           1340:18, 1341:6,        skill [26] - 1322:20,     1413:21
  1375:23, 1381:23,        1437:23, 1454:3,         1341:16, 1341:19,        1339:11, 1355:14,       Snapchat [1] -
  1442:2                   1454:8                   1347:24, 1393:25,        1355:16, 1355:20,        1366:22
 sentence [6] -           series [1] - 1396:2       1406:9, 1409:11,         1356:10, 1357:5,        sneeze [1] - 1428:19
  1327:24, 1334:20,       serious [1] - 1405:11     1415:4, 1421:3,          1357:6, 1358:6,         so-called [3] - 1371:6,
  1339:2, 1349:9,         serve [1] - 1369:15       1428:16, 1428:18,        1358:13, 1358:23,        1385:18, 1391:24
  1352:20, 1463:5         service [2] - 1367:2,     1429:1, 1429:3,          1359:3, 1359:15,        social [1] - 1366:22
 sentences [1] -           1370:20                  1436:12, 1436:13,        1394:12, 1400:20,       socially [2] - 1387:24,
  1351:17                 services [1] - 1391:1     1443:6, 1448:2,          1402:13, 1447:12,        1388:9
 separate [2] -           serving [1] - 1370:23     1448:3, 1449:15,         1447:23, 1448:11,       sold [2] - 1362:18,
  1329:22, 1356:4         session [1] - 1345:5      1449:16                  1448:21, 1448:24,        1423:23
 September [2] -          set [17] - 1332:7,       side's [1] - 1347:22      1450:6, 1457:20,        soldiers [2] - 1373:3,
  1433:20, 1460:20         1333:3, 1333:5,         sides [9] - 1329:25,      1460:1, 1464:25,         1373:5
 SEQ [3] - 1351:25,        1333:11, 1333:12,        1333:12, 1340:17,        1465:5                  solely [2] - 1343:20,
  1395:20, 1442:16         1333:13, 1333:25,        1360:24, 1361:24,       skilled [6] - 1401:4,     1345:6
 Sequence [13] -           1334:5, 1334:10,         1377:1, 1398:18,         1401:12, 1441:20,       someone [21] -
  1422:5, 1422:6,          1334:21, 1334:24,        1411:1, 1414:10          1457:19, 1458:16,        1371:25, 1373:21,
  1437:17, 1438:17,        1335:19, 1340:16,       sight [1] - 1419:17       1458:17                  1376:2, 1376:3,
  1438:18, 1438:23,        1340:17, 1352:19,       sign [3] - 1369:10,      slide [4] - 1424:13,      1381:1, 1386:16,
  1440:18, 1442:23,        1370:9, 1454:4           1418:15, 1456:3          1439:12, 1439:13,        1387:7, 1389:20,
  1454:20, 1455:20,       sets [4] - 1334:17,      signal [2] - 1377:11      1459:11                  1393:17, 1401:17,
  1455:21, 1461:16,        1352:19, 1352:20,       signaled [1] - 1373:4    slightly [5] - 1394:1,    1402:15, 1410:9,
  1463:6                   1353:11                 signaling [10] -          1404:5, 1405:8,          1419:7, 1420:21,
 sequence [76] -          setting [2] - 1352:24,    1377:10, 1420:16,        1414:11                  1447:7, 1447:12,
  1351:25, 1372:5,         1405:22                  1421:4, 1421:22,        Sloan [62] - 1321:15,     1455:4, 1457:5,
  1374:15, 1384:2,        seventh [1] - 1391:18     1436:18, 1436:19,        1322:10, 1347:25,        1457:7, 1458:16,
  1384:4, 1384:11,        several [8] - 1352:23,    1436:20, 1446:7,         1348:4, 1348:14,         1458:17
  1386:10, 1395:21,        1361:23, 1391:20,        1451:10, 1454:16         1348:16, 1349:3,        sometime [2] - 1433:9
  1396:9, 1397:4,          1392:4, 1396:24,        signed [4] - 1368:18,     1349:5, 1349:19,        sometimes [7] -
  1397:5, 1400:7,          1420:14, 1453:14         1368:20, 1395:14,        1350:3, 1350:5,          1345:20, 1345:21,
  1421:9, 1422:14,        shaded [1] - 1452:1       1402:3                   1360:3, 1360:6,          1350:12, 1350:23,
  1436:21, 1438:10,       shall [1] - 1369:17      significant [2] -         1360:7, 1360:12,         1399:19, 1424:22,
  1438:11, 1438:15,       share [4] - 1372:1,       1364:6, 1447:19          1360:14, 1360:16,        1448:19
  1438:17, 1438:21,        1376:23, 1403:3,        significantly [1] -       1360:18, 1360:20,       somewhere [2] -
  1439:8, 1440:18,         1403:10                  1405:9                   1364:24, 1371:7,         1433:3, 1434:20
  1440:22, 1443:2,        shareholders [1] -       similar [3] - 1363:14,    1371:21, 1372:14,       soon [3] - 1330:12,
  1443:18, 1443:25,        1374:20                  1365:10, 1377:10         1372:18, 1376:25,        1367:18, 1393:8
  1444:3, 1445:17,        Shear [1] - 1320:3       similarly [1] - 1446:8    1377:9, 1378:8,         sorry [9] - 1324:8,
  1446:1, 1446:2,         shift [1] - 1389:22      simple [2] - 1425:24      1379:8, 1379:20,         1324:22, 1328:17,
  1446:9, 1446:16,        shock [3] - 1372:11,     simplify [1] - 1330:3     1380:5, 1380:16,         1331:20, 1334:6,
  1446:21, 1446:25,        1372:16, 1373:25        simply [2] - 1370:4,      1381:11, 1381:23,        1339:25, 1392:23,
  1447:3, 1447:21,        shocked [1] - 1372:12     1370:6                   1384:15, 1392:17,        1433:2, 1458:14
  1447:22, 1450:11,       short [1] - 1330:18      single [12] - 1352:20,    1392:25, 1393:9,        sort [4] - 1420:9,
  1451:16, 1451:20,       shorter [1] - 1338:2      1371:1, 1371:2,          1394:18, 1395:7,         1420:21, 1442:19,
  1451:21, 1452:2,        shortly [2] - 1366:6,     1371:14, 1385:14,        1407:17, 1409:5,         1449:3
  1452:3, 1452:9,          1440:23                  1385:17, 1386:10,        1409:7, 1410:2,         sound [3] - 1413:15,




                     AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
Case 2:17-cv-07639-GW-KS Document 611 Filed 12/18/19 Page 176 of 179 Page ID
                                 #:26984                             27


  1413:16                   1463:11                   stop [7] - 1322:6,          1436:1                    1430:12
 sounds [1] - 1411:13      started [14] - 1366:5,      1382:11, 1397:24,         success [4] - 1363:10,    suspended [1] -
 source [1] - 1392:7        1384:5, 1395:9,            1462:11, 1462:24,          1401:5, 1401:13,          1427:11
 South [2] - 1319:9,        1403:9, 1416:20,           1465:9                     1426:14                  swelling [1] - 1430:1
  1319:20                   1433:19, 1440:19,         story [2] - 1403:6,        successful [1] -          switch [1] - 1425:6
 special [3] - 1362:22,     1440:24, 1447:22,          1436:16                    1429:11                  sworn [1] - 1344:3
  1407:1, 1442:18           1451:14, 1459:24,         strange [1] - 1417:23      sudden [1] - 1441:6       sympathize [1] -
 specialty [1] - 1363:2     1459:25, 1463:10,         strategic [2] -            suffer [2] - 1425:2,       1437:18
 specific [5] - 1359:13,    1463:12                    1396:25, 1397:1            1427:22                  sympathy [1] -
  1396:9, 1399:25,         starting [7] - 1352:2,     strategies [1] - 1356:3    suffered [2] - 1360:17,    1343:20
  1422:2, 1443:1            1352:5, 1409:5,           Street [4] - 1318:23,       1431:5                   symptoms [1] -
 specifically [4] -         1437:2, 1438:24,           1319:9, 1319:11,          sufficiently [2] -         1428:23
  1352:7, 1358:11,          1445:14, 1458:2            1320:6                     1358:22, 1426:10         syndrome [2] -
  1389:14, 1423:11         starts [6] - 1381:1,       stricken [1] - 1344:23     suggest [5] - 1384:1,      1404:16, 1428:18
 specification [2] -        1445:5, 1447:1,           strikes [1] - 1382:25       1413:24, 1438:9,         syntactical [1] -
  1350:17, 1357:9           1452:19, 1452:21,         string [1] - 1373:16        1439:14, 1462:18          1331:22
 specifics [1] - 1376:13    1459:20                   strive [1] - 1369:17       suggested [1] -           system [4] - 1417:21,
 specified [3] - 1439:7,   state [1] - 1359:3         strong [1] - 1379:17        1455:25                   1436:5, 1436:6,
  1439:9                   statement [7] -            structural [2] - 1403:4,   suggesting [3] -           1436:14
 speculative [1] -          1322:1, 1327:11,           1403:11                    1359:23, 1427:5,
  1360:22                   1379:17, 1388:16,         structure [3] - 1409:3,     1450:18                            T
 spend [2] - 1409:25,       1388:17, 1453:23,          1420:18, 1421:20          suggestion [1] -
  1419:12                   1462:19                   studies [7] - 1427:16,      1455:8                   T-cell [3] - 1356:2,
 spent [1] - 1396:24       statements [5] -            1428:9, 1429:6,           suit [2] - 1362:11,         1373:3, 1426:7
 spin [1] - 1429:9          1344:11, 1344:13,          1430:19, 1430:23,          1362:14                  T-cells [6] - 1355:25,
 spokesperson [1] -         1383:19, 1390:20,          1432:3, 1432:6            Suite [2] - 1319:6,         1373:1, 1426:2,
  1369:15                   1418:15                   study [10] - 1385:17,       1320:6                     1426:7, 1426:9,
 sponsor [1] - 1432:5      States [17] - 1325:21,      1403:21, 1427:3,          Sullivan [3] - 1406:5,      1426:11
 stage [13] - 1409:8,       1350:11, 1368:18,          1427:9, 1427:11,           1407:19, 1409:9          target [3] - 1352:8,
  1410:1, 1410:3,           1372:21, 1374:3,           1427:23, 1428:6,          summaries [6] -             1424:15, 1425:4
  1410:12, 1410:14,         1382:4, 1384:14,           1429:4, 1429:11            1337:9, 1337:10,         targeting [3] -
  1410:16, 1410:23,         1390:18, 1390:22,         stuff [3] - 1419:3,         1346:14, 1346:17,          1424:17, 1424:25,
  1410:24, 1411:2,          1395:12, 1395:16,          1419:15, 1426:12           1346:21, 1346:23           1425:12
  1411:10, 1412:13,         1408:13, 1408:14,         style [2] - 1418:19        summary [5] -             targets [2] - 1424:18,
  1412:21                   1408:16, 1408:24          subject [2] - 1394:23,      1326:20, 1337:13,          1424:20
 stake [2] - 1418:9,       STATES [1] - 1318:1         1415:19                    1347:22, 1406:4,         TCR [3] - 1355:24,
  1444:12                  statistics [1] - 1434:17   submission [1] -            1412:22                    1355:25, 1401:14
 stand [11] - 1372:10,     stay [3] - 1333:24,         1433:16                   summer [1] - 1441:5       TCRs [1] - 1355:25
  1374:10, 1378:4,          1411:17, 1463:3           submit [6] - 1324:18,      sums [1] - 1371:5         teach [1] - 1402:13
  1379:24, 1407:25,        stem [1] - 1434:14          1324:22, 1351:2,          sun [1] - 1387:25         technical [4] -
  1412:14, 1418:22,        step [1] - 1419:14          1433:17, 1457:15,         super [1] - 1459:16         1390:11, 1394:23,
  1429:21, 1449:11,        steroids [1] - 1428:22      1461:5                    supplier [1] - 1433:24      1419:15, 1434:11
  1450:20, 1456:9          Steve [2] - 1373:16,       submitted [10] -           support [1] - 1388:25     technically [1] -
 standard [4] -             1375:24                    1321:11, 1321:13,         supporting [1] -            1423:21
  1393:18, 1394:7,         Steven [1] - 1371:18        1324:17, 1336:13,          1385:22                  technician [1] -
  1395:13, 1414:10         still [23] - 1327:16,       1336:18, 1381:16,         supports [3] -              1403:5
 standards [1] -            1334:12, 1335:18,          1391:8, 1391:9,            1346:19, 1346:25,        techniques [1] -
  1394:25                   1338:14, 1339:1,           1400:6, 1433:22            1414:18                    1356:2
 standing [2] -             1382:9, 1383:1,           submitting [1] -           supposed [10] -           technologies [2] -
  1418:25, 1419:1           1384:11, 1386:21,          1433:13                    1332:22, 1418:5,           1365:10, 1365:18
 stands [2] - 1369:3,       1395:6, 1397:16,          subpoenaing [1] -           1435:14, 1447:20,        technology [13] -
  1424:14                   1397:17, 1397:19,          1377:4                     1449:11, 1458:12,          1356:8, 1365:3,
 Stanek [1] - 1395:15       1423:18, 1424:6,          subsequent [1] -            1458:19, 1461:13,          1378:5, 1378:12,
 Stars [1] - 1319:6         1428:14, 1432:3,           1445:20                    1461:20, 1465:4            1378:13, 1379:9,
 start [12] - 1330:12,      1432:12, 1437:13,         subtle [2] - 1448:18,      suppress [1] -              1382:10, 1382:11,
  1349:14, 1349:23,         1443:22, 1447:14,          1463:16                    1424:22                    1382:12, 1401:19,
  1368:13, 1369:12,         1447:17, 1464:9           succeed [1] - 1420:4       surgery [1] - 1371:11       1402:16, 1408:5,
  1370:12, 1370:13,        stipulation [2] -          succeeded [1] -            surprising [1] -            1413:19
  1417:13, 1452:7,          1390:3, 1439:16            1420:5                     1378:19                  teenagers [1] - 1387:5
  1458:1, 1459:25,         stolen [1] - 1382:11       succeeding [1] -           susceptible [1] -         tending [1] - 1362:11




                    AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
Case 2:17-cv-07639-GW-KS Document 611 Filed 12/18/19 Page 177 of 179 Page ID
                                 #:26985                             28


 tent [1] - 1375:6            1344:22, 1345:8,       1338:18, 1339:3,          1332:13                 together [4] - 1329:2,
 Teresa [1] - 1395:15         1345:11, 1345:17,      1339:9, 1339:25,        thinking [3] - 1385:3,      1330:9, 1421:25,
 term [6] - 1325:22,          1345:18, 1346:1,       1340:3, 1340:5,           1433:2, 1455:13           1445:22
   1326:2, 1351:25,           1346:2, 1346:13,       1340:7, 1340:10,        third [11] - 1334:24,     tolerable [1] - 1429:4
   1352:1, 1352:4,            1346:24, 1364:7,       1340:15, 1340:24,         1392:1, 1415:4,         TOLLES [1] - 1319:17
   1363:7                     1367:23, 1370:25,      1341:1, 1341:5,           1418:9, 1428:2,         tomorrow [2] -
 terminal [2] - 1419:21,      1372:22, 1372:24,      1341:10, 1341:13,         1428:3, 1432:24,          1465:10, 1465:13
   1429:2                     1374:13, 1375:4,       1341:18, 1341:20,         1433:6, 1438:2,         Toni [1] - 1453:14
 terminated [1] -             1377:2, 1378:25,       1341:23, 1342:1,          1455:24, 1457:12        took [8] - 1343:22,
   1382:14                    1379:3, 1384:3,        1342:2, 1342:9,         Thomas [2] - 1373:11,       1347:3, 1376:2,
 terminology [1] -            1384:24, 1385:24,      1342:15, 1342:17,         1381:14                   1381:12, 1381:18,
   1421:1                     1386:2, 1388:15,       1342:19, 1349:12,       thousands [2] -             1451:9, 1451:16,
 terms [15] - 1323:17,        1391:7, 1393:10,       1349:14, 1349:23,         1419:22, 1434:22          1452:8
   1325:23, 1330:13,          1395:19, 1399:23,      1370:12, 1397:21,       threat [1] - 1405:17      total [1] - 1407:12
   1335:19, 1341:5,           1400:3, 1401:3,        1398:1, 1398:5,         three [35] - 1371:10,     totally [2] - 1390:13,
   1341:15, 1352:6,           1401:21, 1402:23,      1398:8, 1398:16,          1372:22, 1376:18,         1461:3
   1352:9, 1362:16,           1403:12, 1403:20,      1398:23, 1399:2,          1376:20, 1380:24,       totals [1] - 1407:14
   1365:17, 1369:3,           1404:17, 1405:18,      1399:7, 1399:10,          1382:25, 1383:2,        touch [4] - 1387:23,
   1404:25, 1409:23,          1406:16, 1428:18,      1399:12, 1416:25,         1387:1, 1403:25,          1388:6, 1450:16,
   1413:13, 1423:15           1429:16, 1430:2,       1417:4, 1417:6,           1416:15, 1420:13,         1453:11
 territory [2] - 1362:17,     1431:8, 1438:19,       1417:9, 1417:11,          1420:15, 1420:21,       touching [1] - 1367:17
   1362:25                    1453:25, 1463:21       1417:12, 1417:14,         1420:25, 1421:8,        tougher [1] - 1429:13
 test [2] - 1322:24,        testing [4] - 1403:4,    1465:8, 1465:14           1422:1, 1427:10,        toward [1] - 1373:12
   1361:15                    1440:3, 1440:6,       THERAPEUTICS [1] -         1428:2, 1436:17,        toxicities [1] -
 tested [2] - 1367:24,        1440:7                 1318:5                    1438:3, 1438:5,           1431:17
   1368:3                   tests [1] - 1430:21     therapies [17] -           1438:24, 1450:4,        traded [1] - 1390:19
 testified [40] -           text [3] - 1366:19,      1355:24, 1408:24,         1455:15, 1457:19,       Trademark [4] -
   1345:13, 1346:4,           1395:23, 1400:15       1412:12, 1412:13,         1458:22, 1459:8,          1350:12, 1356:7,
   1346:7, 1373:12,         THE [111] - 1321:1,      1420:10, 1422:16,         1462:4, 1462:6,           1372:21, 1395:16
   1387:14, 1387:18,          1321:21, 1322:7,       1423:8, 1423:24,          1462:8, 1463:1,         trademark [1] - 1356:5
   1388:5, 1391:18,           1322:9, 1323:10,       1424:5, 1425:9,           1465:6                  trained [2] - 1402:16
   1396:16, 1399:22,          1324:3, 1324:14,       1425:21, 1425:23,       three-part [7] -          training [1] - 1355:17
   1403:3, 1405:19,           1324:21, 1325:11,      1426:22, 1426:24,         1372:22, 1376:18,       transcript [2] - 1400:1,
   1409:18, 1412:12,          1326:3, 1326:12,       1432:9, 1434:1,           1376:20, 1420:13,         1466:2
   1416:10, 1416:13,          1326:18, 1327:12,      1435:8                    1420:21, 1420:25,
                                                                                                       TRANSCRIPT [1] -
   1424:16, 1425:3,           1327:21, 1328:2,      therapy [28] - 1348:9,     1422:1
                                                                                                         1318:12
   1425:16, 1427:8,           1328:7, 1328:9,        1371:11, 1390:5,        threshold [1] -
                                                                                                       transcripts [1] -
   1427:12, 1429:2,           1328:16, 1328:19,      1419:25, 1420:4,          1448:25
                                                                                                         1318:25
   1432:11, 1433:15,          1328:22, 1328:24,      1422:15, 1422:17,       throat [1] - 1419:8
                                                                                                       transfer [3] - 1378:5,
   1433:19, 1440:21,          1329:6, 1329:9,        1422:19, 1423:13,       throughout [6] -            1378:12, 1378:13
   1443:14, 1445:16,          1329:12, 1329:16,      1425:1, 1425:12,          1377:25, 1384:22,
                                                                                                       transmembrane [1] -
   1446:20, 1450:25,          1330:2, 1330:4,        1425:13, 1426:1,          1416:22, 1417:18,
                                                                                                         1446:7
   1453:18, 1454:25,          1330:12, 1330:17,      1426:19, 1427:2,          1423:3, 1446:15
                                                                                                       transplants [1] -
   1455:12, 1455:17,          1330:20, 1330:25,      1429:6, 1429:11,        throw [1] - 1424:8
                                                                                                         1434:14
   1456:11, 1456:24,          1331:4, 1331:6,        1429:17, 1432:16,       tied [1] - 1412:20
                                                     1432:18, 1434:10,                                 travel [1] - 1382:9
   1458:5, 1458:17,           1331:13, 1331:20,                              timeline [2] - 1383:23,
                              1331:24, 1332:1,       1434:25, 1435:4,                                  treat [7] - 1378:15,
   1459:25, 1462:4                                                             1445:22
                              1332:3, 1332:10,       1435:5, 1435:11,                                    1429:14, 1435:1,
 testifies [2] - 1388:3,                                                     timing [1] - 1339:17
                              1332:15, 1332:20,      1435:20, 1435:21,                                   1435:7, 1435:8,
   1443:5                                                                    tipped [1] - 1415:12
                              1332:22, 1333:3,       1435:25                                             1435:11, 1443:9
 testify [11] - 1346:11,                                                     tips [1] - 1394:1
                              1333:5, 1333:8,       thereafter [1] -                                   treatable [1] - 1428:22
   1385:19, 1386:13,                                                         title [2] - 1339:22,
                              1333:10, 1333:19,      1357:18                                           treated [2] - 1418:11,
   1403:23, 1421:17,                                                           1340:3
                              1333:21, 1333:24,     therefore [2] -                                      1429:13
   1430:18, 1435:9,                                                          titled [1] - 1466:3
                              1334:13, 1334:23,      1346:19, 1346:25                                  treating [2] - 1371:15,
   1450:22, 1457:3,                                                          today [12] - 1324:20,
                              1335:2, 1335:7,       Thereupon [8] -                                      1419:24
   1457:16, 1458:8                                                             1329:22, 1336:22,
                              1335:10, 1335:15,      1330:19, 1340:14,                                 treatment [2] -
 testifying [3] -                                                              1340:21, 1343:3,
                              1336:1, 1336:8,        1342:18, 1398:6,                                    1390:12, 1392:15
   1345:14, 1412:10,                                                           1376:20, 1377:19,
                              1336:24, 1337:2,       1398:7, 1399:11,                                  trial [48] - 1325:23,
   1457:6                                                                      1387:2, 1408:2,
                              1337:18, 1338:5,       1465:15, 1465:16                                    1325:24, 1329:25,
 testimony [47] -                                                              1428:16, 1439:6,
                              1338:8, 1338:11,      they've [2] - 1321:24,                               1337:11, 1345:6,
   1344:3, 1344:8,                                                             1453:18
                              1338:13, 1338:16,                                                          1346:22, 1367:1,




                     AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
Case 2:17-cv-07639-GW-KS Document 611 Filed 12/18/19 Page 178 of 179 Page ID
                                 #:26986                             29


   1367:13, 1367:24,      trying [17] - 1364:11,    uncomfortable [1] -       1404:25, 1405:12,        vector [1] - 1433:25
   1368:3, 1368:5,          1378:5, 1378:14,         1457:8                   1407:12, 1411:12,        verdict [15] - 1321:14,
   1368:8, 1368:13,         1382:15, 1384:6,        under [14] - 1325:17,     1412:6, 1413:25,          1339:18, 1343:25,
   1373:12, 1374:8,         1384:8, 1386:21,         1344:20, 1362:22,        1414:19, 1416:1,          1344:7, 1366:9,
   1377:25, 1380:14,        1393:4, 1401:16,         1363:10, 1366:4,         1418:23, 1418:25,         1368:2, 1369:4,
   1380:17, 1381:10,        1409:19, 1422:17,        1375:6, 1376:21,         1419:1, 1420:21,          1369:6, 1369:8,
   1387:22, 1388:1,         1430:14, 1438:9,         1377:3, 1387:25,         1422:1, 1424:12,          1369:9, 1369:18,
   1388:12, 1388:17,        1438:20, 1443:9,         1388:3, 1409:12,         1437:11, 1438:15,         1369:24, 1370:6,
   1388:19, 1389:8,         1447:13, 1447:25         1425:18, 1436:2,         1439:12, 1445:1,          1413:20, 1415:25
   1390:3, 1390:21,       Tuan [1] - 1319:6          1457:20                  1449:6, 1449:24,         verify [1] - 1446:4
   1392:9, 1399:25,       turn [4] - 1367:18,       underlying [3] -          1454:7, 1454:12,         version [5] - 1325:12,
   1402:23, 1405:20,        1416:25, 1432:18,        1346:18, 1346:20,        1461:6                    1325:14, 1325:15,
   1415:16, 1416:14,        1436:3                   1347:1                  updated [1] - 1321:13      1336:13, 1337:1
   1416:22, 1417:18,      turned [1] - 1374:4       understood [5] -         upfront [19] - 1362:1,    versions [1] - 1345:22
   1420:1, 1423:3,        twice [1] - 1325:6         1379:7, 1381:11,         1362:5, 1365:7,          versus [1] - 1398:8
   1428:15, 1429:24,      Twitter [1] - 1366:21      1440:25, 1450:2,         1406:4, 1407:18,         Vesey [1] - 1319:11
   1431:5, 1431:13,       two [35] - 1322:5,         1450:10                  1408:8, 1408:10,         via [2] - 1366:19
   1431:14, 1432:7,         1333:2, 1341:6,         undue [2] - 1358:24,      1408:12, 1408:17,        videotape [1] - 1431:8
   1443:16, 1450:23,        1341:11, 1345:24,        1385:9                   1408:23, 1409:4,         view [8] - 1352:12,
   1452:25, 1453:18,        1347:8, 1353:10,        unfair [1] - 1418:2       1409:9, 1412:20,          1367:11, 1367:12,
   1457:8                   1355:23, 1357:3,        unfortunate [1] -         1412:22, 1413:6,          1367:13, 1392:14,
 TRIAL [1] - 1318:13        1361:25, 1362:3,         1450:22                  1413:7, 1413:8,           1415:21, 1443:3,
 trials [12] - 1378:10,     1378:25, 1383:14,       unfortunately [2] -       1413:18, 1413:19          1460:15
   1378:16, 1384:13,        1396:15, 1399:2,         1430:21, 1435:3         usage [1] - 1366:5        views [2] - 1369:23,
   1406:24, 1410:6,         1399:5, 1405:4,         unhappy [2] -            users [1] - 1405:12        1389:22
   1410:19, 1423:19,        1406:7, 1409:20,         1377:14, 1377:20        uses [6] - 1406:18,       VII [1] - 1318:13
   1424:11, 1432:12,        1411:8, 1414:10,        UNITED [1] - 1318:1       1422:17, 1422:19,        Vincent [1] - 1319:18
   1432:14, 1432:17,        1415:9, 1424:20,        United [17] - 1325:20,    1425:13, 1425:16,        violates [1] - 1368:11
   1445:21                  1424:25, 1427:10,        1325:21, 1350:10,        1446:8                   viral [1] - 1433:25
 tricky [1] - 1424:22       1427:23, 1433:2,         1350:11, 1368:17,       usual [1] - 1391:16       virus [1] - 1426:6
 tried [17] - 1378:3,       1434:9, 1434:10,         1372:21, 1374:3,        utility [3] - 1363:12,    visit [1] - 1367:10
   1379:2, 1380:2,          1434:12, 1435:12,        1382:3, 1384:13,         1444:13, 1461:15         void [1] - 1363:6
   1382:8, 1382:13,         1448:8, 1452:20,         1390:18, 1390:22,                                 VOLUME [1] - 1318:13
   1382:24, 1383:13,        1454:7                   1395:12, 1395:16,                  V              voluntarily [1] -
   1383:24, 1383:25,      type [5] - 1425:4,         1408:13, 1408:14,                                  1364:11
   1391:25, 1395:10,        1430:25, 1431:1,         1408:15, 1408:24        valid [11] - 1349:16,
                                                                                                       vote [1] - 1369:3
   1396:11, 1404:1,         1435:11, 1456:10        unless [3] - 1428:9,      1349:17, 1357:11,
                                                                                                       voted [1] - 1405:16
   1427:1, 1439:2,        types [4] - 1353:10,       1435:17, 1450:1          1361:12, 1393:14,
                                                                                                       vs [2] - 1318:7, 1321:1
   1443:21, 1460:12         1355:25, 1406:25,       unlike [1] - 1403:22      1394:6, 1400:12,
 tries [1] - 1383:23        1420:14                 unnecessary [1] -         1436:25, 1439:23,
 true [11] - 1346:9,      typically [1] - 1448:1     1323:1                   1448:9, 1458:8                     W
   1378:11, 1387:19,      typographical [5] -       unpatented [1] -         validity [1] - 1329:1
                                                                                                       Wacker [1] - 1319:14
   1403:25, 1419:5,         1356:24, 1357:2,         1365:4                  valuable [9] - 1375:17,
                                                                                                       wait [1] - 1376:1
   1420:7, 1420:11,         1394:10, 1394:24,       unprovoked [1] -          1392:12, 1392:14,
                                                                                                       waiting [1] - 1369:1
   1432:2, 1439:15,         1441:19                  1381:22                  1392:24, 1393:1,
                                                                                                       walk [1] - 1387:9
   1439:18, 1453:17                                 untrue [1] - 1346:1       1397:13, 1413:18,
                                                                                                       wanton [1] - 1354:15
 trust [3] - 1455:5,                 U              untruthfully [4] -        1417:21, 1418:10
                                                                                                       wants [8] - 1371:25,
   1455:9, 1457:4                                    1346:4, 1346:7,         valuation [3] -
                                                                                                        1378:23, 1392:24,
 truth [6] - 1346:7,      U.S [2] - 1318:3,          1387:14, 1387:18         1390:10, 1390:11,
                                                                                                        1396:5, 1404:7,
   1367:23, 1373:21,       1380:25                  unwilling [1] - 1370:2    1390:14
                                                                                                        1405:10, 1408:7,
   1387:18, 1402:5,       ultimately [2] -          up [43] - 1322:3,        value [8] - 1363:4,
                                                                                                        1420:4
   1415:19                 1372:18, 1447:12          1329:12, 1351:6,         1363:21, 1365:3,
                                                                                                       watch [1] - 1367:5
 truthful [1] - 1390:20   unanimous [4] -            1370:9, 1371:10,         1379:14, 1390:13,
                                                                                                       ways [4] - 1361:24,
 try [12] - 1330:10,       1369:4, 1369:8,           1371:13, 1371:19,        1397:12, 1406:11,
                                                                                                        1388:6, 1409:20,
   1343:1, 1367:10,        1369:19, 1369:24          1372:18, 1377:16,        1413:10
                                                                                                        1436:16
   1380:13, 1381:24,      uncertain [2] - 1410:9,    1378:22, 1378:25,       valued [3] - 1371:1,
                                                                                                       weapon [1] - 1436:1
   1384:12, 1385:1,        1410:10                   1380:1, 1382:6,          1407:5, 1408:19
                                                                                                       website [1] - 1366:20
   1417:25, 1419:12,      uncertainties [1] -        1383:13, 1390:12,       various [3] - 1360:23,
                                                                                                       Wednesday [1] -
   1428:25, 1442:1,        1410:18                   1391:23, 1398:14,        1410:7, 1432:4
                                                                                                        1318:15
   1448:5                 unclear [1] - 1410:4       1401:18, 1403:14,       vast [1] - 1428:24
                                                                                                       week [3] - 1391:4,




                     AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
Case 2:17-cv-07639-GW-KS Document 611 Filed 12/18/19 Page 179 of 179 Page ID
                                 #:26987                             30


  1391:5                    1419:2, 1419:9,           1339:12, 1356:13,        1434:9, 1434:16,
 weeks [2] - 1391:5,        1419:10, 1425:22,         1357:24, 1358:1,         1434:20, 1434:22,
  1428:4                    1456:1, 1456:8,           1358:5, 1358:18,         1434:25, 1435:6,
 weight [5] - 1346:10,      1457:8, 1459:12,          1385:23, 1400:18,        1436:24, 1438:25,
  1346:13, 1346:20,         1459:14                   1401:1, 1402:19,         1439:17
  1347:1, 1370:5           witness' [6] - 1345:14,    1415:6                  YESCARTA's [3] -
 Weinberger [1] -           1345:15, 1345:16,        wrongful [1] - 1354:16    1348:9, 1394:20,
  1319:19                   1345:17, 1345:18         wrongly [1] - 1357:13     1405:18
 Weiss [1] - 1319:8        witnesses [36] -          wrote [2] - 1444:9,      yesterday [9] -
 well-known [1] -           1329:24, 1337:9,          1461:1                   1321:7, 1322:16,
  1372:7                    1344:12, 1345:22,        www.                      1336:11, 1340:21,
 well-qualified [1] -       1346:11, 1346:12,         amydiazfedreporter       1376:8, 1379:3,
  1401:15                   1367:15, 1367:22,         .com [1] - 1318:25       1379:19, 1380:3,
 Wells [1] - 1319:5         1371:6, 1377:3,                                    1401:23
 West [2] - 1318:23,        1378:25, 1383:13,                   X             York [4] - 1319:12,
  1319:14                   1385:5, 1385:19,                                   1373:18, 1388:20
 WESTERN [1] -              1385:21, 1385:24,        Xs [1] - 1415:2          YOUNG [18] - 1324:1,
  1318:2                    1386:13, 1386:25,                                  1324:13, 1324:15,
 whatsoever [2] -           1406:7, 1415:16,                    Y              1324:22, 1330:3,
  1374:8, 1385:13           1415:18, 1415:22,                                  1330:5, 1330:16,
 whisper [1] - 1371:16      1418:5, 1418:7,          year [17] - 1380:24,      1335:3, 1335:14,
 whole [4] - 1376:8,        1418:22, 1419:4,          1380:25, 1391:5,         1335:21, 1338:14,
  1417:21, 1451:25,         1443:4, 1443:8,           1391:6, 1391:7,          1338:17, 1339:20,
  1462:7                    1443:14, 1453:23,         1391:10, 1391:11,        1340:2, 1340:4,
 willful [22] - 1321:23,    1456:8, 1457:14,          1404:2, 1407:23,         1340:6, 1340:8,
  1327:7, 1328:13,          1458:23, 1459:13          1413:10, 1432:24,        1340:25
  1328:18, 1329:4,         wonder [1] - 1452:23       1432:25, 1433:10,       young [2] - 1340:24,
  1333:16, 1334:18,        wonderful [1] - 1383:5     1433:20, 1433:21,        1430:10
  1338:23, 1348:5,         word [6] - 1328:5,         1457:17                 Young [2] - 1319:20,
  1348:15, 1350:7,          1331:3, 1349:11,         years [28] - 1355:23,     1340:22
  1354:9, 1354:10,          1371:18, 1419:8,          1371:9, 1371:23,        yourself [7] - 1369:20,
  1354:17, 1354:20,         1430:5                    1375:7, 1385:6,          1385:4, 1401:14,
  1354:23, 1373:13,        worded [2] - 1326:21,      1385:15, 1392:6,         1404:21, 1446:24,
  1382:2, 1383:4,           1414:1                    1393:9, 1394:17,         1456:5, 1465:12
  1385:3, 1386:19,         wording [1] - 1333:16      1396:24, 1405:4,        yourselves [1] -
  1414:9                   words [9] - 1331:9,        1407:11, 1410:8,         1398:4
 willfully [1] - 1383:22    1352:19, 1353:7,          1410:9, 1410:24,        YouTube [1] - 1366:21
 willfulness [2] -          1355:8, 1357:6,           1411:11, 1433:2,
                                                      1434:9, 1434:10,
  1348:16, 1350:9           1357:19, 1358:10,                                            Z
                            1418:1, 1455:19           1434:13, 1435:12,
 William [1] - 1320:3
                           works [3] - 1374:3,        1437:15, 1445:14,       zeta [5] - 1421:3,
 willing [7] - 1364:15,
                            1391:4, 1407:25           1446:23, 1455:15,        1421:21, 1442:5,
  1364:18, 1364:24,
                           world [17] - 1389:5,       1456:23, 1459:15         1454:16
  1364:25, 1410:10,
                            1397:20, 1400:19,        yelled [1] - 1434:12     ZUMA-1 [2] - 1406:16,
  1413:18, 1435:15
                            1408:14, 1408:15,        YESCARTA [42] -           1406:19
 win [3] - 1347:24,
                            1408:16, 1408:25,         1348:3, 1361:22,
  1359:24, 1394:2
                            1412:16, 1412:18,         1362:4, 1371:1,
 wish [3] - 1327:21,
                            1413:19, 1429:8,          1371:2, 1383:11,
  1347:2, 1418:23
                            1443:9, 1448:15,          1384:16, 1386:22,
 withstanding [1] -
                            1450:5, 1455:24,          1388:17, 1390:5,
  1463:25
                            1458:22, 1465:6           1404:5, 1405:10,
 witness [29] - 1344:3,
                           wow [2] - 1411:13,         1405:12, 1405:14,
  1345:9, 1345:11,
                            1418:23                   1405:20, 1405:22,
  1345:13, 1345:20,
                           write [3] - 1421:13,       1406:19, 1406:23,
  1346:3, 1346:6,
                            1456:12, 1461:2           1407:6, 1408:19,
  1385:14, 1386:5,
                           writing [7] - 1350:20,     1410:16, 1413:10,
  1386:7, 1386:11,
                            1366:18, 1368:20,         1419:18, 1419:19,
  1387:13, 1387:15,
                            1368:22, 1401:16,         1419:22, 1419:24,
  1387:17, 1396:12,
                            1414:18, 1415:2           1422:25, 1423:21,
  1396:23, 1412:14,
                           written [12] - 1327:8,     1423:22, 1425:7,
  1415:18, 1418:14,
                                                      1428:17, 1429:14,




                     AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
